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           EXHIBIT 1
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           EXHIBIT 2
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  SDUWLHV¶SOHDGLQJVGRFXPHQWDU\DQGWHVWLPRQ\HYLGHQFHDQGRQ3ODLQWLIIV¶FXUUHQWXQGHUVWDQGLQJ

  RI+\SHU%UDQFK¶VFODLPVDQGGHIHQVHVDQGWKH&RXUW¶VUXOLQJVWRGDWH3XUVXDQWWR)HG5&LY

  3  D   DQG DJUHHPHQW RI WKH SDUWLHV 3ODLQWLIIV VXEPLW WKH DWWDFKHG VWDWHPHQW RI FRQWHVWHG

  IDFWV  3ODLQWLIIV UHVHUYH WKH ULJKW WR UHYLVH DPHQG VXSSOHPHQW RU PRGLI\ WKHLU VWDWHPHQW RI

  FRQWHVWHG IDFWV EDVHG XSRQ DQ\ SUHWULDO UXOLQJV E\ WKH &RXUW DQGRU WR DGGUHVV DQ\ DGGLWLRQDO

  LVVXHVDUJXPHQWVHYLGHQFHRURWKHUGHYHORSPHQWVLQWKHFDVHLQFOXGLQJHGLWVWRWKHGUDIWSUHWULDO

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                 DFWVLQYROYLQJRQHRUPRUHRIWKHDFFXVHGSURGXFWV


              :KHWKHU+\SHU%UDQFKLQGLUHFWO\LQIULQJHGDQ\RIWKHDVVHUWHGFODLPVRIWKH

                 SDWHQWVLQVXLWE\LQGXFLQJDQRWKHU¶VLQIULQJHPHQW


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                 RXWVLGHRIWKH8QLWHG6WDWHV RIWKHDFFXVHGSURGXFWVGLUHFWO\LQIULQJHDQ\FODLPV

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  OLFHQVH3ODLQWLIIVFRQWHQGWKDWWKHVHLVVXHVDUHQRWLVVXHVWREHGHFLGHGE\WKHMXU\DQGWKHUHIRUH
  DUHQRWSURSHUO\WKHVXEMHFWRIWKHSDUWLHV¶VWDWHPHQWVRIFRQWHVWHGIDFWVWREHGHFLGHGGXULQJWKH
  XSFRPLQJMXU\WULDO

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 11 of 354 PageID #: 62813

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               DVVHUWHGFODLPLVLQYDOLGIRUIDLOXUHWRFRPSO\ZLWKRQHRUPRUHFRQGLWLRQVRI

               SDWHQWDELOLW\VHWIRUWKLQ86&VSHFLILFDOO\ODFNRIHQDEOHPHQWZULWWHQ

               GHVFULSWLRQGHILQLWHQHVV


            :KHWKHU+\SHU%UDQFKFDQSURYHWKDWWKHUHIHUHQFHVDVVHUWHGE\+\SHU%UDQFK

               DJDLQVWDQ\DVVHUWHGFODLPDUHSULRUDUWWRWKDWDVVHUWHGFODLP


            :KHWKHUWKHLQYHQWLRQFODLPHGLQDQ\DVVHUWHGFODLPZDVUHGXFHGWRSUDFWLFHSULRU

               WRWKHSULRULW\GDWHRIDQ\UHIHUHQFHDVVHUWHGE\+\SHU%UDQFKDJDLQVWWKDWDVVHUWHG

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            :KHWKHUWKHLQYHQWLRQFODLPHGLQDQ\DVVHUWHGFODLPZDVFRQFHLYHGSULRUWRWKH

               SULRULW\GDWHRIDQ\UHIHUHQFHDVVHUWHGE\+\SHU%UDQFKDJDLQVWWKDWDVVHUWHGFODLP

               ZLWKGLOLJHQFHIURPFRQFHSWLRQXQWLOWKHLQYHQWLRQZDVUHGXFHGWRSUDFWLFH


            7KHVFRSHDQGFRQWHQWRIWKHSULRUDUWDVVHUWHGE\+\SHU%UDQFKDJDLQVWDQ\

               DVVHUWHGFODLP


            7KHOHYHORIRUGLQDU\VNLOOLQWKHDUW


            7KHGLIIHUHQFHVEHWZHHQDQ\RIWKHDVVHUWHGFODLPVDQGWKHSULRUDUWDVVHUWHGE\

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            :KHWKHU+\SHU%UDQFKFDQSURYHFRUURERUDWLRQIRUDQ\QRQSDWHQWDQGQRQ

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              DJDLQVWWKDWDVVHUWHGFODLP


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              UHIHUHQFHVDVVHUWHGE\+\SHU%UDQFKDJDLQVWWKDWDVVHUWHGFODLP


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              PRWLYDWHGWRFRPELQHWKHUHIHUHQFHVDVUHOLHGRQE\+\SHU%UDQFKLQLWV

              REYLRXVQHVVFRPELQDWLRQVDJDLQVWDQ\DVVHUWHGFODLP


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              PRGLI\WKHSULRUDUWDVVHUWHGE\+\SHU%UDQFKWRDUULYHDWWKHLQYHQWLRQVRIWKH

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              KDYHKDGDUHDVRQDEOHH[SHFWDWLRQRIVXFFHVVLQPRGLI\LQJRUFRPELQLQJWKHSULRU

              DUWDVVHUWHGE\+\SHU%UDQFKWRDUULYHDWWKHLQYHQWLRQRIWKHDVVHUWHGFODLP

              DJDLQVWZKLFKVXFKSULRUDUWLVDVVHUWHG


           :KHWKHUREMHFWLYHHYLGHQFHRIQRQREYLRXVQHVVWHQGVWRVKRZDQ\DVVHUWHGFODLP

              LVQRWREYLRXVWKHH[WHQGRIDQ\SURIIHUHGREMHFWLYHHYLGHQFHRIQRQREYLRXVQHVV

              DQGZKHWKHUWKHUHLVDQH[XVEHWZHHQWKDWHYLGHQFHDQGWKHLQYHQWLRQFODLPHGLQ

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              DUHHQDEOHGIRUHDFKHOHPHQWRIWKHFODLPDJDLQVWZKLFK+\SHU%UDQFKKDVDVVHUWHG

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              +\SHU%UDQFK¶VLQIULQJHPHQW HLWKHUGLUHFWRULQGLUHFW RIDQ\RIWKHDVVHUWHG

              FODLPVZLWKLQWKH8QLWHG6WDWHV


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              +\SHU%UDQFK¶VLQGLUHFWLQIULQJHPHQWRIDQ\RIWKHDVVHUWHGFODLPVZKHUHWKH

              GLUHFWLQIULQJHPHQWRFFXUUHGRXWVLGHWKH8QLWHG6WDWHV


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              LQIULQJHPHQWRIDQ\RIWKHDVVHUWHGFODLPV


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           :KHWKHU3ODLQWLIIVDUHHQWLWOHGWRWKHLUDWWRUQH\V¶IHHVDQGFRVW


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              SUHFOXGHDQ\UHFRYHU\E\3ODLQWLIIVLQWKLVOLWLJDWLRQ


            :KHWKHU+\SHU%UDQFKFDQSURYHWKDW3ODLQWLIIFRPPXQLFDWHGLQDPLVOHDGLQJ

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 14 of 354 PageID #: 62816

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                  DFWLRQVZLWKWKHDFFXVHGSURGXFWVRUWKDW3ODLQWLIIZRXOGQRWVXH+\SHU%UDQFKIRU

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               :KHWKHU+\SHU%UDQFKFDQSURYHWKDWLWZRXOGEHPDWHULDOO\KDUPHGLIWKH

                  3ODLQWLIIVDUHDOORZHGWRDVVHUWDFODLPRILQIULQJHPHQWRIDQ\RQHRUPRUHRIWKH

                  DVVHUWHGFODLPVWKDWLVLQFRQVLVWHQWZLWKSRVLWLRQVWDNHQE\3ODLQWLIIVLQSUHYLRXV

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                  WHFKQRORJ\DVVRFLDWHGZLWKWKHSDWHQWVLQVXLW


               7KHUHODWLRQVKLSVEHWZHHQRQHRUPRUHRIWKH3ODLQWLIIV


               7KHZRUNDQGUHVHDUFKOHDGLQJWRDQGGHYHORSPHQWDQGLQYHQWLRQRIWKHSDWHQWV

                  LQVXLWWKHVWDWHRIWKHDUWDWWKHWLPHRILQYHQWLRQDQGWKHUHOHYDQWWHFKQRORJLFDO

                  EDFNJURXQGQHFHVVDU\WRXQGHUVWDQGWKHSDWHQWDQGHYDOXDWHLWVFRQWULEXWLRQWRWKH

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              RIIHUWRVHOOWKH$GKHUXV$XWR6SUD\'XUDO6HDODQWDQGRU$GKHUXV$XWR6SUD\

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            3URRIWKDW+\SHU%UDQFKFRQWULEXWRULO\LQIULQJHGRQHRUPRUHRIWKHDVVHUWHG

              FODLPVLQWKH8QLWHG6WDWHVE\VHOOLQJRURIIHULQJIRUVDOHWKH$GKHUXV$XWR6SUD\

              'XUDO6HDODQWDQGRU$GKHUXV$XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQW

              WKURXJKLWVGLVWULEXWLRQFKDQQHOVWRDQHQGXVHUZKRGLUHFWO\LQIULQJHVRQHRUPRUH

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            3URRIWKDWWKH$GKHUXV$XWR6SUD\'XUDO6HDODQWDQGRU$GKHUXV$XWR6SUD\

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            3URRIWKDW+\SHU%UDQFKZDVDZDUHRIDSDWHQWKDYLQJDQ\DVVHUWHGFODLPSULRUWR

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              FRPSRQHQWVRIWKHDFFXVHGSURGXFWVIURPWKH8QLWHG6WDWHVWRDSODFHRXWVLGHRI

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           3URRIWKDW+\SHU%UDQFKWRRNDFWLRQLQWHQWLRQDOO\WRFDXVHRQHRUPRUHRILWVHQG

              XVHUVRXWVLGHRIWKH8QLWHG6WDWHVWRDVVHPEOHRQHRUPRUHRIWKHDFFXVHG

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           3URRIWKDWWKHDFWVHQFRXUDJHGE\+\SHU%UDQFKDEURDGZLWKUHVSHFWWRRQHRU

              PRUHRIWKHDFFXVHGSURGXFWVZRXOGFRQVWLWXWHGLUHFWLQIULQJHPHQWRIRQHRUPRUH

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               DFFXVHGSURGXFWVZRXOGLQIULQJHLIWKHFRPELQDWLRQRFFXUUHGLQWKH8QLWHG6WDWHV

               DQGNQRZVWKDWWKHRQO\VXEVWDQWLDOXVHRIWKHDFFXVHGSURGXFWPD\EHFRYHUHGE\

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               RIWKHDVVHUWHGFODLPVDUHLQYDOLGIRUIDLOXUHWRFRPSO\ZLWKWKHHQDEOHPHQW

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              DWWKHWLPHRIWKHLQYHQWLRQXQGHU86& D LQYLHZRIWKHSULRUDUW

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              SHUVRQRIRUGLQDU\VNLOOZRXOGQRWEHPRWLYDWHGWRFRPELQHWKHUHIHUHQFHVUHOLHG

              RQE\+\SHU%UDQFKDJDLQVWDQ\VXFKDVVHUWHGFODLPDQGSURRIRIREMHFWLYHLQGLFLD

              RIQRQREYLRXVQHVV


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              WKDWIDLUO\FRPSHQVDWHV3ODLQWLIIVIRU+\SHU%UDQFK¶VLQIULQJHPHQWRIDQ\RQHRU

              PRUHRIWKHDVVHUWHGFODLPVXQGHU86& I  RU I  LQFOXGLQJSURRI

              RIWKHYDOXHDWWULEXWDEOHWRWKHDVVHUWHGFODLPVIURPWKHYDOXHRIWKHDFFXVHG

              SURGXFWVDVDZKROH


            3URRIVXSSRUWLQJGDPDJHVRIQROHVVWKDQDUHDVRQDEOHUR\DOW\UHIOHFWLQJWKHKDUP

               LQFOXGLQJORVWSURILWVDQGRUSULFHHURVLRQ FDXVHGWR3ODLQWLIIVWKDWIDLUO\

              FRPSHQVDWHV3ODLQWLIIVIRU+\SHU%UDQFK¶VLQIULQJHPHQWGLUHFWRULQGLUHFW

              LQIULQJHPHQWRIWKHDVVHUWHGFODLPVLQWKH8QLWHG6WDWHV


            3URRIRIWKHSURILWV LQFOXGLQJSULFHHURVLRQRQVDOHV3ODLQWLIIVPDLQWDLQHG 


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               3ODLQWLIIVZRXOGKDYHPDGHEXWIRU+\SHU%UDQFK¶VLQIULQJHPHQWRIDQ\RQHRU

               PRUHRIWKHDVVHUWHGFODLPV


            3URRIDVWRWKHSHULRGGXULQJZKLFK3ODLQWLIIVDUHHQWLWOHGWRGDPDJHVIRU

               LQIULQJHPHQW


            3URRIRI3ODLQWLIIV¶WRWDOGDPDJHVDVFRPSHQVDWLRQIRUGLUHFWDQGLQGLUHFW

               LQIULQJHPHQWRIDQ\RQHRUPRUHRIWKHDVVHUWHGFODLPV


            3URRIWKDW3ODLQWLIIVDUHHQWLWOHGWRHQKDQFHGGDPDJHVIRU+\SHU%UDQFK¶VZLOOIXO

               LQIULQJHPHQWRIRQHRUPRUHRIWKHDVVHUWHGFODLPV


            3URRIWKDW3ODLQWLIIVDUHHQWLWOHGWRWKHLUDWWRUQH\V¶IHHVDQGFRVWV


            3URRIWKDW3ODLQWLIIVDUHHQWLWOHGWRDSHUPDQHQWLQMXQFWLRQDJDLQVWIXUWKHU

               LQIULQJHPHQWE\+\SHU%UDQFKWKURXJKLWVVDOHVRIRQHRUPRUHRIWKHDFFXVHG

               SURGXFWVLQFOXGLQJSURRIVWKDWRQHRUPRUH3ODLQWLIIVZLOOVXIIHUDQLUUHSDUDEOH

               LQMXU\IURPWKHFRQWLQXHGLQIULQJHPHQWRI+\SHU%UDQFKWKDWUHPHGLHVDYDLODEOH

               DWODZDUHLQDGHTXDWHWRFRPSHQVDWHIRUWKDWLQMXU\WKDWZKHQEDODQFLQJWKH

               KDUGVKLSVEHWZHHQ3ODLQWLIIVDQG+\SHU%UDQFKDQHTXLWDEOHUHPHG\LVZDUUDQWHG

               DQGWKDWWKHSXEOLFLQWHUHVWZLOOQRWEHGLVVHUYHGE\DSHUPDQHQWLQMXQFWLRQ


        ( (TXLWDEOH(VWRSSHO

            3URRIUHEXWWLQJ+\SHU%UDQFK¶VEXUGHQRISURRIWKDW3ODLQWLIIVFRPPXQLFDWHGWR

               +\SHU%UDQFKDERXWDODFNRILQIULQJHPHQWRIWKHDVVHUWHGFODLPVRUWKDW

               +\SHU%UDQFKZRXOGQRWEHVXHGE\3ODLQWLIIVWKDW+\SHU%UDQFKFRXOGUHDVRQDEO\

               UHO\RQVXFKFRPPXQLFDWLRQDQGRUWKDW+\SHU%UDQFKZRXOGEHPDWHULDOO\



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              KDUPHGLIWKH3ODLQWLIIVDUHDOORZHGWRDVVHUWWKHLULQIULQJHPHQWFODLPV


            3URRIVKRZLQJWKDWDQ\ILQGLQJRIHTXLWDEOHHVWRSSHOZRXOGEHXQIDLULQOLJKWRI

              WKHFRQGXFWRIWKHSDUWLHV


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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 21 of 354 PageID #: 62823




           EXHIBIT 3
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  RQ WKH SDUWLHV¶ SOHDGLQJV GRFXPHQWDU\ DQG WHVWLPRQ\ HYLGHQFH DQG +\SHU%UDQFK¶V FXUUHQW

  XQGHUVWDQGLQJRI3ODLQWLIIV¶FODLPVDQGGHIHQVHVDQGWKH&RXUW¶VUXOLQJVWRGDWH3XUVXDQWWR)HG

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  FRQWHVWHG IDFWV  +\SHU%UDQFK UHVHUYHV WKH ULJKW WR UHYLVH DPHQG VXSSOHPHQW RU PRGLI\ LWV

  VWDWHPHQWRIFRQWHVWHGIDFWVEDVHGXSRQDQ\SUHWULDOUXOLQJVE\WKH&RXUWDQGRUWRDGGUHVVDQ\

  DGGLWLRQDOLVVXHVDUJXPHQWVHYLGHQFHRURWKHUGHYHORSPHQWVLQWKHFDVHLQFOXGLQJHGLWVWRWKH

  GUDIWSUHWULDORUGHUDQ\PHHWDQGFRQIHUVRURWKHUQHJRWLDWLRQVEHWZHHQWKHSDUWLHVSHQGLQJDQG

  DQWLFLSDWHG PRWLRQV DQG VLPLODU GHYHORSPHQWV  +\SHU%UDQFK IXUWKHU UHVHUYHV WKH ULJKW WR

  VXSSOHPHQW WKLV VWDWHPHQW WR UHEXW RU RWKHUZLVH DGGUHVV WKH FRQWHVWHG IDFWV LGHQWLILHG E\

  3ODLQWLIIV6KRXOGWKH&RXUWGHWHUPLQHWKDWDQ\LVVXHLGHQWLILHGLQWKLVVWDWHPHQWLVPRUHSURSHUO\

  FRQVLGHUHG DQ LVVXH RI ODZ LW VKDOO EH VR FRQVLGHUHG DQG +\SHU%UDQFK LQFRUSRUDWHV LW E\

  UHIHUHQFHLQWRLWV6WDWHPHQWRI,VVXHVRI/DZ+\SHU%UDQFKFRQWHQGVWKDWWKHLVVXHVRIIDFW RU



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  PL[HGTXHVWLRQVRIIDFWDQGODZ WKDWUHPDLQWREHOLWLJDWHGDWWULDODQGGHFLGHGE\WKHMXU\DUHDV

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  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

                :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

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  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

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  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

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  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

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              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW

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  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

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              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

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  SURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDW

  KDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

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               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

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  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

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  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

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  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

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  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKRVHSURGXFWV

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  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW

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  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH




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  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKRVHSURGXFWV

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDW

  KDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

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              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP




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  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

  LQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOG

  GLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU

  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOG

  GLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU

  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\

  VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

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               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

  LQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOG

  GLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU

  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOG

  GLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU

  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\

  VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\




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  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHV

  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFK

  LQGXFHVVXFKLQIULQJHPHQW

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHV

  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFK

  FRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQ

  LQIULQJLQJXVH

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK 

  ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU

  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK 

  ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLU




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  DFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\

  VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDW

  KDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHU

  WKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFK

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  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RXWVLGHWKH86 RWKHU

  WKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

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               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

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  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

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  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU




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               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

  LQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\

  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHV

  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFK

  LQGXFHVVXFKLQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\




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  RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHV

  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFK

  FRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQ

  LQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDW

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  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

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  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

  LQIULQJHPHQW

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWR

  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

               :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJ

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  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFK

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  6SLQDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHUOLWHUDOO\RUXQGHU

  WKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP




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  VXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLP

  E\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKRVHSURGXFWV

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  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW HLWKHU

  OLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

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  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV DQGWKDW+\SHU%UDQFKGLUHFWO\

  LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKRVHSURGXFWV

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶




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  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWVDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶

  3DWHQW HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV WKDWDQHQWLW\RWKHUWKDQ

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  SURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDW

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  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

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              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

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  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

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  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

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  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

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  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO




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  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

  WKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQG

  WKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW




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  DQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

  86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

  86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYH

  QRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

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  RIIHULQJWRVHOOWKDWSURGXFW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

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  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

  ¶3DWHQWWKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJ

  XVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFK

  LQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

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  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH

  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

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  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH

  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

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  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\




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  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

  WKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

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  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

  WKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

              :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQG




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  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

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  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

             :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

  86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

          :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDW

  DQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

  86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYH

  QRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH




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           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

  ¶3DWHQWDQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

  ¶3DWHQWWKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJ

  XVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

  ¶3DWHQWWKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJ

  XVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFK

  LQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

  ¶3DWHQWWKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJH

  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH

  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH

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  WKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH




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  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

  WKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ




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  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQGWKDW

  +\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOO

  WKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWV

  WKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\

  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  6SLQDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWWKDWDQHQWLW\




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  RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\PDNLQJXVLQJ

  VHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH86DQGWKDW

  +\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHU

  VXEVWDQWLDOQRQLQIULQJLQJXVH

          :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQWDQG

  WKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDW

  SURGXFW

          :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW

  WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

          :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW

  WKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

          :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW

  WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

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           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRIWKH¶3DWHQW

  WKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\LQIULQJHWKDWFODLPE\

  PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUHFRQGXFWHGLQWKH

  86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYH

  QRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRI

  WKH¶3DWHQWDQGWKDW+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJXVLQJVHOOLQJRU

  RIIHULQJWRVHOOWKDWSURGXFW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRI

  WKH¶3DWHQWWKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJ

  XVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRI

  WKH¶3DWHQWWKDWDQHQWLW\RWKHUWKDQ+\SHU%UDQFKGLUHFWO\LQIULQJHVWKDWFODLPE\PDNLQJ

  XVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWDQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFK

  LQIULQJHPHQWE\VXSSO\LQJFRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRI

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  LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH

  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKLQGXFHVVXFKLQIULQJHPHQW

           :KHWKHU3ODLQWLIIVFDQVKRZE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKH$GKHUXV

  $XWR6SUD\([WHQGHG7LS (7 'XUDO6HDODQWOLWHUDOO\VDWLVILHVDOOWKHOLPLWDWLRQVRIFODLPRI

  WKH¶3DWHQWWKDWDQHQWLW\RXWVLGHWKH86 RWKHUWKDQ+\SHU%UDQFK ZRXOGGLUHFWO\

  LQIULQJHWKDWFODLPE\PDNLQJXVLQJVHOOLQJRURIIHULQJWRVHOOWKDWSURGXFWLIWKHLUDFWLYLWLHVZHUH

  FRQGXFWHGLQWKH86DQGWKDW+\SHU%UDQFKFRQWULEXWHVWRVXFKLQIULQJHPHQWE\VXSSO\LQJ

  FRPSRQHQWVWKDWKDYHQRRWKHUVXEVWDQWLDOQRQLQIULQJLQJXVH

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  RIWKH¶3DWHQWLVDQWLFLSDWHGLQOLJKWRIDWOHDVWWKHIROORZLQJUHIHUHQFHV

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                          8VHLQ/DSDURVFRS\DQG/DSDURWRP\´95-DFREV(/HKPDQQ

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                  G     REMHFWLYHHYLGHQFHRIQRQREYLRXVQHVV

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  RIWKH³LQYHQWLRQ´FODLPHGLQFODLPRIWKH¶SDWHQWDVVHWIRUWKLQGraham v. John Deere

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  GHPRQVWUDWLQJZULWWHQGHVFULSWLRQDQGHQDEOHPHQWIRUWKHIXOOVFRSHRIWKHFODLPLQDQDQFHVWRU

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  DUWDWWKHWLPHRIWKHDOOHJHGLQYHQWLRQLQOLJKWRIWKHVWDWHRIWKHDUWWKHIROORZLQJSULRUDUW

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  RIWKH¶3DWHQWLVLQYDOLGXQGHU86&VSHFLILFDOO\IRUODFNRIHQDEOHPHQWZULWWHQ

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  RIWKH³LQYHQWLRQ´FODLPHGLQFODLPRIWKH¶SDWHQWDVVHWIRUWKLQGraham v. John Deere

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  DUWDWWKHWLPHRIWKHDOOHJHGLQYHQWLRQLQOLJKWRIWKHVWDWHRIWKHDUWWKHIROORZLQJSULRUDUW

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  RIWKH³LQYHQWLRQ´FODLPHGLQFODLPRIWKH¶SDWHQWDVVHWIRUWKLQGraham v. John Deere

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  DUWDWWKHWLPHRIWKHDOOHJHGLQYHQWLRQLQOLJKWRIWKHVWDWHRIWKHDUWWKHIROORZLQJSULRUDUW

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  WKHDUWDWWKHWLPHRIWKHDOOHJHGLQYHQWLRQLQOLJKWRIWKHVWDWHRIWKHDUWWKHIROORZLQJSULRUDUW

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 59 of 354 PageID #: 62861




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           ,QWKHHYHQWRQHRUPRUHRIWKHDVVHUWHGFODLPVLVIRXQGQRWLQIULQJHGRULQYDOLG

  ZKHWKHU+\SHU%UDQFKLVHQWLWOHGWRLWVFRVWV

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  ZKHWKHU+\SHU%UDQFKLVHQWLWOHGWRLWVDWWRUQH\V¶IHHV

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  ZKHWKHU3ODLQWLIIVDUHHQWLWOHGWRDGHWHUPLQDWLRQWKDW+\SHU%UDQFK¶VLQIULQJHPHQWZDVHJUHJLRXV

  VXFKWKDW3ODLQWLIIVDUHHQWLWOHGWRHQKDQFHGGDPDJHVIRUZLOOIXOLQIULQJHPHQWDQGLIVRWKH

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           :KHWKHU3ODLQWLIIVHQJDJHGLQPLVOHDGLQJFRQGXFWWKDWUHDVRQDEO\OHG

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  DFFXVHGSURGXFWVDQGZKHWKHU+\SHU%UDQFKVXIIHUHGPDWHULDOHFRQRPLFDQGRUHYLGHQWLDU\

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           5HEXWWDORIDQ\HYLGHQFHRIIHUHGE\3ODLQWLIIVWKDWWKHRQO\VXEVWDQWLDOXVHIRUWKH

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          5HEXWWDORIDQ\HYLGHQFHRIIHUHGE\3ODLQWLIIVWKDWWKHUHLVREMHFWLYHHYLGHQFHRI

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          5HEXWWDORIDQ\HYLGHQFHRIIHUHGE\3ODLQWLIIVWKDWWKHUHLVDQH[XVEHWZHHQDQ\

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  QRQREYLRXVQHVVIRUFODLPVDQGRURIWKH¶3DWHQW

          5HEXWWDORIDQ\HYLGHQFHRIIHUHGE\3ODLQWLIIVWKDWWKHUHLVDQH[XVEHWZHHQDQ\

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          5HEXWWDORIDQ\HYLGHQFHRIIHUHGE\3ODLQWLIIVWKDWWKHUHLVDQH[XVEHWZHHQDQ\

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           EXHIBIT 4
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                                                         7$%/(2)$87+25,7,(6

  &DVHV

  ͘WƌĞĞŵƉƚŝŽŶĞǀŝĐĞƐ͕/ŶĐ͘ǀ͘DŝŶŶĞƐŽƚĂDŝŶ͘ΘDĨŐ͘Ž͕͘ϴϬϯ&͘ϮĚϭϭϳϬ͕ϭϭϳϰ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵ
  ϯDǀ͘:ŽŚŶƐŽŶΘ:ŽŚŶƐŽŶKƌƚŚŽƉĂĞĚŝĐ͕/ŶĐ͕͘ϮϮh͘^͘W͘Y͘ϮĚϭϰϬϭ͕ϭϰϬϴ;͘DŝŶŶ͘ϭϵϵϭͿ͕ĂĨĨ͛Ěϵϳϲ&͘ϮĚ
     ϭϱϱϵ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϱ
  ͘͘ƵŬĞƌŵĂŶŽ͘ǀ͘Z͘>͘ŚĂŝĚĞƐŽŶƐƚƌ͘Ž͕͘ϵϲϬ&͘ϮĚϭϬϮϬ͕ϭϬϰϭ͕;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
  ďďŽƚƚ>ĂďƐ͘ǀ͘ĞǇ͕>͘W͕͘Ϯϴϳ&͘ϯĚϭϬϵϳ͕ϭϭϬϯͲϬϰ;&ĞĚ͘ŝƌ͘ϮϬϬϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  ^,ŽƐƉ͘^ǇƐ͕͘/ŶĐ͘ǀ͘DŽŶƚĞĨŝŽƌĞ,ŽƐƉ͕͘ϳϯϮ&͘ϮĚϭϱϳϮ͕ϭϱϳϳ;&ĞĚ͘ŝƌ͘ϭϵϴϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬ
  ĐƚŝǀĞsŝĚĞŽEĞƚǁŽƌŬƐ͕/ŶĐ͘ǀ͘sĞƌŝǌŽŶŽŵŵĐ͛ŶƐ͕/ŶĐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ĐƵŵĞĚ>>ǀ͘^ƚƌǇŬĞƌŽƌƉ͕͘ϱϱϭ&͘ϯĚϭϯϮϯ͕ϭϯϮϳͲϮϴ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ĚǀĂŶĐĞĚĂƌĚŝŽǀĂƐĐƵůĂƌ^ǇƐ͕͘/ŶĐ͘ǀ͕^ĐŝŵĞĚ>ŝĨĞ^ǇƐ͕͘/ŶĐ͕͘Ϯϲϭ&͘ϯĚϭϯϮϵ͕ϭϯϯϲ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ͘͘͘͘͘ϭϮ͕ϭϱ
  ĚǀĂŶĐĞĚŝƐƉůĂǇ^ǇƐ͘/ŶĐ͘ǀ͘<ĞŶƚ^ƚĂƚĞhŶŝǀ͕͘ϮϭϮ&͘ϯĚϭϮϳϮ͕ϭϮϴϮ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  ũŝŶŽŵŽƚŽŽ͘ǀ͘ƌĐŚĞƌͲĂŶŝĞůƐͲDŝĚůĂŶĚŽ͕͘EŽ͘ϵϱͲϮϭϴͲ^>Z͕ϭϵϵϲt>ϲϮϭϴϯϬ͕ĂƚΎϱ;͘Ğů͘KĐƚ͘Ϯϭ͕
     ϭϵϵϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
  ůͲ^ŝƚĞŽƌƉ͘ǀ͘s^//Ŷƚ͛ů͕/ŶĐ͕͘ϭϳϰ&͘ϯĚϭϯϬϴ͕ϭϯϮϯ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ
  ůǌĂŽƌƉ͘ǀ͘ŶĚƌǆWŚĂƌŵƐ͕>>͕ϲϬϯ&͘ϯĚϵϯϱ͕ϵϰϬ;&ĞĚ͘ŝƌ͘ϮϬϭϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  ŵ͘,ŽŝƐƚΘĞƌƌŝĐŬŽ͘ǀ͘^ŽǁĂΘ^ŽŶƐ͕/ŶĐ͕͘ϳϮϱ&͘ϮĚϭϯϱϬ͕ϭϯϱϴ;&ĞĚ͘ŝƌ͘ϭϵϴϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ͕Ϯϳ
  ƉƉůĞŽŵƉƵƚĞƌ͕/ŶĐ͘ǀ͘ƌƚŝĐƵůĂƚĞ^ǇƐ͕͘/ŶĐ͕͘Ϯϯϰ&͘ϯĚϭϰ͕ϮϱͲϮϲ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ͕Ϯϴ
  ƉƉůĞ/ŶĐ͘ǀ͘DŽƚŽƌŽůĂ͕/ŶĐ͕͘ϳϱϳ&͘ϯĚϭϮϴϲ͕ϭϯϮϳͲϮϴ;&ĞĚ͘ŝƌ͘ϮϬϭϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ
  ƉƉůĞ/ŶĐ͘ǀ͘^ĂŵƐƵŶŐůĞĐƐ͘Ž͕͘ϴϬϵ&͘ϯĚϲϯϯ͕ϲϰϱ;&ĞĚ͘ŝƌ͘ϮϬϭϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ƉƉůĞ/ŶĐ͘ǀ͘^ĂŵƐƵŶŐůĞĐƚƌŽŶŝĐƐŽ͕͘ϳϴϲ&͘ϯĚϵϴϯ͕ϭϬϬϰ;&ĞĚ͘ŝƌ͘ϮϬϭϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϮ
  ƉƉůĞ/ŶĐ͘ǀ͘^ĂŵƐƵŶŐůĞĐƚƌŽŶŝĐƐŽ͕͘>ƚĚ͕͘EŽ͘ϭϮͲϲϯϬ͕ϮϬϭϳt>ϮϳϮϬϮϮϬ͕ĂƚΎϭϬ;E͘͘Ăů͘:ƵŶĞϮϯ͕
     ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ͕ϰϳ
  ƌŝĂĚWŚĂƌŵƐ͕͘/ŶĐ͘ǀ͘ůŝ>ŝůůǇΘŽ͕͘ϱϵϴ&͘ϯĚϭϯϯϲ͕ϭϯϱϭ;&ĞĚ͘ŝƌ͘ϮϬϭϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
  ƌŬŝĞ>ƵƌĞƐ͕/ŶĐ͘ǀ͘'ĞŶĞ>ĂƌĞǁdĂĐŬůĞ͕/ŶĐ͕͘ϭϭϵ&͘ϯĚϵϱϯ͕ϵϱϲ;&ĞĚ͘ŝƌ͘ϭϵϵϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬ
  ƌŽDĨŐ͘Ž͘ǀ͘ŽŶǀĞƌƚŝďůĞdŽƉZĞƉůĂĐĞŵĞŶƚŽ͕͘ϯϳϳh͘^͘ϰϳϲ͕ϱϬϳ;ϭϵϲϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϴ
  ƌƌŝƐ'ƌŽƵƉ͕/ŶĐ͘ǀ͘ƌŝƚŝƐŚdĞůĞĐŽŵƐ͕W>͕ϲϯϵ&͘ϯĚϭϯϲϴ͕ϭϯϳϲ;&ĞĚ͘ŝƌ͘ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴ
  ƐƚƌĂĞŶĞĐĂ>Wǀ͘ƉŽƚĞǆ͕/ŶĐ͕͘ϲϯϯ&͘ϯĚϭϬϰϮ͕ϭϬϲϬ;&ĞĚ͘ŝƌ͘ϮϬϭϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  ƚůĂƐWŽǁĚĞƌŽ͘ǀ͘/ƌĞĐŽ͕/ŶĐ͕͘ϭϵϬ&͘ϯĚϭϯϰϮ͕ϭϯϰϲ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  ĂǆƚĞƌ,ĞĂůƚŚĐĂƌĞŽƌƉ͘ǀ͘^ĞƉƚƌĂŵĞĚ͕/ŶĐ͕͘ϰϵ&͘ϯĚϭϱϳϱ͕ϭϱϴϯ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ͕ϭϲ
  />ĞŝƐƵƌĞWƌŽĚƵĐƚƐ͕/ŶĐ͘ǀ͘tŝŶĚƐƵƌĨŝŶŐ/Ŷƚ͛ů͕/ŶĐ͕͘ϭ&͘ϯĚϭϮϭϰ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
  ŝŽƐŝŐ/ŶƐƚƌƵŵĞŶƚƐ͕/ŶĐ͘ǀ͘EĂƵƚŝůƵƐ͕/ŶĐ͕͘ϳϴϯ&͘ϯĚϭϯϳϰ͕ϭϯϴϭ;&ĞĚ͘ŝƌ͘ϮϬϭϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
  K,ĞĂůƚŚĂƌĞ͕/ŶĐ͘ǀ͘EĞůůĐŽƌ/ŶĐ͕͘ϴϵϮ&͘^ƵƉƉ͘ϱϵϴ͕ϲϬϯ;͘Ğů͘ϭϵϵϱͿ͕ĂĨĨ͛Ě͕ϵϴ&͘ϯĚϭϯϱϳ;&ĞĚ͘ŝƌ͘
     ^ĞƉ͘ϭϯ͕ϭϵϵϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  ŽƐƚŽŶ^ĐŝĞŶƚŝĨŝĐŽƌƉ͘ǀ͘:ŽŚŶƐŽŶΘ:ŽŚŶƐŽŶ͕ϲϰϳ&͘ϯĚϭϯϱϯ͕ϭϯϲϲ;&ĞĚ͘ŝƌ͘ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  ƌŽĂĚĐŽŵŽƌƉ͘ǀ͘YƵĂůĐŽŵŵ/ŶĐ͕͘ϱϰϯ&͘ϯĚϲϴϯ͕ϲϵϲ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  ͘Z͘ĂƌĚ͕/ŶĐ͘ǀ͘ĚǀĂŶĐĞĚĂƌĚŝŽǀĂƐĐƵůĂƌ^ǇƐ͕͘/ŶĐ͕͘ϵϭϭ&͘ϮĚϲϳϬ͕ϲϳϰͲϳϱ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵ
  ĂŶŽŶŽŵƉƵƚĞƌ^ǇƐ͕͘/ŶĐ͘ǀ͘EƵͲ<ŽƚĞ/Ŷƚ͛ů͕/ŶĐ͕͘ϭϯϰ&͘ϯĚϭϬϴϱ͕ϭϬϴϴ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
  ĂƌĚŝĂĐWĂĐĞŵĂŬĞƌƐ͕/ŶĐ͘ǀ͘^ƚ͘:ƵĚĞDĞĚ͕͘/ŶĐ͕͘ϱϳϲ&͘ϯĚϭϯϰϴ͕ϭϯϲϮͲϲϯ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ;ĞŶďĂŶĐͿ͘͘͘͘͘͘͘͘͘͘͘ϭϵ
  ŚĂůƵŵĞĂƵWŽǁĞƌ^ǇƐƚĞŵƐ>>ǀ͘ůĐĂƚĞůͲ>ƵĐĞŶƚ͕ϮϬϭϰt>ϰϲϳϱϬϬϮ͕ĂƚΎϮ;͘Ğů͘^ĞƉƚ͘ϭϮ͕ϮϬϭϰͿ͘͘͘͘͘͘͘͘ϰϴ


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  ŚŝƵŵŝŶĂƚƚĂŽŶĐƌĞƚĞŽŶĐĞƉƚƐ͕/ŶĐ͘ǀ͘ĂƌĚŝŶĂů/ŶĚƵƐƚƌŝĞƐ͕/ŶĐ͕͘ϭϰϱ&͘ϯĚϭϯϬϯ͕ϭϯϭϭͲϭϮ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ
     ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  ŽůŽƌĂĚŽǀ͘EĞǁDĞǆŝĐŽ͕ϰϲϳh͘^͘ϯϭϬ͕ϯϭϲ;ϭϵϴϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
  Žŵŵŝůh^͕>>ǀ͘ŝƐĐŽ^ǇƐ͕͘/ŶĐ͕͘ϭϯϱ^͘ƚ͘ϭϵϮϬ͕ϭϵϮϲ;ϮϬϭϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  ŽŵƉƵƚĞƌŽĐŬŝŶŐ^ƚĂƚŝŽŶŽƌƉ͘ǀ͘Ğůů͕/ŶĐ͕͘ϱϭϵ&͘ϯĚϭϯϲϲ͕ϭϯϳϰ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
  ƌŽƐƐDĞĚWƌŽĚƐ͕͘/ŶĐ͘ǀ͘DĞĚƚƌŽŶŝĐ^ŽĨĂŵŽƌĂŶĞŬ͕/ŶĐ͕͘ϰϮϰ&͘ϯĚϭϮϵϯ͕ϭϯϭϬ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
  ƌŽǁŶKƉĞƌĂƚŝŽŶƐ/ŶƚΖů͕>ƚĚ͘ǀ͘^ŽůƵƚŝĂ/ŶĐ͕͘Ϯϴϵ&͘ϯĚϭϯϲϳ͕ϭϯϳϱ;&ĞĚ͘ŝƌ͘ϮϬϬϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  ƌǇƐƚĂů^ĞŵŝĐŽŶĚƵĐƚŽƌŽƌƉ͘ǀ͘dƌŝƚĞĐŚDŝĐƌŽĞůĞĐƚƌŽŶŝĐƐ/Ŷƚ͛ů͕/ŶĐ͕͘Ϯϰϲ&͘ϯĚϭϯϯϲ͕ϭϯϱϳ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ ϰϯ
  ǇďŽƌŽƌƉ͘ǀ͘&^dĞĐŚƐ͕͘/ŶĐ͕͘ϭϯϴ&͘ϯĚϭϰϰϴ͕ϭϰϱϰ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
  ĞůDĂƌǀŝŽŶŝĐƐ͕/ŶĐ͘ǀ͘YƵŝŶƚŽŶ/ŶƐƚƌƵŵĞŶƚŽ͕͘ϴϯϲ&͘ϮĚϭϯϮϬ͕ϭϯϮϳ;&ĞĚ͘ŝƌ͘ϭϵϴϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  ĞŵĂĐŽŽƌƉ͘ǀ͘&͘sŽŶ>ĂŶŐƐĚŽƌĨĨ>ŝĐĞŶƐŝŶŐ>ƚĚ͕͘ϴϱϭ&͘ϮĚϭϯϴϳ͕ϭϯϵϭ;&ĞĚ͘ŝƌ͘ϭϵϴϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
  ĞWƵǇ^ƉŝŶĞ͕/ŶĐ͘ǀ͘DĞĚƚƌŽŶŝĐ^ŽĨĂŵŽƌĂŶĞŬ͕/ŶĐ͕͘ϱϲϳ&͘ϯĚϭϯϭϰ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
  ĞƌŵĂ&ŽĐƵƐ>>ǀ͘hůƚŚĞƌĂ͕/ŶĐ͕͘ϮϬϭ&͘^ƵƉƉ͘ϯĚϰϲϱ͕ϰϳϯ;͘Ğů͘ϮϬϭϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ
  ŽƵŐůĂƐǇŶĂŵŝĐƐ͕>>ǀ͘ƵǇĞƌƐWƌŽĚƐ͘Ž͕͘ϳϭϳ&͘ϯĚϭϯϯϲ͕ϭϯϰϱ;&ĞĚ͘ŝƌ͘ϮϬϭϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ŽǁŚĞŵ͘Ž͘ǀ͘DĞĞ/ŶĚƵƐ͕͘/ŶĐ͕͘ϯϰϭ&͘ϯĚĂƚϭϯϴϭͲϴϮ;&ĞĚ͘ŝƌ͘ϮϬϬϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  ŽǁĂŐŝĂĐDĨŐ͘Ž͘ǀ͘DŝŶŶĞƐŽƚĂDŽůŝŶĞWůŽǁŽ͕͘Ϯϯϱh͘^͘ϲϰϭ͕ϲϰϴ;ϭϵϭϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  ^hDĞĚŝĐĂůŽƌƉ͘ǀ͘:D^Ž͕͘>ƚĚ͕͘ϰϳϭ&͘ϯĚϭϮϵϯ͕ϭϯϬϰ;&ĞĚ͘ŝƌ͘ϮϬϬϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ͕ϭϳ
  ǇŶĂĐŽƌĞ,ŽůĚŝŶŐƐŽƌƉ͘ǀ͘h^͘WŚŝůŝƉƐŽƌƉ͕͘ϯϲϯ&͘ϯĚϭϮϲϯ͕ϭϮϳϱͲϳϲ;&ĞĚ͘ŝƌ͘ϮϬϬϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
  ĞĂǇ͕/ŶĐ͘ǀ͘DĞƌĐǆĐŚĂŶŐĞ͕>͘>͘͕͘ϱϰϳh͘^͘ϯϴϴ͕ϯϵϰ;ϮϬϬϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ
  ĐŽůŽĐŚĞŵ͕/ŶĐ͘ǀ͘^͘ĂůŝĨŽƌŶŝĂĚŝƐŽŶŽ͕͘ϮϮϳ&͘ϯĚϭϯϲϭ͕ϭϯϳϭ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
  ŝƐĂŝŽ͘>ƚĚ͘s͘ƌ͘ZĞĚĚǇ͛Ɛ>ĂďŽƌĂƚŽƌŝĞƐ͕>ƚĚ͕͘ϱϯϯ&͘ϯĚϭϯϱϯ͕ϭϯϱϵ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  ůŝ>ŝůůǇĂŶĚŽ͘ǀ͘dĞǀĂWĂƌĞŶƚĞƌĂůDĞĚŝĐŝŶĞƐ͕/ŶĐ͕͘ϴϰϱ&͘ϯĚϭϯϱϳ;&ĞĚ͘ŝƌ͘ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  DŽƌƉ͘ǀ͘WƵƌĞ^ƚŽƌĂŐĞ͕/ŶĐ͕͘ϭϱϰ&͘^ƵƉƉ͘ϯĚϴϭ͕ϭϬϰ;͘Ğů͘ϮϬϭϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ
  ŶĚŽWŚĂƌŵ͘/ŶĐ͘ǀ͘ĐƚĂǀŝƐ/ŶĐ͕͘͘͘EŽ͘ϭϰͲϭϯϴϭͲZ'͕ϮϬϭϳt>ϯϳϯϭϬϬϭ͕ĂƚΎϯʹϱ;͘Ğů͘ƵŐ͘ϯϬ͕
     ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ
  ƌŝĐƐƐŽŶ͕/ŶĐ͘ǀ͘Ͳ>ŝŶŬ^ǇƐƚĞŵƐ͕/ŶĐ͕͘ϳϳϯ&͘ϯĚϭϮϬϭ͕ϭϮϮϲͲϮϳ;&ĞĚ͘ŝƌ͘ϮϬϭϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ
  ƌŝĐƐƐŽŶ͕/ŶĐ͘ǀ͘,ĂƌƌŝƐŽƌƉ͕͘ϯϱϮ&͘ϯĚϭϯϲϵ͕ϭϯϳϴ;&ĞĚ͘ŝƌ͘ϮϬϬϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϯ
  ƚŚŝĐŽŶŶĚŽͲ^ƵƌŐĞƌǇ͕/ŶĐ͘ǀ͘h͘^͘^ƵƌŐŝĐĂůŽƌƉ͕͘ϭϰϵ&͘ϯĚϭϯϬϵ͕ϭϯϮϬ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  ǀŽŶŝŬĞŐƵƐƐĂ'ŵď,ǀ͘DĂƚĞƌŝĂ͕/ŶĐ͕͘ŝǀ͘EŽ͘ϬϵͲϲϯϲ;E>,ͬ:^Ϳ͕ϮϬϭϳt>ϯϰϯϰϭϱϲ͕ĂƚΎϭ;͘Ğů͘ƵŐ͘ϵ͕
     ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ǆǆŽŶZĞƐĞĂƌĐŚΘŶŐŝŶĞĞƌŝŶŐŽ͘ǀ͘hŶŝƚĞĚ^ƚĂƚĞƐ͕Ϯϲϱ&͘ϯĚϭϯϳϭ͕ϭϯϳϱ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
  &ĂƵůŬŶĞƌǀ͘'ŝďďƐ͕ϭϵϵ&͘ϮĚϲϯϱ͕ϲϯϴ;ϵƚŚŝƌ͘ϭϵϱϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  &ĞƌŐƵƐŽŶĞĂƵƌĞŐĂƌĚͬ>ŽŐŝĐŽŶƚƌŽůƐ͕ŝǀ͘ŽĨŽǀĞƌZĞƐ͕͘/ŶĐ͘ǀ͘DĞŐĂ^ǇƐ͕͘>>͕ϯϱϬ&͘ϯĚϭϯϮϳ͕ϭϯϯϴ
     ;&ĞĚ͘ŝƌ͘ϮϬϬϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  &ĞƐƚŽŽƌƉ͘ǀ͘^ŚŽŬĞƚƐƵ<ŝŶǌŽŬƵ<ŽŐǇŽ<ĂďƵƐŚŝŬŝŽ͕͘>ƚĚ͕͘ϭϮϮ^͘ƚ͘ϭϴϯϭ͕ϭϴϰϮ;ϮϬϬϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  &ŝŶŝƐŚŶŐ͛ŐŽ͘ǀ͘ĞƌƉĂ/ŶĚƵƐ͕͘/ŶĐ͕͘ϴϬϲ&͘ϮĚϭϬϰϭ͕ϭϬϰϰͲϰϱ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϯ
  &ŝŶũĂŶ͕/ŶĐ͘ǀ͘ůƵĞŽĂƚ^ǇƐƚĞŵƐ͕/ŶĐ͕͘ϮϬϭϲt>ϯϴϴϬϳϳϰ͕Ύϭϲ;E͘͘Ăů͘ϮϬϭϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϳ
  &ƵŶĂŝůĞĐ͘Ž͘ǀ͘ĂĞǁŽŽůĞĐƚƌŽŶŝĐƐŽƌƉ͕͘ϲϭϲ&͘ϯĚϭϯϯϳ͕ϭϯϲϴͲϲϵ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
  'ĂƐƐĞƌŚĂŝƌŽ͕͘/ŶĐ͘ǀ͘/ŶĨĂŶƚŝŚĂŝƌDĨŐ͘ŽƌƉ͕͘ϲϬ&͘ϯĚϳϳϬ͕ϳϳϲ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ͕ϯϳ
  'ĞŶ͘DŽƚŽƌƐŽƌƉ͘ǀ͘ĞǀĞǆŽƌƉ͕͘ϰϲϭh͘^͘ϲϰϴ͕ϲϱϰ;ϭϵϴϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϱ
  'ĞŽƌŐĞƚŽǁŶZĂŝůƋƵŝƉ͘Ž͘ǀ͘,ŽůůĂŶĚ>͘W͕͘ϴϲϳ&͘ϯĚϭϮϮϵ͕ϭϮϰϰ;&ĞĚ͘ŝƌ͘ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ
  'ŝůůĞƚƚĞŽ͘ǀ͘^͘͘:ŽŚŶƐŽŶΘ^ŽŶ͕/ŶĐ͕͘ϵϭϵ&͘ϮĚϳϮϬ͕ϳϮϲ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ

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  'ůĂǆŽ'ƌŽƵƉ>ƚĚ͘ǀ͘ƉŽƚĞǆ͕/ŶĐ͕͘ϯϳϲ&͘ϯĚϭϯϯϵ͕ϭϯϰϳ;&ĞĚ͘ŝƌ͘ϮϬϬϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
  'ůŽďĂůͲdĞĐŚƉƉůŝĂŶĐĞƐ͕/ŶĐ͘ǀ͘^^͘͕͘ϱϲϯh͘^͘ϳϱϰ͕ϳϲϲ;ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  'ŽůĚĞŶůŽƵŶƚ͕/ŶĐ͘ǀ͘ZŽďĞƌƚ,WĞƚĞƌƐŽŶ͕ϰϯϴ&͘ϯĚϭϯϱϰ͕ϭϯϲϮ;&ĞĚ͘ŝƌ͘ϮϬϬϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ͕ϭϳ͕ϭϵ
  'ƌĂŚĂŵǀ͘:ŽŚŶĞĞƌĞŽ͕͘ϯϴϯh͘^͘ϭ͕ϭϳͲϭϴ͕ϴϲ^͘ƚ͘ϲϴϰ͕ϲϵϰ;ϭϵϲϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵ
  'ƌĂŝŶWƌŽĐĞƐƐŝŶŐŽƌƉ͘ǀ͘ŵĞƌŝĐĂŶDĂŝǌĞͲWƌŽĚƵĐƚƐŽ͕͘ϭϴϱ&͘ϯĚϭϯϰϭ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
  'ƌĂǀĞƌdĂŶŬΘDĨŐ͘Ž͘ǀ͘>ŝŶĚĞŝƌWƌŽĚƐ͘Ž͕͘ϯϯϵh͘^͘ϲϬϱ͕ϲϬϴ;ϭϵϱϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  ,ĂůŽůĞĐƚƌŽŶŝĐƐ͕/ŶĐ͘ǀ͘WƵůƐĞůĞĐƚƌŽŶŝĐƐ͕/ŶĐ͕͘ϭϯϲ^͘ƚ͘ϭϵϮϯ͕ϭϵϯϮ;ϮϬϭϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ͕Ϯϭ͕ϰϳ
  ,ĞŵƐƚƌĞĞƚǀ͘ŽŵƉƵƚĞƌŶƚƌǇ^ǇƐ͘ŽƌƉ͕͘ϵϳϮ&͘ϮĚϭϮϵϬ͕ϭϮϵϰͲϵϱ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
  ,ĞǁůĞƚƚʹWĂĐŬĂƌĚŽ͘ǀ͘ĂƵƐĐŚΘ>Žŵď͕/ŶĐ͕͘ϵϬϵ&͘ϮĚϭϰϲϰ͕ϭϰϲϵ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵ͕Ϯϳ
  ,ŝůŐƌĂĞǀĞŽƌƉ͘ǀ͘^ǇŵĂŶƚĞĐŽƌƉ͕͘Ϯϲϱ&͘ϯĚ͘ϭϯϯϲ͕ϭϯϰϯ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵ
  ,ŽĞĐŚƐƚĞůĂŶĞƐĞŽƌƉ͘ǀ͘WŚĞŵƐ͘>ƚĚ͕͘ϳϴ&͘ϯĚϭϱϳϱ͕ϭϱϳϴ;&ĞĚ͘ŝƌ͘ϭϵϵϲͿͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϳ
  ,ŽŐĂŶĂƐǀ͘ƌĞƐƐĞƌ/ŶĚƵƐ͕͘/ŶĐ͕͘ϵ&͘ϯĚϵϰϴ͕ϵϱϬ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
  ,ǇďƌŝƚĞĐŚ͕/ŶĐ͘ǀ͘DŽŶŽĐůŽŶĂůŶƚŝďŽĚŝĞƐ͕/ŶĐ͕͘ϴϬϮ&͘ϮĚϭϯϲϳ͕ϭϯϳϲ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯ͕ϯϰ
  ŝϰŝ>ƚĚ͘W͛ƐŚŝƉǀ͘DŝĐƌŽƐŽĨƚŽƌƉ͕͘ϱϵϴ&͘ϯĚϴϯϭ͕ϴϲϮ;&ĞĚ͘ŝƌ͘ϮϬϭϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  /ŶƌĞŶƚŽƌDĞĚŝĂŽƌƉ͕͘ϲϴϵ&͘ϯĚϭϮϴϮ͕ϭϮϵϬ;&ĞĚ͘ŝƌ͘ϮϬϭϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  /ŶƌĞƌŬůĞǇ͕ϰϱϱ&͘ϮĚϱϴϲ͕ϱϴϳͲϴϴ;͘͘W͘ϭϵϳϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  /ŶƌĞǇĐůŽďĞŶǌĂƉŝŶĞ,ǇĚƌŽĐŚůŽƌŝĚĞǆƚĞŶĚĞĚZĞůĞĂƐĞĂƉƐƵůĞWĂƚĞŶƚ>ŝƚŝŐ͕͘ϲϳϲ&͘ϯĚϭϬϲϯ͕ϭϬϲϴͲϲϵ;&ĞĚ͘
     ŝƌ͘ϮϬϭϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬ
  /ŶƌĞĞŵďŝĐǌĂŬ͕ϭϳϱ&͘ϯĚϵϵϰ͕ϵϵϵ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
  /ŶƌĞ&ŝŶĞ͕ϴϯϳ&͘ϮĚϭϬϳϭ͕ϭϬϳϱ;&ĞĚ͘ŝƌ͘ϭϵϴϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
  /ŶƌĞ<Ăƚǌ͕ϲϴϳ&͘ϮĚϰϱϬ͕ϰϱϰͲϰϱϲ;͘͘W͘͘ϭϵϴϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ
  /ŶƌĞ<ŽƚǌĂď͕Ϯϭϳ&͘ϯĚϭϯϲϱ͕ϭϯϲϵ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  /ŶƌĞKŵĞƉƌĂǌŽůĞWĂƚĞŶƚ>ŝƚŝŐ͘ǀ͘ƉŽƚĞǆŽƌƉ͕͘ϱϯϲ&͘ϯĚϭϯϲϭ͕ϭϯϴϭ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ
  /ŶƌĞZŽƵĨĨĞƚ͕ϭϰϵ&͘ϯĚϭϯϱϬ͕ϭϯϱϳ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  /ŶƌĞ^ĞĂŐĂƚĞdĞĐŚ͕͘>>͕ϰϵϳ&͘ϯĚϭϯϲϬ͕ϭϯϲϴ;&ĞĚ͘ŝƌ͘ϮϬϬϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϳ
  /ŶƌĞtĂŶĚƐ͕ϴϱϴ&͘ϮĚϳϯϭ͕ϳϯϳ;&ĞĚ͘ŝƌ͘ϭϵϴϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  /ŶƌĞtǇĞƌ͕ϲϱϱ&͘ϮĚϮϮϭ͕ϮϮϲ;͘͘W͘͘ϭϵϴϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯ
  /ŶƌĞůĞƚǌ͕ϴϵϯ&͘ϮĚϯϭϵ͕ϯϮϭ;&ĞĚ͘ŝƌ͘ϭϵϴϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
  /ŶŶŽŐĞŶĞƚŝĐƐ͕E͘s͘ǀ͘ďďŽƚƚ>ĂďƐ͕͘ϱϭϮ&͘ϯĚϭϯϲϯ͕ϭϯϳϰŶ͘ϯ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  /ŶƚĞůŽƌƉ͘ǀ͘h͘^͘/Ŷƚ͛ůdƌĂĚĞŽŵŵ͛Ŷ͕ϵϰϲ&͘ϮĚϴϮϭ͕ϴϯϬ;&ĞĚ͘ŝƌ͘ϭϵϵϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
  /ŶƚĞƌĐŽŶŶĞĐƚWůĂŶŶŝŶŐŽƌƉ͘ǀ͘&Ğŝů͕ϳϳϰ&͘ϮĚϭϭϯϮ͕ϭϭϯϴ;&ĞĚ͘ŝƌ͘ϭϵϴϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  :ŽŶĞƐǀ͘,ĂƌĚǇ͕ϳϮϳ&͘ϮĚϭϱϮϰ͕ϭϱϮϵŶ͘ϯ;&ĞĚ͘ŝƌ͘ϭϵϴϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ
  :ŽǇdĞĐŚƐ͕͘/ŶĐ͘ǀ͘&ůĂŬƚ͕/ŶĐ͕͘ϲ&͘ϯĚϳϳϬ͕ϳϳϱ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  <ĂƌĂdĞĐŚ͘/ŶĐ͘ǀ͘^ƚĂŵƉƐ͘ĐŽŵ/ŶĐ͕͘ϱϴϮ&͘ϯĚϭϯϰϭ͕ϭϯϰϴ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
  <ĂƵĨŵĂŶŽ͘ǀ͘>ĂŶƚĞĐŚ͕/ŶĐ͕͘ϴϬϳ&͘ϮĚϵϳϬ͕ϵϳϴͲϵϳϵ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ
  <ŝŶŐ/ŶƐƚƌƵŵĞŶƚƐŽƌƉ͘ǀ͘WĞƌĞŐŽ͕ϲϱ&͘ϯĚϵϰϭ͕ϵϱϮ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
  <^Z/Ŷƚ͛ůŽ͘ǀ͘dĞůĞĨůĞǆ/ŶĐ͕͘ϱϱϬh͘^͘ϯϵϴ͕ϰϬϲ͕ϭϮϳ^͘ƚ͘ϭϳϮϳ͕ϭϳϯϰ;ϮϬϬϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵ͕ϯϬ͕ϯϭ
  >͘͘'ĞĂƌ͕/ŶĐ͘ǀ͘dŚŽŵDĐŶ^ŚŽĞŽ͕͘ϵϴϴ&͘ϮĚϭϭϭϳ͕ϭϭϮϳ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ
  >Ăŵ͕/ŶĐ͘ǀ͘:ŽŚŶƐͲDĂŶǀŝůůĞŽƌƉ͕͘ϳϭϴ&͘ϮĚϭϬϱϲ͕ϭϬϲϱ;&ĞĚ͘ŝƌ͘ϭϵϴϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϭ
  >ŝƋƵŝĚǇŶĂŵŝĐƐŽƌƉ͘ǀ͘sĂƵŐŚĂŶŽ͕͘/ŶĐ͕͘ϰϰϵ&͘ϯĚϭϮϬϵ͕ϭϮϮϯ;&ĞĚ͘ŝƌ͘ϮϬϬϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴ͕ϰϳ
  >ŽƵŐŚŵĂŶǀ͘ŽŶƐŽůͲWĞŶŶƐǇůǀĂŶŝĂŽĂůŽ͕͘ϲ&͘ϯĚϴϴ͕ϵϳ;ϯĚŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  >ƵĐĞŶƚdĞĐŚƐ͕͘/ŶĐ͘ǀ͘'ĂƚĞǁĂǇ͕/ŶĐ͕͘ϱϴϬ&͘ϯĚϭϯϬϭ͕ϭϯϮϰ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϴ

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  DĂŚƵƌŬĂƌǀ͘͘Z͘ĂƌĚ͕/ŶĐ͕͘ϳϵ&͘ϯĚϭϱϳϮ͕ϭϱϳϲͲϳϳ;&ĞĚ͘ŝƌ͘ϭϵϵϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ͕Ϯϯ
  DĂŶǀŝůůĞ^ĂůĞƐŽƌƉ͘ǀ͘WĂƌĂŵŽƵŶƚ^ǇƐƚĞŵƐ͕/ŶĐ͕͘ϵϭϳ&͘ϮĚϱϰϰ͕ϱϱϰ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  DĂƌŬŵĂŶǀ͘tĞƐƚǀŝĞǁ/ŶƐƚƌƵŵĞŶƚƐ͕/ŶĐ͕͘ϱϮ&͘ϯĚϵϲϳ͕ϵϳϬͲϳϭ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ͕ϭϱ
  DĂƐƐ͘/ŶƐƚ͘ŽĨdĞĐŚ͘ǀ͘&ŽƌƚŝĂ͕ĞƚĂů͕͘ϳϳϰ&͘ϮĚϭϭϬϰ͕ϭϭϬϵ;&ĞĚ͘ŝƌ͘ϭϵϴϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯ
  DĞŶƚŽƌ'ƌĂƉŚŝĐƐŽƌƉ͘ǀ͘sͲh^͕/ŶĐ͕͘ϴϱϭ&͘ϯĚϭϮϳϱ͕ϭϮϵϱ;&ĞĚ͘ŝƌ͘ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ͕ϰϭ
  DĞƚĂďŽůŝƚĞ>ĂďƐ͕/ŶĐ͘ǀ͘>Ăď͘ŽƌƉ͘ŽĨŵ͘,ŽůĚŝŶŐƐ͕ϯϳϬ&͘ϯĚϭϯϱϰ͕ϭϯϲϰʹϲϱ;&ĞĚ͘ŝƌ͘ϮϬϬϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  DĞƚƌŽͲ'ŽůĚǁǇŶͲDĂǇĞƌ^ƚƵĚŝŽƐ/ŶĐ͘ǀ͘'ƌŽŬƐƚĞƌ͕>ƚĚ͕͘ϱϰϱh͘^͘ϵϭϯ͕ϵϯϲ;ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ͕ϭϵ
  DĞǇĞƌƐǀ͘ƐŝĐƐŽƌƉ͕ϵϳϰ&͘ϮĚϭϯϬϰ͕ϭϯϬϵ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
  DŝĐŚĂůŝĐǀ͘ůĞǀĞůĂŶĚdĂŶŬĞƌƐ͕/ŶĐ͕͘ϯϲϰh͘^͘ϯϮϱ͕ϯϯϬ;ϭϵϲϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
  DŝĐƌŽƉƌŽĐĞƐƐŽƌŶŚĂŶĐĞŵĞŶƚŽƌƉ͘ǀ͘dĞǆĂƐ/ŶƐƚƌƵŵĞŶƚƐ͕/ŶĐ͕͘ϱϮϬ&͘ϯĚϭϯϲϳ͕ϭϯϳϰ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘ϯϱ
  DŝĐƌŽƐŽĨƚŽƌƉ͘ǀ͘dΘdŽƌƉ͕͘ϱϱϬh^ϰϯϳ͕ϰϱϯ;ϮϬϬϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴ
  DŝĐƌŽƐŽĨƚŽƌƉ͘ǀ͘ŝϰŝ>ƚĚ͘W͛ƐŚŝƉ͕ϭϯϭ^͘ƚ͘ϮϮϯϴ͕ϮϮϰϮ;ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲ
  DŝŶŶĞƐŽƚĂDŝŶ͘ΘDĨŐ͘Ž͘ǀ͘ŚĞŵƋƵĞ͕/ŶĐ͕͘ϯϬϯ&͘ϯĚϭϮϵϰ͕ϭϯϬϲ;&ĞĚ͘ŝƌ͘ϮϬϬϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯ
  DŝŶŶĞƐŽƚĂDŝŶ͘ΘDĨŐ͘Ž͘ǀ͘:ŽŚŶƐŽŶΘ:ŽŚŶƐŽŶKƌƚŚŽƉĂĞĚŝĐƐ͕/ŶĐ͕͘ϵϳϲ&͘ϮĚϭϱϱϵ͕ϭϱϴϭ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ
    ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ
  DŝŶŶĞƐŽƚĂDŝŶŝŶŐΘDĨŐ͘Ž͕͘ǀ͘:ŽŚŶƐŽŶΘ:ŽŚŶƐŽŶKƌƚŚŽƉĂĞĚŝĐƐ͕ϵϳϲ&͘ϮĚϭϱϱϵ͕ϭϱϳϵ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ
    ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϯ
  DŝŶƚŽŶǀ͘EĂƚ͛ůƐƐ͛ŶŽĨ^ĞĐ͘ĞĂůĞƌƐ͕/ŶĐ͕͘ϯϯϲ&͘ϯĚϭϯϳϯ͕ϭϯϳϲͲϳϳ;&ĞĚ͘ŝƌ͘ϮϬϬϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮ
  DŽďŝůKŝůŽƌƉ͘ǀ͘ŵŽĐŽŚĞŵŝĐĂůƐŽƌƉ͕͘ϵϭϱ&͘^ƵƉƉ͘ϭϯϯϯ͕ϭϯϱϯ;͘Ğů͘ϭϵϵϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  DŽůĞĐƵůŽŶZĞƐ͘ŽƌƉ͘ǀ͘^͕/ŶĐ͕͘ϳϵϯ&͘ϮĚϭϮϲϭ͕ϭϮϳϮ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ
  DŽŶĂƌĐŚ<ŶŝƚƚŝŶŐDĂĐŚŝŶĞƌǇŽƌƉ͘ǀ͘^ƵůǌĞƌDŽƌĂƚ'ŵďŚ͕ϭϯϵ&͘ϯĚϴϳϳ͕ϴϴϱ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮ
  DŽŶƐĂŶƚŽŽ͘ǀ͘DǇĐŽŐĞŶWůĂŶƚ^Đŝ͕͘/ŶĐ͕͘Ϯϲϭ&͘ϯĚϭϯϱϲ͕ϭϯϲϵ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰ
  DŽƌƚŽŶ/ŶƚΖů͕/ŶĐ͘ǀ͘ĂƌĚŝŶĂůŚĞŵ͘Ž͕͘ϱ&͘ϯĚϭϰϲϰ͕ϭϰϳϬ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
  DƵŶŝĂƵĐƚŝŽŶ͕/ŶĐ͘ǀ͘dŚŽŵƐŽŶŽƌƉ͕͘ϱϯϮ&͘ϯĚϭϯϭϴ͕ϭϯϮϵ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  DǇĐŽŐĞŶWůĂŶƚ^ĐŝĞŶĐĞ͕/ŶĐ͘ǀ͘DŽŶƐĂŶƚŽŽ͕͘ϲϭ&͘^ƵƉƉ͘ϮĚ͘ϭϵϵ͕Ϯϱϱ;͘Ğů͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
  E͘ŵ͘sĂĐĐŝŶĞ͕/ŶĐ͘ǀ͘ŵ͘ǇĂŶĂŵŝĚŽ͕͘ϳ&͘ϯĚϭϱϳϭ͕ϭϱϳϵͲϴϬ;&ĞĚ͘ŝƌ͘ϭϵϵϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲ
  ŶhŽƌƉ͘ǀ͘^ĞĂŚĂŶŐĞ/ŶƚΖů͕/ŶĐ͕͘ϯϭϯ&͘^ƵƉƉ͘ϮĚϯϲϭ͕ϯϵϮ;͘Ğů͘ϮϬϬϰͿ͕ĂĨĨ͛Ě͕ϰϯϲ&͘ϯĚϭϯϭϳ;&ĞĚ͘
    ŝƌ͘ϮϬϬϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  EŝĐŬƐŽŶ/ŶĚƵƐ͕͘/ŶĐ͘ǀ͘ZK>DĨŐ͘Ž͕͘>ƚĚ͕͘ϴϰϳ&͘ϮĚϳϵϱ͕ϴϬϬ;&ĞĚ͘ŝƌ͘ϭϵϴϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  EŽƌƚŚĞƌŶdĞůĞĐŽŵ͕/ŶĐ͘ǀ͘ĂƚĂƉŽŝŶƚŽƌƉ͕͘ϵϬϴ&͘ϮĚϵϯϭ͕ϵϰϭ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  EŽǀŽEŽƌĚŝƐŬǀ͘ŝŽͲdĞĐŚ͘'ĞŶĞƌĂů͕ϰϮϰ&͘ϯĚϭϯϰϳ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴ
  EǇƐƚƌŽŵǀ͘dZyŽ͕͘ϰϮϰ&͘ϯĚϭϭϯϲ͕ϭϭϰϱ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
  KĂŬůĞǇ͕/ŶĐ͘ǀ͘^ƵŶŐůĂƐƐ,Ƶƚ/ŶƚΖů͕ϯϭϲ&͘ϯĚϭϯϯϭ͕ϭϯϯϵ;&ĞĚ͘ŝƌ͘ϮϬϬϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳ
  KĐƚĂŶĞ&ŝƚŶĞƐƐ͕>>ǀ͘/KE,ĞĂůƚŚΘ&ŝƚŶĞƐƐ͕/ŶĐ͕͘ϭϯϰ^͘ƚ͘ϭϳϰϵ͕ϭϳϱϲ;ϮϬϭϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϴ
  KƌƚŚŽŬŝŶĞƚŝĐƐ͕/ŶĐ͘ǀ͘^ĂĨĞƚǇdƌĂǀĞůŚĂŝƌƐ͕/ŶĐ͕͘ϴϬϲ&͘ϮĚϭϱϲϱ͕ϭϱϳϲ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϱ
  KƌƚŚŽͲDĐEĞŝůWŚĂƌŵĂĐĞƵƚŝĐĂů/ŶĐ͘ǀ͘DǇůĂŶ>ĂďƐ͕ϱϮϬ&͘ϯĚϭϯϱϴ͕ϭϯϲϰ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  KƚƐƵŬĂWŚĂƌŵĂĐĞƵƚŝĐĂůŽ͕͘>ƚĚ͘ǀ͘^ĂŶĚŽǌ͕/ŶĐ͕͘ϲϳϴ&͘ϯĚϭϮϴϬ͕ϭϮϵϮ;&ĞĚ͘ŝƌ͘ϮϬϭϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  KǀĞƌŚĞĂĚŽŽƌŽƌƉ͘ǀ͘ŚĂŵďĞƌůĂŝŶ'ƌŽƵƉ͕/ŶĐ͕͘ϭϵϰ&͘ϯĚϭϮϲϭ͕ϭϮϳϬͲϳϭ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  WĂĐŝĨŝĐ&ƵƌŶŝƚƵƌĞDĨŐ͘Ž͘ǀ͘WƌĞǀŝĞǁ&ƵƌŶŝƚƵƌĞŽƌƉ͕͘ϴϬϬ&͘ϮĚϭϭϭϭ͕ϭϭϭϰŶ͘ϵ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭ
  WĂůůŽƌƉ͘ǀ͘DŝĐƌŽŶ^ĞƉĂƌĂƚŝŽŶƐ͕/ŶĐ͕͘ϲϲ&͘ϯĚϭϮϭϭ͕ϭϮϮϬ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱ
  WĂŶĚƌŽůh^͕>Wǀ͘ŝƌďŽƐƐZǇ͘WƌŽĚƐ͕͘/ŶĐ͕͘ϰϮϰ&͘ϯĚϭϭϲϭ͕ϭϭϲϱ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  WĂŶĚƵŝƚŽƌƉ͘ǀ͘^ƚĂŚůŝŶƌŽƐ͘&ŝďƌĞtŽƌŬƐ͕/ŶĐ͕͘ϱϳϱ&͘ϮĚϭϭϱϮ͕ϭϭϱϲ;ϲƚŚŝƌ͘ϭϵϳϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ

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  WĂƌĂůůĞů/ƌŽŶ>>ǀ͘EĞƚƉƉ/ŶĐ͕͘ϮϬϭϰt>ϰϱϰϬϮϬϵ͕ĂƚΎϯ;͘Ğů͘^ĞƉƚ͘ϭϮ͕ϮϬϭϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϳ
  WŚĂƌŵĂ^ƚĞŵdŚĞƌĂƉĞƵƚŝĐƐ͕/ŶĐ͘ǀ͘sŝĂĞůů͕/ŶĐ͕͘ϰϵϭ&͘ϯĚϭϯϰϮ͕ϭϯϲϬ;&ĞĚ͘ŝƌ͘ϮϬϬϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬ
  WŚŝůůŝƉƐǀ͘t,ŽƌƉ͕͘ϰϭϱ&͘ϯĚϭϯϬϯ͕ϭϯϭϮ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬ͕ϭϭ͕ϭϱ
  WƌŽĐƚĞƌΘ'ĂŵďůĞŽ͘ǀ͘dĞǀĂWŚĂƌŵƐ͘h^͕/ŶĐ͕͘ϱϲϲ&͘ϯĚϵϴϵ͕ϵϵϰ;&ĞĚ͘ŝƌ͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭ
  ZĞĂĚŽƌƉŽƌĂƚŝŽŶǀ͘WŽƌƚĞĐ/ŶĐ͕͘ϵϳϬ&͘ϮĚϴϭϲ͕ϴϮϲʹϮϳ;&ĞĚ͘ŝƌ͘ϭϵϵϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  ZŝĐŽŚŽ͘>ƚĚ͘ǀ͘YƵĂŶƚĂŽŵƉƵƚĞƌ͕/ŶĐ͕͘ϱϱϬ&͘ϯĚϭϯϮϱ͕ϭϯϰϭͲϰϮ;&ĞĚ͘ŝƌ͘ϮϬϬϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ͕ϭϵ
  ZŝƚĞͲ,ŝƚĞŽƌƉ͘ǀ͘<ĞůůĞǇŽ͕͘ϱϲ&͘ϯĚϭϱϯϴ͕ϭϱϰϱ;&ĞĚ͘ŝƌ͘ϭϵϵϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ͕ϰϭ
  ZŽďĞƌƚŽƐĐŚ>>ǀ͘WǇůŽŶDĨŐ͘ŽƌƉ͕͘ϲϱϵ&͘ϯĚϭϭϰϮ͕ϭϭϱϲ;&ĞĚ͘ŝƌ͘ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ZƵŝǌǀ͘͘͘ŚĂŶĐĞŽ͕͘Ϯϯϰ&͘ϯĚϲϱϰ͕ϲϲϯ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵ͕ϯϯ
  ^ĂŐĞWƌŽĚƐ͕͘/ŶĐ͘ǀ͘ĞǀŽŶ/ŶĚƵƐ͕͘/ŶĐ͕͘ϭϮϲ&͘ϯĚϭϰϮϬ͕ϭϰϮϰ;&ĞĚ͘ŝƌ͘ϭϵϵϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰ
  ^ĂŶŽĨŝͲǀĞŶƚŝƐĞƵƚƐĐŚůĂŶĚ'ŵďŚǀ͘'ůĞŶŵĂƌŬWŚĂƌŵƐ͘/ŶĐ͕͘h^͕ϴϮϭ&͘^ƵƉƉ͘ϮĚϲϴϭ͕ϲϵϰ;͘E͘:͘ϮϬϭϭͿ
     ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϵ
  ^ĞĂƚƚůĞŽǆŽ͘ǀ͘/ŶĚƵƐ͘ƌĂƚŝŶŐΘWĂĐŬŝŶŐ͕/ŶĐ͕͘ϳϯϭ&͘ϮĚϴϭϴ͕ϴϮϲ;&ĞĚ͘ŝƌ͘ϭϵϴϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϳ
  ^͕^͘͘ǀ͘DŽŶƚŐŽŵĞƌǇtĂƌĚΘŽ͕͘/ŶĐ͕͘ϱϵϰ&͘ϯĚϭϯϲϬ͕ϭϯϳϲ;&ĞĚ͘ŝƌ͘ϮϬϭϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ
  ^ĞŶƐŽŶŝĐƐ͕/ŶĐ͘ǀ͘ĞƌŽƐŽŶŝĐŽƌƉ͕͘ϴϭ&͘ϯĚϭϱϲϲ͕ϭϱϳϰ;&ĞĚ͘ŝƌ͘ϭϵϵϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  ^ŵŝƚŚŬůŝŶĞŝĂŐŶŽƐƚŝĐƐ͕/ŶĐ͘ǀ͘,ĞůĞŶĂ>ĂďŽƌĂƚŽƌŝĞƐŽƌƉ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ͕ϰϬ
  ^ƚ͘ůĂŝƌ/ŶƚĞůůĞĐƚƵĂůWƌŽƉ͘ŽŶƐƵůƚĂŶƚƐ͕/ŶĐ͘ǀ͘ĂŶŽŶ͕/ŶĐ͕͘/s͘͘ϬϯͲϮϰϭ::&͕ϮϬϬϰt>ϮϮϭϯϱϲϮ;͘Ğů͘
     ^ĞƉƚ͘Ϯϴ͕ϮϬϬϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  ^ƚĂƚĞ/ŶĚƵƐ͕͘/ŶĐ͘ǀ͘DŽƌͲ&ůŽ/ŶĚƵƐ͕͘/ŶĐ͕͘ϴϴϯ&͘ϮĚϭϱϳϯ͕ϭϱϳϴͲϴϬ;&ĞĚ͘ŝƌ͘ϭϵϴϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϮ
  ^ƚƌǇŬĞƌŽƌƉ͘ǀ͘ĂǀŽů/ŶĐ͕͘Ϯϯϰ&͘ϯĚϭϮϱϮ͕ϭϮϱϴ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ͕ϰϮ
  ^ǇŶYŽƌ͕/ŶĐ͘ǀ͘ƌƚĞƐǇŶdĞĐŚƐ͕͘/ŶĐ͕͘ϳϬϵ&͘ϯĚϭϯϲϱ;&ĞĚ͘ŝƌ͘ϮϬϭϯͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϯ
  dĂŬĞĚĂŚĞŵŝĐĂů/ŶĚƵƐƚƌŝĞƐ͕>ƚĚ͘ǀ͘ůƉŚĂƉŚĂƌŵWƚǇ͕͘>ƚĚ͕͘ϰϵϮ&͘ϯĚϭϯϱϬ͕ϭϯϱϵͲϲϬ;&ĞĚ͘ŝƌ͘ϮϬϬϳͿ͘͘͘͘͘͘͘ϯϭ
  dĞůĞĨůĞǆ͕/ŶĐ͘ǀ͘&ŝĐŽƐĂEŽƌƚŚŵĞƌŝĐĂŽƌƉ͕͘Ϯϵϵ&͘ϯĚϭϯϭϯ͕ϭϯϮϳ;&ĞĚ͘ŝƌ͘ϮϬϬϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭ
  dƌĂŶƐŵĂƚŝĐ͕/ŶĐ͘ǀ͘'ƵůƚŽŶ/ŶĚƵƐ͕͘/ŶĐ͕͘ϭϴϬ&͘ϯĚϭϯϰϯ͕ϭϯϰϳ;&ĞĚ͘ŝƌ͘ϭϵϵϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϲ
  dƌĂŶƐŽĐĞĂŶKĨĨƐŚŽƌĞĞĞƉǁĂƚĞƌƌŝůůŝŶŐ͕/ŶĐ͘ǀ͘DĂĞƌƐŬƌŝůůŝŶŐh^͕/ŶĐ͕͘ϲϵϵ&͘ϯĚϭϯϰϬ͕ϭϯϱϳ;&ĞĚ͘ŝƌ͘
     ϮϬϭϮͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  dƌĂǀĞů^ĞŶƚƌǇ/ŶĐ͘ǀ͘dƌŽƉƉ͕ϴϳϳ&͘ϯĚϭϯϳϬ͕ϭϯϴϮͲϭϯϴϲ;&ĞĚ͘ŝƌ͘ϮϬϭϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲ
  dƌĞůůǀ͘DĂƌůĞĞůĞĐƚƌŽŶŝĐƐŽƌƉ͕͘ϵϭϮ&͘ϮĚϭϰϰϯ͕ϭϰϰϲͲϰϳ;&ĞĚ͘ŝƌ͘ϭϵϵϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϵ
  dƌŝƐƚƌĂƚĂdĞĐŚ͕͘/ŶĐ͘ǀ͘/EWŚĂƌŵ͕͘/ŶĐ͕͘ϯϭϯ&͘^ƵƉƉ͘ϮĚϰϬϱ͕ϰϭϭͲϭϮ;͘Ğů͘ϮϬϬϰͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ
  dƌƵĞWŽƐŝƚŝŽŶ/ŶĐ͘ǀ͘ŶĚƌĞǁŽƌƉ͕͘ϲϭϭ&͘^ƵƉƉ͘ϮĚϰϬϬ;͘Ğů͘ϮϬϬϵͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ͕ϰϲ
  dtDDĨŐ͘Ž͘ǀ͘ƵƌĂŽƌƉ͕͘ϳϴϵ&͘ϮĚϴϵϱ͕ϵϬϭ;&ĞĚ͘ŝƌ͘ϭϵϴϲͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϮ
  hŶŝůŽĐh^͕/ŶĐ͘ǀ͘DŝĐƌŽƐŽĨƚŽƌƉ͕͘ϲϯϮ&͘ϯĚϭϮϵϮ͕ϭϯϭϴ;&ĞĚ͘ŝƌ͘ϮϬϭϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϰϬ
  hŶŝŽŶKŝůŽ͘ŽĨĂů͘ǀ͘ƚů͘ZŝĐŚĨŝĞůĚŽ͕͘ϮϬϴ&͘ϯĚϵϴϵ͕ϵϵϳ;&ĞĚ͘ŝƌ͘ϮϬϬϬͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϰ
  tĂƌŶĞƌͲ:ĞŶŬŝŶƐŽŶŽ͕͘/ŶĐ͘ǀ͘,ŝůƚŽŶĂǀŝƐŚĞŵ͘Ž͕͘ϱϮϬh͘^͘ϭϳ͕Ϯϭ;ϭϵϵϳͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯ͕ϭϰ
  tĂƌŶĞƌͲ>ĂŵďĞƌƚŽ͘ǀ͘dĞǀĂWŚĂƌŵ͕͘h^͕/ŶĐ͕͘ϰϭϴ&͘ϯĚϭϯϮϲ͕ϭϯϰϭ;&ĞĚ͘ŝƌ͘ϮϬϬϱͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮ
  tĂƚĞƌdĞĐŚƐ͘ŽƌƉ͘ǀ͘ĂůĐŽ>ƚĚ͕͘ϴϱϬ&͘ϮĚϲϲϬ͕ϲϲϴ;&ĞĚ͘ŝƌ͘ϭϵϵϴͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳ͕ϮϬ
  tĂǇŵĂƌŬŽƌƉ͘ǀ͘WŽƌƚĂ^ǇƐƚĞŵƐŽƌƉ͕͘Ϯϰϱ&͘ϯĚϭϯϲϰ;&ĞĚ͘ŝƌ͘ϮϬϬϭͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬ
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            3ODLQWLIIVUHVSHFWIXOO\VXEPLWWKHIROORZLQJOLVWRILVVXHVRIODZWKDWUHPDLQWREHOLWLJDWHG

  EDVHGRQWKHDUJXPHQWVWKH\FXUUHQWO\H[SHFWWRPDNHWRHVWDEOLVKLQIULQJHPHQW DQGRWKHULVVXHV

  LQWKHLUFDVHLQFKLHI DVZHOODV3ODLQWLIIV¶FXUUHQWXQGHUVWDQGLQJRIWKHDUJXPHQWVWKDW'HIHQGDQW

  LVOLNHO\WRPDNHLQDQDWWHPSWWRSURYHQRQLQIULQJHPHQWDQGRULQYDOLGLW\6KRXOGWKH&RXUW

  GHWHUPLQHWKDWDQ\LVVXHLGHQWLILHGLQWKLVOLVWLVPRUHSURSHUO\FRQVLGHUHGDQLVVXHRIIDFWLWVKDOO

  EHVRFRQVLGHUHGDQG3ODLQWLIIVLQFRUSRUDWHWKHPE\UHIHUHQFHLQWR3ODLQWLIIV¶6WDWHPHQWRI,VVXHV

  RI)DFWWREHOLWLJDWHG3ODLQWLIIVUHVHUYHWKHULJKWWRUHYLVHPRGLI\VXSSOHPHQWRUFKDQJHWKH

  LVVXHVRIODZWREHOLWLJDWHGLQOLJKWRIWKH&RXUW¶VUXOLQJVDQGLQOLJKWRI'HIHQGDQW¶V

  LGHQWLILFDWLRQRILVVXHVRIODZDQGIDFWWREHOLWLJDWHG7RWKHH[WHQWWKDW'HIHQGDQWLQWHQGVRU

  DWWHPSWVWRLQWURGXFHGLIIHUHQWRUDGGLWLRQDOOHJDODUJXPHQWVWRWKRVHLGHQWLILHGEHORZ3ODLQWLIIV

  UHVHUYHWKHLUULJKWVWRFRQWHVWWKRVHOHJDODUJXPHQWVDQGWRSUHVHQWDQ\DQGDOOUHEXWWDOHYLGHQFH

  LQUHVSRQVHWRWKRVHDUJXPHQWVZLWKRXWEHLQJERXQGE\WKLVVXPPDU\RIUHPDLQLQJOHJDOLVVXHV

      ,   &ODLP&RQVWUXFWLRQ
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               :KDWLVWKHSURSHUFRQVWUXFWLRQRI³ELRFRPSDWLEOHGHJUDGDEOHK\GURJHO´DVXVHGLQ
               WKHSUHDPEOHRIRQHRUPRUHRIWKHDVVHUWHGFODLPV

               :KDWLVWKHSURSHUFRQVWUXFWLRQRI³VXLWDEOHWRFRDWDWLVVXHRIDSDWLHQW´DVXVHGLQ
               WKHSUHDPEOHRIRQHRUPRUHRIWKHDVVHUWHGFODLPV

            % /HJDO$XWKRULW\
            &ODLPFRQVWUXFWLRQLVDQLVVXHRIODZMarkman v. Westview Instruments, Inc.)G

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  WKHLURUGLQDU\DQGDFFXVWRPHGPHDQLQJDVZRXOGEHXQGHUVWRRGE\RQHRIRUGLQDU\VNLOOLQWKHDUW

  DWWKHWLPHRIWKHLQYHQWLRQPhillips v. AWH Corp.)G )HG&LU  HQ

  EDQF ,QWULQVLFHYLGHQFHFRQVLVWVRIWKHZRUGVRIWKHFODLPVWKHPVHOYHVWKHUHPDLQGHURIWKH


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  VSHFLILFDWLRQDQGWKHSURVHFXWLRQKLVWRU\Phillips)GDW,QVRPHFDVHVWKHRUGLQDU\

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  HYHQWROD\MXGJHV&ODLPFRQVWUXFWLRQLQVXFKFDVHVLQYROYHVOLWWOHPRUHWKDQWKHDSSOLFDWLRQRI

  WKHZLGHO\DFFHSWHGPHDQLQJRIFRPPRQO\XQGHUVWRRGZRUGVId.DW

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  RQO\LQWKHFRQWH[WRIWKHSDUWLFXODUFODLPLQZKLFKWKHGLVSXWHGWHUPDSSHDUVEXWLQWKHFRQWH[W

  RIWKHHQWLUHSDWHQWLQFOXGLQJWKHVSHFLILFDWLRQId.DW7KLVPHDQVWKDWWKHZRUGVRIWKH

  FODLPVDUHJLYHQWKHLUSODLQPHDQLQJXQOHVVWKDWPHDQLQJLVLQFRQVLVWHQWZLWKWKHVSHFLILFDWLRQIn

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  &LU Teleflex, Inc. v. Ficosa North America Corp.)G )HG&LU 

  &ODLPVPXVWEHUHDGLQYLHZRIWKHVSHFLILFDWLRQRIZKLFKWKH\DUHDSDUWDV³>W@KHVSHFLILFDWLRQ

  µLVDOZD\VKLJKO\UHOHYDQWWRWKHFODLPFRQVWUXFWLRQDQDO\VLV8VXDOO\LWLVGLVSRVLWLYHLWLVWKH

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  GHVFULSWLRQRIWKHLQYHQWLRQZLOOEHLQWKHHQGWKHFRUUHFWFRQVWUXFWLRQId.DW FLWDWLRQV

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          ³>$@QLQYHQWLRQLVFRQVWUXHGQRWRQO\LQWKHOLJKWRIWKHFODLPVEXWDOVRZLWKUHIHUHQFHWR

  WKHILOHZUDSSHURUSURVHFXWLRQKLVWRU\>LQFOXGLQJWKHFLWHGSULRUDUW@LQWKH3DWHQW2IILFH´Id.DW

  +RZHYHU³>L@WLVLPSURSHUIRUDFRXUWWRDGGH[WUDQHRXVOLPLWDWLRQVWRDFODLPWKDWLV

  OLPLWDWLRQVDGGHGZKROO\DSDUWIURPDQ\QHHGWRLQWHUSUHWZKDWWKHSDWHQWHHPHDQWE\SDUWLFXODU

  ZRUGVRUSKUDVHVLQWKHFODLP´Hoganas AB v. Dresser Indus., Inc.)G )HG&LU

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  SUHIHUUHGHPERGLPHQWRULPSRUWDOLPLWDWLRQIURPWKHVSHFLILFDWLRQLQWRWKHFODLPV´Kara Tech.



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  Inc. v. Stamps.com Inc.)G )HG&LU Computer Docking Station Corp.

  v. Dell, Inc.)G )HG&LU $GGLWLRQDOO\³FODLPVVKRXOGUDUHO\LIHYHU

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                VXLW

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                WKHGRFWULQHRIHTXLYDOHQWV

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                :KHWKHU+\SHU%UDQFKKDVLQGXFHGLQIULQJHPHQWRIDQ\$VVHUWHG&ODLPRIWKH
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             ' /HJDO$XWKRULW\
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  Advanced Cardiovascular Sys., Inc. v, Scimed Life Sys., Inc.)G )HG&LU

   Warner-Lambert Co. v. Teva Pharm., USA, Inc.)G )HG&LU 

  7KHUHTXLVLWHSURRIRILQIULQJHPHQWFDQEHDQGRIWHQLVHVWDEOLVKHGE\FLUFXPVWDQWLDODVZHOODV

  GLUHFWHYLGHQFHGolden Blount, Inc. v. Robert H Peterson)G )HG&LU 


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      ³&LUFXPVWDQWLDOHYLGHQFHFDQVXSSRUWDILQGLQJRILQIULQJHPHQW´  FLWDWLRQVRPLWWHG see also

  Dynacore Holdings Corp. v. US. Philips Corp.)G )HG&LU 

      KROGLQJSODLQWLIIFRXOGSURYHSUHGLFDWHDFWRIGLUHFWLQIULQJHPHQWE\GHPRQVWUDWLQJGHIHQGDQW V

  SURGXFWVQHFHVVDULO\RULQKHUHQWO\LQIULQJH Moleculon Res. Corp. v. CBS, Inc.)G

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  ³&LUFXPVWDQWLDOHYLGHQFHLVQRWRQO\VXIILFLHQWEXWPD\DOVREHPRUHFHUWDLQVDWLVI\LQJDQG

  SHUVXDVLYHWKDQGLUHFWHYLGHQFH´Id.DW TXRWLQJMichalic v. Cleveland Tankers, Inc.

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  DVVHUWHGSDWHQWFODLPBaxter Healthcare Corp. v. Septramed, Inc.)G )HG&LU

   Wenger Mfg., Inc. v. Coating Mach. Sys., Inc.)G )HG&LU 

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  Prods., Inc. v. Medtronic Sofamor Danek, Inc.)G )HG&LU 

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  WHUPVRIDSDWHQWFODLPPD\QRQHWKHOHVVEHIRXQGWRLQIULQJHLIWKHUHLVµHTXLYDOHQFH¶EHWZHHQ

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  LQYHQWLRQ´Warner-Jenkinson Co., Inc. v. Hilton Davis Chem. Co.86  

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  LQVXEVWDQWLDOGHWDLOVRIDFODLPHGLQYHQWLRQZKLOHUHWDLQLQJWKHLUHVVHQWLDOIXQFWLRQDOLW\´Sage

  Prods., Inc. v. Devon Indus., Inc.)G )HG&LU ³>$@SDWHQWHHPD\

  LQYRNHWKLVGRFWULQHWRSURFHHGDJDLQVWWKHSURGXFHURIDGHYLFHLILWSHUIRUPVVXEVWDQWLDOO\WKH

  VDPHIXQFWLRQLQVXEVWDQWLDOO\WKHVDPHZD\WRREWDLQWKHVDPHUHVXOW´Graver Tank & Mfg. Co.

  v. Linde Air Prods. Co.86  VHHDOVROverhead Door Corp. v.

  Chamberlain Group, Inc.)G )HG&LU Warner-Jenkinson Co.

  86DWEthicon Endo-Surgery, Inc. v. U.S. Surgical Corp.)G )HG&LU

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  ILQGLQJRILQIULQJHPHQWXQGHUWKHGRFWULQHRIHTXLYDOHQWVWarner- Jenkinson Co.86DW

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         2QHPD\QRWXVHWKHGRFWULQHRIHTXLYDOHQWVWRYLWLDWHDFODLPOLPLWDWLRQHQWLUHO\See

  Warner- Jenkinson Co.86DWQEthicon Endo-Surgery, Inc.)GDW

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  WRUHFDSWXUHVXEMHFWPDWWHUWKDWZDVUHOLQTXLVKHGGXULQJSURVHFXWLRQRIWKHSDWHQWAbbott Labs. v.

  Dey, L.P.)G )HG&LU ,IWKHFODLPHGLQYHQWLRQZDVOLPLWHGGXULQJ

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  QRWHQWLWOHGWRWKHVXUUHQGHUHGUDQJHRIHTXLYDOHQWVFesto Corp. v. Shoketsu Kinzoku Kogyo

  Kabushiki Co., Ltd.6&W  <HWQRWHYHU\DPHQGPHQWUHVXOWVLQ

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  Elec. Co. v. Daewoo Electronics Corp.)G )HG&LU see also Pall

  Corp. v. Micron Separations, Inc.)G )HG&LU 

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  LVVXHDUHLQWHUSUHWHGWRGHILQHWKHLUVFRSHCybor Corp. v. FAS Techs., Inc.)G

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  E\DSHUVRQRIRUGLQDU\VNLOOLQWKHDUWId.Phillips v. AWH Corp.)G )HG

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  WRFRPSDUHWKHDFFXVHGSURGXFWZLWKWKHSURSHUO\FRQVWUXHGFODLPVMarkman)GDW

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  GHWHUPLQHGE\WKHMXU\Ferguson Beauregard/ Logic Controls, Div. of Dover Res., Inc. v. Mega


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  Sys., LLC)G )HG&LU 7KHMXU\PXVWH[DPLQHWKHHYLGHQFHWR

  GHWHUPLQHZKHWKHUWKHDFFXVHGSURGXFWLQIULQJHVWKHSURSHUO\FRQVWUXHGFODLPVSee Broadcom

  Corp. v. Qualcomm Inc.)G )HG&LU 7KRVHZKRPDQXIDFWXUHVHOORU

  XVHDSDWHQWHGPHWKRGIRUH[DPSOHDUHOLDEOHIRULQIULQJHPHQWSee Joy Techs., Inc. v. Flakt,

  Inc.)G )HG&LU $SURGXFWFODLPLVGLUHFWO\LQIULQJHGLI³HDFKOLPLWDWLRQLQ

  WKHDVVHUWHGFODLP´LV³IRXQGSUHVHQWLQWKHDFFXVHGGHYLFH´Baxter Healthcare Corp. v.

  Spectramed, Inc.)G )HG&LU ³$PHWKRGFODLPLVGLUHFWO\LQIULQJHG

  RQO\E\RQHSUDFWLFLQJWKHSDWHQWHGPHWKRG´Joy Techs.)GDW HPSKDVLVLQRULJLQDO $

  SDUW\ZKRH[HUFLVHVGLUHFWLRQRUFRQWURORYHUWKHHQWLUHSURFHVVPD\EHOLDEOHDVDGLUHFWLQIULQJHU

  HYHQLIWKH\GRQRWSHUVRQDOO\SHUIRUPHYHU\VWHSMuniauction, Inc. v. Thomson Corp.)G

   )HG&LU Eli Lilly and Co. v. Teva Parenteral Medicines, Inc.)G

      )HG&LU  DWWULEXWLQJWKHSHUIRUPDQFHRIDPHWKRGVWHSWR SK\VLFLDQVEHFDXVHWKH\

  GLUHFWHGWKHLUSDWLHQWVWRXVHDFFXVHGSURGXFWLQDSDUWLFXODUPDQQHU  see also Travel Sentry Inc.

  v. Tropp, )G )HG&LU 

                 ,QGXFHG,QIULQJHPHQW ZLWKLQWKH8QLWHG6WDWHV 
            ³:KRHYHUDFWLYHO\LQGXFHVLQIULQJHPHQWRIDSDWHQWVKDOOEHOLDEOHDVDQLQIULQJHU´

  86& E $SDWHQWHH³KDVWKHEXUGHQRIVKRZLQJWKDWWKHDOOHJHGLQIULQJHU¶VDFWLRQV

  LQGXFHGLQIULQJLQJDFWVDQGWKDWKHNQHZRUVKRXOGKDYHNQRZQKLVDFWLRQVZRXOGLQGXFHDFWXDO

  LQIULQJHPHQWV´DSU Medical Corp. v. JMS Co., Ltd.)G )HG&LU 

      quoting Manville Sales Corp. v. Paramount Systems, Inc.)G )HG&LU 

  7KHSDWHQWHHPXVWSURYHWKDWWKHDFFXVHGLQIULQJHU³NQHZRIWKHSDWHQW´DQGKDGD³VSHFLILF

  LQWHQWWRLQGXFHLQIULQJHPHQW´Id.DW7KH³NQRZOHGJHRIWKHSDWHQW´UHTXLUHPHQW

  FDQEHVDWLVILHGE\VKRZLQJWKDWWKHDFFXVHGLQIULQJHUPDQLIHVWHGD³GHOLEHUDWHLQGLIIHUHQFHWR´

  RU³NQHZRIDQGGLVUHJDUGHG´DULVNWKDWLWVDFWLYLWLHVZHUHFRYHUHGE\DSDWHQWSEB, S.A. v.

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  Montgomery Ward & Co., Inc.)G )HG&LU ,QGXFLQJLQIULQJHPHQW

  UHTXLUHVSURRIWKDWWKHGHIHQGDQW³NQHZRIWKHSDWHQWDQGWKDWµWKHLQGXFHGDFWVFRQVWLWXWHSDWHQW

  LQIULQJHPHQW¶´Commil USA, LLC v. Cisco Sys., Inc.6&W   TXRWLQJ

  Global-Tech Appliances, Inc. v. SEB S.A.86  ³:KLOHSURRIRILQWHQWLV

  QHFHVVDU\GLUHFWHYLGHQFHLVQRWUHTXLUHGUDWKHUFLUFXPVWDQWLDOHYLGHQFHPD\VXIILFH´DSU

  Med. Corp. v. JMS Co.)G )HG&LU); see also, Ricoh Co. Ltd. v.

  Quanta Computer, Inc.)G )HG&LU Water Techs. Corp. v. Calco

  Ltd.)G )HG&LU ,QGXFHPHQWPD\EHIRXQGZKHUHWKHUHLV³>H@YLGHQFHRI

  DFWLYHVWHSVWDNHQWRHQFRXUDJHGLUHFWLQIULQJHPHQW´ZKLFKFDQLQWXUQEHIRXQGLQ³DGYHUWLVLQJ

  DQLQIULQJLQJXVHRULQVWUXFWLQJKRZWRHQJDJHLQDQLQIULQJLQJXVH´Metro-Goldwyn-Mayer

  Studios Inc. v. Grokster, Ltd.86   FLWDWLRQVDQGLQWHUQDOTXRWDWLRQPDUNV

  RPLWWHG :KLOHSURRIRILQWHQWLVQHFHVVDU\GLUHFWHYLGHQFHLVQRWUHTXLUHGUDWKHU

  FLUFXPVWDQWLDOHYLGHQFHPD\VXIILFH,QGXFHPHQWPD\EHVKRZQE\DQDFFXVHGLQIULQJHU¶V

  DFWLRQVHQFRXUDJLQJRULQVWUXFWLQJDQRWKHURQKRZWRXVHDQDFFXVHGGHYLFHLQDZD\WKDW

  LQIULQJHVDSDWHQWVXFKDVWKURXJKWKHSURYLVLRQRIXVHUPDQXDOVRUDGYHUWLVHPHQWVGolden

  Blount, Inc. v. Robert H. Peterson Co.)G )HG&LU see also

  Chiuminatta Concrete Concepts, Inc. v. Cardinal Industries, Inc.)G )HG

  &LU AstraZeneca LP v. Apotex, Inc.)G )HG&LU Metabolite

  Labs, Inc. v. Lab. Corp. of Am. Holdings)G± )HG&LU 

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         ³6HFWLRQ I VWDWHV

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         6WDWHVDOORUDVXEVWDQWLDOSRUWLRQRIWKHFRPSRQHQWVRIDSDWHQWHGLQYHQWLRQ
         ZKHUHVXFKFRPSRQHQWVDUHXQFRPELQHGLQZKROHRULQSDUWLQVXFKPDQQHUDVWR
         DFWLYHO\LQGXFHWKHFRPELQDWLRQRIVXFKFRPSRQHQWVRXWVLGHRIWKH8QLWHG6WDWHV
         LQDPDQQHUWKDWZRXOGLQIULQJHWKHSDWHQWLIVXFKFRPELQDWLRQRFFXUUHGZLWKLQ

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  IURPGLVWULEXWLRQRILQVWUXFWLRQVIRUXVHDQGWUDLQLQJSURYLGHGWRIRUHLJQHQGXVHUVSee Liquid

  Dynamics Corp. v. Vaughan Co., Inc.)G )HG&LU  DIILUPLQJ

  LQIULQJHPHQWYHUGLFWXQGHU86& I DQGH[SODLQLQJWKDWGLVWULEXWLRQRI³HQJLQHHULQJ

  PDQXDOUHSOHWHZLWKH[DPSOHV´RILQIULQJLQJXVHZDVVXEVWDQWLDOHYLGHQFHRILQGXFHPHQW 

  Westerngeco LLC v. ION Geophysical Corp.&DVH1RFY:/ 

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  PDQXDOVWKDW,21DQG)XJURLVVXHGDQGGLVWULEXWHGZKLFKLQVWUXFWHQGXVHUVWRXVHWKHVWHHULQJ

  PRGHVRIWKHƍSDWHQW´ 

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            86& F VWDWHV

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         6WDWHVDFRPSRQHQWRIDSDWHQWHGPDFKLQHPDQXIDFWXUHFRPELQDWLRQRU
         FRPSRVLWLRQRUDPDWHULDORUDSSDUDWXVIRUXVHLQSUDFWLFLQJDSDWHQWHGSURFHVV
         FRQVWLWXWLQJDPDWHULDOSDUWRIWKHLQYHQWLRQNQRZLQJWKHVDPHWREHHVSHFLDOO\
         PDGHRUHVSHFLDOO\DGDSWHGIRUXVHLQDQLQIULQJHPHQWRIVXFKSDWHQWDQGQRWD
         VWDSOHDUWLFOHRUFRPPRGLW\RIFRPPHUFHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJ
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  HVSHFLDOO\DGDSWHGIRUXVHLQDQLQIULQJHPHQW¶RIWKHSDWHQWDQG G WKHSURGXFWLVµQRWDVWDSOH

  DUWLFOHRUFRPPRGLW\RIFRPPHUFHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVH¶´Arris Group, Inc.

  v. British Telecoms, PL&)G )HG&LU  FLWLQJ86& F )RU

  H[DPSOHDSURGXFWRUFRPSRQHQWRIDSURGXFWWKDWLV³VSHFLDOO\DGDSWHGIRUXVHLQ>D@SDWHQWHG

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  SURFHVVDQGZLWKQRVXEVWDQWLDOQRQLQIULQJLQJXVHZRXOGSODLQO\EHµJRRGIRUQRWKLQJHOVH¶EXW

  LQIULQJHPHQW´PDNLQJLWVVHOOHUOLDEOHRicoh Co. v. Quanta Computer, Inc.)G

      )HG&LU  quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster86

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  HOHPHQWVDQGLQJUHGLHQWVSee Cardiac Pacemakers, Inc. v. St. Jude Med., Inc.)G

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  SDUWLFXODUXVHDQGNQRZOHGJHRIWKHSDWHQWWKDWSUHVFULEHVWKDWXVHGolden Blount, Inc.)G

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  Co. v. Bausch & Lomb, Inc)G )HG&LU ,QDGGLWLRQLWPXVWEHVKRZQ

  WKDWWKHDFFXVHGFRPSRQHQWLVQRWDVWDSOHDUWLFOHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVH

  Preemption Devices, Inc. v. Minnesota Min. & Mfg. Co.)G )HG&LU 

  $VXJJHVWHGQRQLQIULQJLQJXVHPXVWQRWEHIDUIHWFKHGLOOXVRU\LPSUDFWLFDORUPHUHO\

  H[SHULPHQWDOSee Hilgraeve Corp. v. Symantec Corp)G )HG&LU 

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  WKHRU\FRXOGEHXVHGLQDZD\VRDVQRWWRLQIULQJHWKHDVVHUWHGPHWKRGFODLP´DQG³WKDWWKH

  GHYLFHZDVDFWXDOO\XVHGLQWKHQRQLQIULQJLQJZD\´Golden Blount)GDWciting

  C.R. Bard, Inc. v. Advanced Cardiovascular Sys., Inc.)G )HG&LU 

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            FRPPHUFHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVHZKHUHVXFKFRPSRQHQWLV
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  Waymark Corp. v. Porta Systems Corp.)G )HG&LU $FRQWULEXWRU\

  LQIULQJHUQHHGQRWDFWXDOO\FRPELQHRUDVVHPEOHWKHFRPSRQHQWVDSDUW\FDQLQWHQGWKDWD

  VKLSSHGFRPSRQHQWXOWLPDWHO\ZLOOEHLQFOXGHGLQDQDVVHPEOHGSURGXFWHYHQLIWKHFRPELQDWLRQ

  QHYHURFFXUVTruePosition Inc. v. Andrew Corp.)6XSSG ''HO 

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  WKHEXUGHQRISURYLQJZLOOIXOLQIULQJHPHQWE\DSUHSRQGHUDQFHRIHYLGHQFHWBIP, LLC v.

  Kohler Co.)G )HG&LU Halo,6&WDW:LOOIXOLQIULQJHPHQW

  FDQEHHVWDEOLVKHGHLWKHUE\GLUHFWHYLGHQFHRUE\FLUFXPVWDQWLDOHYLGHQFHSee, e.g., Georgetown

  Rail Equip. Co. v. Holland L.P.)G )HG&LU Water Techs. Corp. v.

  Calco, Ltd.)G )HG&LU Tristrata Tech., Inc. v. ICN Pharm., Inc.)

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  HVWDEOLVKZLOOIXOLQIULQJHPHQWWesternGeco L.L.C. v. ION Geophysical Corp.)G

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  Apple Inc. v. Samsung Electronics Co., Ltd.1R:/DW  1'&DO

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  IRUZLOOIXOLQIULQJHPHQWMentor Graphics Corp. v. EVE-USA, Inc.)G )HG

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  LVVXDQFHRIDSDWHQW RUDZDUHQHVVRIWKHSDWHQWV LVQRGHIHQVHWRZLOOIXOLQIULQJHPHQWLIWKH

  DFFXVHGLQIULQJHUFRQWLQXHVWRLQIULQJHSRVWLVVXDQFHGasser Chair Co., Inc. v. Infanti Chair

  Mfg. Corp.)G )HG&LU Minnesota Min. & Mfg. Co. v. Johnson &

  Johnson Orthopaedics, Inc.)G )HG&LU Pacific Furniture Mfg. Co. v.

  Preview Furniture Corp.)GQ )HG&LU  ³7KHIDFWWKDW3UHYLHZPD\

  KDYHVWDUWHGLWVLQIULQJHPHQWEHIRUHWKHSDWHQWVLVVXHG RUEHIRUHDSSHOODQWVZHUHDZDUHRIWKH

  SDWHQWV GRHVQRWEDUDQDZDUGRILQFUHDVHGGDPDJHVRUDWWRUQH\IHHV´ Kaufman Co. v.

  Lantech, Inc.)G )HG&LU L.A. Gear, Inc. v. Thom McAn Shoe Co.,

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  LVVXDQFH´FDQVXSSRUWDILQGLQJRIZLOOIXOQHVVEHFDXVH³>W@KHODZLPSRVHVDQDIILUPDWLYHGXW\RI

  GXHFDUHWRDYRLGLQIULQJHPHQWRIWKHNQRZQSDWHQWULJKWVRIDQRWKHU´ 

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 89 of 354 PageID #: 62891

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  LQYDOLGDWLQJUHIHUHQFHLVSULRUDUWZKLFKLVDTXHVWLRQRIODZIRUWKH&RXUWSee Minton v. Nat’l

  Ass’n of Sec. Dealers, Inc.)G )HG&LU 7RTXDOLI\DVDSULRUDUW

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  LQYHQWLRQRIWKHSDWHQWMahurkar v. C.R. Bard, Inc.)G )HG&LU 

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  LQYHQWRUVEMC Corp. v. Pure Storage, Inc.)6XSSG ''HO Endo

  Pharm. Inc. v. Actavis Inc.&$1R5*$:/DW ± ''HO$XJ

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  XQGHURUREYLRXVQHVVDUWXQGHU DUHIHUHQFHPXVWKDYHEHHQVXIILFLHQWO\DFFHVVLEOH

  WRWKHSXEOLFLQWHUHVWHGLQWKHDUWEHIRUHWKHFULWLFDOGDWHIn re Omeprazole Patent Litig. v. Apotex

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  µNQRZQ¶WKHNQRZOHGJHPXVWEHSXEOLFO\DFFHVVLEOH´Minnesota Min. & Mfg. Co. v. Chemque,

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  GLIIHUHQWO\IURPµXVH¶IRUSXUSRVHVRI D ERWKUHTXLUHDFWXDOXVHE\VRPHRQHDWVRPH

  SRLQW´Id.DW$GRFXPHQW³PD\EHGHHPHGDSULQWHGSXEOLFDWLRQXSRQDVDWLVIDFWRU\

  VKRZLQJWKDWLWKDVEHHQGLVVHPLQDWHGRURWKHUZLVHPDGHDYDLODEOHWRWKHH[WHQWWKDWSHUVRQV

  LQWHUHVWHGDQGRIRUGLQDU\VNLOOLQWKHVXEMHFWPDWWHURUDUWH[HUFLVLQJUHDVRQDEOHGLOLJHQFHFDQ

  ORFDWHLWDQGUHFRJQL]HDQGFRPSUHKHQGWKHUHIURPWKHHVVHQWLDOVRIWKHFODLPHGLQYHQWLRQZLWKRXW

  QHHGRIIXUWKHUUHVHDUFKRUH[SHULPHQWDWLRQ´Mass. Inst. of Tech. v. AB Fortia, et al.)G

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  VXIILFLHQWO\DFFHVVLEOHDWOHDVWWRWKHSXEOLFLQWHUHVWHGLQWKHDUWVRWKDWVXFKDRQHE\H[DPLQLQJ

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  Inc. v. Monoclonal Antibodies, Inc.,)G )HG&LU ³$FWXDOUHGXFWLRQWR

  SUDFWLFHUHTXLUHVWKDWWKHFODLPHGLQYHQWLRQZRUNIRULWVLQWHQGHGSXUSRVH>@DQGFRQVWUXFWLYH

  UHGXFWLRQWRSUDFWLFHRFFXUVZKHQDSDWHQWDSSOLFDWLRQRQWKHFODLPHGLQYHQWLRQLVILOHG´Id.

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  UHDVRQDEOHGLOLJHQFHWRZDUGUHGXFWLRQWRSUDFWLFHIURPDGDWHMXVWSULRUWRWKHRWKHUSDUW\¶V

  FRQFHSWLRQWRLWVUHGXFWLRQWRSUDFWLFH´Mahurkar v. C.R. Bard, Inc.)G )HG

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  QHFHVVDULO\EHHYLGHQFHRIDFWLYLW\RQHYHU\VLQJOHGD\LIDVDWLVIDFWRU\H[SODQDWLRQLV

  HYLGHQFHG´Monsanto Co. v. Mycogen Plant Sci., Inc.)G )HG&LU 

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             WKH8QLWHG6WDWHV3DWHQWDQG7UDGHPDUN2IILFHGXULQJSURVHFXWLRQRIWKHSDWHQWVLQ
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             HDFKDQGHYHU\OLPLWDWLRQRIWKHDVVHUWHGFODLPHLWKHUH[SUHVVO\RULQKHUHQWO\DQG  
             GRHVVRLQDPDQQHUWKDWZRXOGHQDEOHDSHUVRQRIRUGLQDU\VNLOOLQWKHDUWDWWKHWLPH
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             SULRULW\GDWHIRUDQ\DVVHUWHGFODLPWKHLQYHQWLRQFODLPHGLQDQ\DVVHUWHGFODLP
              LQFOXGLQJHDFKDQGHYHU\OLPLWDWLRQWKHUHLQ ZDV  NQRZQRULQSXEOLFXVHE\RWKHUV
             LQWKH8QLWHG6WDWHVRU  SDWHQWHGRUGHVFULEHGLQDSULQWHGSXEOLFDWLRQEHIRUHWKH
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             LQKHUHQWLQDQ\DOOHJHGSULRUDUWUHIHUHQFHDVVHUWHGDJDLQVWVXFKFODLPE\
             +\SHU%UDQFKZKHWKHU+\SHU%UDQFKFDQSURYHE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKDW
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             GLIIHUHQFHVEHWZHHQWKHVXEMHFWPDWWHURIDQ\RIWKHDVVHUWHGFODLPVDQGDQ\SULRUDUW
             UHIHUHQFHVUHOLHGXSRQ DORQHRULQFRPELQDWLRQ DUHVXFKWKDWDQ\RIWKHDVVHUWHG
             FODLPVZRXOGKDYHEHHQREYLRXVWRDSHUVRQRIRUGLQDU\VNLOOLQWKHDUWDWWKHWLPHRI
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           RUGLQDU\VNLOOLQWKHDUWDWWKHWLPHRILQYHQWLRQDQG  WKHREMHFWLYHHYLGHQFHRI
           QRQREYLRXVQHVV

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           RUGLQDU\VNLOOLQWKHDUWZRXOGKDYHEHHQPRWLYDWHGWRFRPELQHDQGFRXOGFRPELQHWKH
           WHDFKLQJVRIWKHDOOHJHGSULRUDUWWRREWDLQWKHLQYHQWLRQRIDQ\DVVHUWHGFODLP

           :KHWKHU+\SHU%UDQFKFDQSURYHE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKDWDSHUVRQRI
           RUGLQDU\VNLOOLQWKHDUWZRXOGKDYHKDGDUHDVRQDEOHH[SHFWDWLRQRIVXFFHVVLQ
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           RIQRQREYLRXVQHVVVXSSRUWWKHQRQREYLRXVQHVVRIWKHLQYHQWLRQVRIWKHDVVHUWHG
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           UHTXLUHPHQW

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  SUHVXPSWLRQRIYDOLGLW\DSDUW\FKDOOHQJLQJDSDWHQWPXVWSURYHIDFWVVXSSRUWLQJDGHWHUPLQDWLRQ

  RILQYDOLGLW\E\³FOHDUDQGFRQYLQFLQJHYLGHQFH´Microsoft Corp. v. i4i Ltd. P’ship6&W

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  FRQWHQWLRQVDUH>VLF@KLJKO\SUREDEOH¶´Intel Corp. v. U.S. Int’l Trade Comm’n)G

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    )XUWKHU³>H@DFKFODLPRIDSDWHQW ZKHWKHULQLQGHSHQGHQWGHSHQGHQWRUPXOWLSOH

  GHSHQGHQWIRUP VKDOOEHSUHVXPHGYDOLGLQGHSHQGHQWO\RIWKHYDOLGLW\RIRWKHUFODLPV

  GHSHQGHQWRUPXOWLSOHGHSHQGHQWFODLPVVKDOOEHSUHVXPHGYDOLGHYHQWKRXJKGHSHQGHQWXSRQDQ

  LQYDOLGFODLP´86& D %HFDXVHRIWKHSUHVXPSWLRQRIYDOLGLW\DSDWHQWHH

  UHVSRQGLQJWRDFKDOOHQJHWRWKHSDWHQW¶VYDOLGLW\QHHGRQO\VXEPLWVXIILFLHQWHYLGHQFHWRUHEXW

  DQ\SURRIRILQYDOLGLW\RIIHUHGE\WKHFKDOOHQJHUDQG³ZKHUHWKHFKDOOHQJHUIDLOVWRLGHQWLI\DQ\

  SHUVXDVLYHHYLGHQFHRILQYDOLGLW\WKHYHU\H[LVWHQFHRIWKHSDWHQWVDWLVILHVWKHSDWHQWHH¶VEXUGHQ

  RQWKHYDOLGLW\LVVXH´Canon Computer Sys., Inc. v. Nu-Kote Int’l, Inc.)G

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  LQYDOLGLW\´Am. Hoist & Derrick Co. v. Sowa & Sons, Inc.)G )HG&LU 

      FLWDWLRQDQGHPSKDVLVRPLWWHG ³,WLVQRWQHFHVVDU\WKDWWKHFRXUWKROGDSDWHQWYDOLGLWLVRQO\

  QHFHVVDU\WKDWLWKROGWKDWWKHSDWHQWFKDOOHQJHUKDVIDLOHGWRFDUU\LWVEXUGHQ´Ajinomoto Co. v.

  Archer- Daniels-Midland Co.1R6/5:/DW  ''HO2FW 

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      citing Jones v. Hardy)GQ )HG&LU aff’d)G )HG

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  RYHUFRPLQJWKHGHIHUHQFHWKDWLVGXHWRDTXDOLILHGJRYHUQPHQWDJHQF\SUHVXPHGWRKDYH

  SURSHUO\GRQHLWVMREDQGZKRVHGXW\LWLVWRLVVXHRQO\YDOLGSDWHQWV´Am. Hoist & Derrick

  Co. v. Sowa & Sons, Inc.)G )HG&LU see also Hewlett- Packard Co.

  v. Bausch & Lomb Inc.)G )HG&LU Al-Site Corp. v. VSI Int’l, Inc.

  )G )HG&LU  ³WKHFKDOOHQJHU¶VµEXUGHQLVHVSHFLDOO\GLIILFXOWZKHQWKH

  SULRUDUWZDVEHIRUHWKH372H[DPLQHUGXULQJSURVHFXWLRQRIWKHDSSOLFDWLRQ¶´ TXRWLQJHewlett-

  Packard)GDW 

                 $QWLFLSDWLRQ
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         $SHUVRQVKDOOEHHQWLWOHGWRDSDWHQWXQOHVV D WKHLQYHQWLRQZDVNQRZQRUXVHG
         E\RWKHUVLQWKLVFRXQWU\RUSDWHQWHGRUGHVFULEHGLQDSULQWHGSXEOLFDWLRQLQWKLV
         RUDIRUHLJQFRXQWU\EHIRUHWKHLQYHQWLRQWKHUHRIE\WKHDSSOLFDQWIRUSDWHQWRU
           E WKHLQYHQWLRQZDVSDWHQWHGRUGHVFULEHGLQDSULQWHGSXEOLFDWLRQLQWKLVRUD
         IRUHLJQFRXQWU\RULQSXEOLFXVHRURQVDOHLQWKLVFRXQWU\PRUHWKDQRQH\HDU
         SULRUWRWKHGDWHRIWKHDSSOLFDWLRQIRUSDWHQWLQWKH8QLWHG6WDWHV
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  86&7KHILUVWVWHSLQDQLQYDOLGLW\DQDO\VLVEDVHGRQDQWLFLSDWLRQLQYLHZRIDSULRU

  DUWUHIHUHQFHLVWRGHWHUPLQHWKHPHDQLQJDQGVFRSHRIWKHSHUWLQHQWFODLPVOakley, Inc. v.

  Sunglass Hut Int'l)G )HG&LU (DFKFODLPPXVWEHYLHZHGDVDZKROH

  DQGLWLVLPSURSHUWRLJQRUHDQ\HOHPHQWRIWKHFODLPApple Computer, Inc. v. Articulate Sys.,

  Inc.)G )HG&LU $IWHUGHWHUPLQLQJWKHPHDQLQJDQGVFRSHRIWKH

  FODLPVHDFKFODLPOLPLWDWLRQPXVWEHFRPSDUHGWRWKHUHIHUHQFHWRGHWHUPLQHZKHWKHUWKH

  UHIHUHQFHDQWLFLSDWHVWKHFODLPOakley)GDW

            $SDWHQWFODLPLVDQWLFLSDWHGLIDOOWKHHOHPHQWVRUOLPLWDWLRQVRIDJLYHQFODLPDUHIRXQG


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  ZLWKLQDVLQJOHSULRUDUWUHIHUHQFHDVYLHZHGWKURXJKWKHH\HVRIDSHUVRQZLWKRUGLQDU\VNLOOLQ

  WKHILHOGRILQYHQWLRQApple Computer, Inc. v. Articulate Sys., Inc.)G )HG&LU

   Atlas Powder Co. v. Ireco, Inc.)G )HG&LU ³$SDWHQWLV

  LQYDOLGIRUDQWLFLSDWLRQZKHQWKHVDPHGHYLFHRUPHWKRGKDYLQJDOORIWKHHOHPHQWVFRQWDLQHGLQ

  WKHFODLPOLPLWDWLRQVLVGHVFULEHGLQDVLQJOHSULRUDUWUHIHUHQFH´Crown Operations Int'l, Ltd. v.

  Solutia Inc.)G )HG&LU ,QYDOLGLW\IRUDQWLFLSDWLRQ³UHTXLUHVWKDWWKH

  IRXUFRUQHUVRIDVLQJOHSULRUDUWGRFXPHQWGHVFULEHHYHU\HOHPHQWRIWKHFODLPHGLQYHQWLRQ

  HLWKHUH[SUHVVO\RULQKHUHQWO\VXFKWKDWDSHUVRQRIRUGLQDU\VNLOOLQWKHDUWFRXOGSUDFWLFHWKH

  LQYHQWLRQZLWKRXWXQGXHH[SHULPHQWDWLRQ´Advanced Display Sys. Inc. v. Kent State Univ.

  )G )HG&LU  FLWDWLRQVRPLWWHG )XUWKHUDQDQWLFLSDWLQJUHIHUHQFH³PXVW

  GHVFULEHWKHSDWHQWHGVXEMHFWPDWWHUZLWKVXIILFLHQWFODULW\DQGGHWDLOWRHVWDEOLVKWKDWWKHVXEMHFW

  PDWWHUH[LVWHGLQWKHSULRUDUWDQGWKDWVXFKH[LVWHQFHZRXOGEHUHFRJQL]HGE\SHUVRQVRIRUGLQDU\

  VNLOOLQWKHILHOGRIWKHLQYHQWLRQ´Crown)GDW$QWLFLSDWLRQUHTXLUHVWKDWWKH

  UHIHUHQFHPXVWGLVFORVHWKHLQYHQWLRQ³ZLWKRXWDQ\QHHGIRUSLFNLQJFKRRVLQJDQGFRPELQLQJ

  YDULRXVGLVFORVXUHVQRWGLUHFWO\UHODWHGWRHDFKRWKHUE\WKHWHDFKLQJVRIWKHFLWHGUHIHUHQFH´In

  re Arkley)G &&3$ 

         ³,QRUGHUWRDQWLFLSDWHDSULRUDUWGLVFORVXUHPXVWDOVREHHQDEOLQJVXFKWKDWRQHRI

  RUGLQDU\VNLOOLQWKHDUWFRXOGSUDFWLFHWKHLQYHQWLRQZLWKRXWXQGXHH[SHULPHQWDWLRQ´Novo

  Nordisk v. Bio-Tech. General)G )HG&LU ³(QDEOHPHQWRISULRUDUWUHTXLUHV

  WKDWWKHUHIHUHQFHWHDFKDVNLOOHGDUWLVDQWRPDNHRUFDUU\RXWZKDWLWGLVFORVHVLQUHODWLRQWRWKH

  FODLPHGLQYHQWLRQ>$@SULRUDUWUHIHUHQFHQHHGQRWHQDEOHLWVIXOOGLVFORVXUHLWRQO\QHHGVWR

  HQDEOHWKHSRUWLRQVRILWVGLVFORVXUHDOOHJHGWRDQWLFLSDWHWKHFODLPHGLQYHQWLRQ´In re Antor

  Media Corp.)G )HG&LU ³,IDSDWHQWHHSUHVHQWVHYLGHQFHRI



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  QRQHQDEOHPHQWWKDWDWULDOFRXUWILQGVSHUVXDVLYHWKHWULDOFRXUWPXVWWKHQH[FOXGHWKDWSDUWLFXODU

  SULRUDUWSDWHQWLQDQ\DQWLFLSDWLRQLQTXLU\IRUWKHQWKHSUHVXPSWLRQKDVEHHQRYHUFRPH´Amgen

  Inc. v. Hoechst Marion Roussel, Inc.)G )HG&LU 

               2EYLRXVQHVV
          6HFWLRQRI7LWOHRIWKH8QLWHG6WDWHV&RGHSURYLGHVLQUHOHYDQWSDUWWKDW

         $SDWHQWPD\QRWEHREWDLQHGWKRXJKWKHLQYHQWLRQLVQRWLGHQWLFDOO\GLVFORVHGRU
         GHVFULEHGDVVHWIRUWKLQVHFWLRQRIWKLVWLWOHLIWKHGLIIHUHQFHVEHWZHHQWKH
         VXEMHFWPDWWHUVRXJKWWREHSDWHQWHGDQGWKHSULRUDUWDUHVXFKWKDWWKHVXEMHFW
         PDWWHUDVDZKROHZRXOGKDYHEHHQREYLRXVDWWKHWLPHWKHLQYHQWLRQZDVPDGHWR
         DSHUVRQKDYLQJRUGLQDU\VNLOOLQWKHDUWWRZKLFKVDLGVXEMHFWPDWWHUSHUWDLQV
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  86& D   see also Wyers v. Master Lock Co.)G )HG&LU

   FHUWGHQLHG6&W  2EYLRXVQHVVLVTXHVWLRQRIODZEDVHGRQXQGHUO\LQJ

  IDFWXDOGHWHUPLQDWLRQV7KHVHXQGHUO\LQJIDFWXDOGHWHUPLQDWLRQVLQFOXGH  WKHVFRSHDQG

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  FODLPHGLQYHQWLRQDQGWKHSULRUDUWDQG  WKHH[WHQWRIDQ\SURIIHUHGREMHFWLYHLQGLFLDRI

  QRQREYLRXVQHVVWHUPHG³VHFRQGDU\FRQVLGHUDWLRQV´Graham v. John Deere Co.86

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  RUQRQREYLRXVQHVVRIWKHVXEMHFWPDWWHULVGHWHUPLQHG6XFKVHFRQGDU\FRQVLGHUDWLRQVDV

  FRPPHUFLDOVXFFHVVORQJIHOWEXWXQVROYHGQHHGVIDLOXUHRIRWKHUVHWFPLJKWEHXWLOL]HGWRJLYH

  OLJKWWRWKHFLUFXPVWDQFHVVXUURXQGLQJWKHRULJLQRIWKHVXEMHFWPDWWHUVRXJKWWREHSDWHQWHGKSR

  Int’l Co. v. Teleflex Inc.866&W   quoting Graham v.

  John Deere Co. of Kansas City86  %HIRUHILQGLQJDSDWHQWFODLPDV

  LQYDOLGIRUREYLRXVQHVVDFRXUWPXVWFRQVLGHUDOORIWKHVHIDFWRUVRuiz v. A.B. Chance Co.

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         7KHREYLRXVQHVVDQDO\VLVWDNHVSODFHDWWKHWLPHRIWKHLQYHQWLRQDQGIRFXVHVRQ

  HYLGHQFHH[LVWLQJEHIRUHWKHWLPHRIWKHLQYHQWLRQSee KSR Int’l86DW$Q

  REYLRXVQHVVGHWHUPLQDWLRQLVPDGH³IURPWKHYLHZSRLQWRIDSHUVRQRIRUGLQDU\VNLOO>QRWWKH

  LQYHQWRU@LQWKHILHOGRIWKHLQYHQWLRQ´Arkie Lures, Inc. v. Gene Larew Tackle, Inc.)G

   )HG&LU ³>$@SDWHQWFRPSRVHGRIVHYHUDOHOHPHQWVLVQRWSURYHGREYLRXV

  PHUHO\E\GHPRQVWUDWLQJWKDWHDFKHOHPHQWZDVLQGHSHQGHQWO\NQRZQLQWKHSULRUDUW´KSR

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  VRPHVHQVHLVDOUHDG\NQRZQ´Id.DW2EYLRXVQHVVUHTXLUHV³DUHDVRQWKDWZRXOGKDYH

  SURPSWHGDSHUVRQRIRUGLQDU\VNLOOLQWKHUHOHYDQWILHOGWRFRPELQHWKHHOHPHQWVLQWKHZD\WKH

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  LQYDOLGDWHDSDWHQWEDVHGRQREYLRXVQHVVLWPXVWGHPRQVWUDWH³E\FOHDUDQGFRQYLQFLQJ

  HYLGHQFH´WKDWD³VNLOOHGDUWLVDQZRXOGKDYHKDGUHDVRQWRFRPELQHWKHWHDFKLQJRIWKHSULRUDUW

  UHIHUHQFHVWRDFKLHYHWKHFODLPHGLQYHQWLRQDQGWKDWWKHVNLOOHGDUWLVDQZRXOGKDYHKDGD

  UHDVRQDEOHH[SHFWDWLRQRIVXFFHVVIURPGRLQJVR´In re Cyclobenzapine Hydrochloride Extended

  Release Capsule Patent Litig.)G )HG&LU  FLWLQJProctor &

  Gamble Co. v. Teva Pharm.USA, Inc.)G )HG&LU PharmaStem

  Therapeutics, Inc. v. ViaCell, Inc.)G )HG&LU :KHQDSDWHQW¶V

  YDOLGLW\LVFKDOOHQJHG³>R@EYLRXVQHVVFDQQRWEHHVWDEOLVKHGE\FRPELQLQJWKHWHDFKLQJVRIWKH

  SULRUDUWWRSURGXFHWKHFODLPHGLQYHQWLRQDEVHQWVRPHWHDFKLQJRUVXJJHVWLRQVXSSRUWLQJWKH

  FRPELQDWLRQ´Id.DWquoting ACS Hosp. Sys., Inc. v. Montefiore Hosp.)G

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  Eisai Co. Ltd. V. Dr. Reddy’s Laboratories, Ltd.)G )HG&LU Procter

  & Gamble Co. v. Teva Pharms. USA, Inc.)G )HG&LU Otsuka

  Pharmaceutical Co., Ltd. v. Sandoz, Inc.)G )HG&LU Takeda

  Chemical Industries, Ltd. v. Alphapharm Pty., Ltd.)G )HG&LU 

  7KHXVHRIKLQGVLJKWLVSURKLELWHGLQWKHREYLRXVQHVVDQDO\VLVKSR Int’l., 86DW ³$

  IDFWILQGHUVKRXOGEHDZDUHRIFRXUVHRIWKHGLVWRUWLRQFDXVHGE\KLQGVLJKWELDVDQGPXVWEH

  FDXWLRXVRIDUJXPHQWVUHOLDQWXSRQH[SRVWUHDVRQLQJ´ Innogenetics, N. V. v. Abbott Labs.

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  )G )HG&LU  XVLQJ³WKHFODLPHGLQYHQWLRQLWVHOIDVDEOXHSULQWIRU

  SLHFLQJWRJHWKHUHOHPHQWVLQWKHSULRUDUWWRGHIHDWWKHSDWHQWDELOLW\RIWKHFODLPHGLQYHQWLRQ´LV

  LPSHUPLVVLEOHKLQGVLJKWUHDVRQLQJ 7KHREYLRXVQHVVDQDO\VLVPXVWDYRLGXVLQJWKHWHDFKLQJVRI

  WKHSDWHQWLQVXLWEHFDXVH³>W@KHLQYHQWLRQPXVWEHYLHZHGQRWZLWKWKHEOXHSULQWGUDZQE\WKH

  LQYHQWRUEXWLQWKHVWDWHRIWKHDUWWKDWH[LVWHGDWWKHWLPH´Interconnect Planning Corp. v. Feil

  )G )HG&LU Ortho-McNeil Pharmaceutical Inc. v. Mylan Labs

  )G )HG&LU In re Kotzab)G )HG&LU 7KHUHIRUH

  ³>L@WLVFULWLFDOWKDWWKHTXHVWLRQRIREYLRXVQHVVQRWEHYLHZHGLQWKHOLJKWRIWKHDFFRPSOLVKHG

  UHVXOW´BOC Health Care, Inc. v. Nellcor Inc.)6XSS ''HO aff’d

  )G )HG&LU6HS 5DWKHUHYLGHQFHPXVWEHSURYLGHGWKDWD³VNLOOHGDUWLVDQ

  FRQIURQWHGZLWKWKHVDPHSUREOHPVDVWKHLQYHQWRUDQGZLWKQRNQRZOHGJHRIWKHFODLPHG

  LQYHQWLRQZRXOGVHOHFWWKHHOHPHQWVIURPWKHFLWHGSULRUDUWUHIHUHQFHVIRUFRPELQDWLRQLQWKH

  PDQQHUFODLPHG´In re Rouffet)G )HG&LU 

         :KHQFRQVLGHULQJWKHYDOLGLW\RIDSDWHQWXQGHU86&WKH)HGHUDO&LUFXLWKDV

  H[SODLQHGWKDW



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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 99 of 354 PageID #: 62901

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        0HDVXULQJDFODLPHGLQYHQWLRQDJDLQVWWKHVWDQGDUGHVWDEOLVKHGE\VHFWLRQ
        UHTXLUHVWKHRIWGLIILFXOWEXWFULWLFDOVWHSRIFDVWLQJWKHPLQGEDFNWRWKHWLPHRI
        WKHLQYHQWLRQWRFRQVLGHUWKHWKLQNLQJRIRQHRIRUGLQDU\VNLOOLQWKHDUWJXLGHG
        RQO\E\WKHSULRUDUWUHIHUHQFHVDQGWKHWKHQDFFHSWHGZLVGRPLQWKHILHOG
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  Ecolochem, Inc. v. S. California Edison Co.)G )HG&LU quoting In re

  Dembiczak)G )HG&LU &RXUWV³FDQQRWXVHKLQGVLJKWUHFRQVWUXFWLRQWR

  SLFNDQGFKRRVHDPRQJLVRODWHGGLVFORVXUHVLQWKHSULRUDUWWRGHSUHFDWHWKHFODLPHGLQYHQWLRQ´

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        >7@KHEHVWGHIHQVHDJDLQVWKLQGVLJKWEDVHGREYLRXVQHVVDQDO\VLVLVWKHULJRURXV
        DSSOLFDWLRQRIWKHUHTXLUHPHQWIRUDVKRZLQJRIDWHDFKLQJRUPRWLYDWLRQWR
        FRPELQHWKHSULRUDUWUHIHUHQFHV&RPELQLQJSULRUDUWUHIHUHQFHVZLWKRXWHYLGHQFH
        RIVXFKDVXJJHVWLRQWHDFKLQJRUPRWLYDWLRQVLPSO\WDNHVWKHLQYHQWRU¶V
        GLVFORVXUHDVDEOXHSULQWIRUSLHFLQJWRJHWKHUWKHSULRUDUWWRGHIHDWSDWHQWDELOLW\²
        WKHHVVHQFHRIKLQGVLJKW
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  Ecolochem)GDW

         )XUWKHUPRUHWKH)HGHUDO&LUFXLWKDVVWDWHGWKDWRWKHULQGLFLDVXFKDV³WHDFKLQJDZD\´

  DQGVNHSWLFLVPRIWKRVHLQWKHDUWDUHSUREDWLYHHYLGHQFHRIQRQREYLRXVQHVVMonarch Knitting

  Machinery Corp. v. Sulzer Morat Gmbh)G )HG&LU $SULRUDUW

  UHIHUHQFHPD\EHFRQVLGHUHGWRWHDFKDZD\ZKHQDSHUVRQRIRUGLQDU\VNLOOXSRQUHDGLQJWKH

  UHIHUHQFHZRXOGEHGLVFRXUDJHGIURPIROORZLQJWKHSDWKVHWRXWLQWKHUHIHUHQFHRUZRXOGEHOHG

  LQDGLUHFWLRQGLYHUJHQWIURPWKHSDWKWKDWZDVWDNHQE\WKHDSSOLFDQW*HQHUDOVNHSWLFLVPRI

  WKRVHLQWKHDUW²QRWDPRXQWLQJWRWHDFKLQJDZD\²LVDOVR³UHOHYDQWDQGSHUVXDVLYHHYLGHQFH´RI

  QRQREYLRXVQHVVId. ,QWHUQDOFLWDWLRQVRPLWWHG citing Gillette Co. v. S.C. Johnson & Son, Inc.

  )G )HG&LU 2WKHUVHFRQGDU\FRQVLGHUDWLRQVOLNHFRPPHUFLDOVXFFHVV

  LQGXVWU\DFTXLHVFHQFHXQH[SHFWHGUHVXOWVDQGORQJIHOWQHHGDUHDOVRSUREDWLYHHYLGHQFHRIQRQ

  REYLRXVQHVVMonarch)GDW7KHREMHFWLYHHYLGHQFHRIQRQREYLRXVQHVVWKH



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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 100 of 354 PageID #: 62902

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   HYLGHQFHRIVHFRQGDU\FRQVLGHUDWLRQV³ZKHQSUHVHQWPXVWEHFRQVLGHUHGLQGHWHUPLQLQJ

   REYLRXVQHVV´DQG³PD\RIWHQEHWKHPRVWSUREDWLYHDQGFRJHQWHYLGHQFHLQWKHUHFRUG´Ruiz v.

   A.B. Chance Co.)G )HG&LU ³7KHFRPPHUFLDOUHVSRQVHWRDQLQYHQWLRQ

   LVVLJQLILFDQWWRGHWHUPLQDWLRQVRIREYLRXVQHVVDQGLVHQWLWOHGWRIDLUZHLJKW´Demaco Corp. v.

   F. Von Langsdorff Licensing Ltd.)G )HG&LU 6HFRQGDU\

   FRQVLGHUDWLRQVOLNHFRPPHUFLDOVXFFHVV³SURYLGHREMHFWLYHHYLGHQFHRIKRZWKHSDWHQWHGGHYLFH

   LVYLHZHGLQWKHPDUNHWSODFHE\WKRVHGLUHFWO\LQWHUHVWHGLQWKHSURGXFW´,G6LJQLILFDQW

   HYLGHQFHRIFRPPHUFLDOVXFFHVV RUDQ\RWKHUVHFRQGDU\FRQVLGHUDWLRQVXFKDVLQGXVWU\

   UHFRJQLWLRQDQGDFFHSWDQFH E\LWVHOILVVXIILFLHQWWRSUHFOXGHDILQGLQJRIREYLRXVQHVVFinish

   Eng’g Co. v. Zerpa Indus., Inc.)G )HG&LU :KHUHDSDWHQWHH

   DVVHUWVWKDWFRPPHUFLDOVXFFHVVVXSSRUWVLWVFRQWHQWLRQRIQRQREYLRXVQHVVWKHUHPXVWEHD

   VXIILFLHQWUHODWLRQVKLSEHWZHHQWKHFRPPHUFLDOVXFFHVVDQGWKHSDWHQWHGLQYHQWLRQD³QH[XV´

   Demaco Corp.)GDW$SULPDIDFLHVKRZLQJRIDQH[XVLVPDGH³ZKHQWKHSDWHQWHH

   VKRZVERWKWKDWWKHUHLVFRPPHUFLDOVXFFHVVDQGWKDWWKHWKLQJ>@WKDWLVFRPPHUFLDOO\VXFFHVVIXO

   LVWKHLQYHQWLRQFODLPHGLQWKHSDWHQW´Id.

                &RPSOLDQFHZLWK5HTXLUHPHQWVRI86& :ULWWHQ'HVFULSWLRQ
                   (QDEOHPHQWDQG'HILQLWHQHVV 
           86&VWDWHV

          7KHVSHFLILFDWLRQVKDOOFRQWDLQDZULWWHQGHVFULSWLRQRIWKHLQYHQWLRQDQGRIWKH
          PDQQHUDQGSURFHVVRIPDNLQJDQGXVLQJLWLQVXFKIXOOFOHDUFRQFLVHDQGH[DFW
          WHUPVDVWRHQDEOHDQ\SHUVRQVNLOOHGLQWKHDUWWRZKLFKLWSHUWDLQVRUZLWKZKLFK
          LWLVPRVWQHDUO\FRQQHFWHGWRPDNHDQGXVHWKHVDPHDQGVKDOOVHWIRUWKWKHEHVW
          PRGHFRQWHPSODWHGE\WKHLQYHQWRURUMRLQWLQYHQWRURIFDUU\LQJRXWWKHLQYHQWLRQ
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   WKHLQYHQWRUKDGSRVVHVVLRQRIWKHFODLPHGVXEMHFWPDWWHUDVRIWKHILOLQJGDWH´Ariad Pharms.,

   Inc. v. Eli Lilly & Co.)G )HG&LU 6XIILFLHQWGLVFORVXUHYDULHV


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   ³GHSHQGLQJRQWKHQDWXUHDQGVFRSHRIWKHFODLPVDQGRQWKHFRPSOH[LW\DQGSUHGLFWDELOLW\RIWKH

   UHOHYDQWWHFKQRORJ\´Id.,QGHWHUPLQLQJZKHWKHUDVSHFLILFDWLRQFRQWDLQVDQDGHTXDWHZULWWHQ

   GHVFULSWLRQ³RQHPXVWPDNHDQµREMHFWLYHLQTXLU\LQWRWKHIRXUFRUQHUVRIWKHVSHFLILFDWLRQIURP

   WKHSHUVSHFWLYHRIDSHUVRQRIRUGLQDU\VNLOOLQWKHDUW¶´Boston Scientific Corp. v. Johnson &

   Johnson)G )HG&LU  quoting Ariad)GDW %DVHGRQWKDW

   LQTXLU\WKHVSHFLILFDWLRQPXVWGHVFULEHDQLQYHQWLRQXQGHUVWDQGDEOHWRWKDWVNLOOHGDUWLVDQDQG

   VKRZWKDWWKHLQYHQWRUDFWXDOO\LQYHQWHGWKHLQYHQWLRQFODLPHGSee, e.g.,Pandrol USA, LP v.

   Airboss Ry. Prods., Inc.)G )HG&LU Union Oil Co. of Cal. v. Atl.

   Richfield Co.)G )HG&LU 

           (QDEOHPHQWLVGHWHUPLQHGDVRIWKHHIIHFWLYHILOLQJGDWHRIWKHSDWHQW¶VDSSOLFDWLRQAlza

   Corp. v. Andrx Pharms, LLC)G )HG&LU 7KHWHVWIRUHQDEOHPHQW

   UHTXLUHVIDFWXDO³GHWHUPLQDWLRQVRIZKHWKHUDSHUVRQVNLOOHGLQWKHSHUWLQHQWDUWXVLQJWKH

   NQRZOHGJHDYDLODEOHWRVXFKDSHUVRQDQGWKHGLVFORVXUHLQWKHSDWHQWGRFXPHQWFRXOGPDNHDQG

   XVHWKHLQYHQWLRQZLWKRXWXQGXHH[SHULPHQWDWLRQ´Northern Telecom, Inc. v. Datapoint Corp.

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   WKHDUWSee, e.g., Hybritech Inc. v. Monoclonal Antibodies, Inc.)G )HG&LU

    (QDEOHPHQWUHTXLUHVWKDWWKHVSHFLILFDWLRQWHDFKWKRVHLQWKHDUWWRPDNHDQGXVHWKH

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   )DFWRUVWREHFRQVLGHUHGLQGHWHUPLQLQJZKHWKHUDGLVFORVXUHZRXOGUHTXLUHXQGXH

   H[SHULPHQWDWLRQLQFOXGH  WKHTXDQWLW\RIH[SHULPHQWDWLRQQHFHVVDU\  WKHDPRXQWRI

   GLUHFWLRQRUJXLGDQFHSUHVHQWHG  WKHSUHVHQFHRUDEVHQFHRIZRUNLQJH[DPSOHV  WKHQDWXUH

   RIWKHLQYHQWLRQ  WKHVWDWHRIWKHSULRUDUW  WKHUHODWLYHVNLOORIWKRVHLQWKHDUW  WKH

   SUHGLFWDELOLW\RUXQSUHGLFWDELOLW\RIWKHDUWDQG  WKHEUHDGWKRIWKHFODLPVId



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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 102 of 354 PageID #: 62904

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             7KHGHILQLWHQHVVUHTXLUHPHQWLQ86&SURYLGHV

             7KHVSHFLILFDWLRQVKDOOFRQFOXGHZLWKRQHRUPRUHFODLPVSDUWLFXODUO\SRLQWLQJRXW
             DQGGLVWLQFWO\FODLPLQJWKHVXEMHFWPDWWHUZKLFKWKHDSSOLFDQWUHJDUGVDVKLV
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   DTXHVWLRQRIODZ³>X@QGHUO\LQJWKLVFRQFOXVLRQRIODZDUHILQGLQJVRIIDFWVFRQFHUQLQJWKHSULRU

   DUWWKHSDUWLFXODULQYHQWLRQDQGKRZWKHFODLPVZRXOGEHUHDGE\WKRVHRIRUGLQDU\VNLOOLQWKH

   DUW´0Y-RKQVRQ -RKQVRQ2UWKRSDHGLF,QF8634G '0LQQ 

   DII¶G)G )HG&LU VHHDOVR2UWKRNLQHWLFV,QFY6DIHW\7UDYHO&KDLUV,QF

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   DGRSWHG´0LFURSURFHVVRU(QKDQFHPHQW&RUSY7H[DV,QVWUXPHQWV,QF)G

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             $SDUW\DVVHUWLQJLQGHILQLWHQHVVPXVWGHPRQVWUDWHE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKDW

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   ZLWKUHDVRQDEOHFODULW\WKRVHVNLOOHGLQWKHDUWDERXWWKHVFRSHRIWKHLQYHQWLRQ´See, Nautilus

   6&WDW,QGLVFXVVLQJWKHUHDVRQDEOHFHUWDLQW\VWDQGDUGLQBiosig Instruments, Inc. v.

   NautilusWKH)HGHUDO&LUFXLWRIIHUHGWKHIROORZLQJJXLGDQFH

             ,QWKHZDNHRI1DXWLOXV,,MXGJHVKDYHKDGQRSUREOHPRSHUDWLQJXQGHUWKH
             UHDVRQDEOHFHUWDLQW\VWDQGDUG)RUH[DPSOH-XGJH%U\VRQVLWWLQJE\GHVLJQDWLRQ
             LQ7H[DVVWDWHG,QGHILQLWHQHVVLVDOHJDOGHWHUPLQDWLRQLIWKHFRXUWFRQFOXGHV
             WKDWDSHUVRQRIRUGLQDU\VNLOOLQWKHDUWZLWKWKHDLGRIWKHVSHFLILFDWLRQZRXOG
             XQGHUVWDQGZKDWLVFODLPHGWKHFODLPLVQRWLQGHILQLWHFreeny v. Apple Inc.1R
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             FHUWDLQW\ $IWHUOLVWLQJQXPHURXVIDFWVSHFLILFH[DPSOHV-XGJH%U\VRQQRWHG
             WKDW>F@RQWUDU\WRWKHGHIHQGDQW VVXJJHVWLRQ>WKH1DXWLOXV,,@VWDQGDUGGRHVQRW
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   Biosig Instruments, Inc. v. Nautilus, Inc.)G )HG&LU Exxon Research

   & Engineering Co. v. United States)G )HG&LU ³>3@URRIRI

   LQGHILQLWHQHVVPXVWPHHWµDQH[DFWLQJVWDQGDUG¶7KXVµ>D@QDFFXVHGLQIULQJHUPXVW

   GHPRQVWUDWHE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKDWRQHRIRUGLQDU\VNLOOLQWKHUHOHYDQWDUWFRXOG

   QRWGLVFHUQWKHERXQGDULHVRIWKHFODLPEDVHGRQWKHFODLPODQJXDJHWKHVSHFLILFDWLRQWKH

   SURVHFXWLRQKLVWRU\DQGWKHNQRZOHGJHLQWKHUHOHYDQWDUW¶µ%\ILQGLQJFODLPVLQGHILQLWHRQO\LI

   UHDVRQDEOHHIIRUWVDWFODLPFRQVWUXFWLRQSURYHIXWLOHZHDFFRUGUHVSHFWWRWKHVWDWXWRU\

   SUHVXPSWLRQRISDWHQWYDOLGLW\DQGZHSURWHFWWKHLQYHQWLYHFRQWULEXWLRQRISDWHQWHHVHYHQ

   ZKHQWKHGUDIWLQJRIWKHLUSDWHQWVKDVEHHQOHVVWKDQLGHDO¶´Wellman, Inc. v. Eastman Chem.

   Co.)G )HG&LU FHUWGHQLHG6&W  ³:KHWKHUD

   FODLPLVLQYDOLGIRULQGHILQLWHQHVVUHTXLUHVDGHWHUPLQDWLRQZKHWKHUWKRVHVNLOOHGLQWKHDUWZRXOG

   XQGHUVWDQGZKDWLVFODLPHGZKHQWKHFODLPLVUHDGLQOLJKWRIWKHVSHFLILFDWLRQ´Morton Int'l,

   Inc. v. Cardinal Chem. Co.)G )HG&LU see also Mycogen Plant Science,

   Inc. v. Monsanto Co.)6XSSG ''HO ³>,@IWKHFODLPVUHDGLQOLJKWRI

   WKHVSHFLILFDWLRQUHDVRQDEO\DSSULVHWKRVHVNLOOHGLQWKHDUWERWKRIWKHXWLOL]DWLRQDQGVFRSHRI

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   GHPDQGQRPRUH´N. Am. Vaccine, Inc. v. Am. Cyanamid Co.,)G )HG&LU

     citing Shatterproof Glass Corp. v. Libbey-Owens Ford, Co.)G )HG&LU

    cert. dismissed86   quoting Georgia-Pacific Corp. v. United States

   Plywood Corp.,)G G&LU FHUWGHQLHG86  $VWKH

   )HGHUDO&LUFXLWKDVKHOGWKHIDFWWKDWVRPHFODLPODQJXDJHPD\QRWEHSUHFLVHGRHVQRW

   DXWRPDWLFDOO\UHQGHUDFODLPLQYDOLG:KHQDZRUGRIGHJUHHLVXVHGWKHGLVWULFWFRXUWPXVW

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 104 of 354 PageID #: 62906

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   GHWHUPLQHZKHWKHUWKHSDWHQW VVSHFLILFDWLRQSURYLGHVVRPHVWDQGDUGIRUPHDVXULQJWKDWGHJUHH

   Seattle Box Co. v. Indus. Crating & Packing, Inc.)G )HG&LU 

       9   2WKHU$IILUPDWLYH'HIHQVHV
             $ ,VVXHVRI/DZ
                :KHWKHU+\SHU%UDQFKFDQSURYHWKDWDVDPDWWHURIHTXLW\3ODLQWLIIVVKRXOGEH
                HVWRSSHGIURPDVVHUWLQJLQIULQJHPHQWRIDQ\RQHRUPRUHRIWKHDVVHUWHGFODLPV
                EHFDXVH3ODLQWLIIVJDYHDQDIILUPDWLYHJUDQWRIFRQVHQWWRPDNHXVHDQGVHOOWKH
                DFFXVHGSURGXFWVWR+\SHU%UDQFK

             % /HJDO$XWKRULW\
                 (TXLWDEOH(VWRSSHO7KURXJK,PSOLHG/LFHQVH
         (TXLWDEOHHVWRSSHOUHTXLUHVWKHDOOHJHGLQIULQJHUWRSURYHE\DSUHSRQGHUDQFHRIWKHHYLGHQFH

   WKDW  WKHSDWHQWRZQHUWKURXJKPLVOHDGLQJFRQGXFWOHGWKHDOOHJHGLQIULQJHUWRUHDVRQDEO\

   LQIHUWKDWWKHSDWHQWRZQHUGLGQRWLQWHQGWRHQIRUFHLWVSDWHQWDJDLQVWWKHDOOHJHGLQIULQJHU  

   WKHDOOHJHGLQIULQJHUUHOLHGRQWKLVFRQGXFWDQG  GXHWRWKHUHOLDQFHWKHDOOHJHGLQIULQJHUZLOO

   EHPDWHULDOO\SUHMXGLFHGLIWKHSDWHQWRZQHULVDOORZHGWRSURFHHGRQLWVFODLPGasser Chair

   Co., Inc. v. Infanti Chair Mfg. Corp.)G )HG&LU see also A.C. Aukerman

   Co. v. R.L. Chaides Constr. Co.)G )HG&LU 3URRIRIUHOLDQFHRQWKLV

   FRQGXFWLVHVVHQWLDOWRHTXLWDEOHHVWRSSHOId.,QRUGHUWRVKRZUHOLDQFHWKHDFFXVHGLQIULQJHU

   PXVWKDYHKDGDUHODWLRQVKLSRUFRPPXQLFDWLRQZLWKWKHSODLQWLIIZKLFKOXOOVWKHDFFXVHG

   LQIULQJHULQWRDVHQVHRIVHFXULW\LQJRLQJDKHDGZLWK>LWVLQYHVWPHQWV@Idsee also Aukerman

   )GDW7KHDFFXVHGLQIULQJHUPXVWVKRZWKDWLWVDFWLRQVZHUHEDVHGVROHO\RQLWV

   UHOLDQFHRQWKHSDWHQWHH¶VFRQGXFWDQGQRWRQLWVRZQEXVLQHVVMXGJHPHQW VXFKDVLWVRZQEHOLHI

   WKDWWKHDFFXVHGSURGXFWVGRQRWLQIULQJHRUWKDWWKHFODLPVDUHLQYDOLG HYHQLIWKDWEXVLQHVV

   MXGJHPHQWLVODWHUERXQGWREHZURQJIdDW; Meyers v. Asics Corp)G

       )HG&LU overruled on other grounds by Aukerman)GDWHemstreet v.

   Computer Entry Sys. Corp.)G )HG&LU 

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 105 of 354 PageID #: 62907

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              DPRXQWWKDWZLOOFRPSHQVDWH3ODLQWLIIVIRULQIULQJHPHQWRIRQHRUPRUHRIWKHDVVHUWHG
              FODLPV

              3ODLQWLIIV¶GDPDJHVIRU+\SHU%UDQFK¶VLQGLUHFWLQIULQJHPHQWLQFOXGLQJWKHGROODU
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              DVVHUWHGFODLPV

              7KHGDPDJHVSHULRGIRU+\SHU%UDQFK¶VGLUHFWLQIULQJHPHQW

              7KHGDPDJHVSHULRGIRU+\SHU%UDQFK¶VLQGLUHFWLQIULQJHPHQW

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              LQIULQJHPHQWDQGLIVRWKHGROODUDPRXQWRIVXFKDFFRXQWLQJ

              :KHWKHU3ODLQWLIIVDUHHQWLWOHGWRDQDZDUGRISUHMXGJPHQWDQGSRVWMXGJPHQWLQWHUHVW
              DQGWKHGROODUDPRXQWRIVXFKDZDUG

              :KHWKHU3ODLQWLIIVDUHHQWLWOHGWRDILQGLQJWKDWWKLVFDVHLVH[FHSWLRQDOSXUVXDQWWR
              86&DQGZKHWKHU3ODLQWLIIVDUHHQWLWOHGWRDQDZDUGRIDWWRUQH\V¶IHHV

              :KHWKHU3ODLQWLIIVDUHHQWLWOHGWRFRVWVDQGLIVRWKHGROODUDPRXQWRIVXFKFRVWV

          % /HJDO$XWKRULW\
          86&VWDWHVWKDWRQDILQGLQJRILQIULQJHPHQWDSDWHQWHHVKDOOEHDZDUGHG

          GDPDJHVDGHTXDWHWRFRPSHQVDWHIRUWKHLQIULQJHPHQWEXWLQQRHYHQWOHVVWKDQD
          UHDVRQDEOHUR\DOW\IRUWKHXVHPDGHRIWKHLQYHQWLRQE\WKHLQIULQJHUWRJHWKHU
          ZLWKLQWHUHVWDQGFRVWVDVIL[HGE\WKHFRXUW
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   86&7KLVSURYLVLRQKDVEHHQLQWHUSUHWHGWRPHDQWKDWWKHKROGHURIDQLQIULQJHG

   SDWHQWVKRXOGEHSODFHGLQWKHVDPHILQDQFLDOSRVLWLRQLWZRXOGKDYHEHHQLQKDGLWVSDWHQWQRW

   EHHQLQIULQJHG Aro Mfg. Co. v. Convertible Top Replacement Co.86   WKH

   VWDWXWRU\PHDVXUHRI³GDPDJHV´LV³WKHGLIIHUHQFHEHWZHHQ>WKHSDWHQWRZQHU¶V@SHFXQLDU\

   FRQGLWLRQDIWHUWKHLQIULQJHPHQWDQGZKDWKLVFRQGLWLRQZRXOGKDYHEHHQLIWKHLQIULQJHPHQWKDG

   QRWRFFXUUHG´ Lucent Techs., Inc. v. Gateway, Inc.)G )HG&LU ,I

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 106 of 354 PageID #: 62908

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   LQIULQJHPHQWLVIRXQGWKHSDWHQWKROGHULVHQWLWOHGWRUHFHLYHDVGDPDJHVWKHYDOXHRIWKHDVVHW

   WKDWZDVWDNHQ Trell v. Marlee Electronics Corp.)G )HG&LU 

       LQGLFDWLQJWKDWWKHPHDVXUHRIGDPDJHVLQDSDWHQWFDVHLVWKHYDOXHRI³WKDWZKLFKWKHGHIHQGDQW

   KDVDSSURSULDWHG´ See alsoDowagiac Mfg. Co. v. Minnesota Moline Plow Co.86

     Faulkner v. Gibbs)G WK&LU ³>7@KHDPRXQWRIDSUHYDLOLQJ

   SDUW\¶VGDPDJHVLVDILQGLQJRIIDFWRQZKLFKWKHSODLQWLIIEHDUVWKHEXUGHQRISURRIE\D

   SUHSRQGHUDQFHRIWKHHYLGHQFH´Smithkline Diagnostics, Inc. v. Helena Laboratories Corp.

   )G )HG&LU 

                  5HDVRQDEOH5R\DOW\
             ³7KHVWDWXWHLVXQHTXLYRFDOWKDWWKHGLVWULFWFRXUWPXVWDZDUGGDPDJHVLQDQDPRXQWQR

   OHVVWKDQDUHDVRQDEOHUR\DOW\´Dow Chem. Co. v. Mee Indus., Inc.)GDW )HG

   &LU see also Del Mar Avionics, Inc. v. Quinton Instrument Co.)G

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   QHJRWLDWLRQVEHWZHHQWKHSODLQWLIIDQGGHIHQGDQW´Transocean Offshore Deepwater Drilling, Inc.

   v. Maersk Drilling USA, Inc.)G )HG&LU ³:KLOHWKH)HGHUDO&LUFXLW

   KDVQRWSUHVFULEHGDVSHFLILFPHWKRGRORJ\IRUFDOFXODWLQJDUHDVRQDEOHUR\DOW\FRXUWVUHO\XSRQ

   WKHILIWHHQIDFWRUVVHWIRUWKLQGeorgia–Pacific Corp. v. United States Plywood Corp.)

   6XSS 6'1< ´St. Clair Intellectual Prop. Consultants, Inc. v. Canon, Inc.

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   LQIULQJHPHQWEHJDQ´Mobil Oil Corp. v. Amoco Chemicals Corp.)6XSS '

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   XQSDWHQWHGIHDWXUHVRUVKRZWKDWWKHHQWLUHPDUNHWYDOXHRIWKHZKROHPDFKLQHDVD

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 107 of 354 PageID #: 62909

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   PDUNHWDEOHDUWLFOHLVSURSHUO\DQGOHJDOO\DWWULEXWDEOHWRWKHSDWHQWHGIHDWXUH´Uniloc USA, Inc.

   v. Microsoft Corp.)G )HG&LU $SSRUWLRQPHQWPD\EHDFKLHYHGLQ

   DQ\QXPEHURIOHJDOO\DFFHSWDEOHZD\V

          /RJLFDOO\DQHFRQRPLVWFRXOGGRWKLVLQYDULRXVZD\V²E\FDUHIXOVHOHFWLRQRIWKH
          UR\DOW\EDVHWRUHIOHFWWKHYDOXHDGGHGE\WKHSDWHQWHGIHDWXUHZKHUHWKDW
          GLIIHUHQWLDWLRQLVSRVVLEOHE\DGMXVWPHQWRIWKHUR\DOW\UDWHVRDVWRGLVFRXQWWKH
          YDOXHRIWKHSURGXFW¶VQRQSDWHQWHGIHDWXUHVRUE\DFRPELQDWLRQWKHUHRI7KH
          HVVHQWLDOUHTXLUHPHQWLVWKDWWKHXOWLPDWHUHDVRQDEOHUR\DOW\DZDUGPXVWEHEDVHG
          RQWKHLQFUHPHQWDOYDOXHWKDWWKHSDWHQWHGLQYHQWLRQDGGVWRWKHHQGSURGXFW
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   Ericsson, Inc. v. D-Link Systems, Inc.)G )HG&LU ,IWKHHYLGHQFH

   DWWULDOIDOOVVKRUWRIVXSSRUWLQJDSDUW\¶VVSHFLILFUR\DOW\HVWLPDWH³WKHIDFWILQGHULVVWLOOUHTXLUHG

   WRGHWHUPLQHZKDWUR\DOW\LVVXSSRUWHGE\WKHUHFRUG´Apple Inc. v. Motorola, Inc.)G

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         >7@KHIDFWXDOGHWHUPLQDWLRQRIDUHDVRQDEOHUR\DOW\KRZHYHUQHHGQRWEH
         VXSSRUWHGDQGLQGHHGIUHTXHQWO\LVQRWVXSSRUWHGE\WKHVSHFLILFILJXUHV
         DGYDQFHGE\HLWKHUSDUW\>7@KHGLVWULFWFRXUWPD\UHMHFWWKHH[WUHPHILJXUHV
         SURIIHUHGE\WKHOLWLJDQWVDVLQFUHGLEOHDQGVXEVWLWXWHDQLQWHUPHGLDWHILJXUHDVD
         PDWWHURILWVMXGJPHQWIURPDOORIWKHHYLGHQFH
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   SmithKline Diagnostics, Inc. v. Helena Labs. Corp.)G± )HG&LU 

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           7KHPanduitWHVWHVWDEOLVKHVWKHWUDGLWLRQDOIUDPHZRUNIRUDQDO\]LQJORVWSURILWV

         7RREWDLQDVGDPDJHVWKHSURILWVRQVDOHVKHZRXOGKDYHPDGHDEVHQWWKH
         LQIULQJHPHQWLHWKHVDOHVPDGHE\WKHLQIULQJHUDSDWHQWRZQHUPXVWSURYH  
         GHPDQGIRUWKHSDWHQWHGSURGXFW  DEVHQFHRIDFFHSWDEOHQRQLQIULQJLQJ
         VXEVWLWXWHV  KLVPDQXIDFWXULQJDQGPDUNHWLQJFDSDELOLW\WRH[SORLWWKHGHPDQG
         DQG  WKHDPRXQWRIWKHSURILWKHZRXOGKDYHPDGH
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   Panduit Corp. v. Stahlin Bros. Fibre Works, Inc.)G WK&LU ³$

   VKRZLQJXQGHU3DQGXLWSHUPLWVDFRXUWWRUHDVRQDEO\LQIHUWKDWWKHORVWSURILWVFODLPHGZHUHLQ

   IDFWFDXVHGE\WKHLQIULQJLQJVDOHVWKXVHVWDEOLVKLQJDSDWHQWHH VSULPDIDFLHFDVHZLWKUHVSHFWWR

   µEXWIRU¶FDXVDWLRQ´Rite-Hite Corp. v. Kelley Co.)G )HG&LU  FLWDWLRQV

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 108 of 354 PageID #: 62910

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   RPLWWHG ³$SDWHQWHHQHHGQRWQHJDWHHYHU\SRVVLELOLW\WKDWWKHSXUFKDVHUPLJKWQRWKDYH

   SXUFKDVHGDSURGXFWRWKHUWKDQLWVRZQDEVHQWWKHLQIULQJHPHQW´,G³7KHSDWHQWHHQHHGRQO\

   VKRZWKDWWKHUHZDVDUHDVRQDEOHSUREDELOLW\WKDWWKHVDOHVZRXOGKDYHEHHQPDGHµEXWIRU¶WKH

   LQIULQJHPHQWId.see also King Instruments Corp. v. Perego)G )HG&LU 

   ,QFLUFXPVWDQFHVZKHUH³WKHSDWHQWRZQHUDQGWKHLQIULQJHUZHUHWKHRQO\VXSSOLHUV´LQWKH

   UHOHYDQWPDUNHW³FDXVDWLRQPD\EHLQIHUUHG´Lam, Inc. v. Johns-Manville Corp.)G

    )HG&LU 2QFHWKHSDWHQWHHHVWDEOLVKHVWKLVUHDVRQDEOHLQIHUHQFHIRUH[DPSOHXQGHU

   WKH3DQGXLWDQGRU/DPWHVWV³LWKDVVXVWDLQHGWKHEXUGHQRISURYLQJHQWLWOHPHQWWRORVWSURILWV

   GXHWRWKHLQIULQJLQJVDOHV´Rite-Hite)GDW³7KHEXUGHQWKHQVKLIWVWRWKHLQIULQJHUWR

   VKRZWKDWWKHLQIHUHQFHLVXQUHDVRQDEOHIRUVRPHRUDOORIWKHORVWVDOHV´Id$ORVWSURILWV

   DQDO\VLVLVQHFHVVDULO\D³EXWIRU´LQTXLU\WKDWUHTXLUHVDUHFRQVWUXFWLRQRIWKHPDUNHWDVLWZRXOG

   KDYHGHYHORSHGWDNLQJLQWRDFFRXQW ZKHUHUHOHYDQW DQ\DOWHUQDWLYHDFWLRQVWKHLQIULQJHUPD\

   KDYHXQGHUWDNHQKDGLWQRWLQIULQJHGGrain Processing Corp. v. American Maize-Products Co.

   )G )HG&LU 7KHFODLPDQWPXVWSURYHZKDWZRXOGKDYHKDSSHQHGLQDEXW

   IRULQIULQJHPHQWZRUOGQRWZKDWWKHRUHWLFDOO\FRXOGKDYHKDSSHQHG LHVKRZWKDW³EXWIRU´WKH

   LQIULQJHPHQWLWZRXOGKDYHPDGHDGGLWLRQDOVDOHV BIC Leisure Products, Inc. v. Windsurfing

   Int’l, Inc.)G )HG&LU ³>7@KHILUVW3DQGXLWIDFWRUVLPSO\DVNVZKHWKHUGHPDQG

   H[LVWHGIRUWKHµSDWHQWHGSURGXFW¶LHDSURGXFWWKDWLVµFRYHUHGE\WKHSDWHQWLQVXLW¶RUWKDW

   µGLUHFWO\FRPSHWHVZLWKWKHLQIULQJLQJGHYLFH¶´DePuy Spine, Inc. v. Medtronic Sofamor Danek,

   Inc.)G )HG&LU citing Rite-Hite Corp. v. Kelley Co.)G

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   SDWHQWHGSURGXFWLVDWWULEXWDEOHWRWKHSDWHQWHGWHFKQRORJ\Mentor Graphics Corp. v. EVE-USA,

   Inc.)G )HG&LU 



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          5HJDUGLQJWKHVHFRQG3DQGXLWIDFWRU³>W@REHGHHPHGDFFHSWDEOHWKHDOOHJHGDFFHSWDEOH

   QRQLQIULQJLQJVXEVWLWXWHPXVWQRWKDYHDGLVSDUDWHO\KLJKHUSULFHWKDQRUSRVVHVVFKDUDFWHULVWLFV

   VLJQLILFDQWO\GLIIHUHQWIURPWKHSDWHQWHGSURGXFW´Apple Inc. v. Samsung Electronics Co.

   )G )HG&LU  FLWDWLRQVRPLWWHG see also TWM Mfg. Co. v. Dura Corp.

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   QHFHVVDULO\PDNHWKHGHYLFHDQDFFHSWDEOHVXEVWLWXWHDSURGXFWRQWKHPDUNHWZKLFKODFNVWKH

   DGYDQWDJHVRIWKHSDWHQWHGSURGXFWFDQKDUGO\EHWHUPHGDQDFFHSWDEOHVXEVWLWXWH´Stryker Corp.

   v. Intermedics Orthopedics, Inc.)G )HG&LU  quoting Standard Havens

   Prods., Inc. v. Gencor Indus., Inc.)G )HG&LU :KHQWKHUHDUHPXOWLSOH

   FRPSHWLWRUVLQDPDUNHWDSDWHQWHHLVHQWLWOHGWRORVWSURILWVEDVHGRQWKHLQIULQJLQJVDOHV

   DSSRUWLRQHGDFFRUGLQJWRLWV³VKDUHRIWKHPDUNHW´State Indus., Inc. v. Mor-Flo Indus., Inc.

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   SURILWVEDVHGRQORVWXQLWVGDPDJHVWRWKRVHVDOHVWKDWDUHVKRZQWRKDYHEHHQORVWE\WKHSDWHQW

   KROGHUDQGUHDVRQDEOHUR\DOW\GDPDJHVWRWKHUHPDLQLQJVDOHVState Industries, Inc. v. Mor-Flo

   Indus., Inc.)G )HG&LU FHUWGHQLHG86  6HHTWM

   Mfg. Co. v. Dura Corp.)G )HG&LU 

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   LQIULQJHPHQWLWZRXOGKDYHVROGLWVSURGXFWDWDKLJKHUSULFH7KHSDWHQWHHPXVWDOVR³SUHVHQW

   HYLGHQFHRIWKH SUHVXPDEO\UHGXFHG DPRXQWRISURGXFWWKHSDWHQWHHZRXOGKDYHVROGDWWKH

   KLJKHUSULFH´0RUHRYHU³WKHSDWHQWHH¶VSULFHHURVLRQWKHRU\PXVWDFFRXQWIRUWKHQDWXUHRU

   GHILQLWLRQRIWKHPDUNHWVLPLODULWLHVEHWZHHQDQ\EHQFKPDUNPDUNHWDQGWKHPDUNHWLQZKLFK

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   RIVDOHVDWWKDWSULFHLQWKHPDUNHW´Ericsson, Inc. v. Harris Corp.)G )HG

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   FDOFXODWLRQRIDSURGXFW¶VSULFHHODVWLFLW\RIGHPDQGZKLFKLVGHILQHGDVWKHSHUFHQWDJHFKDQJH

   LQTXDQWLW\GHPDQGHGDVVRFLDWHGZLWKDJLYHQSHUFHQWDJHFKDQJHLQSULFHCrystal Semiconductor

   Corp. v. Tritech Microelectronics Int’l, Inc.)G )HG&LU Ericsson,

   Inc. v. Harris Corp)G )HG&LU 5DWKHUWKHFODLPDQWFDQVDWLVI\LWV

   EXUGHQE\VKRZLQJWKDWEXWIRUWKHLQIULQJHPHQWLWZRXOGKDYHVROGLWVSURGXFWDWDKLJKHUSULFH

   E\RIIHULQJRWKHUFUHGLEOHHYLGHQFHLQFOXGLQJHYLGHQFHWKDWWKHFODLPDQWKDGDKLVWRU\RI

   FKDUJLQJDQGFXVWRPHUVDFFHSWLQJLWVKLJKHUSULFHZKHQQRWFRPSHWLQJDJDLQVWWKHLQIULQJHUWKH

   LQIULQJHUZDVXQDEOHWRRIIHUDQDFFHSWDEOHVXEVWLWXWHWKDWGRHVQRWLQIULQJHWKHSDWHQWLQVXLW

   WKHUHZHUHQRRWKHUDFFHSWDEOHQRQLQIULQJLQJDOWHUQDWLYHVLQWKHPDUNHWSODFHEHVLGHVWKH

   LQIULQJHUDQGWKHFODLPDQWDQGRUWKHUHDUHEDUULHUVWRHQWU\LQWKHUHOHYDQWPDUNHWSODFH

   Crystal Semiconductor Corp. v. Tritech Microelectronics Int’l, Inc.)G )HG

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   HURVLRQDSSUR[LPDWLRQVZLWKRXWUHO\LQJRQLQDSSRVLWHEHQFKPDUNV´ See, e.g., Brooktree

   )GDW SULFHHURVLRQFDOFXODWHGEDVHGRQWKHVHOOLQJSULFHRIWKHVDPHSURGXFWEHIRUH

   WKHLQIULQJHUHQWHUHGWKHPDUNHW Minnesota Mining & Mfg. Co., v. Johnson & Johnson

   Orthopaedics)G )HG&LU  SULFHHURVLRQZDVFDOFXODWHGEDVHGRQSUH

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   Ericsson, Inc. v. Harris Corp.)G )HG&LU 

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   WKDWWKHVDPHLVSDWHQWHG´WKURXJKDYDULHW\RIPHWKRGVVWDWLQJ

          ,QWKHHYHQWRIIDLOXUHVRWRPDUNQRGDPDJHVVKDOOEHUHFRYHUHGE\WKHSDWHQWHH
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       VHHNLQJWROLPLWGDPDJHV WRFRPHIRUZDUGZLWKSDUWLFXODUXQPDUNHGSURGXFWVDOOHJHGO\

   WULJJHULQJ:LWKRXWVXFKDWKUHVKROGVKRZLQJWKHXQLYHUVHRISURGXFWVIRUZKLFK

   >3ODLQWLIIV@ZRXOGKDYHWRHVWDEOLVKFRPSOLDQFHZLWKRULQDSSOLFDELOLW\RIWKHPDUNLQJVWDWXWH

   ZRXOGEHXQERXQGHG´MobileMedia Ideas, LLC v. Apple Inc.1R&96/5:/

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   VKRZWKDWWKHDOOHJHGO\QRQPDUNHGDUWLFOHVZHUHLQIDFWSDWHQWHGDUWLFOHV´ ,QFRQGXFWLQJWKLV

   DQDO\VLV³ILUVWWKHVFRSHRIWKHFODLPVPXVWEHDVFHUWDLQHGDQGWKHQWKHWULHUPXVWGHFLGH

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   SURGXFWVIRXQGWRLQIULQJHWKHSDWHQWVLQVXLW,QSDWHQWFDVHVSRVWYHUGLFWDFFRXQWLQJLVVWDQGDUG

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   WKURXJKWKHGDWHRIWKHRUGHUDFFRPSDQ\LQJWKLVPHPRUDQGXP´ see also Mikohn Gaming

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   Corp. v. Acres Gaming, Inc.86'LVW/(;,6  '1HY$XJ 

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   DFFRXQWLQJRIGDPDJHVTruePosition Inc. v. Andrew Corp.1R&LY±±6/5:/

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   6XSUHPH&RXUWKDVH[SODLQHGWKDW³SUHMXGJPHQWLQWHUHVWVKRXOGRUGLQDULO\EHDZDUGHGZKHUH

   QHFHVVDU\WRDIIRUGWKHSODLQWLIIIXOOFRPSHQVDWLRQIRUWKHLQIULQJHPHQW´Gen. Motors Corp. v.

   Devex Corp.86  3UHMXGJPHQWLQWHUHVWLVQRWDSHQDOW\EXW³VHUYHVWR

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   ³>3@UHMXGJPHQWLQWHUHVWVKRXOGEHDZDUGHGIURPWKHGDWHRILQIULQJHPHQWWRWKHGDWHRI

   MXGJPHQW´Nickson Indus., Inc. v. ROL Mfg. Co., Ltd.)G )HG&LU  citing

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   DOORZHGRQDQ\PRQH\MXGJPHQWLQDFLYLOFDVHUHFRYHUHGLQDGLVWULFWFRXUW´³3RVWMXGJPHQW

   LQWHUHVWLVDZDUGHGRQPRQHWDU\MXGJPHQWVUHFRYHUHGLQDOOFLYLOFDVHV´LQFOXGLQJRQHVIRUSDWHQW

   LQIULQJHPHQWTransmatic, Inc. v. Gulton Indus., Inc.)G )HG&LU 

   3RVWMXGJPHQWLQWHUHVWLVJRYHUQHGE\UHJLRQDOFLUFXLWODZId.DW,QWHUHVWEHJLQVWRDFFUXH

   RQWKHGDWHRIWKHHQWU\RIMXGJPHQWLoughman v. Consol-Pennsylvania Coal Co.)G

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   FRQVLGHU³HJUHJLRXVQHVVRIWKHGHIHQGDQW¶VFRQGXFWEDVHGRQDOOWKHIDFWVDQGFLUFXPVWDQFHV´

   Read Corporation v. Portec Inc.)G± )HG&LU DEURJDWHGLQSDUWRQ

   RWKHUJURXQGVE\Markman v. Westview Instruments, Inc.)G )HG&LU 

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             GHIHQGDQW¶VVL]HDQGILQDQFLDOFRQGLWLRQ  FORVHQHVVRIWKHFDVH  GXUDWLRQ
          RIGHIHQGDQW¶VPLVFRQGXFW  UHPHGLDODFWLRQE\WKHGHIHQGDQW  GHIHQGDQW¶V
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   Liquid Dynamics Corp. v. Vaughan Co.)G )HG&LU  FLWLQJRead

   Corp. v. Portec. Inc.)G± )HG&LU superseded on other groundsDV

   UHFRJQL]HGLQHoechst Celanese Corp. v. BP Chems. Ltd.)G )HG&LU 

   see also Apple Inc. v. Samsung Electronics Co., Ltd.&DVH1R&9/+.:/

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   Seagate Tech., LLC)G )HG&LU +RZHYHUZLOOIXOQHVVLVQRWUHTXLUHG

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   Iron LLC v. NetApp Inc.:/DW  ''HO6HSW ,QOctane Fitness,

   LLC v. ICON Health & Fitness, Inc.WKH6XSUHPH&RXUWKHOGWKDW³DQµH[FHSWLRQDO¶FDVHLV



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   Fitness, Inc.6&W  7KH6XSUHPH&RXUWDGGHG³'LVWULFWFRXUWVPD\

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   Synthelabo v. Apotex, Inc.)G )HG&LU Sanofi-Aventis Deutschland

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            EXHIBIT 5
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 118 of 354 PageID #: 62920




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   A.C. Aukerman Co. v. R.L. Chaides Constr. Co
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   ABT Sys., LLC v. Emerson Elec. Co.
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   ACCO Brands, Inc. v. Micro Sec. Devices, Inc.
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   Adenta GmbH v. OrthoArm, Inc.
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   Ajinomoto Co. v. Archer-Daniels-Midland Co.
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   Akamai Techs., Inc. v. Limelight Networks, Inc.
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   Allergan, Inc. v. Apotex Inc.
     )G )HG&LU 

   Alloc, Inc. v. Int’l Trade Comm’n
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   Am. Calcar, Inc. v. Am. Honda Motor Co
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   Am. Hoist & Derrick Co. v. Sowa & Sons, Inc
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   Amgen, Inc. v. Chugai Pharmaceutical Co./WG
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   Andreaggi v. Relis
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   Apple Inc. v. Motorola, Inc.
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   Apple, Inc. v. Samsung Elecs. Co.
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   Ariad Pharm., Inc. v. Eli Lilly & Co
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   Aro Mfg. Co. v. Covertible Top Replacement Co
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   Atlantic Res. Mktg. Sys., Inc. v. Troy
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   Augustine Med., Inc. v. Gaymar Indus., Inc.
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   Baxter Int’l, Inc. v. COBE Labs., Inc.
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   Beachcombers v. WildeWood Creative Prods., Inc.
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   Beckman Instruments, Inc. v. LKB Produkter AB
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   Bio-Rad Labs., Inc. v. Nicolet Instrument Corp.
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   Boston Scientific Corp. v. Johnson & Johnson
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   Bradford Co. v. Conteyor N. Am., Inc.
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   Brown v. Barbacid
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   Burroughs Wellcome Co. v. Barr Labs.,QF
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   C.R. Bard, Inc. v. Advanced Cardiovascular Sys., Inc
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   C.R. Bard, Inc. v. M3 Sys., Inc.
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   Cardiac Pacemakers, Inc. v. St. Jude Med., Inc.
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   Cardiac Pacemakers, Inc. v. St. Jude Med., Inc.
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   Cedarapids, Inc. v. CMI Corp.
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   Centricut, LLC v. Esab Group, Inc
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   Chiron Corp. v. Genetech, Inc
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   Clock Spring, L.P. v. Wrapmaster, Inc.
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   Coleman v. Dines
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   Commil USA, LLC v. Cisco Sys., Inc.
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   Concrete Appliances Co. v. Gomery
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   Cooper Cameron Corp. v. Kvaerner Oilfield Prod., Inc.
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   Cooper v. Goldfarb
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   Cordance Corp. v. Amazon.com, Inc.
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   Crystal Semiconductor Corp. v. TriTech Microelecs. Int’l, Inc.
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   Cubist Pharms., Inc. v. Hospira, Inc.
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   DeMarini Sports, Inc. v. Worth, Inc
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   DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc.
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   Dominion Res. Inc. v. Alstom Grid, Inc.
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   Dow Chemical Co. v. Nova Chemicals Corp. (Canada)
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   DSU Med. Corp. v. JMS Co
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   Eaton v. Evans
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   eBay, Inc. v. MercExchange, L.L.C.
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   Elan Pharm., Inc. v. Mayo Found. for Med. Educ. & Research
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   Enzo Biochem, Inc. v. Gen-Probe Inc.
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   ePlus, Inc. v. Lawson Software, Inc
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   Ericsson, Inc. v. D–Link Sys., Inc.
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   Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp.
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   Fenner Invs. Ltd. v. Cellco P’ship
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   Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co
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   Finjan, Inc. v. Blue Coat Sys., Inc.
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   Fitzgerald v. Arbib
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   Fox Grp., Inc. v. Cree, Inc.
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   Fresenius USA, Inc. v. Baxter Int’l, Inc.
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   Fujitsu Ltd. v. Netgear Inc
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   Funai Elec. Co. v. Daewoo Elecs. Corp.
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   Gen. Elec. Co. v. Wabash Appliance Corp.
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   Gen. Motors Corp. v. Devex Corp
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   Genentech, Inc. v. Novo Nordisk A/S
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   Geo. M. Martin Co. v. Alliance Mach. Sys. Int’l
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   Georgia-Pacific Corp. v. United States Plywood Corp.
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   Gillespie v. Dywidag Sys. Int’l, USA
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   Global-Tech Appliances, Inc. v. SEB S.A
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   Graham v. John Deere Co. of Kansas City
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   Grain Processing Corp. v. Am. Maize-Prods. Co.
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   Greatbatch Ltd. v. AVX Corp.
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   Gustafson, Inc. v. Intersystems Indus. Prods., Inc.
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   Hahn v. Wong
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   Halo Electronics., Inc. v. Pulse Electronics., Inc.,
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   Henkel Corp v. Procter & Gamble Co.
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   Highmark Inc. v. Allcare Health Mgmt. Sys., Inc.
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   Hoechst Celanese Corp. v. BP Chems. Ltd.
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   Hoganas AB v. Dresser Indus., Inc
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   Honeywell Int’l, Inc. v. Hamilton Sundstrand Corp.
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   ICU Med., Inc. v. Alaris Med. Sys., Inc.
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   Impulse Tech. Ltd. v. Microsoft Corp.
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   In re Antor Media Corp.
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   In re Bayer
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   In re Garner
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   In re Glass
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   In re Gosteli
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   In re GPAC Inc.
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   In re Jolley
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   In re Morsa
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   In re Seagate Tech., LLC
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   In re Wands
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   In re Wright
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   Integrated Tech. Corp. v. Rudolph Techs., Inc.
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   Interactive Pictures Corp. v. Infinite Pictures, Inc.
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   Invitrogen Corp. v. Clontech Labs., Inc.
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   Iovate Health Sciences, Inc. v. Bio-Engineered Supplements & Nutrition, Inc.
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   Kaufman Co. v. Lantech, Inc.
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   Kendall v. Searles
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   Kennametal, Inc. v. Ingersoll Cutting Tool Co.
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   Kirtsaeng v. John Wiley & Sons, Inc.
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   KSR Int’l Co. v. Teleflex Inc.
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   Lam, Inc. v. Johns-Manville Corp.
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   LaserDynamics, Inc. v. Quanta Computer, Inc.
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   Leapfrog Enterprises, Inc. v. Fischer-Price, Inc
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   Leggett & Platt, Inc. v. VUTEK, Inc
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   Life Techs. Corp. v. Promega Corp.
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   Limelight Networks, Inc. v. Akamai Techs., Inc.
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   Linear Tech. Corp. v. Impala Linear Corp.
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   Liquid Dynamics Corp. v. Vaughan Co.
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   Litchfield v. Eigen
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   LizardTech, Inc. v. Earth Resource Mapping, Inc.
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   MagSil Corp. v. Hitachi Global Storage Technologies, Inc.
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   Markman v. Westview Instrs., Inc.
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   Mas-Hamilton Grp v. LaGard, Inc.
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   Masimo Corp. v. Philips Elecs. N. Am. Corp.
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   Maxwell v. J. Baker, Inc.
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   MBO Labs., Inc. v. Becton, Dickinson & Co.
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   Medichem, S.A. v. Rolabo, S.L.
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   Medrad, Inc. v. MRI Devices Corp.
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   Medtronic Sofamor Danek USA, Inc. v. NuVasive, Inc.
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   Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd
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   Micro Chemical, Inc. v. Lextron, Inc.
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   Microsoft Corp. v. i4i Ltd. P’Ship
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   Microsoft Corp. v. i4i Ltd. P’ship
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   Microsoft Corp. v. Multi-Tech Sys., Inc.
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   Minn. Mining & Mfg. Co. v. Chemque, Inc
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   Minn. Mining & Mfg. Co. v. Johnson & Johnson Orthopaedics, Inc
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   Minton v. Nat’l Ass’n of Sec. Dealers, Inc.
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   Monsanto Co. v. Mycogen Plant Sci., Inc.
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   Moore U.S.A., Inc. v. Standard Register Co
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   Mosel Vitelic Corp. v. Micron Tech., Inc.
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   Nat’l Research Dev. Corp. v. Varian Assocs., Inc.
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   Nautilus, Inc. v. Biosig Instruments, Inc.
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   Norian Corp. v. Stryker Corp.
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   Novo Nordisk Pharms., Inc. v. Bio-Tech. Gen. Corp.
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   Novozymes A/S v. Genencor Int’l, Inc.
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   Octane Fitness, LLC v. ICON Health & Fitness, Inc.
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   Odetics, Inc. v. Storage Tech. Corp.
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   Ormco Corp. v. Align Tech., Inc.
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   Panduit Corp. v. Stahlin Bros. Fibre Works
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   Pfaff v. Wells Elecs., Inc.
     86  

   Phillips v. AWH Corp.
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   Poly-Am., L.P. v. GSE Lining Tech., Inc.
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   Power Integrations, Inc. v. Fairchild Semiconductor Intern., Inc.
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   PowerOasis, Inc. v. T-Mobile USA, Inc.
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   Price v. Symsek
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   Procter & Gamble Co. v. Teva Pharmaceuticals USA, Inc.
     )G )HG&LU 

   Quaker City Gear Works, Inc. v. Skil Corp.
    )G )HG&LU 

   Radio Sys. Corp. v. Lalor
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   Read Corp. v. Portec. Inc.
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   ResQNet.com, Inc. v. Lansa, Inc.
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   Rheox, Inc. v. Entact, Inc.
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   Rite-Hite Corp. v. Kelley Co.
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   Robocast, Inc. v. Apple Inc.
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   Sanofi-Synthelabo v. Apotex, Inc
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   Schneider (Europe) AG v. SciMed Life Sys., Inc.
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   Scott v. Koyama
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   Seal-Flex, Inc. v. Athletic Track & Court Const
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   Sextant Avionique, S.A. v. Analog Devices, Inc
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   Shu-Hui Chen v. Bouchard
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   SIBIA Neurosciences, Inc. v. Cadus Pharm. Corp
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   Singh v. Brake
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   SmithKline Diagnostics, Inc. v. Helena Labs. Corp.
     )G )HG&LU 

   Sony Corp. of Am. v. Universal City Studios, Inc.
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   Southwall Techs., Inc. v. Cardinal IG Co.
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   SRI Int’l, Inc. v. Internet Sec. Sys., Inc.
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   SSL Servs. LLC v. Citrix Sys. Inc.
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   St. Clair Intellectual Prop. Consultants, Inc. v. Canon, Inc.
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   Standard Oil Co. v. Am. Cyanamid Co
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   Stickle v. Heublein, Inc.
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   Streamfeeder, LLC v. Sure-Feed Sys., Inc.
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   Stryker Corp. v. Zimmer, Inc.
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   Stumbo v. Eastman Outdoors, Inc.
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   Suffolk Techs., LLC v. AOL Inc.
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   Symbol Techs., Inc. v. Opticon, Inc.
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   SynQor, Inc. v. Artesyn Techs., Inc.
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   Takeda Chem. Indus. v. Alphapharm Pty., Ltd
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   Teva Pharm. Indus. Ltd. v. AstraZeneca Pharms. LP & IPR Pharms., Inc.
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   Toro Co. v. White Consol. Indus., Inc
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   Transclean Corp. v. Bridgewood Servs., Inc.
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   Transmatic, Inc. v. Gulton Indus., Inc.
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   Transocean Offshore Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc.
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   Trustees of Boston Univ. v. Everlight Elecs. Co.
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   TypeRight Keyboard Corp. v. Microsoft Corp.
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   Ultra-Tex Surfaces, Inc. v. Hill Bros. Chem. Co.
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   Underwater Devices Inc. v. Morrison-Knudsen Co.
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   Unisplay S.A. v. Am. Elec. Sign Co.
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   Vehicle IP, LLC v. AT&T Mobility LLC et al.
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   VirnetX, Inc. v. Cisco Sys., Inc.
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   Vitronics Corp. v. Conceptronic, Inc.
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   Vulcan Eng’g Co. v. Fata Aluminum, Inc.
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   Waldemar Link v. Osteonics Corp.
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   Wang Labs., Inc. v. Mitsubishi Elecs. Am., Inc.
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   Warner-Jenkinson Co. v. Hilton Davis Chem. Co
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   Warsaw Orthopedic, Inc. v. NuVasive, Inc.
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   Waymark Corp. v. Porta Sys. Corp.
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   WBIP, LLC v. Kohler Co.
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   WesternGeco L.L.C. v. ION Geophysical Corp.
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   Wiesner v. Weigert
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   Williamson v. Citrix Online, LLC
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   Wright v. United 6WDWHV
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   Wyers, Inc. v. Master Lock Co.
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   Wyeth and Cordis Corp. v. Abbott Laboratories
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   Zygo Corp. v. Wyko Corp.
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           'HIHQGDQW+\SHU%UDQFK0HGLFDO7HFKQRORJ\,QF ³+\SHU%UDQFK´ UHVSHFWIXOO\VXEPLWV

   WKHIROORZLQJ6WDWHPHQWRI,VVXHVRI/DZ7KDW5HPDLQ7R%H/LWLJDWHGEDVHGRQ+\SHU%UDQFK¶V

   FXUUHQWXQGHUVWDQGLQJRIWKHFODLPVDQGFRXQWHUFODLPGHIHQVHVRI3ODLQWLIIV,QWHJUD/LIH6FLHQFHV

   &RUS,QWHJUD/LIHV6LHQFHV6DOHV//&&RQIOXHQW6XUJLFDO,QFDQG,QFHSW//& ³3ODLQWLIIV´ 

           7RWKHH[WHQW+\SHU%UDQFK¶V6WDWHPHQWRI,VVXHVRI)DFW7KDW5HPDLQ7R%H/LWLJDWHGVHW

   IRUWK LQ ([KLELW  FRQWDLQV LVVXHV RI ODZ WKRVH LVVXHV DUH LQFRUSRUDWHG KHUHLQ E\ UHIHUHQFH.

   /LNHZLVHVKRXOGWKH&RXUWGHWHUPLQHWKDWDQ\LVVXHLGHQWLILHGLQWKLV([KLELWLVPRUHDSSURSULDWHO\

   FRQVLGHUHGDQLVVXHRIIDFW+\SHU%UDQFKLQFRUSRUDWHVVXFKLVVXHE\UHIHUHQFHLQWR([KLELW. %\

   LQFOXGLQJ D IDFW KHUHLQ +\SHU%UDQFK GRHV QRW DVVXPH WKH EXUGHQ RI SURRI RU SURGXFWLRQ ZLWK

   UHJDUGWRWKDWIDFW. +\SHU%UDQFKUHVHUYHVWKHULJKWWRUHYLVHWKLVVWDWHPHQWLQOLJKWRIWKH&RXUW¶V

   UXOLQJVDQGLQOLJKWRI3ODLQWLIIVLGHQWLILFDWLRQRILVVXHVRIODZDQGIDFWWREHOLWLJDWHG7RWKHH[WHQW

   WKDW 3ODLQWLIIV LQWHQG RU DWWHPSW WR LQWURGXFH GLIIHUHQW RU DGGLWLRQDO OHJDO DUJXPHQWV WR WKRVH

   LGHQWLILHGEHORZ+\SHU%UDQFKUHVHUYHVLWVULJKWWRFRQWHVWWKRVHOHJDODUJXPHQWVDQGWRSUHVHQW

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   RIUHPDLQLQJOHJDOLVVXHV

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                 x :KDWLVWKHSURSHUFRQVWUXFWLRQRI³ELRFRPSDWLEOHGHJUDGDEOHK\GURJHO´DVXVHGLQ

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                 x :KDWLVWKHSURSHUFRQVWUXFWLRQRI³VXLWDEOHWRFRDWDWLVVXHRIDSDWLHQW´DVXVHGLQ

                    WKHSUHDPEOHRIRQHRUPRUHRIWKHDVVHUWHGFODLPV

           %      /HJDO$XWKRULW\

           &ODLPFRQVWUXFWLRQLVDPDWWHURIODZWREHGHWHUPLQHGE\WKHMXGJHMarkman v. Westview

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   Instrs., Inc.86  &ODLPWHUPVDUHFRQVWUXHGE\JLYLQJZRUGVRIWKH

   FODLPWKHPHDQLQJWKH\ZRXOGKDYHWRRQHRIRUGLQDU\VNLOOLQWKHDUWLQYLHZRIWKHLQWULQVLFUHFRUG

   FRQVLVWLQJRIWKHFODLPVVSHFLILFDWLRQDQGILOHKLVWRU\Phillips v. AWH Corp.)G

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   &LU  ³:HFDQQRWORRNDWWKHRUGLQDU\PHDQLQJRIWKHWHUPLQDYDFXXP5DWKHUZH

   PXVWORRNDWWKHRUGLQDU\PHDQLQJLQWKHFRQWH[WRIWKHZULWWHQGHVFULSWLRQDQGWKHSURVHFXWLRQ

   KLVWRU\´ 

           $FRXUWKRZHYHU³FDQQRWFRQVWUXHWKHFODLPVWRFRYHUVXEMHFWPDWWHUEURDGHUWKDQWKDW

   ZKLFK WKH SDWHQWHH LWVHOI UHJDUGHG DV FRPSULVLQJ LWV LQYHQWLRQV DQG UHSUHVHQWHG WR WKH 372´

   Microsoft Corp. v. Multi-Tech Sys., Inc.)G )HG&LU )ROORZLQJWKLV

   PDQGDWH ³HYLGHQFH H[WULQVLF WR WKH SDWHQW DQG SURVHFXWLRQ KLVWRU\ VXFK DV H[SHUW WHVWLPRQ\

   FDQQRWEHUHOLHGRQWRFKDQJHWKHPHDQLQJRIWKHFODLPVZKHQWKDWPHDQLQJLVPDGHFOHDU´LQWKH

   LQWULQVLFUHFRUGSouthwall Techs., Inc. v. Cardinal IG Co.)G )HG&LU 

   ³7KHFODLPVVSHFLILFDWLRQDQGILOHKLVWRU\UDWKHUWKDQH[WULQVLFHYLGHQFHFRQVWLWXWHWKHSXEOLF

   UHFRUGRIWKHSDWHQWHH¶VFODLPDUHFRUGRQZKLFKWKHSXEOLFLVHQWLWOHGWRUHO\$OORZLQJWKH

   SXEOLF UHFRUG WR EH DOWHUHG RU FKDQJHG E\ H[WULQVLF HYLGHQFH LQWURGXFHGDW WULDO VXFK DV H[SHUW

   WHVWLPRQ\ZRXOGPDNHWKLVULJKWPHDQLQJOHVV´Vitronics Corp. v. Conceptronic, Inc.)G

    )HG&LU  LQWHUQDOFLWDWLRQVRPLWWHG 

           $UJXPHQWV PDGH GXULQJ SURVHFXWLRQ PXVW DOVR EH FRQVLGHUHG ZKHQ D FRXUW HQJDJHV LQ

   FODLPFRQVWUXFWLRQ

           $Q\ H[SODQDWLRQ HODERUDWLRQ RU TXDOLILFDWLRQ SUHVHQWHG E\ WKH LQYHQWRU GXULQJ
           SDWHQWH[DPLQDWLRQLVUHOHYDQWIRUWKHUROHRIFODLPFRQVWUXFWLRQLVWRFDSWXUHWKH
           VFRSHRIWKHDFWXDOLQYHQWLRQWKDWLVGLVFORVHGGHVFULEHGDQGSDWHQWHG>7@KH
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           SURVHFXWLRQZLWKRXWDWWHPSWLQJWRGHFLSKHUZKHWKHUWKHH[DPLQHUUHOLHGRQWKHP
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   Fenner Invs., Ltd. v. Cellco P’ship)G )HG&LU see also MBO

   Labs., Inc. v. Becton, Dickinson & Co.  )G   )HG &LU   ³3URVHFXWLRQ

   DUJXPHQWVZKLFKGUDZGLVWLQFWLRQVEHWZHHQWKHSDWHQWHGLQYHQWLRQDQGWKHSULRUDUWDUHXVHIXO

   IRU GHWHUPLQLQJ ZKHWKHU WKH SDWHQWHH LQWHQGHG WR VXUUHQGHU WHUULWRU\ VLQFH WKH\ LQGLFDWH LQ WKH

   LQYHQWRU¶VRZQZRUGVZKDWWKHLQYHQWLRQLVQRW´ Gillespie v. Dywidag Sys. Int’l, USA)G

    )HG&LU  ³7KHSDWHQWHHLVKHOGWRZKDWKHGHFODUHVGXULQJWKHSURVHFXWLRQRI

   KLVSDWHQW´ ACCO Brands, Inc. v. Micro Sec. Devices, Inc.)G )HG&LU 

    ³6WDWHPHQWVPDGHGXULQJSURVHFXWLRQZKLFKFOHDUO\GLVFODLPDSDUWLFXODUFODLPLQWHUSUHWDWLRQZLOO

   OLPLWWKHVFRSHRIWKHFODLPV´ Rheox, Inc. v. Entact, Inc.)G )HG&LU 

    ³$UJXPHQWVDQGDPHQGPHQWVPDGHGXULQJSURVHFXWLRQRIDSDWHQWDSSOLFDWLRQPXVWEHH[DPLQHG

   WRGHWHUPLQHWKHPHDQLQJRIWHUPVLQWKHFODLPV´ 

   ,,    ,QIULQJHPHQW

           $      ,VVXHV

                 x :KHWKHU+\SHU%UDQFKKDVGLUHFWO\LQIULQJHGDQ\$VVHUWHG&ODLPRIWKHSDWHQWVLQ

                    VXLW

                 x :KHWKHU+\SHU%UDQFKKDVOLWHUDOO\LQIULQJHGDQ\$VVHUWHG&ODLPRIWKHSDWHQWVLQ

                    VXLW

                 x :KHWKHU +\SHU%UDQFK KDV LQIULQJHG DQ\ $VVHUWHG &ODLP RI WKH SDWHQWVLQVXLW

                    XQGHUWKHGRFWULQHRIHTXLYDOHQWV

                 x :KHWKHU +\SHU%UDQFK KDV LQGXFHG LQIULQJHPHQW RI DQ\ $VVHUWHG &ODLP RI WKH

                    SDWHQWVLQVXLWLQWKH8QLWHG6WDWHV

                 x :KHWKHU+\SHU%UDQFKKDVFRQWULEXWHGWRWKHLQIULQJHPHQWRIDQ\$VVHUWHG&ODLP

                    RIWKHSDWHQWVLQVXLWLQWKH8QLWHG6WDWHV

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                 x :KHWKHU +\SHU%UDQFK KDV LQGXFHG LQIULQJHPHQW RI DQ\ $VVHUWHG &ODLP RI WKH

                    SDWHQWVLQVXLWRXWVLGHRIWKH8QLWHG6WDWHV

                 x :KHWKHU+\SHU%UDQFKKDVFRQWULEXWHGWRWKHLQIULQJHPHQWRIDQ\$VVHUWHG&ODLP

                    RIWKHSDWHQWVLQVXLWRXWVLGHWKH8QLWHG6WDWHV

                 x :KHWKHU+\SHU%UDQFKZLOOIXOO\LQIULQJHGDQ\$VVHUWHG&ODLPRIWKHSDWHQWVLQVXLW

                    DIWHU-DQXDU\

           %      /HJDO$XWKRULW\

           $OWKRXJKLQIULQJHPHQWLVDTXHVWLRQRIIDFWOLPLWDWLRQVRQWKHDSSOLFDELOLW\RIWKHGRFWULQH

   RI HTXLYDOHQWV²LQFOXGLQJ ZKHWKHU D SDWHQWHH LV HVWRSSHG IURP DVVHUWLQJ WKH GRFWULQH RI

   HTXLYDOHQWVEDVHGRQVWDWHPHQWVRUDPHQGPHQWVPDGHGXULQJSURVHFXWLRQZKHWKHUDILQGLQJRI

   HTXLYDOHQFHZRXOGYLWLDWHDFODLPOLPLWDWLRQDQGZKHWKHUDILQGLQJRIHTXLYDOHQFHZRXOGHQVQDUH

   WKHSULRUDUW²DUHTXHVWLRQVRIODZ+\SHU%UDQFKFRQWHQGVWKDW3ODLQWLIIVDUHQRWHQWLWOHGWRUHO\

   RQWKHGRFWULQHRIHTXLYDOHQWVGXHWR

                         'LUHFW,QIULQJHPHQW

           ³>,@WLVD[LRPDWLFWKDWWKHpatenteeEHDUVWKHEXUGHQRISURYLQJLQIULQJHPHQW´Ultra-Tex

   Surfaces, Inc. v. Hill Bros. Chem. Co.)G )HG&LU  HPSKDVLVLQRULJLQDO 

   ,QIULQJHPHQWPXVWEHSURYHQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHCentricut, LLC v. Esab Grp.,

   Inc)G )HG&LU 7RGHWHUPLQHZKHWKHUDSDWHQWHHKDVPHWWKLVEXUGHQ

   FRXUWVDSSO\DWZRSDUWWHVW³)LUVWWKHFODLPPXVWEHSURSHUO\FRQVWUXHGWRGHWHUPLQHLWVVFRSH

   DQGPHDQLQJ6HFRQGWKHFODLPDVSURSHUO\FRQVWUXHGPXVWEHFRPSDUHGWRWKHDFFXVHGGHYLFHRU

   SURFHVV´Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp.)G )HG&LU 

    FLWDWLRQRPLWWHG 

           ³7RVKRZLQIULQJHPHQWRIDSDWHQWDSDWHQWHHPXVWVXSSO\VXIILFLHQWHYLGHQFHWRSURYHWKDW

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   WKHDFFXVHGSURGXFWRUSURFHVVFRQWDLQVHLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWVHYHU\

   OLPLWDWLRQRIWKHSURSHUO\FRQVWUXHGFODLP´Seal-Flex, Inc. v. Athletic Track & Court Constr

   )G )HG&LU 7KHSDWHQWHHIDLOVWRFDUU\LWVEXUGHQ³ZKHQWZRVFHQDULRVDUH

   HTXDOO\OLNHO\´EHFDXVH³QRMXU\FRXOGGHWHUPLQHZKLFKRQHZDVPRUHOLNHO\WKDQQRW´Mosel

   Vitelic Corp. v. Micron Tech., Inc.1R&,9$*06:/DW  ''HO

   0DU 

           8QGHU6XSUHPH&RXUWODZDPHWKRGFODLP³LVQRWLQIULQJHGXQOHVVDOOWKHVWHSVDUHFDUULHG

   RXW´ Limelight Networks, Inc. v. Akamai Techs., Inc.  6 &W     see also

   Ormco Corp. v. Align Tech., Inc.)G )HG&LU  ³0HWKRGFODLPVDUHRQO\

   LQIULQJHGZKHQWKHFODLPHGSURFHVVLVSHUIRUPHGQRWE\WKHVDOHRIDQDSSDUDWXVWKDWLVFDSDEOHRI

   LQIULQJLQJXVH´ $SDUW\GRHVQRWGLUHFWO\LQIULQJHDPHWKRGFODLPEDVHGRQDFWLRQVRIDWKLUG

   SDUW\XQOHVV³LWDFWVWKURXJKDQDJHQW DSSO\LQJWUDGLWLRQDODJHQF\SULQFLSOHV RUFRQWUDFWVZLWK

   DQRWKHU WR SHUIRUP RQH RU PRUH VWHSV RI D FODLPHG PHWKRG´ RU ³FRQGLWLRQV SDUWLFLSDWLRQ LQ DQ

   DFWLYLW\ RU UHFHLSW RI D EHQHILW XSRQ SHUIRUPDQFH RI D VWHS RU VWHSV RI D SDWHQWHG PHWKRG DQG

   HVWDEOLVKHVWKHPDQQHURUWLPLQJRIWKDWSHUIRUPDQFH´Akamai Techs., Inc. v. Limelight Networks,

   Inc.)G )HG&LU ³:KHWKHUDVLQJOHDFWRUGLUHFWHGRUFRQWUROOHGWKHDFWV

   RIRQHRUPRUHWKLUGSDUWLHVLVDTXHVWLRQRIIDFW´QRWODZId.

                         /LWHUDO,QIULQJHPHQW

           /LWHUDO LQIULQJHPHQW UHTXLUHV WKH SUHVHQFH RI HDFK OLPLWDWLRQ H[DFWO\ DV ZULWWHQ LQ WKH

   FODLPSee DeMarini Sports, Inc. v. Worth, Inc)G )HG&LU  ³/LWHUDO

   LQIULQJHPHQWRIDFODLPRFFXUVZKHQHYHU\OLPLWDWLRQUHFLWHGLQWKHFODLPDSSHDUVLQWKHDFFXVHG

   GHYLFH i.e. ZKHQ WKH SURSHUO\ FRQVWUXHG FODLP UHDGV RQ WKH DFFXVHG GHYLFH H[DFWO\´ LQWHUQDO

   TXRWDWLRQPDUNVRPLWWHG ³,IHYHQone limitationLVPLVVLQJRUQRWPHWDVFODLPHGWKHUHLVQR

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   OLWHUDOLQIULQJHPHQW´Mas-Hamilton Grp. v. LaGard, Inc.)G )HG&LU 

    HPSKDVLVDGGHG  FLWDWLRQRPLWWHG 

                        ,QIULQJHPHQW8QGHUWKH'RFWULQHRI(TXLYDOHQWV

           8QGHUWKHGRFWULQHRIWKHHTXLYDOHQWV³DSURGXFWRUSURFHVVWKDWGRHVQRWOLWHUDOO\LQIULQJH

   XSRQ WKH H[SUHVV WHUPV RI D SDWHQW FODLP PD\ QRQHWKHOHVV EH IRXQG WR LQIULQJH LI WKHUH LV

   µHTXLYDOHQFH¶EHWZHHQWKHHOHPHQWVRIWKHDFFXVHGSURGXFWRUSURFHVVDQGWKHFODLPHGHOHPHQWVRI

   WKHSDWHQWHGLQYHQWLRQ´Honeywell Int’l, Inc. v. Hamilton Sundstrand Corp.)G

    )HG&LU see also Toro Co. v. White Consol. Indus., Inc)G )HG&LU

     ³7RLQIULQJHDFODLPXQGHUWKHGRFWULQHRIHTXLYDOHQWVDQDFFXVHGGHYLFHPXVWLQFOXGHDQ

   HTXLYDOHQWIRUHDFKOLWHUDOO\DEVHQWFODLPOLPLWDWLRQ´ 7RSURYHHTXLYDOHQFHWKHSDWHQWHHPXVW

   ³VKRZ>@ WKDW WKH GLIIHUHQFH EHWZHHQ WKH FODLPHG LQYHQWLRQ DQG WKH DFFXVHG SURGXFW >LV@

   LQVXEVWDQWLDO´Stumbo v. Eastman Outdoors, Inc.)G )HG&LU ³2QH

   ZD\RIGRLQJVRLVE\VKRZLQJRQDOLPLWDWLRQE\OLPLWDWLRQEDVLVWKDWWKHDFFXVHGSURGXFWSHUIRUPV

   VXEVWDQWLDOO\WKHVDPHIXQFWLRQLQVXEVWDQWLDOO\WKHVDPHZD\ZLWKVXEVWDQWLDOO\WKHVDPHUHVXOW´

   DVWKHFRUUHVSRQGLQJOLPLWDWLRQFODLPHGLQWKHSDWHQWId. 7KHGRFWULQHRIHTXLYDOHQWVPXVWEH

   DSSOLHGWRHDFKLQGLYLGXDOHOHPHQWRIDFODLPQRWWRWKHLQYHQWLRQDVDZKROHWarner-Jenkinson

   Co. v. Hilton Davis Chem. Co86  $SDWHQWHHPXVWSUHVHQW³SDUWLFXODUL]HG

   WHVWLPRQ\ DQG OLQNLQJ DUJXPHQW´ WR VXSSRUW D WKHRU\ RI LQIULQJHPHQW XQGHU WKH GRFWULQH RI

   HTXLYDOHQWVAm. Calcar, Inc. v. Am. Honda Motor Co)G )HG&LU 

           3URVHFXWLRQKLVWRU\HVWRSSHOVWDQGV³DVDOHJDOOLPLWDWLRQRQWKHGRFWULQHRIHTXLYDOHQWV´

   Warner-Jenkinson  86 DW   3URVHFXWLRQ KLVWRU\ HVWRSSHO ³SUHYHQWV D SDWHQWHH IURP

   UHFDSWXULQJWKURXJKWKHGRFWULQHRIHTXLYDOHQWVWKHVXEMHFWPDWWHUWKDWWKHDSSOLFDQWVXUUHQGHUHG

   GXULQJSURVHFXWLRQ´Integrated Tech. Corp. v. Rudolph Techs., Inc.)G )HG

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   &LU 3URVHFXWLRQKLVWRU\HVWRSSHOPD\EDUWKHSDWHQWHHIURPUHO\LQJRQWKHGRFWULQHRI

   HTXLYDOHQWV LI GXULQJ SURVHFXWLRQ WKH SDWHQWHH PDGH D QDUURZLQJ DPHQGPHQW WR VDWLVI\ DQ\

   UHTXLUHPHQWRIWKH3DWHQW$FW³>$@QDUURZLQJDPHQGPHQWPDGHIRUDUHDVRQRISDWHQWDELOLW\´

   FUHDWHVDSUHVXPSWLRQWKDWWKHSDWHQWHHKDV³VXUUHQGHU>HG@WKHHQWLUHWHUULWRU\EHWZHHQWKHRULJLQDO

   FODLP OLPLWDWLRQ DQG WKH DPHQGHG FODLP OLPLWDWLRQ´  Festo Corp. v. Shoketsu Kinzoku Kogyo

   Kabushiki Co)G )HG&LU  HQEDQF 7KHSDWHQWHHPD\RYHUFRPHWKDW

   SUHVXPSWLRQRQO\E\GHPRQVWUDWLQJWKDW³WKHHTXLYDOHQWZRXOGKDYHEHHQXQIRUHVHHDEOHDWWKHWLPH

   RI WKH DPHQGPHQW´ ³WKH UDWLRQDOH XQGHUO\LQJ WKH DPHQGPHQW ERUH QR PRUH WKDQ D WDQJHQWLDO

   UHODWLRQWRWKHHTXLYDOHQWLQTXHVWLRQ´RU³WKHUHZDVVRPHRWKHUUHDVRQVXJJHVWLQJWKDWWKHSDWHQWHH

   FRXOGQRWUHDVRQDEO\EHH[SHFWHGWRKDYHGHVFULEHGWKHLQVXEVWDQWLDOVXEVWLWXWHLQTXHVWLRQ´Id.

    DOWHUDWLRQVLQRULJLQDO 

           6LPLODUO\DSDWHQWHHPD\EHEDUUHGIURPUHO\LQJRQWKHGRFWULQHRIHTXLYDOHQWVLIGXULQJ

   SURVHFXWLRQWKHSDWHQWHHPDGHDUJXPHQWVWKDWHIIHFWLYHO\QDUURZHGWKHVFRSHRIWKHSDWHQWFODLPV

   ³>$@UJXPHQWVPDGHGXULQJSURVHFXWLRQZLWKRXWDPHQGPHQWVWRFODLPODQJXDJH²LIVXIILFLHQWWR

   HYLQFH D FOHDU DQG XQPLVWDNDEOH VXUUHQGHU RI VXEMHFW PDWWHU²PD\ HVWRS DQ DSSOLFDQW IURP

   UHFDSWXULQJWKDWVXUUHQGHUHGPDWWHUXQGHUWKHGRFWULQHRIHTXLYDOHQWV´Sextant Avionique, S.A. v.

   Analog Devices, Inc  )G   Q )HG &LU   see also Wang Labs., Inc. v.

   Mitsubishi Elecs. Am., Inc.)G )HG&LU  ³$UJXPHQWVDQGDPHQGPHQWV

   PDGHWRVHFXUHDOORZDQFHRIDFODLPHVSHFLDOO\WKRVHGLVWLQJXLVKLQJSULRUDUWSUHVXPDEO\JLYH

   ULVHWRSURVHFXWLRQKLVWRU\HVWRSSHO´ Hoganas AB v. Dresser Indus., Inc)G

    )HG&LU  ³7KHHVVHQFHRISURVHFXWLRQKLVWRU\HVWRSSHOLVWKDWDSDWHQWHHVKRXOGQRWEHDEOH

   WRREWDLQWKURXJKWKHGRFWULQHRIHTXLYDOHQWVFRYHUDJHRIVXEMHFWPDWWHUWKDWZDVUHOLQTXLVKHG

   GXULQJSURVHFXWLRQWRSURFXUHLVVXDQFHRIWKHSDWHQW´ 

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           7KHGRFWULQHRIHTXLYDOHQWVDOVRPD\QRWEHUHOLHGRQLIDILQGLQJRILQIULQJHPHQWE\

   HTXLYDOHQWV³ZRXOGHQWLUHO\YLWLDWHDSDUWLFXODUFODLPHOHPHQW´Warner-Jenkinson86DW

   Qsee also Moore U.S.A., Inc. v. Standard Register Co)G )HG&LU

     H[SODLQLQJWKDW³DOOFODLPOLPLWDWLRQVDUHQRWHQWLWOHGWRDQHTXDOVFRSHRIHTXLYDOHQWV

   >DQG@PDQ\OLPLWDWLRQVZDUUDQWOLWWOHLIDQ\UDQJHRIHTXLYDOHQWV´DQGKROGLQJWKDWDOORZLQJD

   ³PLQRULW\«WREHHTXLYDOHQWWRDPDMRULW\ZRXOGYLWLDWHWKH>µPDMRULW\¶@UHTXLUHPHQW´ Impulse

   Tech. Ltd. v. Microsoft Corp.&$1R5*$:/DW  ''HO6HSW

     DSSO\LQJFODLPYLWLDWLRQZKHUH³>W@KHDFFXVHGSURGXFWRSHUDWHVLQHVVHQWLDOO\WKH

   RSSRVLWHIDVKLRQRIWKDWGHVFULEHGLQWKHFODLPV´ 

           $GGLWLRQDOO\ WKH GRFWULQH RI ³>H@QVQDUHPHQW EDUV D SDWHQWHH IURP DVVHUWLQJ D VFRSH RI

   HTXLYDOHQF\WKDWZRXOGHQFRPSDVVRUµHQVQDUH¶WKHSULRUDUW´DePuy Spine, Inc. v. Medtronic

   Sofamor Danek, Inc.  )G   )HG &LU    ,I D K\SRWKHWLFDO SDWHQW FODLP

   FRQVWUXFWHG RQ WKH EDVLV RI WKH SDWHQWHH¶V GRFWULQH RI HTXLYDOHQWV WKHRU\ WR OLWHUDOO\ FRYHU WKH

   DFFXVHG GHYLFH ZRXOG EH XQSDWHQWDEOH DV DQWLFLSDWHG RU REYLRXV WKHQ ³WKH SDWHQWHH KDV

   RYHUUHDFKHGDQGWKHDFFXVHGGHYLFHLVQRQLQIULQJLQJDVDPDWWHURIODZ´Interactive Pictures

   Corp. v. Infinite Pictures, Inc.)G )HG&LU ³>7@KHEXUGHQRISHUVXDVLRQ

   WKDWWKHK\SRWKHWLFDOFODLPGRHVQRWHQVQDUHWKHSULRUDUWUHPDLQVZLWKWKHSDWHQWHH´Streamfeeder,

   LLC v. Sure-Feed Sys., Inc.)G )HG&LU (QVQDUHPHQWLVDTXHVWLRQRIODZ

   WREHGHFLGHGE\WKH&RXUWQRWWKHMXU\DePuy Spine)GDW

                         ,QGLUHFW,QIULQJHPHQW,QGXFHG,QIULQJHPHQW

           ³:KRHYHUDFWLYHO\LQGXFHVLQIULQJHPHQWRIDSDWHQWVKDOOEHOLDEOHDVDQLQIULQJHU´

   86& E ³$SHUVRQLQGXFHVLQIULQJHPHQWXQGHU E E\DFWLYHO\DQGNQRZLQJO\DLGLQJ

   DQGDEHWWLQJDQRWKHU¶VGLUHFWLQIULQJHPHQW´C.R. Bard, Inc. v. Advanced Cardiovascular Sys.,

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   Inc  )G   )HG &LU    ,QGXFHG LQIULQJHPHQW UHTXLUHV SURRI RI DFWXDO

   LQIULQJHPHQW7KXV³>L@QRUGHUWRVXFFHHGRQDFODLPRILQGXFHPHQWWKHSDWHQWHHPXVWVKRZILUVW

   WKDWWKHUHKDVEHHQGLUHFWLQIULQJHPHQWDQGVHFRQGWKDWWKHDOOHJHGLQIULQJHUNQRZLQJO\LQGXFHG

   LQIULQJHPHQWDQGSRVVHVVHGVSHFLILFLQWHQWWRHQFRXUDJHDQRWKHU¶VLQIULQJHPHQW´Minn. Mining

   & Mfg. Co. v. Chemque, Inc)G )HG&LU  FLWDWLRQRPLWWHG 7KLV

   UHTXLUHVVKRZLQJWKDWWKHDOOHJHGLQIULQJHUKDG³NQRZOHGJHWKDWWKHLQGXFHGDFWVFRQVWLWXWHSDWHQW

   LQIULQJHPHQW´  Global-Tech Appliances, Inc. v. SEB S.A  86     see also

   Commil USA, LLC v. Cisco Sys., Inc.  6 &W     H[SODLQLQJ WKDW LQGLUHFW

   LQIULQJHPHQW ³UHTXLUHV SURRI WKH GHIHQGDQW NQHZ WKH >DFFXVHG@ DFWV ZHUH LQIULQJLQJ´ 

   ³>,@QGXFHPHQW UHTXLUHV HYLGHQFH RI FXOSDEOH FRQGXFW GLUHFWHG WR HQFRXUDJLQJ DQRWKHU¶V

   LQIULQJHPHQWQRWPHUHO\WKDWWKHLQGXFHUKDGNQRZOHGJHRIWKHGLUHFWLQIULQJHU¶VDFWLYLWLHV´DSU

   Med. Corp. v. JMS Co)G )HG&LU  HQEDQF  FLWLQJMetro-Goldwyn-

   Mayer Studios, Inc. v. Grokster, Ltd6&W  ³7KHIDLOXUHRIDQLQIULQJHU

   WRREWDLQWKHDGYLFHRIFRXQVHOZLWKUHVSHFWWRDQ\DOOHJHGO\LQIULQJHGSDWHQWRUWKHIDLOXUHRIWKH

   LQIULQJHUWRSUHVHQWVXFKDGYLFHWRWKHFRXUWRUMXU\PD\QRWEHXVHGWRSURYHWKDWWKHDFFXVHG

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   RIIHUWRVHOORULPSRUWRIDSURGXFWWKDWFDQEHXVHGLQDSDWHQWHGPHWKRGLIWKHSURGXFWLV³QRWD

   VWDSOHDUWLFOHRUFRPPRGLW\RIFRPPHUFHVXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVH´86&

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   IRXUHOHPHQWV  WKHDFFXVHGLQIULQJHUVROGRURIIHUHGWRVHOOLQWKH8QLWHG6WDWHVRULPSRUWHG

   LQWRWKH8QLWHG6WDWHVDFRPSRQHQWRIDSDWHQWHGGHYLFHRUFRPSRVLWLRQRUDPDWHULDORUDSSDUDWXV

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   WKDWLVDFRPSRQHQWIRUXVHLQSUDFWLFLQJDSDWHQWHGSURFHVV  WKHFRPSRQHQWLVDPDWHULDOSDUW

   RIWKHLQYHQWLRQ  WKHDFFXVHGSDUW\NQHZWKDWWKHFRPSRQHQWZDVHVSHFLDOO\PDGHRUDGDSWHG

   IRUXVHLQDPDQQHUWKDWZRXOGLQIULQJHWKHSDWHQWZKHQWKHSDUW\VROGRIIHUHGRULPSRUWHGWKH

   FRPSRQHQWDQG  WKHFRPSRQHQWLVQRWDVWDSOHDUWLFOHRIFRPPHUFHFDSDEOHRIVXEVWDQWLDOQRQ

   LQIULQJLQJXVHSee Fujitsu Ltd. v. Netgear Inc)G )HG&LU 

           &RQWULEXWRU\LQIULQJHPHQWUHTXLUHVSURRIRIGLUHFWLQIULQJHPHQWDQGDOVRUHTXLUHVWKDWWKH

   DFFXVHGSURGXFWKDYH³QRXVHH[FHSWWKURXJKSUDFWLFHRIWKHSDWHQWHGPHWKRG´Alloc, Inc. v. Int’l

   Trade Comm’n)G )HG&LU see also Sony Corp. of Am. v. Universal

   City Studios, Inc.  86     ³8QOHVVDFRPPRGLW\KDVQRXVHH[FHSWWKURXJK

   SUDFWLFHRIWKHSDWHQWHGPHWKRGWKHSDWHQWHHKDVQRULJKWWRFODLPWKDWLWVGLVWULEXWLRQFRQVWLWXWHV

   FRQWULEXWRU\ LQIULQJHPHQW´  FLWDWLRQ DQG LQWHUQDO TXRWDWLRQ PDUNV RPLWWHG  ³>$@ YLRODWRU RI 

    F PXVWNQRZµWKDWWKHFRPELQDWLRQIRUZKLFKKLVFRPSRQHQWZDVHVSHFLDOO\GHVLJQHGZDV

   ERWKSDWHQWHGDQGLQIULQJLQJ¶´Global-Tech, 86DW TXRWLQJAro Mfg. Co. v. Convertible

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           6HFWLRQ I  VWDWHV

           :KRHYHUZLWKRXWDXWKRULW\VXSSOLHVRUFDXVHVWREHVXSSOLHGLQRUIURPWKH8QLWHG
           6WDWHVDOORUDVXEVWDQWLDOSRUWLRQRIWKHFRPSRQHQWVRIDSDWHQWHGLQYHQWLRQZKHUH
           VXFKFRPSRQHQWVDUHXQFRPELQHGLQZKROHRULQSDUWLQVXFKPDQQHUDVWRDFWLYHO\
           LQGXFH WKH FRPELQDWLRQ RI VXFK FRPSRQHQWV RXWVLGH RI WKH 8QLWHG 6WDWHV LQ D
           PDQQHU WKDW ZRXOG LQIULQJH WKH SDWHQW LI VXFK FRPELQDWLRQ RFFXUUHG ZLWKLQ WKH
           8QLWHG6WDWHVVKDOOEHOLDEOHDVDQLQIULQJHU

   86& I  8QGHU6HFWLRQ I  3ODLQWLIIVKDYHWKHEXUGHQRISURYLQJERWKWKDWWKH

   ³FRPELQDWLRQ RI VXFK FRPSRQHQWV RXWVLGH RI WKH 8QLWHG 6WDWHV´ ZRXOG LQIULQJH ³LI VXFK

   FRPELQDWLRQ RFFXUUHG ZLWKLQ WKH 8QLWHG 6WDWHV´ DQG WKDW +\SHU%UDQFK ³DFWLYHO\ LQGXFH>G@ WKH

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   FRPELQDWLRQRIVXFKFRPSRQHQWV´Id.

           ³  I   GRHV QRW FRYHU WKH VXSSO\ RI D VLQJOH FRPSRQHQW RI D PXOWLFRPSRQHQW

   LQYHQWLRQ´Life Techs. Corp. v. Promega Corp.6&W  6HFWLRQ I DOVR

   GRHVQRWDSSO\WRPHWKRGRUSURFHVVFODLPVCardiac Pacemakers, Inc. v. St. Jude Med., Inc.

   )G   )HG &LU   ³>%HFDXVH RQH FDQQRW VXSSO\ WKH VWHS RI D PHWKRG 6HFWLRQ

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           6HFWLRQ I  VWDWHV

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           6WDWHVDQ\FRPSRQHQWRIDSDWHQWHGLQYHQWLRQWKDWLVHVSHFLDOO\PDGHRUHVSHFLDOO\
           DGDSWHGIRUXVHLQWKHLQYHQWLRQDQGQRWDVWDSOHDUWLFOHRUFRPPRGLW\RIFRPPHUFH
           VXLWDEOHIRUVXEVWDQWLDOQRQLQIULQJLQJXVHZKHUHVXFKFRPSRQHQWLVXQFRPELQHGLQ
           ZKROHRULQSDUWNQRZLQJWKDWVXFKFRPSRQHQWLVVRPDGHRUDGDSWHGDQGLQWHQGLQJ
           WKDWVXFKFRPSRQHQWZLOOEHFRPELQHGRXWVLGHRIWKH8QLWHG6WDWHVLQDPDQQHUWKDW
           ZRXOGLQIULQJHWKHSDWHQWLIVXFKFRPELQDWLRQRFFXUUHGZLWKLQWKH8QLWHG6WDWHV
           VKDOOEHOLDEOHDVDQLQIULQJHU

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   Pacemakers, Inc.)GDW ³>%HFDXVHRQHFDQQRWVXSSO\WKHVWHSRIDPHWKRG6HFWLRQ

    I FDQQRWDSSO\WRPHWKRGRUSURFHVVSDWHQWV´ 

           8QGHU6HFWLRQ I  3ODLQWLIIVKDYHWKHEXUGHQRISURYLQJERWKWKDWWKH³FRPELQ>DWLRQ@

   RXWVLGHWKH8QLWHG6WDWHV´ZRXOGLQIULQJH³LIVXFKFRPELQDWLRQRFFXUUHGZLWKLQWKH8QLWHG6WDWHV´

   id.DQGWKDW+\SHU%UDQFK³VKLSSHGWKH>@>FRPSRQHQWV@ZLWKWKHLQWHQWWKDWWKH\EHFRPELQHG´

   Waymark Corp. v. Porta Sys. Corp.)G )HG&LU 

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           ,QRUGHUWRGHPRQVWUDWHZLOOIXOLQIULQJHPHQW3ODLQWLIIVPXVWSURYHE\DSUHSRQGHUDQFHRI

   WKHHYLGHQFHWKDW+\SHU%UDQFKLQIULQJHG³GHOLEHUDWH>O\@´LQD³FRQVFLRXVO\ZURQJIXO´PDQQHU

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   DQG³ZLWKRXWDQ\UHDVRQWRVXSSRVH>LWV@FRQGXFW>ZDV@DUJXDEO\GHIHQVLEOH´Halo Elecs.., Inc. v.

   Pulse Elecs.., Inc.,6&W  see also WBIP, LLC v. Kohler Co.

   )G )HG&LU  ZLOOIXOLQIULQJHPHQWLVDTXHVWLRQRIIDFW 3ODLQWLIIVPXVWSURYH

   WKDW+\SHU%UDQFK³DFWHGGHVSLWHDULVNRILQIULQJHPHQWWKDWZDVµHLWKHUNQRZQRUVRREYLRXVWKDW

   LWVKRXOGKDYHEHHQNQRZQWRWKHDFFXVHGLQIULQJHU¶´WesternGeco L.L.C. v. ION Geophysical

   Corp.)G )HG&LU  TXRWLQJHalo6&WDW ³7RGHWHUPLQH

   ZKHWKHUDQDFFXVHGLQIULQJHU¶VFRQGXFWZDVVXEMHFWLYHO\ZLOOIXOWKH&RXUWPXVWµPHDVXUH>@¶WKH

   DFFXVHGLQIULQJHU¶VµFXOSDELOLW\DJDLQVWWKHNQRZOHGJHRIWKHDFWRUDWWKHWLPHRIWKHFKDOOHQJHG

   FRQGXFW¶´Masimo Corp. v. Philips Elecs. N. Am. Corp.&$1R/36:/

   DW  ''HO2FW  TXRWLQJHalo6&WDW $QDFFXVHGLQIULQJHU¶VFRQGXFW

   PD\RQO\EHIRXQGWRDPRXQWWRZLOOIXOLQIULQJHPHQWLILWLV³ZLOOIXOZDQWRQPDOLFLRXVEDGIDLWK

   GHOLEHUDWHFRQVFLRXVO\ZURQJIXOIODJUDQWRU²LQGHHG²FKDUDFWHULVWLFRIDSLUDWH´Halo6

   &WDW

           $ZDUHQHVVRIWKHSDWHQWVLQVXLWZLWKRXWPRUHFDQQRWHVWDEOLVKZLOOIXOLQIULQJHPHQWSee

   Vehicle IP, LLC v. AT&T Mobility LLC)6XSSG ''HO  ³9HKLFOH,3

   GRHVQRWLGHQWLI\RWKHUHYLGHQFHEH\RQGSUHVXLWNQRZOHGJHRIWKHSDWHQWWKDWFRXOGVKRZWKDW

   WKH 7&6 'HIHQGDQWV¶ LQIULQJHPHQW ZDV µHJUHJLRXV¶ µGHOLEHUDWH¶ µZDQWRQ¶ RU RWKHUZLVH

   FKDUDFWHULVWLFRIWKHW\SHRILQIULQJHPHQWWKDWZDUUDQWVWKH&RXUWH[HUFLVLQJLWVGLVFUHWLRQWRLPSRVH

   WKHµSXQLWLYH¶VDQFWLRQRIHQKDQFHGGDPDJHV´ Greatbatch Ltd. v. AVX Corp.&$1R

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   LVQRWVXIILFLHQWE\LWVHOIWRILQGµZLOOIXOPLVFRQGXFW¶RIWKHW\SHWKDWPD\ZDUUDQWDQDZDUGRI

   HQKDQFHGGDPDJHV´ see also Norian Corp. v. Stryker Corp.)G )HG&LU

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   DVVHUWHGSDWHQWV Ajinomoto Co. v. Archer-Daniels-Midland Co.)G )HG

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   ,,,   3ULRULW\'DWH&RQFHSWLRQ5HGXFWLRQWR3UDFWLFHDQG'LOLJHQFH

           $      ,VVXHV

                 x :KHWKHU3ODLQWLIIVKDYHVKRZQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWFODLPRI

                    WKHµ3DWHQWZDVFRQFHLYHGE\DWOHDVW1RYHPEHU

                 x :KHWKHU3ODLQWLIIVKDYHVKRZQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWFODLPRI

                    WKHµ3DWHQWLVHQWLWOHGWRDSULRULW\GDWHRI'HFHPEHU

                 x :KHWKHU3ODLQWLIIVKDYHVKRZQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWFODLPRI

                    WKHµ3DWHQWLVHQWLWOHGWRDSULRULW\GDWHRI'HFHPEHU

                 x :KHWKHU3ODLQWLIIVKDYHVKRZQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWFODLPV

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                 x :KHWKHU3ODLQWLIIVKDYHVKRZQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWFODLPV

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           ³$>FRQWLQXDWLRQLQSDUWDSSOLFDWLRQ@FRQWDLQVVXEMHFWPDWWHUIURPDSULRUDSSOLFDWLRQDQG

   PD\DOVRFRQWDLQDGGLWLRQDOPDWWHUQRWGLVFORVHGLQWKHSULRUDSSOLFDWLRQ6XEMHFWPDWWHUWKDW

   DULVHVIRUWKHILUVWWLPHLQWKH>FRQWLQXDWLRQLQSDUW@DSSOLFDWLRQGRHVQRWUHFHLYHWKHEHQHILWRIWKH

   ILOLQJGDWHRIWKHSDUHQWDSSOLFDWLRQ´Augustine Med., Inc. v. Gaymar Indus., Inc.)G

    )HG&LU :KHWKHUDFRQWLQXDWLRQLQSDUWDSSOLFDWLRQFDQFODLPSULRULW\WRDQHDUOLHU

   ILOHGDSSOLFDWLRQLVDTXHVWLRQRIODZEDVHGRQXQGHUO\LQJTXHVWLRQVRIIDFWSee Bradford Co. v.

   Conteyor N. Am., Inc.)G )HG&LU  ³'HWHUPLQDWLRQRIDSULRULW\GDWHLV

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   SXUHO\ D TXHVWLRQ RI ODZ LI WKH IDFWV XQGHUO\LQJ WKDW GHWHUPLQDWLRQ DUH XQGLVSXWHG  +RZHYHU

   GHWHUPLQDWLRQ ZKHWKHU D SULRULW\ GRFXPHQW FRQWDLQV VXIILFLHQW GLVFORVXUH WR FRPSO\ ZLWK WKH

   ZULWWHQ GHVFULSWLRQ DVSHFW RI  86&   ILUVW SDUDJUDSK LV D TXHVWLRQ RI IDFW´ LQWHUQDO

   FLWDWLRQRPLWWHG see also PowerOasis, Inc. v. T-Mobile USA, Inc.)G )HG

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   SULRULW\@LVDTXHVWLRQRIIDFW´ Waldemar Link, GmbH & Co. v. Osteonics Corp.)G

    )HG &LU   ³+RZHYHU µFRPSOLDQFH ZLWK WKH ZULWWHQ GHVFULSWLRQ DVSHFW RI WKDW

   UHTXLUHPHQWLVDTXHVWLRQRIIDFW¶7KHIDFWILQGHUPXVWGHWHUPLQHLIRQHVNLOOHGLQWKHDUWUHDGLQJ

   WKHRULJLQDOVSHFLILFDWLRQZRXOGLPPHGLDWHO\GLVFHUQWKHOLPLWDWLRQDWLVVXHLQWKHSDUHQW´ LQWHUQDO

   FLWDWLRQRPLWWHG 

           3ODLQWLIIVEHDUWKHEXUGHQRISURYLQJWKDWDFRQWLQXDWLRQLQSDUWDSSOLFDWLRQLVHQWLWOHGWR

   FODLPSULRULW\WRDQHDUOLHUILOLQJGDWHSee PowerOasis)GDW SODFLQJWKHEXUGHQ

   RISURRIRIHQWLWOHPHQWWRDQHDUOLHUILOLQJGDWHIRUDFRQWLQXDWLRQLQSDUWDSSOLFDWLRQRQWKHSDWHQW

   RZQHU ³>:@KHQDSULRULW\GDWHGLVSXWHDULVHVWKHWULDOFRXUWPXVWH[DPLQHFORVHO\WKHSURVHFXWLRQ

   KLVWRU\WRGLVFRYHUWKHSURSHUGDWHIRUHDFKFODLPDWLVVXH´Waldemar Link)GDW,IDQ

   LQGHSHQGHQWFODLPRIDFRQWLQXDWLRQLQSDUWDSSOLFDWLRQLVQRWDGHTXDWHO\VXSSRUWHGLQWKHSULRU

   DSSOLFDWLRQFODLPVGHSHQGLQJWKHUHIURPJHQHUDOO\DOVRZLOOEHXQVXSSRUWHGAugustine Med.

   )GDW KROGLQJGHSHQGHQWFODLPVZHUHQRWHQWLWOHGWRWKHILOLQJGDWHRIWKHSDUHQWDSSOLFDWLRQ

   ZKHUHWKHLQGHSHQGHQWFODLPODFNHGDGHTXDWHVXSSRUWLQWKHSDUHQWDSSOLFDWLRQ 

                         &RQFHSWLRQ

           ³&RQFHSWLRQ LV WKH WRXFKVWRQH RI LQYHQWRUVKLS WKH FRPSOHWLRQ RI WKH PHQWDO SDUW RI

   LQYHQWLRQ´Burroughs Wellcome Co. v. Barr Labs.,QF)G )HG&LU 

   ³&RQFHSWLRQLVFRPSOHWHRQO\ZKHQWKH>LGHD@LVVRFOHDUO\GHILQHGLQWKHLQYHQWRU¶VPLQGWKDWRQO\

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   RUGLQDU\VNLOOZRXOGEHQHFHVVDU\WRUHGXFHWKHLQYHQWLRQWRSUDFWLFHZLWKRXWH[WHQVLYHUHVHDUFK

   RUH[SHULPHQWDWLRQ´Id. DW7KHUXOHVRISDWHQWODZFRQFHSWLRQ³HQVXUHWKDWSDWHQWULJKWV

   DWWDFKRQO\ZKHQDQLGHDLVVRIDUGHYHORSHGWKDWWKHLQYHQWRUFDQSRLQWWRDGHILQLWHSDUWLFXODU

   LQYHQWLRQ´DQGRQO\ZKHQWKRVHULJKWVDWWDFKFDQDQLQYHQWRUDVVLJQWKRVHULJKWVWRDQRWKHUId.

   ³$FRQFHSWLRQPXVWHQFRPSDVVDOOOLPLWDWLRQVRIWKHFODLPHGLQYHQWLRQ´Singh v. Brake)G

    )HG&LU see also Andreaggi v. Relis$G 1-6XSHU&W&K

   'LY  ³>7@KLVFRXUWFRQFOXGHVWKDWZKHUHDQLQYHQWRURULQYHQWRUVKDYHFRQFHLYHGWKHEDVLF

   LGHDVKDYHGUDZQWKHVFKHPDWLFVIRUWKHHOHFWULFDOFLUFXLWU\KDYHDVVHPEOHGWKHKDUGZDUHWRGR

   WKHZRUNDQGKDYHGRFXPHQWHGWKHPHDQVRIH[HFXWLQJWKHLGHDWKHUHLVLQYHQWLRQ´ 

          ³:KLOHGHIHQGDQWVEHDUWKHEXUGHQRISHUVXDVLRQWRVKRZWKDWWKH>SULRUDUW@UHIHUHQFHVDUH

   SULRUDUWWRWKH>DVVHUWHG@SDWHQWE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKHSDWHQWHHQHYHUWKHOHVVPXVW

   PHHWLWVEXUGHQRISURGXFWLRQWRGHPRQVWUDWHDQHDUOLHUFRQFHSWLRQGDWH´Allergan, Inc. v. Apotex

   Inc.)G )HG&LU ³&RQFHSWLRQµPXVWEHSURYHQE\HYLGHQFHVKRZLQJZKDW

   WKHLQYHQWRUKDVGLVFORVHGWRRWKHUVDQGZKDWWKDWGLVFORVXUHPHDQVWRRQHRIRUGLQDU\VNLOOLQWKH

   DUW¶´Cordance Corp. v. Amazon.com, Inc.)G )HG&LU  TXRWLQJIn re

   Jolley)G )HG&LU  DIILUPLQJWKH'LVWULFW&RXUW¶VJUDQWRI-02/WKDW

   WKHDVVHUWHGSDWHQWZDVQRWHQWLWOHGWRDQHDUOLHUFRQFHSWLRQGDWH 

          ³,WLVZHOOHVWDEOLVKHGWKDWZKHQDSDUW\VHHNVWRSURYHFRQFHSWLRQYLDWKHRUDOWHVWLPRQ\

   RIDSXWDWLYHLQYHQWRUWKHSDUW\PXVWSURIIHUHYLGHQFHFRUURERUDWLQJWKDWWHVWLPRQ\´Shu-Hui

   Chen v. Bouchard)G )HG&LU 7KHLQYHQWRU³PXVWSURYLGHLQGHSHQGHQW

   FRUURERUDWLQJHYLGHQFHLQDGGLWLRQWRKLVRZQVWDWHPHQWVDQGGRFXPHQWV´Hahn v. Wong

   )G )HG&LU see also Procter & Gamble Co. v. Teva Pharms. USA, Inc.

   )G )HG&LU ³%HFDXVHLWLVDPHQWDODFWFRXUWVUHTXLUHFRUURERUDWLQJHYLGHQFH

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   RIDFRQWHPSRUDQHRXVGLVFORVXUHWKDWZRXOGHQDEOHRQHVNLOOHGLQWKHDUWWRPDNHWKHLQYHQWLRQ´

   Burroughs)GDW

           ³>%@HFDXVHRIWKHGDQJHULQSRVWKRFUDWLRQDOHVE\DQLQYHQWRUFODLPLQJSULRULW\WKHFRXUW

   UHTXLUHVREMHFWLYHHYLGHQFHWRFRUURERUDWHDQLQYHQWRU¶VWHVWLPRQ\FRQFHUQLQJKLVXQGHUVWDQGLQJ

   RIWKHLQYHQWLRQ´Invitrogen Corp. v. Clontech Labs., Inc.)G )HG&LU 

   ³>7@KHFRUURERUDWLRQUHTXLUHPHQWSURYLGHVDQDGGLWLRQDOVDIHJXDUGDJDLQVWFRXUWVEHLQJGHFHLYHG

   E\ LQYHQWRUV ZKR PD\ EH WHPSWHG WR PLVFKDUDFWHUL]H WKH HYHQWV RI WKH SDVW WKURXJK WKHLU

   WHVWLPRQ\´  Medichem, S.A. v. Rolabo, S.L.  )G   )HG &LU    ,W LV

   ³SURSK\ODFWLFLQDSSOLFDWLRQ´DQG³SURYLGHVDEULJKWOLQHIRUERWKGLVWULFWFRXUWVDQGWKH372WR

   IROORZLQDGGUHVVLQJWKHGLIILFXOWLVVXHVUHODWHGWRLQYHQWLRQGDWHV´Id.

           ³>:@KHWKHU D SXWDWLYH LQYHQWRU¶V WHVWLPRQ\ KDV EHHQ VXIILFLHQWO\ FRUURERUDWHG LV

   GHWHUPLQHGE\DµUXOHRIUHDVRQ¶DQDO\VLVLQZKLFKµDQHYDOXDWLRQRIDOOSHUWLQHQWHYLGHQFHPXVW

   EHPDGHVRWKDWDVRXQGGHWHUPLQDWLRQRIWKHFUHGLELOLW\RIWKHLQYHQWRU¶VVWRU\PD\EHUHDFKHG¶´

   Chen  )G DW  FLWDWLRQV RPLWWHG   7KH FRUURERUDWLRQ PXVW EH LQGHSHQGHQW RI WKH

   LQYHQWRU¶VWHVWLPRQ\See Allergan, Inc.)GDW ³7KHRQO\FRUURERUDWLRQRIWKHFODLPHG

   LQYHQWLRQ LV WKH RUDO WHVWLPRQ\ RI DQ LQYHQWRUZKLFK ZH PXVW WUHDW ZLWK VNHSWLFLVP GXH WR WKH

   SRVVLELOLW\RIDQLQYHQWRU¶VVHOILQWHUHVWLQREWDLQLQJRUPDLQWDLQLQJDQH[LVWLQJSDWHQW´ ³7KH

   UXOH RI UHDVRQ    GRHV QRW GLVSHQVH ZLWK WKH UHTXLUHPHQW IRU VRPH HYLGHQFH RI LQGHSHQGHQW

   FRUURERUDWLRQ´Coleman v. Dines)G )HG&LU 

                         5HGXFWLRQWR3UDFWLFH

           ³:KHWKHU DQ LQYHQWLRQ KDV EHHQ UHGXFHG WR SUDFWLFH LV D TXHVWLRQ RI ODZ EDVHG RQ

   XQGHUO\LQJIDFWV´Henkel Corp v. Procter & Gamble Co.)G )HG&LU 

   see also Cooper v. Goldfarb)G )HG&LU  ³3ULRULW\FRQFHSWLRQDQG

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   UHGXFWLRQ WR SUDFWLFH DUH TXHVWLRQV RI ODZ ZKLFK DUH EDVHG RQ VXEVLGLDU\ IDFWXDO ILQGLQJV´ 

   ³5HGXFWLRQWRSUDFWLFHLQWKH8QLWHG6WDWHVUHTXLUHVWKDWWKHLQYHQWLRQEHHPERGLHGLQWDQJLEOH

   IRUPLQWKH8QLWHG6WDWHVQRWVLPSO\UHSRUWHG´Scott v. Koyama)G )HG&LU

    

           ³7KHWHVWIRUHVWDEOLVKLQJUHGXFWLRQWRSUDFWLFHUHTXLUHVWKDWµWKHSULRULQYHQWRUPXVWKDYH

     FRQVWUXFWHGDQHPERGLPHQWRUSHUIRUPHGDSURFHVVWKDWPHWDOOWKHFODLPOLPLWDWLRQVDQG  

   GHWHUPLQHGWKDWWKHLQYHQWLRQZRXOGZRUNIRULWVLQWHQGHGSXUSRVH¶´Fox Grp., Inc. v. Cree, Inc.

   )G )HG&LU  TXRWLQJTeva Pharm. Indus. Ltd. v. AstraZeneca Pharms.

   LP)G )HG&LU 5HGXFWLRQWRSUDFWLFHFDQQRWEHEDVHGRQDQHTXLYDOHQW

   RIDFODLPHOHPHQWUDWKHUWKDQWKHH[DFWHOHPHQWUHFLWHGE\FODLPSee Eaton v. Evans)G

    )HG&LU  KROGLQJWKH372%RDUGHUUHGZKHQLWUHOLHGRQDQHTXLYDOHQWHOHPHQW

   WRILQGDUHGXFWLRQWRSUDFWLFH 

           ³,Q RUGHU WR HVWDEOLVK DQ DFWXDO UHGXFWLRQ WR SUDFWLFH DQ LQYHQWRU¶V WHVWLPRQ\ PXVW EH

   FRUURERUDWHG E\ LQGHSHQGHQW HYLGHQFH´  Cooper  )G DW   $V ZLWK FRQFHSWLRQ

   ³>V@XIILFLHQF\RIFRUURERUDWLRQLVGHWHUPLQHGE\XVLQJDµUXOHRIUHDVRQ¶DQDO\VLVXQGHUZKLFKDOO

   SHUWLQHQWHYLGHQFHLVH[DPLQHGZKHQGHWHUPLQLQJWKHFUHGLELOLW\RIDQLQYHQWRU¶VWHVWLPRQ\´In

   re Garner)G )HG&LU  FLWLQJPrice v. Symsek)G

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   HVWDEOLVKFRUURERUDWLRQRIUHGXFWLRQWRSUDFWLFH,WLVDOVRQHFHVVDU\WRFRUURERUDWHWKDWWKHGHYLFH

   ZRUNHGIRULWVLQWHQGHGSXUSRVH´Id.DW

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           ,QHYDOXDWLQJGLOLJHQFH³>W@KHEDVLFLQTXLU\LVZKHWKHURQDOORIWKHHYLGHQFHWKHUHZDV

   UHDVRQDEO\FRQWLQXLQJDFWLYLW\WRUHGXFHWKHLQYHQWLRQWRSUDFWLFH´Brown v. Barbacid)G

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   VXIILFLHQWLQGHSHQGHQWFLUFXPVWDQWLDOHYLGHQFH´In re Jolley)GDW7KHWLPHSHULRG

   IRUZKLFKGLOLJHQFHPXVWEHVKRZQE\WKHSDUW\ILUVWWRFRQFHLYHLVIURPDGDWHMXVWSULRUWRWKH

   HIIHFWLYHGDWHRIWKHSULRUDUWUHIHUHQFHWRWKHGDWHRIUHGXFWLRQWRSUDFWLFHE\WKHSDUW\ILUVWWR

   FRQFHLYH  Chen  )G DW   7KH SDUW\ DOOHJLQJ SULRU LQYHQWLRQ PXVW EH DEOH WR VKRZ

   GLOLJHQFHWKURXJKRXWWKH³HQWLUHFULWLFDOSHULRG´See Monsanto Co. v. Mycogen Plant Sci., Inc.

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    ³>$@QLQYHQWRU¶VWHVWLPRQ\RQWKHTXHVWLRQRIGLOLJHQFHPXVWEHFRUURERUDWHG´Kendall

   v. Searles)G &&3$ &RUURERUDWLRQLVGHWHUPLQHGE\DSSOLFDWLRQRID

   UXOHRIUHDVRQZKLFKUHTXLUHVWKDWDQ³HYDOXDWLRQRIDOOSHUWLQHQWHYLGHQFHPXVWEHPDGHVRWKDWD

   VRXQGGHWHUPLQDWLRQRIWKHFUHGLELOLW\RIWKHLQYHQWRU¶VVWRU\PD\EHUHDFKHG´Linear Tech. Corp.

   v. Impala Linear Corp.)G )HG&LU  ILQGLQJWKDWDQRWHERRNGLDJUDP

   LQFRQFOXVLYHRIZKDWFLUFXLWU\WKHSDWHQWHHGHYHORSHGIDLOHGWRFRUURERUDWHWKHSDWHQWHH¶VFODLP 

           ³>(@YLGHQFH RI FRQVWDQW HIIRUW LV QRW UHTXLUHG WR HVWDEOLVK UHDVRQDEOH GLOLJHQFH´ EXW

   XQH[SODLQHG GHOD\V PD\ LQGLFDWH D ODFN RI GLOLJHQFH  Wiesner v. Weigert  )G  

    &&3$  GLOLJHQFHQRWVKRZQZKHUHRQO\H[SODQDWLRQIRUGHOD\H[SODLQHGZDVLQYHQWRU

   WHVWLPRQ\WKDWHIIRUWVFRQWLQXHGGXULQJWKHFULWLFDOSHULRG $GGLWLRQDOO\HIIRUWVWRZDUGDVROXWLRQ

   RIWKHSUREOHPDWKDQGE\GLIIHUHQWPHDQVWKDQWKRVHUHSUHVHQWHGE\WKHSDWHQWFODLPLVQRWFUHGLWHG

   DVGLOLJHQFHSee Litchfield v. Eigen)G &&3$ 

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                x :KHWKHUFODLPRIWKHµ3DWHQWLVLQYDOLGDVDQWLFLSDWHGE\DQHQDEOHGSULRU

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                x :KHWKHUFODLPRIWKHµ3DWHQWLVLQYDOLGDVREYLRXVRYHURQHRUPRUHSULRU

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                   DQGRU  RI WKH µ 3DWHQW DUH LQYDOLG DV REYLRXV RYHU RQH RU PRUH SULRU DUW

                   UHIHUHQFHVHLWKHUDORQHRULQFRPELQDWLRQ

                x :KHWKHUFODLPRIWKHµ3DWHQWFODLPRIWKHµ3DWHQWDQGRUFODLPV

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                   RUPRUHSULRUDUWUHIHUHQFHVHLWKHUDORQHRULQFRPELQDWLRQ

                x :KHWKHUFODLPVDQGRURIWKHµ3DWHQWDUHLQYDOLGXQGHU86&

                   

                x :KHWKHU3ODLQWLIIVKDYHPHHWWKHLUEXUGHQRISURGXFWLRQRIHYLGHQFHRIVHFRQGDU\

                   FRQVLGHUDWLRQVRIQRQREYLRXVQHVVZLWKUHVSHFWWRDQ\RIWKHDVVHUWHGFODLPVDQG

                   KDYHHVWDEOLVKHGDQH[XVEHWZHHQWKRVHVHFRQGDU\FRQVLGHUDWLRQVDQGWKHDOOHJHG

                   LQYHQWLRQVRIWKHFODLPV

          %      /HJDO$XWKRULW\

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          8QGHU   RI WKH 3DWHQW $FW SDWHQWV DUH SUHVXPHG YDOLG DQG D SDUW\ FKDOOHQJLQJ WKH

   YDOLGLW\RIDSDWHQWPXVWSURYHLQYDOLGLW\E\FOHDUDQGFRQYLQFLQJHYLGHQFH86& D 

   see also Microsoft Corp. v. i4i Ltd. P’Ship6&W  7KHSUHVXPSWLRQRI

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   YDOLGLW\DQGWKHFOHDUDQGFRQYLQFLQJEXUGHQRISURRIDUH³VWDWLFDQGLQUHDOLW\GLIIHUHQWH[SUHVVLRQV

   RIWKHVDPHWKLQJ²DVLQJOHKXUGOHWREHFOHDUHG´Chiron Corp. v. Genetech, Inc)G

    )HG&LU  TXRWLQJAm. Hoist & Derrick Co. v. Sowa & Sons, Inc)G

    )HG&LU 7KXVWKHSUHVXPSWLRQRIYDOLGLW\³GRHVQRWFRQVWLWXWHµHYLGHQFH¶WREH

   ZHLJKHGDJDLQVWWKHFKDOOHQJHU¶VHYLGHQFH´Id. DW

           :KLOHUHTXLUHVDQLQYDOLGLW\GHIHQVHWREHSURYHQE\FOHDUDQGFRQYLQFLQJHYLGHQFH

   ³WKH FKDOOHQJHU¶V EXUGHQ WR SHUVXDGH WKH MXU\ RI LWV LQYDOLGLW\ GHIHQVH E\ FOHDU DQG FRQYLQFLQJ

   HYLGHQFHPD\EHHDVLHUWRVXVWDLQ´ZKHQDSDUW\UHOLHVRQSULRUDUWQRWEHIRUHWKH3DWHQW2IILFH

   GXULQJSURVHFXWLRQMicrosoft Corp. v. i4i Ltd. P’ship86  see also SIBIA

   Neurosciences, Inc. v. Cadus Pharm. Corp  )G   )HG &LU  

    H[SODLQLQJWKDW³>Z@KLOHWKHSUHVHQWDWLRQDWWULDORIDUHIHUHQFHWKDWZDVQRWEHIRUHWKHH[DPLQHU

   GRHVQRWFKDQJHWKHSUHVXPSWLRQRIYDOLGLW\WKHDOOHJHGLQIULQJHU¶VEXUGHQPD\EHPRUHHDVLO\

   FDUULHGEHFDXVHRIWKLVDGGLWLRQDOUHIHUHQFH´ 7KH6XSUHPH&RXUWKDVUHFRJQL]HGWKDW³LIWKH372

   GLG QRW KDYH DOO PDWHULDO IDFWV EHIRUH LW LWV FRQVLGHUHG MXGJPHQW PD\ ORVH VLJQLILFDQW IRUFH´

   Microsoft86DW

                         :KDW&RQVWLWXWHV3ULRU$UW

           6HFWLRQRIWKH3DWHQW$FW SUH$,$ SURYLGHVLQUHOHYDQWSDUWDVIROORZV

           $SHUVRQVKDOOEHHQWLWOHGWRDSDWHQWXQOHVV²

            D  WKH LQYHQWLRQ ZDV NQRZQ RU XVHG E\ RWKHUV LQ WKLV FRXQWU\ RU SDWHQWHG RU
           GHVFULEHGLQDSULQWHGSXEOLFDWLRQLQWKLVRUDIRUHLJQFRXQWU\EHIRUHWKHLQYHQWLRQ
           WKHUHRIE\WKHDSSOLFDQWIRUSDWHQWRU

            E  WKH LQYHQWLRQ ZDV SDWHQWHG RU GHVFULEHG LQ D SULQWHG SXEOLFDWLRQ LQ WKLV RU D
           IRUHLJQFRXQWU\RULQSXEOLFXVHRURQVDOHLQWKLVFRXQWU\PRUHWKDQRQH\HDUSULRU
           WRWKHGDWHRIWKHDSSOLFDWLRQIRUSDWHQWLQWKH8QLWHG6WDWHVRU«

            H WKHLQYHQWLRQZDVGHVFULEHGLQ  DQDSSOLFDWLRQIRUSDWHQWSXEOLVKHGXQGHU
           VHFWLRQ E E\DQRWKHUILOHG LQWKH 8QLWHG 6WDWHV EHIRUHWKHLQYHQWLRQE\WKH
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           DSSOLFDQWIRUSDWHQWRU  DSDWHQWJUDQWHGRQDQDSSOLFDWLRQIRUSDWHQWE\DQRWKHU
           ILOHGLQWKH8QLWHG6WDWHVEHIRUHWKHLQYHQWLRQE\WKHDSSOLFDQWIRUSDWHQW«

   86& D  E  H 

           :KHWKHU DQ DOOHJHGO\ LQYDOLGDWLQJ UHIHUHQFH LV SULRU DUW LV ³D TXHVWLRQ RI ODZ EDVHG RQ

   XQGHUO\LQJIDFWV´Minton v. Nat’l Ass’n of Sec. Dealers, Inc.)G )HG&LU

    see also TypeRight Keyboard Corp. v. Microsoft Corp.)G )HG&LU

     ³:KHWKHUDUHIHUHQFHZDVSXEOLVKHGSULRUWRWKHFULWLFDOGDWHDQGLVWKHUHIRUHSULRUDUWLVD

   TXHVWLRQRIODZEDVHGRQXQGHUO\LQJIDFWTXHVWLRQV´ 8QGHUWKHSUH$,$YHUVLRQRI86&

    D SDWHQW RU RWKHU SULQWHG SXEOLFDWLRQ LV SULRU DUW XQGHU  E  LI LW ³GHVFULEH>V@´ WKH

   LQYHQWLRQ³LQWKLVRUDIRUHLJQFRXQWU\PRUHWKDQRQH\HDUSULRUWRWKHGDWHRIWKHDSSOLFDWLRQ

   IRUSDWHQW´+HUHWKHFULWLFDO E GDWHIRUHDFKRIWKHSDWHQWVLQVXLWDUHGLVSXWHGEHFDXVH

   3ODLQWLIIV KDYH QRW \HW HVWDEOLVKHG WKDW WKH SDWHQWVLQVXLW ZKLFK FODLP SULRULW\ WKURXJK

   FRQWLQXDWLRQLQSDUWDSSOLFDWLRQVDUHHQWLWOHGWRWKHILOLQJGDWHRIWKHSDWHQWDSSOLFDWLRQV6HFWLRQ

    D  RQ WKH RWKHU KDQG GRHV QRW OLPLW LQYDOLGDWLQJ SXEOLF XVHV RIIHUV IRU VDOH RU SULQWHG

   GHVFULSWLRQVWRRQH\HDUEHIRUHILOLQJWKRVHLQYDOLGDWLQJDFWLYLWLHVPXVWVLPSO\RFFXU³EHIRUHWKH

   LQYHQWLRQRIWKHSDWHQW´7KHLQYHQWLRQGDWHIRUSXUSRVHVRI D LVQRUPDOO\WKHHIIHFWLYH

   ILOLQJGDWHRIWKHDVVHUWHGSDWHQW+RZHYHUDVGHVFULEHGDERYHWKHSDUWLHVGLVSXWHWKHHIIHFWLYH

   ILOLQJGDWHRIHDFKRIWKHSDWHQWVLQVXLWEDVHGRQWKHLUFODLPLQJSULRULW\WKURXJKDFRQWLQXDWLRQ

   LQSDUWDSSOLFDWLRQ)XUWKHUDVGLVFXVVHGDERYH3ODLQWLIIVUHFHQWO\DVVHUWHGDQHZFRQFHSWLRQGDWH

   IRUFODLPRIWKHµ3DWHQWZKLFKWKHSDUWLHVDOVRGLVSXWH

           3XEOLFXVHDQGSXEOLFNQRZOHGJHDUHQRWGHPDQGLQJVWDQGDUGVSee Nat’l Research Dev.

   Corp. v. Varian Assocs., Inc.)6XSS '1- aff’d in part, vacated in

   part)G )HG&LU  ³,WGRHVQRWWDNHPXFKWRWULJJHUWKHµSXEOLFXVH¶VWDWXWRU\EDU

   WRDSDWHQW´ 3XEOLFXVHLQFOXGHV³DQ\XVH´RIDGHYLFH³E\DSHUVRQRWKHUWKDQWKHLQYHQWRUZKR
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   LVXQGHUQROLPLWDWLRQUHVWULFWLRQRUREOLJDWLRQRIVHFUHF\WRWKHLQYHQWRU´Baxter Int’l, Inc. v.

   COBE Labs., Inc.)G )HG&LU  KROGLQJXVHRIFHQWULIXJHLQDODERUDWRU\

   ZKHUHFRZRUNHUVDQGYLVLWRUVVDZLWLQRSHUDWLRQTXDOLILHGDV³SXEOLFXVH´ see also Clock Spring,

   L.P. v. Wrapmaster, Inc.)G )HG&LU  KROGLQJSXEOLFXVHUHTXLUHPHQW

   VDWLVILHGZKHUH³GXULQJWKHGHPRQVWUDWLRQDOOHOHPHQWVRIWKHUHSDLUPHWKRGLQFODLPRI

   WKH>@3DWHQWZHUHSHUIRUPHG´ Adenta GmbH v. OrthoArm, Inc.)G )HG&LU

     GLVSOD\RIEUDFNHWDW³)ORULGDWUDGHVKRZ´LVSXEOLFXVH Beachcombers v. WildeWood

   Creative Prods., Inc.)G )HG&LU  GLVSOD\LQJDQLQYHQWLRQDWDGLQQHU

   SDUW\LVSXEOLFXVH :KLOH E XVHVVOLJKWO\GLIIHUHQWODQJXDJH i.e.³SXEOLFXVH´ WKHVDPH

   VWDQGDUGJRYHUQVZKHWKHUDUHIHUHQFHLV³NQRZQRUXVHGE\RWKHUV´XQGHU D See Ormco

   Corp.)GDW UHYHUVLQJILQGLQJRIQR³XVHE\RWKHUV´XQGHU D EHFDXVH³'U

   7UXD[SURPRWHGKLVV\VWHPWRRWKHURUWKRGRQWLVWVWKURXJKVHPLQDUVDQGFOLQLFVDQGGLVWULEXWHGKLV

   LQVWUXFWLRQVKHHWDWWKRVHFOLQLFV´ ,QDGGLWLRQDGHYLFHNQRZQRUXVHGE\RWKHUVPXVWEH³UHDG\

   IRUSDWHQWLQJ´Pfaff v. Wells Elecs., Inc.86  7KDWUHTXLUHPHQWLVVDWLVILHG

   LIWKHGHYLFHLVUHGXFHGWRSUDFWLFHRUWKHSHUVRQVZKRFRQFHLYHGRIWKHGHYLFHKDYH³SUHSDUHG

   GUDZLQJVRURWKHUGHVFULSWLRQVRIWKHLQYHQWLRQWKDWZHUHVXIILFLHQWO\VSHFLILFWRHQDEOHDSHUVRQ

   VNLOOHGLQWKHDUWWRSUDFWLFHWKHLQYHQWLRQ´Id.

           6OLJKWO\GLIIHUHQWVWDQGDUGVJRYHUQZKHWKHUDUHIHUHQFHTXDOLILHVDVDSULQWHGSXEOLFDWLRQ

   XQGHU D DQG E 'LVVHPLQDWLRQDQGSXEOLFDFFHVVLELOLW\DUHWKHWRXFKVWRQHVWRWKHOHJDO

   GHWHUPLQDWLRQZKHWKHUDSULRUDUWUHIHUHQFHLVDSULQWHGSXEOLFDWLRQSee Suffolk Techs., LLC v.

   AOL Inc.)G )HG&LU ³$JLYHQUHIHUHQFHLVµSXEOLFO\DFFHVVLEOH¶XSRQ

   DVDWLVIDFWRU\VKRZLQJWKDWVXFKGRFXPHQWKDVEHHQGLVVHPLQDWHGRURWKHUZLVHPDGHDYDLODEOHWR

   WKH H[WHQW WKDW SHUVRQV LQWHUHVWHG DQG RUGLQDULO\ VNLOOHG LQ WKH VXEMHFW PDWWHU RU DUW H[HUFLVLQJ

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   UHDVRQDEOHGLOLJHQFHFDQORFDWHLW´Id. TXRWLQJSRI Int’l, Inc. v. Internet Sec. Sys., Inc.)G

    )HG&LU 

           6HFWLRQ  H  LQYDOLGDWHV FODLPV ³GHVFULEHG LQ   DQ DSSOLFDWLRQ IRU SDWHQW SXEOLVKHG

   XQGHUVHFWLRQ E E\DQRWKHUILOHGLQWKH8QLWHG6WDWHVEHIRUHWKHLQYHQWLRQE\WKHDSSOLFDQW

   IRUSDWHQWRU  DSDWHQWJUDQWHGRQDQDSSOLFDWLRQIRUSDWHQWE\DQRWKHUILOHGLQWKH8QLWHG6WDWHV

   EHIRUHWKHLQYHQWLRQE\WKHDSSOLFDQWIRUSDWHQW´$SDWHQWRUSDWHQWDSSOLFDWLRQFDQLQYDOLGDWHWKH

   FODLPVLQRWKHUZRUGVHYHQLILWZDVQRWSULRUDUWXQGHU D RU E See In re Bayer)G

    &&3$ 

                        $QWLFLSDWLRQ

           $QDOOHJHGLQYHQWLRQPXVWEHQHZWRVDWLVI\WKHUHTXLUHPHQWVRISDWHQWDELOLW\See C.R.

   Bard, Inc. v. M3 Sys., Inc.)G )HG&LU $SDWHQWLVQRWQHZRUQRYHO

   KRZHYHULI LWZDVGLVFORVHGLQD SULRUDUWUHIHUHQFHSee generally 86&$

   UHIHUHQFHDQWLFLSDWHVLILWLVVKRZQ³WKDWHDFKHOHPHQWRIWKHFODLPLQLVVXHLVIRXQGHLWKHUH[SUHVVO\

   RUXQGHUSULQFLSOHVRILQKHUHQF\LQDVLQJOHSULRUDUWUHIHUHQFHRUWKDWWKHFODLPHGLQYHQWLRQZDV

   SUHYLRXVO\NQRZQRUHPERGLHGLQDVLQJOHSULRUDUWGHYLFHRUSUDFWLFH´Minn. Mining & Mfg. Co.

   v. Johnson & Johnson Orthopaedics, Inc  )G   )HG &LU    ³8QGHU WKH

   SULQFLSOHVRILQKHUHQF\LIWKHSULRUDUWQHFHVVDULO\IXQFWLRQVLQDFFRUGDQFHZLWKRULQFOXGHVWKH

   FODLPVOLPLWDWLRQVLWDQWLFLSDWHV´Leggett & Platt, Inc. v. VUTEK, Inc)G )HG

   &LU  LQWHUQDOTXRWDWLRQPDUNVRPLWWHG 

           ³7KH GLVFORVXUH LQ DQ DVVHUWHGO\ DQWLFLSDWLQJ UHIHUHQFH PXVW EH DGHTXDWH WR HQDEOH

   SRVVHVVLRQRIWKHGHVLUHGVXEMHFWPDWWHU´Elan Pharms., Inc. v. Mayo Found. for Med. Educ. &

   Research)G )HG&LU ³)RUDSULRUDUWUHIHUHQFHWREHHQDEOLQJLWQHHG

   QRWHQDEOHWKHFODLPLQLWVHQWLUHW\EXWLQVWHDGWKHUHIHUHQFHQHHGRQO\HQDEOHDVLQJOHHPERGLPHQW

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   RIWKHFODLP´In re Morsa)G )HG&LU $QWLFLSDWRU\HQDEOHPHQWLVD

   OHVV GHPDQGLQJ VWDQGDUG WKDQ HQDEOHPHQW XQGHU  86&    See SRI  )G DW 

    UHIHUHQFLQJ³WKHORZHUHQDEOHPHQWVWDQGDUGIRUSULRUDUW´ ,QSDUWLFXODUDQWLFLSDWRU\HQDEOHPHQW

   GRHVQRWUHTXLUH³DFWXDOSHUIRUPDQFH´RIWKHHQDEOLQJGLVFORVXUHNovo Nordisk Pharms., Inc. v.

   Bio-Tech. Gen. Corp.)G )HG&LU In re Antor Media Corp.)G

    )HG&LU ³µ5DWKHUDQWLFLSDWLRQRQO\UHTXLUHVWKDWWKRVHVXJJHVWLRQVEHHQDEOHG

   WRRQHRIVNLOOLQWKHDUW¶´Kennametal, Inc. v. Ingersoll Cutting Tool Co.)G

    )HG&LU  TXRWLQJNovo Nordisk)GDW 7KH³NQRZOHGJHRIWKHDUW´DWWKH

   FULWLFDORUSULRULW\GDWHRIWKHµSDWHQWLVUHOHYDQWWRWKDWLQTXLU\Iovate Health Scis., Inc. v.

   Bio-Engineered Supplements & Nutrition, Inc.)G )HG&LU see also

   Novo Nordisk)GDW ILQGLQJDQWLFLSDWRU\HQDEOHPHQWEDVHGRQZKDW³ZRXOGKDYHEHHQ

   XQGHUVWRRGE\RQHRIRUGLQDU\VNLOOLQWKHDUW´ )LQDOO\³ERWKFODLPHGDQGXQFODLPHGPDWHULDOV

   GLVFORVHGLQD>SULRUDUW@SDWHQWDUHSUHVXPSWLYHO\HQDEOLQJ´In re Antor Media Corp.)GDW

   see also Cubist Pharms., Inc. v. Hospira, Inc.)6XSSG Q ''HO

    Robocast, Inc. v. Apple Inc.)6XSSG ''HO 

                         2EYLRXVQHVV

           6HFWLRQRIWKH3DWHQW$FW SUH$,$ SURYLGHV

           $SDWHQWPD\QRWEHREWDLQHGWKRXJKWKHLQYHQWLRQLVQRWLGHQWLFDOO\GLVFORVHGRU
           GHVFULEHG DV VHW IRUWK LQ VHFWLRQ  RI WKLV WLWOH LI WKH GLIIHUHQFHV EHWZHHQ WKH
           VXEMHFWPDWWHUVRXJKWWREHSDWHQWHGDQGWKHSULRUDUWDUHVXFKWKDWWKHVXEMHFWPDWWHU
           DVDZKROHZRXOGKDYHEHHQREYLRXVDWWKHWLPHWKHLQYHQWLRQZDVPDGHWRDSHUVRQ
           KDYLQJRUGLQDU\VNLOOLQWKHDUWWRZKLFKVDLGVXEMHFWPDWWHUSHUWDLQV

    86&   D   ³>2@EYLRXVQHVV LV D PDWWHU RI ODZ EDVHG RQ ILQGLQJV RI XQGHUO\LQJ IDFW´

   Sanofi-Synthelabo v. Apotex, Inc)G )HG&LU 7KHXQGHUO\LQJIDFWXDO

   FRQVLGHUDWLRQVLQFOXGH

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           WKHVFRSHDQGFRQWHQWRIWKHSULRUDUWDUHWREHGHWHUPLQHGGLIIHUHQFHVEHWZHHQWKH
           SULRUDUWDQGWKHFODLPVDWLVVXHDUHWREHDVFHUWDLQHGDQGWKHOHYHORIRUGLQDU\VNLOO
           LQ WKH SHUWLQHQW DUW UHVROYHG  $JDLQVW WKLV EDFNJURXQG WKH REYLRXVQHVV RU
           QRQREYLRXVQHVVRIWKHVXEMHFWPDWWHULVGHWHUPLQHG6XFKVHFRQGDU\FRQVLGHUDWLRQV
           DVFRPPHUFLDOVXFFHVVORQJIHOWEXWXQVROYHGQHHGVIDLOXUHRIRWKHUVHWFPLJKW
           EHXWLOL]HGWRJLYHOLJKWWRWKHFLUFXPVWDQFHVVXUURXQGLQJWKHRULJLQRIWKHVXEMHFW
           PDWWHUVRXJKWWREHSDWHQWHG

   KSR Int’l Co. v. Teleflex Inc.86   TXRWLQJGraham v. John Deere Co. of

   Kansas City86  see also ABT Sys., LLC v. Emerson Elec. Co.)G

    )HG&LU 2EYLRXVQHVVFDQEHHVWDEOLVKHGE\QRWLQJWKDW³WKHUHH[LVWHGDWWKH

   WLPHRILQYHQWLRQDNQRZQSUREOHPIRUZKLFKWKHUHZDVDQREYLRXVVROXWLRQHQFRPSDVVHGE\WKH

   SDWHQW¶VFODLPV´KSR, 86 DW)XUWKHUPRUHLWLVQRWRQO\WKHVSHFLILFSUREOHPPRWLYDWLQJ

   WKHSDWHQWHHZKLFKLVUHOHYDQWEXWUDWKHU³DQ\QHHGRUSUREOHPNQRZQLQWKHILHOGRIHQGHDYRUDW

   WKHWLPHRILQYHQWLRQDQGDGGUHVVHGE\WKHSDWHQWFDQSURYLGHDUHDVRQIRUFRPELQLQJWKHHOHPHQWV

   LQWKHPDQQHUFODLPHG´Id. ,QDGGLWLRQEHFDXVH³>D@SHUVRQRIRUGLQDU\VNLOOLVDOVRDSHUVRQRI

   RUGLQDU\FUHDWLYLW\´KHZLOOEHDEOHWR³ILWWKHWHDFKLQJVRIPXOWLSOHSDWHQWVWRJHWKHUOLNHSLHFHVRI

   DSX]]OH´UHJDUGOHVVRIZKHWKHUHDFKSLHFHRISULRUDUWZDVGHVLJQHGWRVROYHWKHSUREOHPDWKDQG

   Id. DWsee also Leapfrog Enters., Inc. v. Fischer-Price, Inc)G

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           %HFDXVHREYLRXVQHVVLVWREHMXGJHGXQGHU³DQH[SDQVLYHDQGIOH[LEOHDSSURDFK´GULYHQE\

   ³FRPPRQVHQVH´DQDZDUGRISDWHQWDELOLW\UHTXLUHV³PRUHWKDQWKHSUHGLFWDEOHXVHRISULRUDUW

   HOHPHQWV DFFRUGLQJ WR WKHLU HVWDEOLVKHG IXQFWLRQV´  KSR  86 DW   7KLV IOH[LEOH

   VWDQGDUGH[SDQGVWKHREYLRXVQHVVDQDO\VLVEH\RQGMXVW³SXEOLVKHGDUWLFOHVDQGWKHH[SOLFLWFRQWHQW

   RILVVXHGSDWHQWV´Id. DW$VWKH6XSUHPH&RXUWKDVDUWLFXODWHGDSDWHQWWKDWPHUHO\FRPELQHV

   ³IDPLOLDUHOHPHQWVDFFRUGLQJWRNQRZQPHWKRGVLVOLNHO\WREHREYLRXVZKHQLWGRHVQRPRUHWKDQ

   \LHOGSUHGLFWDEOHUHVXOWV´Id. DW UHFRJQL]LQJWKDWZKHQDSDWHQWFODLPVDVWUXFWXUHDOUHDG\

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   NQRZQLQWKHSULRUDUWWKDWLVDOWHUHGE\WKHPHUHVXEVWLWXWLRQRIRQHHOHPHQWIRUDQRWKHUNQRZQLQ

   WKHILHOGWKHFRPELQDWLRQPXVWGRPRUHWKDQ\LHOGDSUHGLFWDEOHUHVXOW 6LPLODUO\ZKHUHDSHUVRQ

   RIRUGLQDU\VNLOOLQWKHDUWVLPSO\SXUVXHV³NQRZQRSWLRQV´IURPD³ILQLWHQXPEHURILGHQWLILHG

   SUHGLFWDEOHVROXWLRQV´REYLRXVQHVVXQGHUUHVXOWVId. DW

           6HFRQGDU\FRQVLGHUDWLRQVLISUHVHQWDUHDOVRUHOHYDQWWRWKHREYLRXVQHVVDQDO\VLVABT

    )G DW   6LPXOWDQHRXV RU QHDUVLPXOWDQHRXV LQYHQWLRQ E\ RWKHUV LV D SDUWLFXODUO\

   LPSRUWDQWVHFRQGDU\FRQVLGHUDWLRQWKDWVXSSRUWVKROGLQJWKHFODLPHGLQYHQWLRQREYLRXVSee Geo.

   M. Martin Co. v. Alliance Mach. Sys. Int’l LLC  )G   )HG &LU  

    ³,QGHSHQGHQWO\ PDGH VLPXOWDQHRXV LQYHQWLRQV PDGH µZLWKLQ D FRPSDUDWLYHO\ VKRUW VSDFH RI

   WLPH¶DUHSHUVXDVLYHHYLGHQFHWKDWWKHFODLPHGDSSDUDWXVµZDVWKHSURGXFWRQO\RIRUGLQDU\«

   VNLOO¶´  TXRWLQJConcrete Appliances Co. v. Gomery86  2WKHUVHFRQGDU\

   FRQVLGHUDWLRQV LQFOXGH FRPPHUFLDO VXFFHVV OLFHQVLQJ SUDLVH ORQJIHOW QHHG IDLOXUH RI RWKHUV

   XQH[SHFWHGUHVXOWVWHDFKLQJDZD\DQGFRS\LQJSee KSR86DW TXRWLQJGraham

   86 DW  ³6XFK VHFRQGDU\ FRQVLGHUDWLRQV DV FRPPHUFLDO VXFFHVV ORQJ IHOW EXWXQVROYHG

   QHHGVIDLOXUHRIRWKHUVHWFPLJKWEHXWLOL]HGWRJLYHOLJKWWRWKHFLUFXPVWDQFHVVXUURXQGLQJWKH

   RULJLQ RI WKH VXEMHFW PDWWHU VRXJKW WR EH SDWHQWHG´   ,Q RUGHU IRU WKHVH REMHFWLYH LQGLFLD RI

   QRQREYLRXVQHVV³WREHDFFRUGHGVXEVWDQWLDOZHLJKWLWVSURSRQHQWPXVWHVWDEOLVKDQH[XVEHWZHHQ

   WKHHYLGHQFHDQGWKHPHULWVRIWKHFODLPHGLQYHQWLRQ´SIBIA Neurosciences)GDW

    TXRWLQJ In re GPAC Inc.  )G   )HG &LU   +RZHYHU HYHQ LI VHFRQGDU\

   FRQVLGHUDWLRQVH[LVWWKH\FDQQRWRYHUFRPHD³VWURQJSULPDIDFLHFDVHRIREYLRXVQHVV´Wyers,

   Inc. v. Master Lock Co.)G )HG&LU 

           2QHFRQVLGHUDWLRQWKDWLVQRWUHOHYDQWWRWKHREYLRXVQHVVLQTXLU\LVHQDEOHPHQW(YHQ³µ>D@

   QRQHQDEOLQJUHIHUHQFHPD\TXDOLI\DVSULRUDUWIRUWKHSXUSRVHRIGHWHUPLQLQJREYLRXVQHVV¶´ABT

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   )GDWQ TXRWLQJSymbol Techs., Inc. v. Opticon, Inc.)G )HG&LU

     ³DQG HYHQ µDQ LQRSHUDWLYH GHYLFH « LV SULRU DUW IRU DOO WKDW LW WHDFKHV¶´  Id. TXRWLQJ

   Beckman Instruments, Inc. v. LKB Produkter AB)G )HG&LU see also

   Antor Media)GDW

           2EYLRXVQHVVLVMXGJHGIURPWKHSHUVSHFWLYHRIDSHUVRQRIRUGLQDU\KDYLQJVNLOOLQWKHDUW

   DWWKHWLPHWKHDOOHJHGLQYHQWLRQZDVPDGHTakeda Chem. Indus. v. Alphapharm Pty., Ltd

   )G )HG&LU  ³$QLQYHQWLRQLVQRWSDWHQWDEOHLQWHUDOLDµLIWKHGLIIHUHQFHV

   EHWZHHQWKHVXEMHFWPDWWHUVRXJKWWREHSDWHQWHGDQGWKHSULRUDUWDUHVXFKWKDWWKHVXEMHFWPDWWHU

   DVDZKROHZRXOGKDYHEHHQREYLRXVDWWKHWLPHWKHLQYHQWLRQZDVPDGHWRDSHUVRQKDYLQJRUGLQDU\

   VNLOOLQWKHDUW¶´ TXRWLQJ86& D $SHUVRQRIRUGLQDU\VNLOOLVDK\SRWKHWLFDOSHUVRQ

   ZKRLV³SUHVXPHGWREHDZDUHRIDOOWKHSHUWLQHQWSULRUDUW´Standard Oil Co. v. Am. Cyanamid

   Co)G )HG&LU 

                         :ULWWHQ'HVFULSWLRQ

           $SDWHQWFODLPLVLQYDOLGLIWKHSDWHQWGRHVQRWFRQWDLQDQDGHTXDWHZULWWHQGHVFULSWLRQRI

   WKHFODLPHGLQYHQWLRQ6HFWLRQRIWKH3DWHQW$FWSURYLGHVWKDW³>W@KHVSHFLILFDWLRQVKDOOFRQWDLQ

   DZULWWHQGHVFULSWLRQRIWKHLQYHQWLRQDQGRIWKHPDQQHUDQGSURFHVVRIPDNLQJDQGXVLQJLWLQ

   VXFKIXOOFOHDUFRQFLVHDQGH[DFWWHUPVDVWRHQDEOHDQ\SHUVRQVNLOOHGLQWKHDUWWRPDNHDQG

   XVHWKHVDPH´86&7KHZULWWHQGHVFULSWLRQPXVWUHDVRQDEO\FRQYH\³WRWKRVH

   VNLOOHGLQWKHDUWWKDWWKHLQYHQWRUKDGSRVVHVVLRQRIWKHFODLPHGVXEMHFWPDWWHUDVRIWKHILOLQJ

   GDWH´Ariad Pharms., Inc. v. Eli Lilly & Co)G )HG&LU  HQEDQF 

   6SHFLILFDOO\ WKH ZULWWHQ GHVFULSWLRQ PXVW ³FOHDUO\ DOORZ SHUVRQV RI RUGLQDU\ VNLOO LQ WKH DUW WR

   UHFRJQL]HWKDW>WKHLQYHQWRU@LQYHQWHGZKDWLVFODLPHG´Id FLWLQJIn re Gosteli)G

    )HG&LU see also LizardTech, Inc. v. Earth Res. Mapping, Inc.)G

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    )HG&LU  ³>7KHZULWWHQGHVFULSWLRQ@PXVWGHVFULEHWKHLQYHQWLRQVXIILFLHQWO\WRFRQYH\WR

   DSHUVRQRIVNLOOLQWKHDUWWKDWWKHSDWHQWHHKDGSRVVHVVLRQRIWKHFODLPHGLQYHQWLRQDWWKHWLPHRI

   WKH DSSOLFDWLRQ i.e. WKDW WKH SDWHQWHH LQYHQWHG ZKDW LV FODLPHG´   ,Q GHWHUPLQLQJ ZKHWKHU D

   VSHFLILFDWLRQFRQWDLQVDQDGHTXDWHZULWWHQGHVFULSWLRQ³RQHPXVWPDNHDQµREMHFWLYHLQTXLU\LQWR

   WKHIRXUFRUQHUVRIWKHVSHFLILFDWLRQIURPWKHSHUVSHFWLYHRIDSHUVRQRIRUGLQDU\VNLOOLQWKHDUW¶´

   Boston Sci. Corp. v. Johnson & Johnson)G )HG&LU  FLWLQJAriad

   )G DW    ³$ EURDG FODLP LV LQYDOLG >IRU ODFN RI DGHTXDWH ZULWWHQ GHVFULSWLRQ@ ZKHQ WKH

   HQWLUHW\ RI WKH VSHFLILFDWLRQ FOHDUO\ LQGLFDWHV WKDW WKH LQYHQWLRQ LV RI D PXFK QDUURZHU VFRSH´

   Carnegie Mellon Univ. v. Hoffman-La Roche Inc.)G )HG&LU  TXRWLQJ

   Cooper Cameron Corp. v. Kvaerner Oilfield Prods., Inc.)G )HG&LU 

   see also Atlantic Res. Mktg. Sys., Inc. v. Troy  )G   )HG &LU  

    LQYDOLGDWLQJFODLPVFRYHULQJJXQDFFHVVRU\ZLWKRXW³UHFHLYHUVOHHYHDWWDFKPHQWSRLQW´EHFDXVH

   VSHFLILFDWLRQGLVFORVHGRQO\DFFHVVRU\ZLWKVXFKDQDWWDFKPHQWSRLQW ICU Med., Inc. v. Alaris

   Med. Sys., Inc.)G )HG&LU  ³>$@SHUVRQRIVNLOOLQWKHDUWZRXOGQRW

   XQGHUVWDQGWKHLQYHQWRUWRKDYHLQYHQWHGDVSLNHOHVVPHGLFDOYDOYH´ LizardTech)GDW

    LQYDOLGDWLQJDFODLPWKDWZDV³GLUHFWHGWRFUHDWLQJDVHDPOHVVDUUD\RI':7FRHIILFLHQWV

   JHQHULFDOO\´ EHFDXVH WKH VSHFLILFDWLRQ WDXJKW RQO\ ³D SDUWLFXODU PHWKRG´ RI FUHDWLQJ VXFK D

   VHDPOHVVDUUD\ :KHWKHUDSDWHQWFODLPVDWLVILHVWKHZULWWHQGHVFULSWLRQUHTXLUHPHQWLVDTXHVWLRQ

   RIIDFWAriad)GDW

           7KHPHUHIDFWWKDWDFODLPLV³DQRULJLQDOFODLP>@GRHVQRWQHFHVVDULO\VDWLVI\>WKHZULWWHQ

   GHVFULSWLRQ@UHTXLUHPHQW´Enzo Biochem, Inc. v. Gen-Probe Inc.)G )HG&LU

      :KHUH ³D SXUSRUWHG GHVFULSWLRQ RI DQ LQYHQWLRQ GRHV QRW PHHW WKH UHTXLUHPHQWV RI WKH

   VWDWXWHWKHIDFWWKDWLWDSSHDUVDVDQRULJLQDOFODLPRULQWKHVSHFLILFDWLRQGRHVQRWVDYHLW$FODLP

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   GRHVQRWEHFRPHPRUHGHVFULSWLYHE\LWVUHSHWLWLRQRULWVORQJHYLW\´IdDW

                         (QDEOHPHQW

           $SDWHQWFODLPLVLQYDOLGLIWKHSDWHQWGRHVQRWHQDEOHDSHUVRQRIRUGLQDU\VNLOOLQWKHDUW

   WR PDNH RU XVH WKH DOOHJHG LQYHQWLRQ  6HFWLRQ  RI WKH 3DWHQW $FW SURYLGHV WKDW ³>W@KH

   VSHFLILFDWLRQVKDOOFRQWDLQDZULWWHQGHVFULSWLRQRIWKHLQYHQWLRQDQGRIWKHPDQQHUDQGSURFHVVRI

   PDNLQJDQGXVLQJLWLQVXFKIXOOFOHDUFRQFLVHDQGH[DFWWHUPVDVWRHQDEOHDQ\SHUVRQVNLOOHGLQ

   WKHDUWWRPDNHDQGXVHWKHVDPH´86&³(QDEOHPHQWLVDTXHVWLRQRIODZ

   EDVHGRQXQGHUO\LQJIDFWV´Wyeth & Cordis Corp. v. Abbott Labs.)G )HG

   &LU 7KHSDUW\DOOHJLQJDODFNRIHQDEOHPHQWPXVWSURYH³QRQHQDEOHPHQWE\FOHDUDQG

   FRQYLQFLQJHYLGHQFH´MagSil Corp. v. Hitachi Global Storage Techs., Inc.)G

    )HG&LU 

           ³&ODLPVDUHQRWHQDEOHGZKHQDWWKHHIIHFWLYHILOLQJGDWHRIWKHSDWHQWRQHRIRUGLQDU\

   VNLOOLQWKHDUWFRXOGQRWSUDFWLFHWKHLUIXOOVFRSHZLWKRXWXQGXHH[SHULPHQWDWLRQ´Wyeth & Cordis

   Corp.)GDWsee also Genentech, Inc. v. Novo Nordisk A/S)G )HG

   &LU  ³7REHHQDEOLQJWKHVSHFLILFDWLRQRIDSDWHQWPXVWWHDFKWKRVHVNLOOHGLQWKHDUWKRZWR

   PDNH DQG XVH WKH IXOO VFRSH RI WKH FODLPHG LQYHQWLRQ ZLWKRXW XQGXH H[SHULPHQWDWLRQ´ 

   3XEOLFDWLRQVDULVLQJDIWHUWKHILOLQJGDWHFDQQRWEHXVHGWRVKRZHQDEOHPHQWSee In re Glass

   )G   &&3$   In re Wright  )G  ± )HG &LU  

   $GGLWLRQDOO\ H SULRUDUW³>D@VRILWVILOLQJGDWH>@GRHVQRWVKRZZKDWLVNQRZQJHQHUDOO\

   WRµDQ\SHUVRQVNLOOHGLQWKHDUW¶´In re Glass)GDW KROGLQJ H SULRUDUWZDV

   QRW SDUW RI WKH NQRZOHGJH RI D SHUVRQ RI RUGLQDU\ VNLOO LQ WKH DUW IRU SXUSRVHV RI GHWHUPLQLQJ

   HQDEOHPHQW 

           7KH )HGHUDO &LUFXLW KDV HLJKW ³>I@DFWRUV WR EH FRQVLGHUHG LQ GHWHUPLQLQJ ZKHWKHU D

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   GLVFORVXUHZRXOGUHTXLUHXQGXHH[SHULPHQWDWLRQ´

              WKH TXDQWLW\ RI H[SHULPHQWDWLRQ QHFHVVDU\   WKH DPRXQW RI GLUHFWLRQ RU
           JXLGDQFHSUHVHQWHG  WKHSUHVHQFHRUDEVHQFHRIZRUNLQJH[DPSOHV  WKHQDWXUH
           RIWKHLQYHQWLRQ  WKHVWDWHRIWKHSULRUDUW  WKHUHODWLYHVNLOORIWKRVHLQWKHDUW
             WKHSUHGLFWDELOLW\RUXQSUHGLFWDELOLW\RIWKHDUWDQG  WKHEUHDGWKRIWKHFODLPV

   In re Wands  )G   )HG &LU    7KH :DQGV IDFWRUV ³DUH LOOXVWUDWLYH QRW

   PDQGDWRU\:KDWLVUHOHYDQWGHSHQGVRQWKHIDFWV´Amgen, Inc. v. Chugai Pharm. Co.)G

    )HG&LU 

                         ,QGHILQLWHQHVV

           7KH3DWHQW$FWUHTXLUHVWKDWDSDWHQWFODLP³SDUWLFXODUO\SRLQW>@RXWDQGGLVWLQFWO\FODLP>@

   WKH VXEMHFW PDWWHU ZKLFK WKH DSSOLFDQW UHJDUGV DV KLV LQYHQWLRQ´   86&      7KLV

   GHILQLWHQHVVUHTXLUHPHQWLVLQWHQGHGWRSURYLGHQRWLFHWRWKHSXEOLFRIWKHSUHFLVHERXQGVRIWKH

   SDWHQWULJKWVFODLPHGE\WKHSDWHQWHH,IDFODLPIDLOVWRLQIRUPWKRVHVNLOOHGLQWKHDUWRIWKHVFRSH

   RIWKHLQYHQWLRQZLWKUHDVRQDEOHFHUWDLQW\WKHFODLPLVLQYDOLGePlus, Inc. v. Lawson Software,

   Inc)G )HG&LU see also Gen. Elec. Co. v. Wabash Appliance Corp.

   86   ³7KHLQYHQWRUPXVWLQIRUPWKHSXEOLFGXULQJWKHOLIHRIWKHSDWHQWRIWKH

   OLPLWVRIWKHPRQRSRO\DVVHUWHGVRWKDWLWPD\EHNQRZQZKLFKIHDWXUHVPD\EHVDIHO\XVHGRU

   PDQXIDFWXUHGZLWKRXWDOLFHQVHDQGZKLFKPD\QRW´ LQWHUQDOTXRWDWLRQPDUNVRPLWWHG 7KHWHVW

   IRUGHWHUPLQLQJZKHWKHUWKHFODLPVDUHVXIILFLHQWO\GHILQLWHLVZKHWKHUWKH³SDWHQW¶VFODLPVYLHZHG

   LQOLJKWRIWKHVSHFLILFDWLRQDQGSURVHFXWLRQKLVWRU\LQIRUPWKRVHVNLOOHGLQWKHDUWDERXWWKHVFRSH

   RIWKHLQYHQWLRQZLWKUHDVRQDEOHFHUWDLQW\´Nautilus, Inc. v. Biosig Instruments, Inc.6&W

     ³,QGHILQLWHQHVVLVDTXHVWLRQRIODZ´Dow Chem. Co. v. Nova Chems. Corp.

   (Canada))G )HG&LU 




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   9    (TXLWDEOH(VWRSSHO

          $      ,VVXHVRI/DZ

                x :KHWKHU3ODLQWLIIVDUHHTXLWDEO\HVWRSSHGIURPHQIRUFLQJWKHSDWHQWVLQVXLWDJDLQVW

                   +\SHU%UDQFKEDVHGRQ3ODLQWLIIV¶FRPPXQLFDWLRQVWR+\SHU%UDQFKUHJDUGLQJWKH

                   PDNLQJXVLQJDQGVHOOLQJRIWKH$FFXVHG3URGXFWV

          %      /HJDO$XWKRULW\

          (TXLWDEOHHVWRSSHOLVDQHTXLWDEOHGHIHQVH³FRPPLWWHGWRWKHVRXQGGLVFUHWLRQRIWKHWULDO

   MXGJH´Radio Sys. Corp. v. Lalor)G )HG&LU  TXRWLQJA.C. Aukerman

   Co. v. R.L. Chaides Constr. Co)G )HG&LU  HQEDQF 

          8QGHUWKHGRFWULQHRIHTXLWDEOHHVWRSSHOWKHRZQHURIDSDWHQWPD\IRUIHLWLWVULJKWWRDQ\

   UHOLHI IURP DQ DOOHJHG LQIULQJHU ZKHUH   WKH SDWHQW KROGHU FRPPXQLFDWHV VRPHWKLQJ LQ D

   PLVOHDGLQJZD\WRWKHDOOHJHGLQIULQJHUDERXWWKHODFNRILQIULQJHPHQWRUDERXWQRWEHLQJVXHG  

   WKHDOOHJHGLQIULQJHUUHOLHVXSRQWKHPLVOHDGLQJFRPPXQLFDWLRQIURPWKHSDWHQWKROGHUDQG  WKH

   DOOHJHGLQIULQJHUZLOOEHPDWHULDOO\KDUPHGLIWKHSDWHQWKROGHULVDOORZHGWRDVVHUWDFODLPUHODWLQJ

   WRWKHLVVXHWKDWLVLQFRQVLVWHQWZLWKWKHSDWHQWKROGHU¶VSULRUPLVOHDGLQJFRPPXQLFDWLRQId7KH

   SDWHQWHH¶VPLVOHDGLQJFRPPXQLFDWLRQPD\EHPDGHWKURXJKZULWWHQRUVSRNHQZRUGVFRQGXFW

   VLOHQFHRUDFRPELQDWLRQRIZRUGVFRQGXFWDQGVLOHQFHDQGVXFKFRQGXFWPD\LQFOXGHDFWLRQRU

   LQDFWLRQA.C. Aukerman)GDW7KHGHIHQGDQWEHDUVWKHEXUGHQRISURYLQJHDFKRI

   WKHHOHPHQWVRIHTXLWDEOHHVWRSSHOE\DSUHSRQGHUDQFHRIWKHHYLGHQFHIdDW

          $OWKRXJKHTXLWDEOHHVWRSSHOLVQRUPDOO\GHFLGHGE\WKHMXGJHWKH&RXUWPD\WU\HTXLWDEOH

   HVWRSSHOWRDQDGYLVRU\MXU\7KH)HGHUDO5XOHVRI&LYLO3URFHGXUHSURYLGHWKDW³>L@QDQDFWLRQQRW

   WULDEOHRIULJKWE\DMXU\WKHFRXUWRQPRWLRQRURQLWVRZQ  PD\WU\DQ\LVVXHZLWKDQDGYLVRU\

   MXU\RU  PD\ZLWKWKHSDUWLHVFRQVHQWWU\DQ\LVVXHE\DMXU\ZKRVHYHUGLFWKDVWKHVDPHHIIHFW

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   DVLIDMXU\WULDOKDGEHHQDPDWWHURIULJKW´)HG5&LY3 F 0RUHRYHUWULDOWRWKHMXU\

   LV DSSURSULDWH ZKHQ IDFWXDO GHWHUPLQDWLRQV XQGHUO\LQJ D ILQGLQJ RI HTXLWDEOH HVWRSSHO DUH

   LQWHUWZLQHGZLWKRWKHUOHJDOLVVXHVSee Cedarapids, Inc. v. CMI Corp.1R&0-0

   :/DW  1',RZD2FW  ³,QWKLVFDVHWKHLVVXHVRIODFKHVHVWRSSHODQG

   ZLOOIXOQHVVDUHLQWHUWZLQHGZLWKFRPPRQIDFWXDOGHWHUPLQDWLRQV7KHUHIRUHWKHFRXUWILQGV

   WKDW VHSDUDWH WULDOV ZRXOG EH D ZDVWH RI MXGLFLDO WLPH DQG UHVRXUFHV´   )RU H[DPSOH ZKHQ D

   GHIHQGDQW³KDVFKRVHQWRDVVHUWWKHHTXLWDEOHGHIHQVHVRIODFKHVDQGHVWRSSHOZLOOIXOQHVVEHDUVQRW

   RQO\RQWKHDPRXQWRIGDPDJHVLILQIULQJHPHQWLVSURYHQEXWDOVRRQZKHWKHU>WKH3ODLQWLII@VKRXOG

   EHHTXLWDEO\HVWRSSHG´Id.,QVXFKDFLUFXPVWDQFH³DMXU\¶VIDFWILQGLQJVFRPPRQWRDOHJDO

   FODLPDQGDQHTXLWDEOHGHIHQVHDUHWREHDFFHSWHGE\WKHFRXUWLQUXOLQJRQWKHHTXLWDEOHPDWWHU´

   Quaker City Gear Works, Inc. v. Skil Corp.)G )HG&LU 

   9,    'DPDJHV

           $      ,VVXHVRI/DZ

                 x ,IRQHRUPRUHRIWKHSDWHQWVLQVXLWLVDUHIRXQGWREHYDOLGDQGLQIULQJHGZKHWKHU

                    3ODLQWLIIVDUHHQWLWOHGWRPRQHWDU\GDPDJHVDQGWKHDPRXQWRIGDPDJHVEDVHGRQ

                    ORVWSURILWVRUSULFHHURVLRQ

                 x ,IRQHRUPRUHRIWKHSDWHQWVLQVXLWLVDUHIRXQGWREHYDOLGDQGLQIULQJHGZKHWKHU

                    3ODLQWLIIVDUHHQWLWOHGWRPRQHWDU\GDPDJHVDQGWKHDPRXQWRIGDPDJHVEDVHGRQD

                    UHDVRQDEOHUR\DOW\

                 x ,IRQHRUPRUHRIWKHSDWHQWVLQVXLWLVDUHIRXQGWREHYDOLGDQGLQIULQJHGZKHWKHU

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                 x ,IRQHRUPRUHRIWKHSDWHQWVLQVXLWLVDUHIRXQGWREHYDOLGDQGLQIULQJHGZKHWKHU

                    3ODLQWLIIVDUHHQWLWOHGWRDQDZDUGRISUHMXGJPHQWLQWHUHVWSRVWMXGJPHQWLQWHUHVW

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                     DQGRUFRVWVDQGWKHDPRXQWRIVXFKDZDUG V 

                 x ,IRQHRUPRUHRIWKHSDWHQWVLQVXLWLVDUHIRXQGWREHYDOLGDQGLQIULQJHGZKHWKHU

                     3ODLQWLIIVDUHHQWLWOHGWRDILQGLQJWKDWWKLVFDVHLVH[FHSWLRQDOXQGHU86&

                     DQGZKHWKHU3ODLQWLIIVDUHHQWLWOHGWRDQDZDUGRIDWWRUQH\V¶IHHV

                 x ,I RQH RU PRUH RI WKH SDWHQWVLQVXLW LVDUH IRXQG WR EH YDOLG DQG LQIULQJHG DQG

                     +\SHU%UDQFKLVIRXQGWRKDYHZLOOIXOO\LQIULQJHGRQHRUPRUHRIWKHSDWHQWVLQVXLW

                     ZKHWKHU3ODLQWLIIVDUHHQWLWOHGWRHQKDQFHGGDPDJHV

           %       /HJDO$XWKRULW\

                          'DPDJHV*HQHUDOO\

           8SRQDILQGLQJRISDWHQWLQIULQJHPHQWWKHSDWHQWHHVKDOOEHDZDUGHG³GDPDJHVDGHTXDWH

   WRFRPSHQVDWHIRUWKHLQIULQJHPHQWEXWLQQRHYHQWOHVVWKDQDUHDVRQDEOHUR\DOW\IRUWKHXVHPDGH

   RIWKHLQYHQWLRQE\WKHLQIULQJHUWRJHWKHUZLWKLQWHUHVWDQGFRVWVDVIL[HGE\WKHFRXUW´86&

   7KHDPRXQWRIDSUHYDLOLQJSDWHQWHH¶VGDPDJHVLVDILQGLQJRIIDFWRQZKLFKWKHSDWHQWHH

   EHDUVWKHEXUGHQRISURRIE\DSUHSRQGHUDQFHRIWKHHYLGHQFHTransclean Corp. v. Bridgewood

   Servs., Inc.)G )HG&LU see also SmithKline Diagnostics, Inc. v. Helena

   Labs. Corp.)G )HG&LU 

                          /RVW3URILWV

           ³>7@KHSDWHQWHHQHHGVWRKDYHEHHQVHOOLQJVRPHLWHPWKHSURILWVRIZKLFKKDYHEHHQORVW

   GXHWRLQIULQJLQJVDOHVLQRUGHUWRFODLPGDPDJHVFRQVLVWLQJRIORVWSURILWV´Poly-Am., L.P. v.

   GSE Lining Tech., Inc.)G )HG&LU Rite-Hite Corp. v. Kelley Co.

   )G )HG&LU  HQEDQF  ³1RUPDOO\LIWKHSDWHQWHHLVQRWVHOOLQJDSURGXFWE\

   GHILQLWLRQWKHUHFDQEHQRORVWSURILWV´ $SDWHQWKROGHURUH[FOXVLYHOLFHQVHHPD\RQO\UHFRYHU

   LWV RZQ ORVW SURILWV LW FDQQRW UHFRYHU ORVW SURILWV GXH WR VDOHV RI SURGXFWV PDGH E\ D OLFHQVHH

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   Warsaw Orthopedic, Inc. v. NuVasive, Inc. )G   )HG &LU   vacated on

   other grounds, Medtronic Sofamor Danek USA, Inc. v. NuVasive, Inc.  6 &W   

    ³8QGHURXUFDVHODZDSDWHQWHHPD\QRWFODLPDVLWVRZQGDPDJHVWKHORVWSURILWVRIDUHODWHG

   FRPSDQ\´ Poly-Am.)GDWsee also Novozymes A/S v. Genencor Int’l, Inc.)

   6XSSG ''HO 

           ³7RUHFRYHUORVWSURILWVWKHSDWHQWRZQHUPXVWVKRZµFDXVDWLRQLQIDFW¶HVWDEOLVKLQJWKDW

   µEXWIRU¶WKHLQIULQJHPHQWKHZRXOGKDYHPDGHDGGLWLRQDOSURILWV´Grain Processing Corp. v.

   Am. Maize-Prods. Co.)G )HG&LU 7KLVUHTXLUHVHYLGHQFHVXIILFLHQWWR

   VKRZ³DUHDVRQDEOHSUREDELOLW\WKDWWKHSDWHQWHHZRXOGKDYHPDGHWKHVDOH«KDGWKHGHIHQGDQW

   QRWPDGHWKHLQIULQJLQJVDOH´Kaufman Co. v. Lantech, Inc.)G )HG&LU 

    DIILUPLQJGHQLDORIORVWSURILWVGDPDJHVZKHUHSDWHQWHH³IDLOHGWRVKRZWKHDPRXQWRISURILWWKH

   SDWHQWHHZRXOGKDYHPDGHLIWKH>GHIHQGDQW@KDGPDGHWKHLQIULQJLQJVDOHV´ ³8QGHUWKHHQWLUH

   PDUNHWYDOXHUXOHDSSOLFDEOHWRORVWSURILWVDZDUGVDSDWHQWHHPXVWSURYHWKHLQYHQWLRQLQ VXLW

   FUHDWHGFRQVXPHUGHPDQGIRUWKHSDWHQWHGDQGLQIULQJLQJSURGXFWV´Rite-Hite)GDW

           7KH WUDGLWLRQDO IUDPHZRUN IRU HVWDEOLVKLQJ ORVW SURILWV GDPDJHV LV XQGHU WKH IRXUIDFWRU

   PanduitWHVW

           7R REWDLQ DV GDPDJHV WKH SURILWV RQ VDOHV KH ZRXOG KDYH PDGH DEVHQW WKH
           LQIULQJHPHQW L H WKH VDOHV PDGH E\ WKH LQIULQJHU D SDWHQW RZQHU PXVW SURYH
             GHPDQG IRU WKH SDWHQWHG SURGXFW   DEVHQFH RI DFFHSWDEOH QRQLQIULQJLQJ
           VXEVWLWXWHV  KLVPDQXIDFWXULQJDQGPDUNHWLQJFDSDELOLW\WRH[SORLWWKHGHPDQG
           DQG  WKHDPRXQWRIWKHSURILWKHZRXOGKDYHPDGH

   Panduit Corp. v. Stahlin Bros. Fibre Works  )G   WK&LU   :KHUH WKH

   SDWHQWHHUHOLHVRQDWZRVXSSOLHUPDUNHWWKHRU\³WKHWZRVXSSOLHUPDUNHWWHVWFROODSVHVWKHILUVW

   WZR3DQGXLWIDFWRUVLQWRRQHµWZRVXSSOLHUVLQWKHUHOHYDQWPDUNHW¶IDFWRU´Micro Chemical, Inc.

   v. Lextron, Inc.)G8634G )HG&LU $FFRUGLQJO\ZKHQ

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   UHO\LQJRQDWZRVXSSOLHUPDUNHWDSDWHQWHHPXVWVKRZ

            WKHUHOHYDQWPDUNHWFRQWDLQVRQO\WZRVXSSOLHUV LWVRZQPDQXIDFWXULQJDQG
           PDUNHWLQJFDSDELOLW\WRPDNHWKHVDOHVWKDWZHUHGLYHUWHGWRWKHLQIULQJHUDQG WKH
           DPRXQWRISURILWLWZRXOGKDYHPDGHIURPWKHVHGLYHUWHGVDOHV

   Id.  7KH H[LVWHQFH RI D WZRSOD\HU PDUNHW PD\ EH UHEXWWHG E\ VKRZLQJ RWKHU QRQLQIULQJLQJ

   DOWHUQDWLYHVSee, e.g.Grain Processing Corp.)GDW8634GDW KROGLQJ

   WKDWWKHH[LVWHQFHRIDQRQLQIULQJLQJVXEVWLWXWHSUHYHQWHGUHFRYHU\XQGHUDWZRVXSSOLHUPDUNHW

   WKHRU\ 

           7KHORVWSURILWVDQDO\VLVUHTXLUHVGHWDLOHGFRQVLGHUDWLRQRIWKHPDUNHW²LWLVQHFHVVDU\WR

   GHWHUPLQH ZKDW ZRXOG KDYH RFFXUUHG KDG WKHUH QHYHU EHHQ DQ\ LQIULQJHPHQW  See Grain

   Processing DW   :KLOH VXFK D PDUNHW UHFRQVWUXFWLRQ LV D K\SRWKHWLFDO H[HUFLVH Grain

   ProcessingWHDFKHVWKDWLWPXVWQRW³ODSV>H@LQWRSXUHVSHFXODWLRQ´Id.+HQFHDGHWHUPLQDWLRQRI

   ORVWSURILWV³UHTXLUHVVRXQGHFRQRPLFSURRIRIWKHQDWXUHRIWKHPDUNHWDQGOLNHO\RXWFRPHVZLWK

   LQIULQJHPHQWIDFWRUHGRXWRIWKHHFRQRPLFSLFWXUH´ Id. 

           $Q DOOHJHG LQIULQJHU FDQQRW EH FRQVLGHUHG WR KDYH VLPSO\ VWRRG VWLOO LQ WKH DEVHQFH RI

   LQIULQJHPHQW ³D IDLU DQG DFFXUDWH UHFRQVWUXFWLRQ RI WKH µEXW IRU¶ PDUNHW DOVR PXVW WDNH LQWR

   DFFRXQWZKHUHUHOHYDQWDOWHUQDWLYHDFWLRQVWKHLQIULQJHUIRUHVHHDEO\ZRXOGKDYHXQGHUWDNHQKDG

   KHQRWLQIULQJHG´Id.DW,QSDUWLFXODU³>Z@LWKRXWWKHLQIULQJLQJSURGXFWDUDWLRQDOZRXOG

   EHLQIULQJHULVOLNHO\WRRIIHUDQDFFHSWDEOHQRQLQIULQJLQJDOWHUQDWLYH´ Id.DW

           0RUHRYHUDSDWHQWHHLVQRWHQWLWOHGWRUHFRYHUORVWSURILWVGDPDJHVLILWIDLOVWRHVWDEOLVK

   WKDWWKHUHDUHQRDFFHSWDEOHQRQLQIULQJLQJVXEVWLWXWHVIRUWKHSDWHQWHGSURGXFWSee SmithKline

   Diagnostics)GDW$GDPDJHVH[SHUW¶VDQDO\VLV³PXVWFRQVLGHUWKHLPSDFWRIVXFK

   DOWHUQDWHWHFKQRORJLHVRQWKHPDUNHWDVDZKROH´SynQor, Inc. v. Artesyn Techs., Inc.)G

     )HG &LU    1RQLQIULQJLQJ VXEVWLWXWHV WKDW ZHUH DYDLODEOH GXULQJ WKH

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   LQIULQJHPHQW SHULRG ³FDQ SUHFOXGH RU OLPLW ORVW SURILWV´  Grain Processing Corp.  )G DW

    see also id. DW  ³>$@ UDWLRQDO ZRXOGEH LQIULQJHU LV OLNHO\ WR RIIHU DQ DFFHSWDEOH

   QRQLQIULQJLQJ DOWHUQDWLYH LI DYDLODEOH WR FRPSHWH ZLWK WKH SDWHQW RZQHU UDWKHU WKDQ OHDYH WKH

   PDUNHWDOWRJHWKHU´ 

           7KHXQLYHUVHRIQRQLQIULQJLQJDOWHUQDWLYHV³LVQRWOLPLWHGWRVXEVWLWXWHWHFKQRORJLHV´

   Cardiac Pacemakers, Inc. v. St. Jude Med., Inc.  :/  DW  6' ,QG -XO\ 

     aff’d in part and rev’d in part on other grounds)G )HG&LU   7KH

   )HGHUDO&LUFXLWKDVKHOGWKDWDGDPDJHVH[SHUWPD\³UHFRQVWUXFW´WKH³EXWIRU´PDUNHWEDVHGRQ

   DQ\WKHRU\VXSSRUWHGE\³UHOLDEOHHFRQRPLFHYLGHQFH´Crystal Semiconductor Corp. v. TriTech

   Microelecs. Int’l, Inc.  )G   )HG &LU    7KH XQLYHUVH RI QRQLQIULQJLQJ

   DOWHUQDWLYHVKDVEHHQKHOGWRLQFOXGHDOWHUQDWLYHWHFKQRORJLHVOLFHQVHGSURGXFWVDQGDFWLRQVDQ

   DOOHJHGLQIULQJHUFRXOGKDYHWDNHQWRHLWKHUDFTXLUHRUPDLQWDLQDOLFHQVHWRWKHDVVHUWHGSDWHQW

   See, e.g. Cardiac Pacemakers  :/  DW  ³>7@KH UHDVRQDEOH QRQLQIULQJLQJ

   DOWHUQDWLYHZDVQRWWRFORVHRQWKHPHUJHU$FFRUGLQJO\WKHMXU\UHDVRQDEO\IRXQGWKDWQRORVW

   SURILWVKDGEHHQSURYHQ´ Schneider (Europe) AG v. SciMed Life Sys., Inc.)6XSS

    '0LQQ  ³$OLFHQVHGSURGXFWLVDQDFFHSWDEOHQRQLQIULQJLQJDOWHUQDWLYHDVRIWKHWLPH

   WKDWLWLVOLFHQVHG´ aff’d)G )HG&LU Crystal Semiconductor)GDW

    ³7KLVFRXUWKDVDIILUPHG«DZLGHYDULHW\RIUHFRQVWUXFWLRQWKHRULHV´ 

           2QFHDGHIHQGDQWSRVLWVDQRQLQIULQJLQJDOWHUQDWLYHWKHEXUGHQLVRQWKHSDWHQWHHWRSURYH

   WKDWLWLVQRWDFFHSWDEOHZygo Corp. v. Wyko Corp.)G )HG&LU 

                         5HDVRQDEOH5R\DOW\'DPDJHV

           $UHDVRQDEOHUR\DOW\LVWKHDPRXQWWKDWWKHGHIHQGDQWZRXOGKDYHSDLGIRUDOLFHQVHWRWKH

   DVVHUWHGSDWHQWVLIWKHSDUWLHVKDGQHJRWLDWHGDOLFHQVHDWWKHWLPHRIILUVWDOOHJHGLQIULQJHPHQWSee

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   LaserDynamics, Inc. v. Quanta Computer, Inc.)G Q )HG&LU 7KLVLV

   RIWHQ UHIHUUHG WR DV WKH ³K\SRWKHWLFDO QHJRWLDWLRQ´  See, e.g. Transocean Offshore Deepwater

   Drilling, Inc. v. Maersk Drilling USA, Inc.)G )HG&LU ³:KLOHWKH

   )HGHUDO &LUFXLW KDV QRWSUHVFULEHG D VSHFLILF PHWKRGRORJ\ IRU FDOFXODWLQJ D UHDVRQDEOH UR\DOW\

   FRXUWVUHO\XSRQWKHILIWHHQIDFWRUVVHWIRUWKLQGeorgia-Pacific Corp. v. United States Plywood

   Corp.)6XSS 6'1< ´St. Clair Intellectual Prop. Consultants, Inc.

   v. Canon, Inc.:/DW  ''HO6HSW see also Ericsson, Inc. v. D-Link

   Sys.)G )HG&LU $UHDVRQDEOHUR\DOW\PXVWEHFDOFXODWHGDVRIWKHGDWH

   LQIULQJHPHQW EHJDQ EXW WKH &RXUW PD\ FRQVLGHU HYHQWV DQG IDFWV WKDW RFFXUUHG DIWHU WKH

   LQIULQJHPHQWEHJDQSt. Clair Intellectual Prop. Consultants, Inc.:/DW ³>$@

   UHDVRQDEOHUR\DOW\DQDO\VLVUHTXLUHVDFRXUWWRK\SRWKHVL]HQRWWRVSHFXODWH´ResQNet.com, Inc.

   v. Lansa, Inc.  )G   )HG &LU   ³$W DOO WLPHV WKH GDPDJHV LQTXLU\ PXVW

   FRQFHQWUDWH RQ FRPSHQVDWLRQ IRU WKH HFRQRPLF KDUP FDXVHG E\ LQIULQJHPHQW RI WKH FODLPHG

   LQYHQWLRQ 7KXV WKH WULDO FRXUW PXVW FDUHIXOO\ WLH SURRI RI GDPDJHV WR WKH FODLPHG LQYHQWLRQ¶V

   IRRWSULQWLQWKHPDUNHWSODFH´ Id. LQWHUQDOFLWDWLRQRPLWWHG see also Ericsson, Inc. v. D–Link

   Sys., Inc.)G )HG&LU  ³:KDWLVWDNHQIURPWKHRZQHURIDXWLOLW\SDWHQW

    IRUSXUSRVHVRIDVVHVVLQJGDPDJHVXQGHU LVRQO\WKHSDWHQWHGWHFKQRORJ\DQGVRWKHYDOXH

   WREHPHDVXUHGLVRQO\WKHYDOXHRIWKHLQIULQJLQJIHDWXUHVRIDQDFFXVHGSURGXFW´ SRI Int’l, Inc.

   )6XSSGDW H[FOXGLQJOLFHQVHVWKDW³DUHDSURGXFWRIOLWLJDWLRQDVVXFKVHWWOHPHQWV

   UHIOHFWWKHSDUWLHV¶FRQVLGHUDWLRQRIPXOWLSOHIDFWRUVXQUHODWHGWRYDOXDWLRQLVVXHV´ 

                         $SSRUWLRQPHQW

           8QGHU 7LWOH  6HFWLRQ  RI WKH 8QLWHG 6WDWHV &RGH GDPDJHV DZDUGHG IRU SDWHQW

   LQIULQJHPHQW³PXVWUHIOHFWWKHYDOXHDWWULEXWDEOHWRWKHLQIULQJLQJIHDWXUHVRIWKHSURGXFWDQGQR

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   PRUH´  Ericsson, Inc.  )G DW  ³:KHQ WKH DFFXVHG LQIULQJLQJ SURGXFWV KDYH ERWK

   SDWHQWHG DQG XQSDWHQWHG IHDWXUHV PHDVXULQJ >WKH YDOXH RI WKH SDWHQWHG WHFKQRORJ\@ UHTXLUHV D

   GHWHUPLQDWLRQ RI WKH YDOXH DGGHG E\ VXFK IHDWXUHV  7KH HVVHQWLDO UHTXLUHPHQW LV WKDW WKH

   XOWLPDWH UHDVRQDEOH UR\DOW\ DZDUG PXVW EH EDVHG RQ WKH LQFUHPHQWDO YDOXH WKDW WKH SDWHQWHG

   LQYHQWLRQDGGVWRWKHHQGSURGXFW´Ericsson)GDW³1RPDWWHUZKDWWKHIRUPRIWKH

   UR\DOW\ D SDWHQWHH PXVW WDNH FDUH WR VHHN RQO\ WKRVH GDPDJHV DWWULEXWDEOH WR WKH LQIULQJLQJ

   IHDWXUHV´VirnetX, Inc. v. Cisco Sys., Inc.)G )HG&LU 

           ³:KHUH VPDOO HOHPHQWV RI PXOWLFRPSRQHQW SURGXFWV DUH DFFXVHG RI LQIULQJHPHQW

   FDOFXODWLQJ D UR\DOW\ RQ WKH HQWLUH SURGXFW FDUULHV D FRQVLGHUDEOH ULVN WKDW WKH SDWHQWHH ZLOO EH

   LPSURSHUO\FRPSHQVDWHGIRUQRQLQIULQJLQJFRPSRQHQWVRIWKDWSURGXFW´LaserDynamics

   )GDW7KXVDUHDVRQDEOHUR\DOW\PXVWEHEDVHGQRWRQWKHHQWLUHSURGXFWEXWLQVWHDGRQ

   WKH³VPDOOHVWVDODEOHSDWHQWSUDFWLFLQJXQLW´Id7KLVSULQFLSOH²FDOOHGDSSRUWLRQPHQW²LV³WKH

   JRYHUQLQJ UXOH´ ³ZKHUH PXOWLFRPSRQHQW SURGXFWV DUH LQYROYHG´  Ericsson  )G DW 

   ³:KHUHWKHVPDOOHVWVDODEOHXQLWLVLQIDFWDPXOWLFRPSRQHQWSURGXFWFRQWDLQLQJVHYHUDOQRQ

   LQIULQJLQJIHDWXUHVZLWKQRUHODWLRQWRWKHSDWHQWHGIHDWXUH´WKHSDWHQWHHLVUHTXLUHG³WRHVWLPDWH

   ZKDWSRUWLRQRIWKHYDOXHRIWKDWSURGXFWLVDWWULEXWDEOHWRWKHSDWHQWHGWHFKQRORJ\´Virnetx, Inc.

   )GDW

           ³>8@VLQJVXIILFLHQWO\FRPSDUDEOHOLFHQVHVLVDJHQHUDOO\UHOLDEOHPHWKRGRIHVWLPDWLQJWKH

   YDOXHRIDSDWHQW´Apple Inc. v. Motorola, Inc.)G )HG&LU overruled

   on other grounds by Williamson v. Citrix Online, LLC)G )HG&LU ³3ULRU

   OLFHQVHV « DUH DOPRVW QHYHU SHUIHFWO\ DQDORJRXV WR WKH LQIULQJHPHQW DFWLRQ´ DQG ³DOOHJHGO\

   FRPSDUDEOHOLFHQVHVPD\FRYHUPRUHSDWHQWVWKDQDUHDWLVVXHLQWKHDFWLRQ´Ericsson)G

   DWsee also VirnetX)GDW ³>:@HKDYHQHYHUUHTXLUHGLGHQWLW\RIFLUFXPVWDQFHV´

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   IRUDOLFHQVHWREH³VXIILFLHQWO\FRPSDUDEOHWRWKHK\SRWKHWLFDOOLFHQVHDWLVVXHLQVXLW´ LQWHUQDO

   TXRWDWLRQPDUNVRPLWWHG $FWXDOOLFHQVHVWRWKHSDWHQWHGWHFKQRORJ\DUHKLJKO\SUREDWLYHDVWR

   ZKDW FRQVWLWXWHV D UHDVRQDEOH UR\DOW\ IRU WKRVH SDWHQW ULJKWV EHFDXVH VXFK DFWXDO OLFHQVHV PRVW

   FOHDUO\UHIOHFWWKHHFRQRPLFYDOXHRIWKHSDWHQWHGWHFKQRORJ\LQWKHPDUNHWSODFHLaserDynamics

    )G DW   /LNHZLVH D SDWHQWHH¶V OLFHQVH SURSRVDOV ³VKRXOG FDUU\ FRQVLGHUDEOH ZHLJKW LQ

   FDOFXODWLQJDUHDVRQDEOHUR\DOW\UDWH´Unisplay S.A. v. Am. Elec. Sign Co.)G )HG

   &LU see also Wright v. United 6WDWHV)HG&O   ³>7@KH&RXUWLVVZD\HG

   E\ WKH IDFW WKDW DQ DFWXDO SURIIHU E\ 3ODLQWLII FRQVWLWXWHV FUHGLEOH HYLGHQFH RI D FHLOLQJ RQ D

   K\SRWKHWLFDOUR\DOW\UDWH´ 

                         3UH6XLW'DPDJHV

           8QGHU86&DSDWHQWHH³PDNLQJRIIHULQJIRUVDOHRUVHOOLQJZLWKLQWKH8QLWHG

   6WDWHV DQ\ SDWHQWHG DUWLFOH    RU LPSRUWLQJ DQ\ SDWHQWHG DUWLFOH LQWR WKH 8QLWHG 6WDWHV´ PD\

   UHFRYHU ³QR GDPDJHV´ XQOHVV   WKH DFFXVHG LQIULQJHU ³ZDV QRWLILHG RI WKH LQIULQJHPHQW DQG

   FRQWLQXHGWRLQIULQJHWKHUHDIWHU´RU  WKHSDWHQWHHPDUNHGDQ\DUWLFOHVFRYHUHGE\WKHSDWHQWV

   LQVXLWLQFRPSOLDQFHZLWKWKHVWDWXWH¶VPDUNLQJUHTXLUHPHQWV2WKHUZLVHDSDWHQWHHPD\RQO\

   UHFRYHU SUHVXLW GDPDJHV LI LW KDV QHYHU PDGH VROG RIIHUHG IRU VDOH RU LPSRUWHG DQ\ DUWLFOHV

   FRYHUHGE\WKHSDWHQWLQVXLW7KHSDWHQWHHEHDUVWKH³EXUGHQRISOHDGLQJDQGSURYLQJDWWULDOWKDW

   >LW@FRPSOLHGZLWKWKHVWDWXWRU\UHTXLUHPHQWV´RI86&Maxwell v. J. Baker, Inc.

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                         3RVW7ULDO$FFRXQWLQJ

           7KH)HGHUDO&LUFXLWUHFRJQL]HVDSODLQWLII¶VULJKWWRDSRVWWULDODFFRXQWLQJRILQIULQJLQJ

   VDOHVLIDSDWHQWLVIRXQGYDOLGDQGLQIULQJHGSee, e.g.Fresenius USA, Inc. v. Baxter Int’l, Inc.

   )G )HG&LU  ³$GDPDJHVDZDUGIRUSUHYHUGLFWVDOHVRIWKHLQIULQJLQJ

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   SURGXFWGRHVQRWIXOO\FRPSHQVDWHWKHSDWHQWHHEHFDXVHLWIDLOVWRDFFRXQWIRUSRVWYHUGLFWVDOHV´ 

   +RZHYHUD³ULJKWWRDSRVWYHUGLFWDFFRXQWLQJLVQRWDQXQOLPLWHGDIWHUKRXUVKXQWLQJOLFHQVH´

   Power Integrations, Inc. v. Fairchild Semiconductor Intern., Inc.)G )HG

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   LQIULQJLQJ VDOHV LI DQ\ ZKLFK DUH VXEVWDQWLDOO\ UHODWHG WR WKH GLUHFW LQIULQJHPHQW E\ >WKH

   'HIHQGDQW@ZKLFKWKHGLVWULFWFRXUWILQGVVXSSRUWHGE\WKHH[LVWLQJUHFRUG´Id.

                         3UHMXGJPHQW,QWHUHVW3RVWMXGJPHQW,QWHUHVWDQG&RVWV

           ³3UHMXGJPHQWLQWHUHVWLVDZDUGHGWRFRPSHQVDWHIRUWKHGHOD\LQSD\PHQWRIWKHGDPDJHV

   DQGQRWWRSXQLVKWKHLQIULQJHU´Lam, Inc. v. Johns-Manville Corp.)G )HG

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   GLVFUHWLRQWROLPLWRUGHQ\HQWLUHO\SUHMXGJPHQWLQWHUHVWZKHUHDSSURSULDWHGen. Motors Corp.

   v. Devex Corp  86      ³)RU H[DPSOH LW PD\ EH DSSURSULDWH WR OLPLW

   SUHMXGJPHQW LQWHUHVW RU SHUKDSV HYHQ GHQ\ LW DOWRJHWKHU ZKHUH WKH SDWHQW RZQHU KDV EHHQ

   UHVSRQVLEOHIRUXQGXHGHOD\LQSURVHFXWLQJWKHODZVXLW´IdDWsee also Crystal Semiconductor

   Corp.  )G DW  ³>7@KH GLVWULFW FRXUW DFWHG ZLWKLQ LWV GLVFUHWLRQ LQ GHQ\LQJ &U\VWDO

   SUHMXGJPHQWLQWHUHVW´ ³>3@UHMXGJPHQWLQWHUHVWFDQQRWEHDZDUGHGRQWKHSXQLWLYHRUHQKDQFHG

   SRUWLRQRIDGDPDJHVDZDUG´Underwater Devices Inc. v. Morrison-Knudsen Co.)G

    )HG&LU overruled on other grounds by In re Seagate Tech., LLC)G

    )HG&LU Lam)GDW7KHDSSOLFDEOHLQWHUHVWUDWHLVOHIWWRWKHGLVFUHWLRQRIWKH

   &RXUW KRZHYHU LQ H[HUFLVLQJ LWV GLVFUHWLRQ WKH &RXUW ³PXVW EH JXLGHG E\ WKH SXUSRVH RI

   SUHMXGJPHQWLQWHUHVWZKLFKLVµWRHQVXUHWKDWWKHSDWHQWRZQHULVSODFHGLQDVJRRGDSRVLWLRQDV

   KH ZRXOG KDYH EHHQ KDG WKH LQIULQJHU HQWHUHG LQWR D UHDVRQDEOHUR\DOW\ DJUHHPHQW¶´  Bio-Rad

   Labs., Inc. v. Nicolet Instrument Corp.)G )HG&LU  TXRWLQJGen. Motors

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           ³3RVWMXGJPHQWLQWHUHVWLVDZDUGHGRQPRQHWDU\MXGJPHQWVUHFRYHUHGLQDOOFLYLOFDVHV´

   Transmatic, Inc. v. Gulton Indus., Inc.  )G   )HG &LU    3XUVXDQW WR 

   86&LQWHUHVWVKDOOEHFRPSXWHGGDLO\WRWKHGDWHRISD\PHQWDQGVKDOOEHFRPSRXQGHG

   DQQXDOO\

           )HGHUDO5XOHRI&LYLO3URFHGXUH G VWDWHVWKDW³FRVWVVKRXOGEHDOORZHGWRWKHSUHYDLOLQJ

   SDUW\´8QGHU86&WKHSUHYDLOLQJSDUW\PD\UHFRYHUWKHIROORZLQJFRVWV  IHHVRI

   WKH FOHUN DQG PDUVKDO   IHHV IRU SULQWHG RU HOHFWURQLFDOO\ UHFRUGHG WUDQVFULSWV QHFHVVDULO\

   REWDLQHGIRUXVHLQWKLVFDVH  IHHVDQGGLVEXUVHPHQWVIRUSULQWLQJDQGZLWQHVVHV  IHHVIRU

   H[HPSOLILFDWLRQDQGWKHFRVWVRIPDNLQJFRSLHVRIDQ\PDWHULDOVZKHUHWKHFRSLHVDUHQHFHVVDULO\

   REWDLQHGIRUXVHLQWKHFDVH  GRFNHWIHHVXQGHU86&DQG  FRPSHQVDWLRQRIFRXUW

   DSSRLQWHGH[SHUWVFRPSHQVDWLRQRILQWHUSUHWHUVDQGVDODULHVIHHVH[SHQVHVDQGFRVWVRIVSHFLDO

   LQWHUSUHWDWLRQVHUYLFHVXQGHU86&See also ''HO/5

                          $WWRUQH\V¶)HHV

            86&   SURYLGHV WKDW ³>W@KH FRXUW LQ H[FHSWLRQDO FDVHV PD\ DZDUG UHDVRQDEOH

   DWWRUQH\IHHVWRWKHSUHYDLOLQJSDUW\´,QOctane Fitness, LLC v. ICON Health & Fitness, Inc.WKH

   6XSUHPH&RXUWFRQVWUXHGWKHWH[WRI86&DQGUHMHFWHGWKHSUHYDLOLQJIUDPHZRUNIRU

   HYDOXDWLQJZKHWKHUDFDVHLV³H[FHSWLRQDO´XQGHU6HFWLRQDVXQGXO\UHVWULFWLYH6&W

        7KH &RXUW KHOG WKDW LQ DFFRUGDQFH ZLWK LWV RUGLQDU\ PHDQLQJ DQ

   ³µH[FHSWLRQDO¶ FDVH LV VLPSO\ RQH WKDW VWDQGV RXW IURP RWKHUV ZLWK UHVSHFW WR WKH VXEVWDQWLYH

   VWUHQJWK RI D SDUW\¶V OLWLJDWLQJ SRVLWLRQ    RU WKH XQUHDVRQDEOH PDQQHU LQ ZKLFK WKH FDVH ZDV

   OLWLJDWHG´WREHGHWHUPLQHGDWWKHGLVWULFWFRXUW¶VGLVFUHWLRQXQGHUWKHWRWDOLW\RIWKHFLUFXPVWDQFHV

   EDVHGRQDSUHSRQGHUDQFHRIWKHHYLGHQFHIdDW

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           7KH&RXUWLQOctane Fitness DOVRUHMHFWHGWKHOLWLJDWLRQPLVFRQGXFWSRUWLRQRIWKHSUHYLRXV

   VWDQGDUGDVWRRUHVWULFWLYHEHFDXVH³VDQFWLRQDEOHFRQGXFWLVQRWWKHDSSURSULDWHEHQFKPDUN´Id

   DW5DWKHUDGLVWULFWFRXUWPD\DZDUGIHHVLQWKHUDUHFDVHLQZKLFKDSDUW\¶VXQUHDVRQDEOH

   FRQGXFW LV ³H[FHSWLRQDO´ HQRXJK WR MXVWLI\ DQ DZDUG RI IHHV IRU FRQGXFW WKDW PD\ QRW EH

   LQGHSHQGHQWO\VDQFWLRQDEOHId. DW

           ³>$@GLVWULFWFRXUWPD\DZDUGPLQLPDORUQRIHHVDIWHUFRQVLGHULQJWKHDPRXQWRIVXFFHVV

   WRWKHSUHYDLOLQJSDUW\´SSL Servs. LLC v. Citrix Sys. Inc.)G )HG&LU 

                        (QKDQFHPHQW8QGHU86&

           8QGHUFHUWDLQFLUFXPVWDQFHVZKHUHWKHGHIHQGDQWKDVHQJDJHGLQUHSUHKHQVLEOHEHKDYLRU

   RUEDGIDLWK³WKHFRXUWPD\LQFUHDVHWKHGDPDJHVXSWRWKUHHWLPHVWKHDPRXQWIRXQGRUDVVHVVHG´

   86&$VWKH6XSUHPH&RXUWUHFHQWO\FODULILHGLQHalo Electronics, Inc. 6&W

   WKHRQO\VRUWRI³ZLOOIXOPLVFRQGXFW´WKDWFDQZDUUDQWHQKDQFHGGDPDJHVLVFRQGXFWWKDWLV

   ³HJUHJLRXV´²IRU H[DPSOH ³WKH µZDQWRQ DQG PDOLFLRXV SLUDWH¶ ZKR LQWHQWLRQDOO\ LQIULQJHV

   DQRWKHU¶VSDWHQW²ZLWKQRGRXEWVDERXWLWVYDOLGLW\RUDQ\QRWLRQRIDGHIHQVH²IRUQRSXUSRVH

   RWKHUWKDQWRVWHDOWKHSDWHQWHH¶VEXVLQHVV´Id. DWsee also id. DW H[SODLQLQJWKDW

   HQKDQFHGGDPDJHVDUH³QRWWREHPHWHGRXWLQDW\SLFDOLQIULQJHPHQWFDVHEXWDUHLQVWHDGGHVLJQHG

   DVDµSXQLWLYH¶RUµYLQGLFWLYH¶VDQFWLRQIRUHJUHJLRXVLQIULQJHPHQWEHKDYLRU´ ³7KHGLVWULFWFRXUW

   KDV WKH GLVFUHWLRQ WR GHFLGH ZKHWKHU WKH FDVH LV VXIILFLHQWO\ HJUHJLRXV WR ZDUUDQW HQKDQFLQJ

   GDPDJHVDQGWRGHFLGHWKHDPRXQWRIHQKDQFHPHQWWKDWLVZDUUDQWHG XSWRWKHVWDWXWRU\OLPLWRI

   WUHEOHGDPDJHV ´ WBIP, LLC)GDW(YHQ³DILQGLQJRIZLOOIXOQHVVGRHVQRWUHTXLUH

   DQDZDUGRIHQKDQFHGGDPDJHVLWPHUHO\SHUPLWVLW´In re Seagate Tech., LLC)GDW

    HQEDQF abrogated on other groundsHalo Electronics., Inc., Inc.6&W FLWLQJ

   86& Odetics, Inc. v. Storage Tech. Corp.)G )HG&LU Funai

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   Elec. Co. v. Daewoo Elecs. Corp.)G )HG&LU  DIILUPLQJGHQLDORI

   HQKDQFHG GDPDJHVDIWHUDMXU\ILQGLQJRIZLOOIXOQHVV Greatbatch Ltd.&$ 1R/36

   :/DW  ³$ILQGLQJRIZLOOIXOQHVVPD\EHDQHFHVVDU\²EXWLVQRWDVXIILFLHQW²

   FRQGLWLRQ WR SHUPLW WKH &RXUW WR H[HUFLVH LWV GLVFUHWLRQ´   (QKDQFHG GDPDJHV UHSUHVHQW D

   ³µSXQLWLYH¶RUµYLQGLFWLYH¶VDQFWLRQ´UHVHUYHGIRU³HJUHJLRXV´RU³PDOLFLRXV´PLVGHHGVHalo

   6&WDW

           ³>7@KHGHFLVLRQWRHQKDQFHGDPDJHVLVDGLVFUHWLRQDU\RQHWKDWWKHGLVWULFWFRXUWVKRXOG

   PDNHEDVHGRQWKHFLUFXPVWDQFHVRIWKHFDVH´ Stryker Corp. v. Zimmer, Inc.)G

    )HG&LU ³&RXUWVFRQVLGHUVHYHUDOIDFWRUVZKHQGHWHUPLQLQJZKHWKHUDQLQIULQJHUKDVDFWHG

   LQEDGIDLWKDQGZKHWKHUGDPDJHVVKRXOGEHLQFUHDVHG7KH\LQFOXGHµ  ZKHWKHUWKHLQIULQJHU

   GHOLEHUDWHO\FRSLHGWKHLGHDVRUGHVLJQRIDQRWKHU  ZKHWKHUWKHLQIULQJHUZKHQKHNQHZRIWKH

   RWKHU¶VSDWHQWSURWHFWLRQLQYHVWLJDWHGWKHVFRSHRIWKHSDWHQWDQGIRUPHGDJRRGIDLWKEHOLHIWKDW

   LWZDVLQYDOLGRUWKDWLWZDVQRWLQIULQJHG  WKHLQIULQJHU¶VEHKDYLRUDVDSDUW\WRWKHOLWLJDWLRQ¶

      µGHIHQGDQW¶V VL]H DQG ILQDQFLDO FRQGLWLRQ¶   µFORVHQHVV RI WKH FDVH¶   µGXUDWLRQ RI

   GHIHQGDQW¶VPLVFRQGXFW¶  µUHPHGLDODFWLRQE\WKHGHIHQGDQW¶  µGHIHQGDQW¶VPRWLYDWLRQIRU

   KDUPDQG  ZKHWKHUGHIHQGDQWDWWHPSWHGWRFRQFHDOLWVPLVFRQGXFW¶´Liquid Dynamics Corp.

   v. Vaughan Co.)G )HG&LU  TXRWLQJRead Corp. v. Portec. Inc.

   )G  ± )HG &LU   superseded on other grounds as recognized in Hoechst

   Celanese Corp. v. BP Chems. Ltd.)G )HG&LU 7KH6XSUHPH&RXUWKDV

   ³HVFKHZ>HG@DQ\ULJLGIRUPXODIRUDZDUGLQJHQKDQFHGGDPDJHVXQGHU´Halo6&WDW

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   RIWKHGHIHQGDQW¶VFRQGXFW´Finjan, Inc. v. Blue Coat Sys., Inc.:/DW  1'

   &DO -XO\    ILQGLQJ ³>W@KH 5HDG IDFWRUV GR QRW VXSSRUW D ILQGLQJ RI HJUHJLRXVQHVV

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   PLVFRQGXFW´ Dominion Res. Inc. v. Alstom Grid, Inc.:/DW  ('3D2FW

     ³:KLOH+DORFKDQJHGWKHWHVWIRUGHWHUPLQLQJZLOOIXOPLVFRQGXFWLQHQKDQFHGGDPDJHV

   ZHFRQWLQXHWRXVHWKH5HDGIDFWRUVWRDLGRXUGLVFUHWLRQ´ Trustees of Boston Univ. v. Everlight

   Elecs. Co.:/DW  '0DVV-XO\  ³:KLOHWKH5HDGIDFWRUVUHPDLQ

   KHOSIXO WR WKLV &RXUW¶V DQDO\VLV WKH WRXFKVWRQH IRU DZDUGLQJ HQKDQFHG GDPDJHV DIWHU +DOR LV

   HJUHJLRXVQHVV´ 

           :KHWKHUDQDFFXVHGLQIULQJHUKDVUHDVRQDEOHOLWLJDWLRQGHIHQVHVLVUHOHYDQWWRZKHWKHURU

   QRWLWVFRQGXFWLV³HJUHJLRXV´HQRXJKWRHQKDQFHGDPDJHVWesternGeco LLC)GDW

    REVHUYLQJWKDWDIWHUHalo³REMHFWLYHUHDVRQDEOHQHVVLVRQHRIWKHUHOHYDQWIDFWRUV´LQGHWHUPLQLQJ

   ZKHWKHUWRHQKDQFHGDPDJHV see also Kirtsaeng v. John Wiley & Sons, Inc.6&W

      LQH[HUFLVLQJGLVFUHWLRQWRDZDUGDWWRUQH\¶VIHHVXQGHUWKH&RS\ULJKW$FWD

   GLVWULFWFRXUWVKRXOGJLYH³VXEVWDQWLDOZHLJKW´WRWKHUHDVRQDEOHQHVVRIWKHGHIHQGDQW¶VOLWLJDWLRQ

   SRVLWLRQV 

           7R VKRZ ZLOOIXOQHVV D SDWHQWHH PXVW SURYH WKDW WKH DOOHJHG LQIULQJHU DFWHG ZLWKRXW D

   ³UHDVRQDEOHEDVLVIRUEHOLHYLQJLWKDGDULJKWWRGRWKHDFWV´Stickle v. Heublein, Inc.)G

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   WKH LQIULQJLQJ DFWV ZHUH QRW LQDGYHUWHQW 7KH FRXUW PXVW GHWHUPLQH WKDW WKH LQIULQJHU DFWHG LQ

   GLVUHJDUGRIWKHSDWHQWWKDWLVWKDWWKHLQIULQJHUKDGQRUHDVRQDEOHEDVLVIRUEHOLHYLQJLWKDGDULJKW

   WRGRWKHDFWV´ see also Vulcan Eng’g Co. v. Fata Aluminum, Inc.)G )HG

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   RIWKHSDWHQWHH«:KHQLWLVIRXQGWKDWWKHLQIULQJHUDFWHGZLWKRXWDUHDVRQDEOHEHOLHIWKDWLWV

   DFWLRQVZRXOGDYRLGLQIULQJHPHQWWKHSDWHQWHHKDVHVWDEOLVKHGZLOOIXOLQIULQJHPHQWZKLFKPD\

   EHDFFRPSDQLHGE\HQKDQFHGGDPDJHV´ Read)GDW ³>7@KLVFRXUWKDVDSSURYHGVXFK

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   DZDUGVZKHUHWKHLQIULQJHUDFWHGLQZDQWRQGLVUHJDUGRIWKHSDWHQWHH¶VSDWHQWULJKWVWKDWLVZKHUH

   WKHLQIULQJHPHQWLVZLOOIXO´ 5HDVRQDEOHGHIHQVHVWKDWZHUHNQRZQWRWKHDFFXVHGLQIULQJHUDWWKH

   WLPHRIWKHDOOHJHGFXOSDEOHFRQGXFWDUHWKXVKLJKO\UHOHYDQWWRDVVHVVLQJDQDFFXVHGLQIULQJHU¶V

   VXEMHFWLYHLQWHQWSee Greatbatch Ltd.&$1R/36:/DW  KROGLQJ

   WKDW ³UHDVRQDEOH GHIHQVHV « NQRZQ WR >WKH DFFXVHG LQIULQJHU@ DW WKH WLPH RI WKH FKDOOHQJHG

   FXOSDEOHFRQGXFW´DUH³SHUWLQHQWWRDVVHVVLQJ«VXEMHFWLYHLQWHQW´ %H\RQGWKDWUHOHYDQWIDFWRUV

   LQFOXGHZKHWKHUWKHDOOHJHGLQIULQJHUDFWHGFRQVLVWHQWO\³ZLWKWKHVWDQGDUGVRIFRPPHUFHIRULWV

   LQGXVWU\´ ³PDGH D JRRGIDLWK HIIRUW WR DYRLG LQIULQJLQJ WKH SDWHQW´ RU ³WULHG WR FRYHU XS LWV

   LQIULQJHPHQW´WesternGeco)GDWQ³>$@SDUW\¶VSUHVXLWNQRZOHGJHRIDSDWHQWLV

   QRW VXIILFLHQW E\ LWVHOI WR ILQG µZLOOIXO PLVFRQGXFW¶ RI WKH W\SH WKDW PD\ ZDUUDQW DQ DZDUG RI

   HQKDQFHGGDPDJHV´Vehicle IP, LLC&$1R/36:/DW see also

   Norian Corp.)GDW ³:LOOIXOLQIULQJHPHQWLVQRWHVWDEOLVKHGE\WKHVLPSOHIDFWRI

   LQIULQJHPHQW HYHQ WKRXJK >WKH GHIHQGDQW@ VWLSXODWHG WKDW LW KDG NQRZOHGJH RI >WKH SODLQWLII¶V@

   SDWHQWV7KHSDWHQWHHPXVWSUHVHQWWKUHVKROGHYLGHQFHRIFXOSDEOHEHKDYLRU´ FLWDWLRQRPLWWHG 

           $ILQGLQJRIZLOOIXOLQIULQJHPHQWGRHVQRWUHTXLUHWKDWGDPDJHVEHHQKDQFHGSee Halo

    6 &W DW  ³>1@RQH RI WKLV LV WR VD\ WKDW HQKDQFHG GDPDJHV PXVW IROORZ D ILQGLQJ RI

   HJUHJLRXV PLVFRQGXFW´ WBIP, LLC)GDWQ ³>7@KLVLVQRWWRVD\WKDWDMXU\

   YHUGLFWRIZLOOIXOLQIULQJHPHQWRXJKWWRUHVXOWLQHQKDQFHGGDPDJHV´ ,QGHHGDVHalo LQGLFDWHV

   ZLOOIXOQHVV LV DW PRVW D IDFWRU WKH &RXUW PD\ FRQVLGHU ZKHQ GHFLGLQJ ZKHWKHU WR H[HUFLVH LWV

   GLVFUHWLRQWRDZDUGHQKDQFHGGDPDJHVXQGHU86&See Halo6&WDW

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   HQKDQFHGGDPDJHVDUH³UHVHUYHGIRUHJUHJLRXVFDVHVRIFXOSDEOHEHKDYLRU´ see also Trustees of

   Boston Univ.&$1R3%6:/DW  ³>7@KHWRXFKVWRQHIRUDZDUGLQJ

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   HQKDQFHGGDPDJHVDIWHUHalo LVHJUHJLRXVQHVV´ 

                ³7KHIDLOXUHRIDQLQIULQJHUWRREWDLQWKHDGYLFHRIFRXQVHOZLWKUHVSHFWWRDQ\DOOHJHGO\

   LQIULQJHGSDWHQWRUWKHIDLOXUHRIWKHLQIULQJHUWRSUHVHQWVXFKDGYLFHWRWKHFRXUWRUMXU\PD\QRW

   EHXVHGWRSURYHWKDWWKHDFFXVHGLQIULQJHUZLOOIXOO\LQIULQJHGWKHSDWHQW«´86&

   ³1RULVWKHUHDXQLYHUVDOUXOHWKDWWRDYRLGZLOOIXOQHVVRQHPXVWFHDVHPDQXIDFWXUHRIDSURGXFW

   LPPHGLDWHO\XSRQOHDUQLQJRIDSDWHQWRUXSRQUHFHLSWRIDSDWHQWHH¶VFKDUJHRILQIULQJHPHQWRU

   XSRQWKHILOLQJRIVXLW([HUFLVLQJGXHFDUHDSDUW\PD\FRQWLQXHWRPDQXIDFWXUHDQGPD\SUHVHQW

   ZKDWLQJRRGIDLWKLWEHOLHYHVWREHDOHJLWLPDWHGHIHQVHZLWKRXWULVNRIEHLQJIRXQGRQWKDWEDVLV

   DORQHDZLOOIXOLQIULQJHU´Gustafson, Inc. v. Intersystems Indus. Prods., Inc.)G

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                7KH 6XSUHPH &RXUW¶V GHFLVLRQ LQ Halo PDNHV FOHDU WKDW ³ZLOOIXOQHVV´ LV QR ORQJHU D

   VHSDUDWH FODLP EXW LV MXVW RQH IDFWRU IRU WKH &RXUW WR FRQVLGHU LQ GHFLGLQJ ZKHWKHU WR HQKDQFH

   GDPDJHV XQGHU    Id. DW   7KLV LV DSSDUHQW IURP Halo¶V XQLWDU\ DEXVHRIGLVFUHWLRQ

   VWDQGDUGIRUUHYLHZLQJHQKDQFHGGDPDJHVGHWHUPLQDWLRQVZKLFKOHDYHVQRURRPIRU³VXEVWDQWLDO

   HYLGHQFH´UHYLHZRIDMXU\¶VYHUGLFWSee id. DW7KLVLVWKHVDPHV\VWHPWKH6XSUHPH&RXUW

   DGRSWHGIRUH[FHSWLRQDOFDVHILQGLQJVXQGHU86&²DV\VWHPWKDWJLYHVWKHMXU\QRUROH

   See Highmark Inc. v. Allcare Health Mgmt. Sys., Inc.6&W  

                (YLGHQFH RI +\SHU%UDQFK¶V DOOHJHGO\ ³ZLOOIXO´ LQIULQJHPHQW FRQGXFW LV WKHUHIRUH QRW

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   WRWKHVXEVWDQWLYHVWUHQJWKRIDSDUW\¶VOLWLJDWLQJSRVLWLRQ FRQVLGHULQJERWKWKHJRYHUQLQJODZDQG

   WKHIDFWVRIWKHFDVH RUWKHXQUHDVRQDEOHPDQQHULQZKLFKWKHFDVHZDVOLWLJDWHG'LVWULFWFRXUWV

   PD\ GHWHUPLQH ZKHWKHU D FDVH LV µH[FHSWLRQDO¶ LQ WKH FDVHE\FDVH H[HUFLVH RI WKHLU GLVFUHWLRQ

   FRQVLGHULQJ WKH WRWDOLW\ RI WKH FLUFXPVWDQFHV  Octane Fitness, LLC  6 &W DW   $

   SUHYDLOLQJSDUW\PXVWHVWDEOLVKLWVHQWLWOHPHQWWRIHHVXQGHU6HFWLRQE\DSUHSRQGHUDQFHRIWKH

   HYLGHQFHId. DW

   9,, ,QMXQFWLYH5HOLHI

           $      ,VVXHVRI/DZ

                 x :KHWKHU3ODLQWLIIVKDYHVKRZQWKH\DUHHQWLWOHGWRDSHUPDQHQWLQMXQFWLRQDJDLQVW

                    +\SHU%UDQFK

           %      /HJDO$XWKRULW\

           ³>7@KH GHFLVLRQ ZKHWKHU WR JUDQW RU GHQ\ LQMXQFWLYH UHOLHI UHVWV ZLWKLQ WKH HTXLWDEOH

   GLVFUHWLRQ RI WKH GLVWULFW FRXUWV DQG WKDW VXFK GLVFUHWLRQ PXVW EH H[HUFLVHG FRQVLVWHQW ZLWK

   WUDGLWLRQDO SULQFLSOHV RI HTXLW\   ´  eBay, Inc. v. MercExchange, L.L.C.  86  

     $SODLQWLIIVHHNLQJDSHUPDQHQWLQMXQFWLRQPXVWVDWLVI\DIRXUIDFWRUWHVWEHIRUHDFRXUW

   PD\JUDQWVXFKUHOLHI³>$@SODLQWLIIPXVWGHPRQVWUDWH  WKDWLWKDVVXIIHUHGDQLUUHSDUDEOHLQMXU\

     WKDWUHPHGLHVDYDLODEOHDWODZVXFKDVPRQHWDU\GDPDJHVDUHLQDGHTXDWHWRFRPSHQVDWHIRU

   WKDWLQMXU\  WKDWFRQVLGHULQJWKHEDODQFHRIKDUGVKLSVEHWZHHQWKHSODLQWLIIDQGGHIHQGDQWD

   UHPHG\ LQ HTXLW\ LV ZDUUDQWHG DQG   WKDW WKH SXEOLF LQWHUHVW ZRXOG QRW EH GLVVHUYHG E\ D

   SHUPDQHQWLQMXQFWLRQ´Id. DW$SDWHQWHH¶VSURORQJHGRUXQGXHGHOD\LQFRPPHQFLQJOHJDO

   SURFHHGLQJVDQGVHHNLQJLQMXQFWLYHUHOLHIHYLQFHVDODFNRILUUHSDUDEOHKDUPSee Apple, Inc. v.

   Samsung Elecs. Co.)G )HG&LU 

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 182 of 354 PageID #: 62984




            EXHIBIT 6
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 183 of 354 PageID #: 62985




                  3ODLQWLIIV¶2EMHFWLRQ.H\IRU'HSRVLWLRQ'HVLJQDWLRQVDQG([KLELWV

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                      UHVHUYHGZLWKUHVSHFWWRHDFKGRFXPHQW 
         2FW    'RFXPHQWLVRXWVLGHWKHVFRSHRIDUWLGHQWLILHGLQLQYDOLGLW\FRQWHQWLRQV DOO
        2UDO    ULJKWVUHVHUYHGWRUHTXHVWOLPLWLQJLQVWUXFWLRQLIH[KLELWQRWH[FOXGHG 
          2UGHU
         OLPLWLQJ
        LQYDOLGLW\
       FRQWHQWLRQV
            LOO      ,OOHJLEOHFRS\ DOOREMHFWLRQVUHVHUYHG 
       ,QFRPSOHWH    ([KLELWLVPLVVLQJRQHRUPRUHSDJHV
           '(      'XSOLFDWHRIH[KLELW DOOREMHFWLRQVWRDOORWKHUFRSLHVRIWKHH[KLELWDUH
       'XSOLFDWLYH   LQFRUSRUDWHG 
           0,6      0LVFKDUDFWHUL]HV3ULRU7HVWLPRQ\RU([KLELW
        ,QVSHFWDW   $OOREMHFWLRQVWRWKHH[KLELWDUHUHVHUYHGXQWLOLQVSHFWLRQRIH[KLELWFRPSOHWH
           7ULDO
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         SURYLGHG
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             )       /DFNRIIRXQGDWLRQ
            /&       /HJDO&RQFOXVLRQ
         6RU&6     &DOOVIRU6SHFXODWLRQ
             9       9DJXH$PELJXRXVRU0LVOHDGLQJ
           $$        $VNHGDQG$QVZHUHG&XPXODWLYH
           $5*       $UJXPHQWDWLYH
            %(       %HVW(YLGHQFH
            /2       ,PSURSHU/D\2SLQLRQ
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 184 of 354 PageID #: 62986




         $)1      $VVXPHV)DFWVQRWLQ(YLGHQFH
          /       /HDGLQJ
          &       &RPSRXQG
         0,/      6XEMHFW0DWWHU$GGUHVVHGE\RQHRI3ODLQWLII¶V0RWLRQVLQ/LPLQH
       7(;     7HVWLPRQ\EDVHGRQVXEMHFWPDWWHUGLUHFWHGWRFRQWHQWRIH[KLELWLGHQWLILHGDV
                   QXPEHUPDUNHGDWGHSRVLWLRQ3ODLQWLIIVLQFRUSRUDWHDOOREMHFWLRQVWRH[KLELWDQG
                   WHVWLPRQ\VKRXOGEHH[FOXGHGLIH[KLELWLVQRWDGPLWWHG
        ',))      &RXQWHUGHVLJQDWLRQLVLPSURSHUDVLWLVGLUHFWHGWRDVXEMHFWGLIIHUHQWWKDQWKH
                   RULJLQDOGHVLJQDWLRQ
         13      1RWSURGXFHGLQGLVFRYHU\
        '(02      ,IDGPLWWHGDWDOOWKHQLWLVRQO\SURSHUO\DGPLWWHGDVDGHPRQVWUDWLYHH[KLELW
       ,1$'23     2EMHFWLRQVUHVHUYHGDVH[KLELWLVGLUHFWHGWRRSLQLRQWHVWLPRQ\WKDWLVKDVEHHQ
                   H[FOXGHGRURWKHUZLVHQRWSUHVHQWHGDWWULDO
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                     REMHFWLRQDEOHEHFDXVHLWVSUREDWLYHYDOXHLVVXEVWDQWLDOO\RXWZHLJKHGE\
                     WKHGDQJHURIXQIDLUSUHMXGLFHFRQIXVLRQRIWKHLVVXHVRUPLVOHDGLQJWKH
                     MXU\RUE\FRQVLGHUDWLRQVRIXQGXHGHOD\ZDVWHRIWLPHRUQHHGOHVV
                     SUHVHQWDWLRQRIFXPXODWLYHHYLGHQFH )5( 
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                 /DFNRI3HUVRQDO.QRZOHGJH7KLVH[KLELWRUWHVWLPRQ\LVREMHFWLRQDEOH
                     EHFDXVHLWFRQVWLWXWHVWHVWLPRQ\RQDPDWWHUDVWRZKLFKWKHZLWQHVV
                     ODFNVSHUVRQDONQRZOHGJH )5( 
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                     LVRSLQLRQWHVWLPRQ\E\DOD\ZLWQHVVWKDWLVQRWUHDVRQDEO\EDVHGRQ
                     SHUFHSWLRQDQGKHOSIXOWRDFOHDUXQGHUVWDQGLQJRIWKHZLWQHVV¶WHVWLPRQ\
                     RUWKHGHWHUPLQDWLRQRIDIDFWLQGLVSXWH )5( 
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    DQG     +HDUVD\7KLVH[KLELWRUWHVWLPRQ\LVREMHFWLRQDEOHEHFDXVHLWLVD
                     VWDWHPHQWPDGHE\RQHRWKHUWKDQWKHGHFODUDQWZKLOHWHVWLI\LQJDWWULDO
                     RIIHUHGLQWRHYLGHQFHWRSURYHWKHWUXWKRIWKHPDWWHUDVVHUWHGDQGQRW
                     VXEMHFWWRDQ\KHDUVD\H[FHSWLRQ )5(DQG 
                 $XWKHQWLFLW\7KLVH[KLELWRUWHVWLPRQ\LVREMHFWLRQDEOHEHFDXVHLWKDV
                     QRWEHHQDXWKHQWLFDWHG )5( 
    $$              $VNHGDQGDQVZHUHG
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                     SURYHWKHFRQWHQWRIDZULWLQJDQGLWLVQRWWKHRULJLQDOZULWLQJ )5(
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    &6              &DOOVIRUVSHFXODWLRQ
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                     HYLGHQFHDQGWKHUHIRUHQRWSURSHUO\DGPLWWHGLQWRHYLGHQFH
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       &RGH         2EMHFWLRQ
       ,03          ,PSHDFKPHQW7KLVH[KLELWRUWHVWLPRQ\LVREMHFWLRQDEOHH[FHSWIRUXVH
                     DVLPSHDFKPHQW
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       0'           0XOWLSOH'RFXPHQWV7KLVH[KLELWLVREMHFWLRQDEOHEHFDXVHLWLVD
                     FRPELQDWLRQRIPRUHWKDQRQHGRFXPHQW
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       1'15       7KLVH[KLELWRUWHVWLPRQ\LVREMHFWLRQDEOHEHFDXVHLWLVDGHSRVLWLRQ
                     WUDQVFULSWDQGKHQFHLVQRWSURSHUO\DGPLWWHGLQWRHYLGHQFH
       173          9LRODWLRQRI6FKHGXOLQJ2UGHU1RW7LPHO\3URGXFHG$OORUSDUWRIWKH
                     SURSRVHGH[KLELWLVREMHFWHGWREHFDXVHWKHSURSRVHGH[KLELWZDVQRW
                     WLPHO\SURGXFHGGXULQJGLVFRYHU\
       2%          2YHUEURDGYLRODWHV/RFDO5XOHV&RXUW¶V2UGHUV
       4:           4XHVWLRQZLWKGUDZQ
       9            9DJXHDPELJXRXVDQGPLVOHDGLQJ
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    D  DQGDJUHHPHQWRIWKHSDUWLHV3ODLQWLIIVVXEPLWWKHDWWDFKHGVWDWHPHQWRIFRQWHVWHGIDFWV
   3ODLQWLIIVUHVHUYHWKHULJKWWRUHYLVHDPHQGVXSSOHPHQWRUPRGLI\WKHLUFDVHLQFKLHIGHSRVLWLRQ
   GHVLJQDWLRQVEDVHGXSRQDQ\SUHWULDOUXOLQJVE\WKH&RXUWDQGRUWRDGGUHVVDQ\DGGLWLRQDOLVVXHV
   DUJXPHQWVHYLGHQFHRURWKHUGHYHORSPHQWVLQWKHFDVHLQFOXGLQJHGLWVWRWKHGUDIWSUHWULDORUGHU
   DQ\PHHWDQGFRQIHUVRURWKHUQHJRWLDWLRQVEHWZHHQWKHSDUWLHVSHQGLQJDQGDQWLFLSDWHGPRWLRQV
   DQGVLPLODUGHYHORSPHQWV3ODLQWLIIVIXUWKHUUHVHUYHWKHULJKWWRVXSSOHPHQWWKLVVWDWHPHQWWR
   UHEXWRURWKHUZLVHDGGUHVVWKHFRQWHVWHGIDFWVLGHQWLILHGE\+\SHU%UDQFK$OOLUUHOHYDQWDQG
   UHGXQGDQWPDWHULDOLQFOXGLQJREMHFWLRQVDQGFROORTX\RIFRXQVHOZLOOEHHOLPLQDWHGIURPWKH
   GHSRVLWLRQGHVLJQDWLRQVEHORZZKHQWKHGHVLJQDWLRQVDUHUHDGWRRUYLHZHGE\WKHMXU\3ODLQWLIIV
   IXUWKHUUHVHUYHWKHULJKWWRGHVLJQDWHDQ\SRUWLRQRIWKHGHSRVLWLRQWUDQVFULSWVRI'HIHQGDQW¶V
    E  UHSUHVHQWDWLYHVRIILFHUVRUHPSOR\HHVVKRXOGWKH\IDLOWREHLQDWWHQGDQFHDWWULDOLQWKLV
   PDWWHU3ODLQWLIIVIXUWKHUUHVHUYHWKHULJKWWRODWHUSURYLGHGHVLJQDWLRQVIURPDQ\GHSRVLWLRQIRU
   XVHLQLWVUHEXWWDOFDVHDQGWRXVHDQ\SRUWLRQRIDQ\GHSRVLWLRQWUDQVFULSWIRUSXUSRVHVRI
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            EXHIBIT 7
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   GHSRVLWLRQ GHVLJQDWLRQV EDVHG XSRQ DQ\ SUHWULDO UXOLQJV E\ WKH &RXUW DQGRU WR DGGUHVV DQ\

   DGGLWLRQDOLVVXHVDUJXPHQWVHYLGHQFHRURWKHUGHYHORSPHQWVLQWKHFDVHLQFOXGLQJHGLWVWRWKH

   GUDIWSUHWULDORUGHUDQ\PHHWDQGFRQIHUVRURWKHUQHJRWLDWLRQVEHWZHHQWKHSDUWLHVSHQGLQJDQG

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   DGGLWLRQDOLVVXHVDUJXPHQWVHYLGHQFHRURWKHUGHYHORSPHQWVLQWKHFDVHLQFOXGLQJHGLWVWRWKH
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   FROORTX\ RI FRXQVHO ZLOO EH HOLPLQDWHG IURP WKH GHSRVLWLRQ GHVLJQDWLRQV EHORZ ZKHQ WKH

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   DQ\SRUWLRQRIDQ\GHSRVLWLRQWUDQVFULSWIRUSXUSRVHVRILPSHDFKPHQW


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       ϯϬ͗ϭϰͲϯϭ͗ϭϰ                                         
                       0,/&21 VHH',
                      SSDQGQ 
        ϯϭ͗ϮϭͲϯϮ͗Ϯ                                                            

   0DGHO\Q8\±  E  6HYHUQ ±$SULO

       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
                                                                           'HVLJQDWLRQ
         ϲ͗ϲͲϲ͗ϭϬ                                           
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       ϱϵ͗ϮϬͲϱϵ͗ϮϬ   7(;DQG                                     
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       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ     2EMHFWLRQWR&RXQWHU
                                                                            'HVLJQDWLRQ
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        ϱϴ͗ϮϱͲϱϵ͗Ϯ   7(;DQG                                      
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       ϰϵ͗ϭϬͲϰϵ͗ϭϮ                                                             
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        ϰϭ͗ϮϮͲϰϮ͗ϴ                                                             

   .RVW(OLVHYLFK±  E  6SHFWUXP+HDOWK ±$SULO

       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ     2EMHFWLRQWR&RXQWHU
                                                                            'HVLJQDWLRQ
       ϳϬ͗ϭϰͲϳϭ͗ϭϰ                                                             
         ϳ͗ϵͲϳ͗ϭϮ                                                              
        ϲϳ͗ϯͲϲϳ͗ϴ                                                       
        ϲϱ͗ϭϳͲϲϲ͗ϴ                                          
                       0,/&21 VHH',
                      SSDQGQ 
        ϲϰ͗ϮϯͲϲϱ͗ϳ                                          
                       0,/&21 VHH',
                      SSDQGQ 
        ϱϮ͗ϮϯͲϱϯ͗ϳ                                                             
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   %UHWW3IHLIIOH± 6SHFWUXP+HDOWK ±$SULO


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       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
                                                                           'HVLJQDWLRQ
       ϭϮ͗ϭϮͲϭϮ͗Ϯϰ                                                            
       ϭϭ͗ϭϬͲϭϭ͗ϭϲ                                                            
         ϴ͗ϵͲϴ͗ϭϱ                                                             
        Ϯϯ͗ϴͲϮϯ͗ϭϭ                                                            
         ϲ͗ϳͲϲ͗ϭϭ                                                             
        ϭϯ͗ϲͲϭϯ͗ϭϯ                                                            
        ϯϬ͗ϱͲϯϬ͗ϮϬ                                            
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        Ϯϯ͗ϮϯͲϮϰ͗Ϯ                                                            
       ϭϯ͗ϮϭͲϭϯ͗Ϯϱ                                                            
        ϭϮ͗ϮϱͲϭϯ͗ϱ                                                            
        ϵ͗ϮϱͲϭϬ͗ϳ                                                             
        ϵ͗ϭϱͲϵ͗ϮϬ                                                             
        ϴ͗ϮϰͲϵ͗ϭϰ                                                             
         ϳ͗ϯͲϳ͗ϮϬ                                                             
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   $IULFD&DUERQH± 6SHFWUXP+HDOWK ±$SULO

       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
                                                                           'HVLJQDWLRQ
        ϯϬ͗ϭϮͲϯϭ͗Ϯ                                         
                       0,/&21 VHH',
                      SSDQGQ 
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        ϭϴ͗ϮϱͲϭϵ͗Ϯ                                                            
       ϭϴ͗ϭϴͲϭϴ͗Ϯϭ                                                            
        ϵ͗ϭϲͲϭϬ͗Ϯ                                                       
        ϳ͗ϮϮͲϳ͗Ϯϱ                                                             
        ϲ͗ϭϲͲϲ͗ϭϵ                                                             

   7HUU\0D[ZHOO±  E  6W-RVHSK¶V+RVSLWDO ±$SULO

       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
                                                                           'HVLJQDWLRQ
         ϴ͗ϱͲϴ͗ϭϮ                                                             
        ϲ͗ϭϲͲϲ͗ϭϴ                                                             
        ϱϬ͗ϯͲϱϬ͗ϭϳ                                                            
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        ϰϮ͗ϭϬͲϰϯ͗Ϯ                                                            
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       Ϯϵ͗ϭϲͲϯϬ͗ϭϰ                                                            

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   +RL6DQJ8± 0'DW8&6' ±0D\

       'HVLJQDWLRQ        2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
                                                                           'HVLJQDWLRQ
        ϴ͗ϭϱͲϴ͗ϭϴ                                                             
        ϴ͗ϭϬͲϴ͗ϭϭ                                                             
        ϳ͗ϭϭͲϳ͗ϭϱ                                                             
        ϱϳ͗ϯͲϱϳ͗ϴ                                          
                       0,/&21 VHH',
                      SSDQGQ 
        ϱϳ͗ϮϮͲϱϴ͗ϳ                                         
                       0,/&21 VHH',
                      SSDQGQ 
       ϱϳ͗ϭϰͲϱϳ͗ϭϳ                                         
                       0,/&21 VHH',
                      SSDQGQ 
       ϱϳ͗ϭϭͲϱϳ͗ϭϮ                                         
                       0,/&21 VHH',
                      SSDQGQ 
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                       0,/&21 VHH',
                      SSDQGQ 
        ϱϲ͗ϭϴͲϱϳ͗ϭ                                         
                       0,/&21 VHH',
                      SSDQGQ 
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                       0,/&21 VHH',
                      SSDQGQ 
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                       0,/&21 VHH',
                      SSDQGQ 
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       ϱϮ͗ϭϮͲϱϮ͗ϭϲ                                                            
        ϱϬ͗ϮϱͲϱϭ͗ϯ                                                            
        ϯϱ͗ϴͲϯϱ͗ϮϮ                                                            
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   .HUU\3RWWHU±  E  RI6RXWKZHVW6XUJLFDO ±0D\



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       'HVLJQDWLRQ          2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ   2EMHFWLRQWR&RXQWHU
                                                                            'HVLJQDWLRQ
         ϲϱ͗ϮͲϲϱ͗ϭϯ                                                    
         ϲϱ͗ϮϰͲϲϲ͗ϵ                                                 
         ϲϮ͗ϮϬͲϲϯ͗ϰ                                                  
         ϲϭ͗ϭϵͲϲϮ͗ϳ                                                            
         ϲ͗ϭϱͲϲ͗ϭϳ                                                             
        ϰϱ͗ϮϱͲϰϳ͗Ϯϯ                                                            
        ϰϱ͗ϭϵͲϰϱ͗Ϯϰ                                                            
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         Ϯϵ͗ϰͲϮϵ͗Ϯϰ                                                            
         Ϯϰ͗ϳͲϮϰ͗ϭϮ                                                            
         Ϯϰ͗ϮϬͲϮϱ͗ϯ                                                            
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        ϭϯ͗ϭϰͲϭϯ͗ϮϬ                                                            
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       ϭϮϵ͗ϮϮͲϭϯϬ͗ϭϰ   DQG                                   
       ϭϮϴ͗ϮϮͲϭϮϴ͗Ϯϱ                                                   
       ϭϮϳ͗ϲͲϭϮϳ͗ϭϭ                                         
                         0,/&21 VHH',
                        SSDQGQ 
        ϭϮϳ͗ϱͲϭϮϳ͗ϱ                                         
                         0,/&21 VHH',
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       ϭϮϳ͗ϭϰͲϭϮϳ͗ϮϬ                                        
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       'HVLJQDWLRQ           2EMHFWLRQ         &RXQWHU'HVLJQDWLRQ   2EMHFWLRQWR&RXQWHU
                                                                            'HVLJQDWLRQ
       ϭϭϮ͗ϮϰͲϭϭϯ͗Ϯ                                          

   -RKQ1DLO±  E  $UPDPHQWDULXP ±0D\

       'HVLJQDWLRQ           2EMHFWLRQ         &RXQWHU'HVLJQDWLRQ   2EMHFWLRQWR&RXQWHU
                                                                            'HVLJQDWLRQ
         ϰϴ͗ϵͲϰϴ͗ϭϰ                                                    
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        ϭϯϲ͗ϭͲϭϯϲ͗Ϯ    7(;                
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       ϭϯϱ͗ϳͲϭϯϱ͗ϭϬ    7(;                
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       ϭϯϱ͗ϭϯͲϭϯϱ͗Ϯϱ   7(;                
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       ϭϯ͗ϭϱͲϭϯ͗ϭϵ                                                             
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       'HVLJQDWLRQ           2EMHFWLRQ          &RXQWHU'HVLJQDWLRQ   2EMHFWLRQWR&RXQWHU
                                                                             'HVLJQDWLRQ
       ϭϮϰ͗ϮϭͲϭϮϰ͗Ϯϯ      &6)                                       
       ϭϮϯ͗ϮϯͲϭϮϰ͗ϰ       &6)                                       
       ϭϮϯ͗ϭϲͲϭϮϯ͗ϮϬ      &6)                                       
       ϭϮϮ͗ϱͲϭϮϮ͗ϭϯ    DQG                                    
       ϭϮϮ͗ϮϮͲϭϮϯ͗ϭϱ   DQG                                   
                                  &6
       ϭϮϮ͗ϭϰͲϭϮϮ͗ϮϬ   DQG                                    
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       'HVLJQDWLRQ        2EMHFWLRQ        &RXQWHU'HVLJQDWLRQ    2EMHFWLRQWR&RXQWHU
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       EXHIBITS 8 AND 9
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               ENTIRETY
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         EXHIBIT 10
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               EXHIBIT 11(a)
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


         PLAINTIFFS’ MOTION IN LIMINE NO. 1 TO EXCLUDE UNDISCLOSED
                NON-INFRINGEMENT AND INVALIDITY DEFENSES



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                                                                                 March 5, 2018
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            Plaintiffs move in limine for an Order to preclude HyperBranch from offering evidence,

   testimony, or argument supporting a non-infringement or invalidity defense on any claim

   limitation not specifically identified in either HyperBranch’s final invalidity contentions, or its

   response to a non-infringement contention interrogatory, or its expert reports.

            The Court’s Scheduling Order required HyperBranch to provide final invalidity

   contentions limiting them to “24 total prior art grounds (anticipation and/or obviousness).” D.I.

   #173, ¶ 7(f). HyperBranch served its Final Invalidity Contentions with 24 prior art grounds. See

   D.I. 364, ex. 1, at 90-92. Invalidity contentions are considered to be “initial disclosures” under

   Federal Rule of Civil Procedure 26(a). See D. Del. Default Standard for Discovery, § 4(d).

   Under Fed. R. Civ. P. 37(c)(1), a failure to disclose or supplement pursuant to Rule 26(a) or (e)

   may lead to the exclusion of the information to supply evidence at trial “unless the failure was

   substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). LR 1.3 provides that “[s]anctions

   may be imposed, at the discretion of the Court” for violation of “any order of the Court,” which

   includes this Court’s order regarding final invalidity contentions. Further, a court has the

   inherent power to sanction parties and exclude evidence for failure to comply with the rules. See

   Link v. Wabash Railroad Co., 370 U.S. 626, 630-631 (1962). Pursuant to this Court’s order, the

   invalidity grounds were reduced to 16 on November 7, 2016. On October 7, 2016, Plaintiffs

   served HyperBranch with Interrogatory No. 1, seeking HyperBranch’s non-infringement

   contentions. HyperBranch initially responded on November 10, 2016, (Ex. 1), and served three

   supplemental responses. See Exs. 2-4.

            Fed. R. Civ. P. 26(a)(2)(A) requires disclosure of expert witnesses accompanied by an

   report containing “a complete statement of all opinions the witness will express and the basis and

   reasons for them.” HyperBranch served two expert reports (Dr. Lowman and Dr. Flombaum)

   setting forth its non-infringement positions. See D.I. 398, Exs. 3 and 4. Neither expert provided a

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   supplemental expert report on non-infringement.

             The Federal Rules of Civil Procedure “are designed to narrow and clarify the issues and

   to give the parties mutual knowledge of all relevant facts, thereby preventing surprise.” Shelak v.

   White Motor Co., 581 F.2d 1155, 1159 (5th Cir. 1978); Erskine v. Consolidated Rail Corp., 814

   F.2d 266, 272 (6th Cir. 1987) (describing a primary objective of discovery as the elimination of

   surprise in civil trials). The Fed. R. Civ. P. impose an affirmative duty on a party to seasonably

   amend its Rule 26(a) disclosures (including expert reports) and interrogatory responses “if the

   party learns that in some material respect the disclosure or response is incomplete or incorrect...”

   Fed. R. Civ. P. 26(e)(1); see Fed. R. Civ. P. 26(e)(2)(A). The Federal Rules penalize a party for

   failing to amend discovery responses by not allowing the use of undisclosed evidence at trial.

   Fed. R. Civ. P. 37(c)(1). This is because the purpose of modern discovery procedure is to narrow

   issues, eliminate surprise, and achieve substantial justice. Greyhound Lines, Inc. v. Miller, 402

   F.2d 134, 143 (8th Cir. 1968).

             Courts routinely exclude previously undisclosed invalidity evidence when there is no

   justification for its late disclosure because the opposing party would be unable to formulate an

   adequate response. See ATD Corp. v. Lydall, Inc., 159 F.3d 534, 551 (Fed. Cir. 1998) (affirming

   exclusion of a prior art reference that was disclosed after the discovery deadline and only one

   month before the pretrial conference); Bridgestone Sports Co. Ltd. v. Acushnet Co., C.A. No. 05-

   132-JJF, 2007 WL 521894 (D. Del. Feb. 15, 2017) (granting motion to strike where invalidity

   contentions were due August 11, 2006, fact discovery closed October 10, 2006, and new prior art

   references were added on December 14, 2006); In re Omeprazole Patent Litigation, No. M-21-

   81, 2002 WL 287785 (S.D.N.Y. Feb. 27, 2002); Transclean Corp. v. Bridgewood Services, Inc.,

   77 F. Supp. 2d 1045, 1061–62 & 1064 (D. Minn.1999); see also Server Technology, Inc. v. Am.

   Power Conversion Corp., No. 3:06-cv-00698-LRH, 2014 WL 1308617, *5 (D. Nev. Mar. 31,


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   2014). Precluding new invalidity evidence, argument, and testimony is also consistent with this

   Court’s prior warning: “To the extent that, in the future, Defendant attempts to use a reference

   not listed in the chart of 24 Invalidity Grounds to establish disclosure of a claim limitation in the

   prior art, it will be precluded from doing so.” See October 27, 2017 Oral Order.

             This Court should exclude the presentation of evidence, testimony, and argument

   regarding any non-infringement or invalidity defense not previously disclosed in HyperBranch’s

   interrogatory responses, final invalidity contentions, or expert reports.1 HyperBranch’s failure to

   identify all of its non-infringement and invalidity positions during discovery and expert

   discovery is neither justified or harmless. Indeed, Plaintiffs would be unfairly prejudiced by

   HyperBranch’s reliance on undisclosed non-infringement or invalidity theories as Plaintiffs

   would not have an opportunity to take follow-up discovery, develop rebuttal evidence, or allow

   its experts to review and opine on any new non-infringement or invalidity theory. Inline

   Connection Corp. v. AOL Time Warner Inc., 472 F. Supp. 2d. 604, 614-15 (D. Del. 2007)

   (precluding expert from addressing infringement issues not in his report); CIBA Vision Corp. v.

   Bausch & Lomb, Inc., 2:99-CV-0034-RWS, 2003 WL 25774307, *3 (N.D. Ga. Dec. 22, 2003)

   (granting motion in limine precluding defendant from raising previously unasserted defenses, due

   to substantial prejudice on the plaintiff from not being able to conduct discovery and prepare its

   case in contemplation of new defenses).

             Thus, the Court should preclude HyperBranch from offering at trial any evidence or

   argument on all previously undisclosed non-infringement and invalidity defenses.




   1
     This includes but is not limited to Defendants’ invalidity defense based on the Jacobs reference
   that is the subject of the pending Plaintiffs’ Motion to Strike the New Invalidity Theory in the
   First Supplemental Expert Report of Dr. Lowman Regarding Biocompatibility (D.I. 510), filed
   February 21, 2018.
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   Dated: March 5, 2018                 YOUNG CONAWAY STARGATT & TAYLOR LLP

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                      EXHIBITS 1-4
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               EXHIBIT 11(b)
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                                                 /s/ Jeremy A. Tigan
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               EXHIBIT 11(c)
                  CONFIDENTIAL
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 263 of 354 PageID #: 63065




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION IN LIMINE NO. 1 TO EXCLUDE
         UNDISCLOSED NON-INFRINGEMENT AND INVALIDITY DEFENSES



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                                                                                March 26, 2018
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 264 of 354 PageID #: 63066




            The Court should grant Plaintiffs’ motion in limine No. 1 and preclude HyperBranch

   from offering evidence, testimony, or argument supporting a non-infringement or invalidity

   defense on any claim limitation not specifically identified in HyperBranch’s final invalidity

   contentions, response to a non-infringement contention interrogatory, or its expert reports.

            HyperBranch does not contest that it should be precluded at trial from raising undisclosed

   invalidity or non-infringement defenses. Instead, HyperBranch raises only one argument in

   opposition to this motion: that Dr. Lowman’s reliance on the Jacobs reference should not be

   excluded. Of course, whether that opinion should be excluded is the subject of a different

   motion (Plaintiffs’ Motion to Strike the New Invalidity Theory in the First Supplemental Expert

   Report of Dr. Lowman Regarding Biocompatibility, D.I. 510).1 Plaintiffs will not repeat its

   arguments from that Motion here.

            As explained in its opening motion paper, HyperBranch’s failure to identify all of its non-

   infringement and invalidity positions during discovery and expert discovery is neither justified

   nor harmless, and Plaintiffs would be unfairly prejudiced by HyperBranch’s reliance on

   undisclosed non-infringement or invalidity theories. Granting Plaintiffs’ motion will prevent

   HyperBranch from wasting the jury’s time, the Court’s time, and the parties’ resources on

   arguments not properly disclosed during discovery.

            Thus, the Court should preclude HyperBranch from offering at trial any evidence or

   argument on all previously undisclosed non-infringement and invalidity defenses.




   1
     Plaintiffs will be filing Objections to the March 23, 2018 Memorandum Order (D.I. 601)
   denying D.I. 510.
   01:23024211.1                                     1
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 265 of 354 PageID #: 63067




   Dated: March 26, 2018                YOUNG CONAWAY STARGATT & TAYLOR LLP

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  01:23024211.1                          2
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 266 of 354 PageID #: 63068




                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 26, 2018, I caused true and

   correct copies of the foregoing document to be served upon the following counsel of record by e-

   mail:

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                                              Attorneys for Plaintiffs Integra LifeSciences Corp.,
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                                              Inc., and Incept LLC




   01:17886261.1
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 267 of 354 PageID #: 63069




               EXHIBIT 12(a)
                  CONFIDENTIAL
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 268 of 354 PageID #: 63070




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


   PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE OPINIONS INCONSISTENT
                 WITH THE COURT’S CLAIM CONSTRUCTION



   Of Counsel:                                 YOUNG CONAWAY STARGATT & TAYLOR LLP
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                                               Corp., Integra LifeSciences Sales LLC, Confluent
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                                                                                 March 5, 2018
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            Plaintiffs move in limine for an Order to preclude HyperBranch from offering evidence,

   testimony, or argument supporting any non-infringement or invalidity defense that is inconsistent

   with the Court’s claim construction. In this case, HyperBranch has offered the opinions of Dr.

   Flombaum and Dr. Lowman on non-infringement and invalidity for the presently asserted “pre-

   determined thickness” claims of the ‘034, ‘566, and ‘418 patents based on a claim construction

   that is inconsistent with the Court’s claim construction. Particularly with respect to the

   “predetermined thickness claims”, the Court issued its opinion with respect to the following

   claim constructions:

      • “predetermined thickness” means “a thickness (which can be a singular thickness or a
        range of thickness), determined before application of the hydrogel, for a particular
        application”

      • “observable change” means “change in the color or transparency of the hydrogel
        observable to the human eye”

      • “the visualization agent causes a visually observable change that indicates that a
        crosslinked hydrogel having a predetermined thickness has been formed” means “the
        visualization agent causes a visually observable change that is correlated with a thickness
        of hydrogel, such that the change can be used to indicate that a crosslinked hydrogel
        having a predetermined thickness has been formed”

      • “the visualization agent has a predetermined concentration that indicates a predetermined
        thickness of the hydrogel as deposited on the substrate” means ''the visualization agent has
        a predetermined concentration, where the visualization agent at said concentration causes
        an observable change that is correlated with a thickness of hydrogel, such that the change
        can be used to indicate that a predetermined thickness of the hydrogel has been deposited
        on the substrate”

      • “visualization agent for the polymer composition so that when the hydrogel is applied onto
        a substrate to reach an average predetermined thickness of the hydrogel, an observable
        change occurs indicating the predetermined thickness of hydrogel has been deposited on
        the substrate” means ''visualization agent for the polymer composition so that, when the
        hydrogel is applied onto a substrate to reach an average predetermined thickness of the
        hydrogel, there is an observable change that is correlated with an average thickness of the
        hydrogel, such that the change indicates that the predetermined thickness of hydrogel has
        been deposited on the substrate”

   See D.I. 307 (adopted by Judge Stark without revision; see D.I. 379).


   01:22953261.1                                     1
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             Notwithstanding the Court’s express claim construction of these terms, both Dr. Lowman

   and Dr. Flombaum rely on additional alleged “requirements” for their invalidity and non-

   infringement opinions that are not found in the Court’s claim construction of the terms in the

   “Predetermined Thickness Claims.” Rather than rely on the Court’s claim constructions, Dr.

   Lowman, for example, states “the predetermined thickness claims have three requirements

   related to my opinions: (1) the ‘visualization agent’ causes the ‘observable change’; (2) a

   ‘Correlation Requirement’; and (3) a ‘Naked Eye Indication Requirement.’” Dr. Lowman then

   further explains in his report what these “requirements” entail:1

       • The claims “require a precise and distinctive change in color (or transparency) that is
         observable to the human eye and correlates with a distinct thickness of the deposited
         material so that the change in color (or transparency) can be used to indicate to the user
         that a thickness (which can be a singular thickness of a range of thickness) has been
         formed.”

       • The claims require “a categorical change in color” meaning “an actual change between
         different colors – i.e., changes between white, blue, green, red, yellow . . . etc. – as
         opposed to simply changes in the shade or intensity of an individual color.”

       • “[t]he claims thus require a user to be able to observe and discriminate in real-time and
         from memory colors or transparencies as the thickness of the hydrogel increases and know,
         from memory, when the ‘test’ color or transparency has been observed to indicate the
         ‘predetermined thickness has been achieved and to stop applying additional thickness” and
         the claims “require a user to be able to very accurately and consistently perform color (or
         transparency) matching from memory” – i.e., “[t]he same color matching that one cannot
         perform in buying paint to match the color of one’s walls from memory.”

       • the claim require “match[ing] a specific color (transparency) to another color (or
         transparency) that represents the color (or transparency) of the hydrogel at a
         ‘predetermined thickness’ from memory.”




   1
     Dr. Lowman and Dr. Flombaum also rely on a construction of “visualization agent” that
   excludes air bubbles (see D.I. 398, Ex. 4, ¶ 79, Ex. 3, ¶¶ 159, 161) which is inconsistent with the
   Court’s claim construction that air bubbles alone are not a visualization agent (see D.I. 307 at p.
   13), thus also requiring exclusion of their opinions of invalidity and noninfringement with
   respect to the “Predetermined Thickness Claims.”
  01:22953261.1                                     2
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   (See D.I. 398, Ex. 1, ¶¶ 388-391, 393-396, 399, 402; Ex. 3, ¶¶ 136, 170-211 Ex 6, ¶¶ 263, 264,

   266, and 267; see also Ex. 2, ¶¶ 17-20; Ex. 4, ¶¶ 13, 77, 79; Ex. 7, ¶¶ 6-7.2)

             Pursuant to F.R.E. 401, 402, and 403, the Court should exclude “expert testimony

   inconsistent with the Court's claim construction [because it] is unreliable and unhelpful to the

   finder of fact.” EMC Corporation v. Pure Storage, Inc., 154 F. Supp. 3d 81, 109-110 (D. Del.

   Feb. 11, 2016) quoting Personalized User Model, L.L.P. v. Google, Inc., C.A. No. 09-525-LPS,

   2014 WL 807736, at *1 (D. Del. Feb. 27, 2014); see also Exergen Corp. v. Wal–Mart Stores,

   Inc., 575 F.3d 1312, 1321 (Fed. Cir. 2009). Such testimony is also irrelevant and likely to

   mislead and confuse a jury. MarcTec, LLC v. Johnson & Johnson, 664 F.3d 907, 913 (Fed. Cir.

   2012) (“expert testimony [that] ignored the court's claim construction ‘is irrelevant to the

   question of infringement’”); Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1224 n. 2

   (Fed. Cir. 2006); Sprint Commc'ns Co. L.P. v. Cox Commc'ns Inc., C.A. No. 12-487-JFB-CJB,

   2017 WL 5196378, at *19 (D. Del. Nov. 9, 2017) (granting in part a party's motion to exclude

   portions of an expert report involving contrary expert testimony to the court's claim construction

   as likely to “mislead and confuse a jury”); Callpod, Inc. v. GN Netcom, Inc., 703 F. Supp. 2d

   815, 822 (N.D. Il. 2010) (“Expert opinions that conflict with a courts established claim

   construction tend only to create confusion and are thus unhelpful to the jury.”).

             For these reasons, the Court should exclude at trial any opinion evidence regarding non-

   infringement or invalidity defense proffered on a claim construction inconsistent with the Court’s

   claim construction.




   2
     Dr. Flombaum testified that his understanding of the claims was based on what Dr. Lowman
   told him. See, e.g., D.I. 398, Ex. 2, ¶¶ 19-20; Ex. 4, ¶ 77; Ex. 7, ¶ 7; and Ex. 9, pp. 29:2-33:8.
  01:22953261.1                                      3
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 272 of 354 PageID #: 63074




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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 273 of 354 PageID #: 63075




                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 5, 2018, I caused true and

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                                              Integra LifeSciences Sales LLC, Confluent Surgical
                                              Inc., and Incept LLC




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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 277 of 354 PageID #: 63079




   WKHPVHOYHV²EXW GRHV QRW FKDQJH WKH VXEVWDQFH RI WKH FODLPV²LV SHUPLVVLEOH  See, e.g.

   Innogenetics, N.V. v. Abbott Labs.)G )HG&LU  HUURUWRH[FOXGHH[SHUW

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   the change can be used to indicate that a crosslinked hydrogel having a predetermined thickness

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   DUJXPHQWWKDWa combination of air bubbles and dyeLVD³YLVXDOL]DWLRQDJHQW´

           ,QWHJUDDUJXHVWKDWWKHDLUEXEEOHVIURPWKHVSUD\HUFRPELQHZLWKWKHG\HWRIRUPD
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           rejection of this argumentDV³WKH¶SDWHQWLVFOHDUWKDW  WKHYLVXDOL]DWLRQ
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                                               /s/ Jeremy A. Tigan
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION IN LIMINE NO. 2 TO EXCLUDE
       OPINIONS INCONSISTENT WITH THE COURT’S CLAIM CONSTRUCTION



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                                                                                March 26, 2018
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            HyperBranch’s experts are not, as it contends, “simply applying” the Court’s claim

   construction or providing “opinions . . . entirely consistent with the Court’s claim constructions.”

   Instead, HyperBranch’s experts add “requirements” to, and deviate from, the Court’s claim

   construction as explained in Plaintiffs’ motion in limine No. 2. Indeed, Judge Burke’s recent

   Report and Recommendation (“R&R”) rejected HyperBranch’s arguments as to the

   “Predetermined Thickness” because those arguments added “requirements” to the Court’s claim

   construction. In particular, Judge Burke rejected HyperBranch argument that the correlation

   between an observable change and a predetermined thickness requires an exact color match:

            Moreover, HyperBranch's argument that Plaintiffs have not shown that "the color
            of the hydrogel [in HyperBranch's videos] is the same between [] applications at
            any thickness . . . is off the mark in another respect. It sounds like HyperBranch is
            suggesting that, pursuant to the Court's claim construction, the hydrogel has to turn
            a specific, single shade of green once it has been deposited to between 1-2 mm on
            any patient, under any circumstances. But that reads too much into the
            construction.

            ...

            It is a reasonable inference, then, that neurosurgeons would know what the
            hydrogel’s color and transparency should look like when the hydrogel is applied to
            a patient and reaches the desired range of thickness (1-2 mm). But the Court did
            not say (and does not find) that the articulated result of the observable change had
            to be the exact same color in all applications on all patients.

   D.I. 555, at 18-19 (bold italics emphasis added).

            This example typifies HyperBranch’s arguments and opinions that materially alter the

   Court’s claim constructions, rendering them inadmissible. As such, the Court should exclude at

   trial any opinion evidence proffered on a claim construction inconsistent with the Court’s claim

   construction, including HyperBranch’s misplaced “exact same color” argument.




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   Dated: March 26, 2018                YOUNG CONAWAY STARGATT & TAYLOR LLP

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               EXHIBIT 13(a)
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.

   HYPERBRANCH MEDICAL TECHNOLOGY,
   INC.,

                 Defendant.


                     PLAINTIFFS’ MOTION IN LIMINE NO. 3
                    TO EXCLUDE ARGUMENT OR EVIDENCE
        RELATING TO BRIEFING SUBMITTED TO OR RULINGS BY THE COURT


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                                                                                 March 5, 2018
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            Plaintiffs move in limine for an Order to exclude HyperBranch from offering argument or

   evidence regarding the Court’s previous or future pre-trial rulings and the associated briefing

   thereto, including Plaintiffs’ preliminary injunction motion, the Court’s discovery rulings, the

   Court’s claim construction rulings (except for the Court’s actual claim construction and other

   judicial rulings necessary for the jury to perform its function), rulings on summary judgment

   motions, motions to strike, motions in limine, and forthcoming evidentiary rulings.

            The admission of prior judicial opinions into evidence is highly prejudicial. St. Clair

   Intellectual Property Consultants, Inc. v. Sony Corp., C.A. No. 01-557-JJF, slip op. at 3.g (D.

   Del. Feb. 11, 2003); Century Wrecker Corp. v. E.R. Buske Mfg. Co., 898 F. Supp. 1334, 1343

   (N.D. Iowa 1995); see also CPC Int’l, Inc. v. Northbrook Excess & Surplus Ins. Co., 144 F.3d

   35, 45 (1st Cir. 1998); Carter v. Burch, 34 F.3d 257, 265 (4th Cir. 1995); Mendenhall v.

   Cedarapids, Inc., 5 F.3d 1557, 1568 (Fed. Cir. 1993). Indeed, “judicial findings of fact ‘present a

   rare case where, by virtue of their having been made by a judge, they would likely be given

   undue weight by the jury, thus creating a serious danger of unfair prejudice.’” Nipper v. Snipes, 7

   F.3d 415, 418 (4th Cir. 1993). Prior judicial opinions have an “undue tendency to suggest a

   decision [to a jury] on [an improper] basis.” Mendenhall, 5 F.3d at 1568. “Deferential weight on

   a legal conclusion, not evidentiary weight on facts in dispute, must be given to the prior

   decision.” Id., at 1570.

            Factual inquiries should be left to the province of the jury—based on the actual evidence

   presented during trial—without the bias or prejudice of prior judicial opinions.         Allowing

   HyperBranch to present or characterize the Court’s judicial opinions will improperly influence

   the jury’s factual determinations as that decision may be based on facts that were incomplete at

   the time and potentially on facts properly excluded from the jury’s consideration. Further, the

   jury may give undue weight to the Court’s decision in favor of a party and therefore be inclined

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   to find that additional arguments from that party are “right” merely because the Court agreed

   with that party on another issue. In this regard, the jury is likely to give exaggerated weight to the

   Court’s Opinion. See Zenith Radio Corp. v. Matsushita Elec. Indus. Co., 505 F. Supp. 1125,

   1185-86 (E.D. Pa. 1980). Accordingly, any probative value of the Court’s judicial opinions is

   outweighed by the potential prejudice and jury confusion and should be excluded at trial. F. R. E.

   403.

             For example, in denying Plaintiffs’ motion for a preliminary injunction, the Court made a

   number of findings based only on the preliminary record developed at the time of the hearing

   (and necessarily not including the more complete record developed during discovery). See, e.g.,

   D.I. 164, at 31, 34, and 41. Since the findings of fact and conclusion of law made by a court in

   deciding a preliminary injunction motion “are not binding at trial on the merits” (see University

   of Texas v. Camensich, 451 U.S. 390, 395 (1981)), they should not be presented to the jury.

   Permitting HyperBranch to point to the Court’s preliminary injunction determinations in this

   matter would introduce irrelevant material, unfairly prejudice Plaintiffs, confuse the issues, and

   mislead the jury. See Lue v. Moore, 89 F.3d 841 (Table) (8th Cir. 1996) (affirming district

   court's decision to exclude evidence regarding the preliminary injunction as unduly prejudicial

   and confusing); Reyes v. Transamerica Life Ins. Co., Case No. CV-15-3452-DMG, 2016 WL

   9137532 (C.D. Cal. June 28, 2016) (excluding evidence regarding TRO and preliminary

   injunction order); Park West Radiology v. CareCore Nat. LLC, 675 F. Supp. 2d 314, 323-24

   (S.D.N.Y. 2009) (excluding preliminary injunction ruling, finding “any references to the Court’s

   Preliminary Injunction Ruling are likely to unduly influence the jury”); Fed. R. Evid. 403.

             For the same reasons, multiple courts have excluded other pre-trial rulings and associated

   briefing from the jury’s consideration. See, e.g., Hewlett-Packard Co. v. Mustek Systems, Inc.,

   No. 99-351, 2001 WL 36166855 at *4 (S.D. Cal. June 11, 2001) (granting the motions in limine,


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   “exclude[ing] reference to any statement, finding, or ruling in the Court's summary judgment

   orders” and further instructing that “[t]he parties shall not refer to any of the Court's prior orders

   or rulings.”); 3Com Corp. v. Realtek Semiconductor Corp., No. 03-2177, 2008 WL 783383, at *4

   (N.D. Cal. Mar. 24, 2008) (granting motion in limine “to preclude [party] from referring to or

   introducing evidence relating to patents and claims [...] dismissed [prior to trial]”); Digital Reg.

   of Tex., LLC v. Adobe Sys., Case No. CV-12-1971, 2014 WL 4090550, *13 (N.D. Cal. Aug. 19,

   2014); GPNE Corp. v. Apple, Inc., Case No. 5:12-cv-02885, Dkt. No. 319 at 1 (N.D. Cal. June

   24, 2014) (“Neither party may refer to discovery disputes, motion practice, or rulings in this case

   ... These issues are not relevant to what the jury has to decide.”); Nemir v. Mitsubishi Motors

   Corp., No. 96-75380, 2002 WL 482557, at *2 (E.D. Mich. Mar. 11, 2002) (granting motion in

   limine to preclude discussion of dismissed claims and allegations because the Court's rulings,

   statements, and opinions relating to a “discussion of dismissed claims is neither probative nor

   relevant to the determination [of a party's remaining claims].”); SmithKline Beecham Corp. v.

   Apotex Corp., No. 98-3852, 2002 WL 1613724, at *1 (N.D. Ill. July 17, 2002)(issues resolved on

   summary judgment are not before the jury, they “ha[ve] no further purpose or place [at trial].”);

   Elston v. UPMC-Presbyterian Shadyside, No. 06-329, 2008 WL 682494, at *2 (W.D. Pa. Mar. 7,

   2008).

             For at least these reasons, HyperBranch should be barred from referencing or offering

   argument or evidence regarding the Court’s pre-trial rulings in this matter and the associated

   briefing thereto, including (1) Plaintiffs’ preliminary injunction motion; (2) the Court’s various

   discovery rulings; (3) the Court’s claim construction rulings (except for the Court’s actual claim

   construction and other rulings from the Court necessary for the jury to perform its function); (4)

   rulings on summary judgment motions; (5) motions to strike; (6) motions in limine; and (7) the

   Court’s forthcoming evidentiary rulings.


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               EXHIBIT 13(b)
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               EXHIBIT 13(c)
Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 301 of 354 PageID #: 63103




                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.

   HYPERBRANCH MEDICAL TECHNOLOGY,
   INC.,

                 Defendant.


           PLAINTIFFS’ REPLY IN SUPPORT OF MOTION IN LIMINE NO. 3
                    TO EXCLUDE ARGUMENT OR EVIDENCE
        RELATING TO BRIEFING SUBMITTED TO OR RULINGS BY THE COURT


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                                                                                March 26, 2018
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            HyperBranch agrees that: “the Court’s rulings and opinions are not evidence that may be

   presented at trial.” Yet, HyperBranch opposition to Plaintiffs’ motion in limine No. 3 shows that

   they intend to do just that. In particular, HyperBranch cites the Report and Recommendation

   (D.I. 307) on claim construction and the Order adopting it (D.I. 379) and argues that it can use

   discussion from those opinions to cross-examine Dr. Mays. HyperBranch’s intended use of the

   Court’s opinions is improper. The Court’s ultimate claim construction of claim terms is relevant

   because the jury will be instructed to apply those constructions to decide issues of infringement

   and validity. The Court’s discussion and analysis of the claim construction disputes, however, is

   not relevant. Permitting HyperBranch to cherry pick isolated passages from the Court’s opinions

   to cross-examine would undoubtedly confuse or mislead the jury and unduly prejudice Plaintiffs.

            HyperBranch argues that it should be permitted to question Plaintiffs’ experts regarding

   allegedly inconsistent statements made during this litigation.        Plaintiffs do not disagree—

   Plaintiffs’ motion in limine does not seek to exclude arguments or testimony relating to factual

   positions taken in declarations. Rather, Plaintiffs’ motion seeks to exclude argument or evidence

   relating to the parties “briefing,” which contain the parties’ arguments. Plaintiffs also do not seek

   to exclude, as HyperBranch suggests, argument of alleged inconsistencies if “those opinions

   have been addressed in motions or orders.” HyperBranch is free to explore alleged

   inconsistencies, but they cannot use the Court’s Opinions (excepting final claim constructions) or

   parties’ briefs to do so.

            Further, IPR proceedings involving the ‘034 Patent should be excluded “because of the

   different standards, procedures and presumptions applicable to IPR proceedings, evidence

   concerning the proceedings is irrelevant and highly prejudicial to the jury's determination of the

   validity of the patents.” Ultratec, Inc. v. Sorenson Commc'ns, Inc., 2014 WL 5023098, at *2

   (W.D. Wis. Oct. 8, 2014); Callaway Golf Co. v. Acushnet Co., 576 F.3d 1331, 1343 (Fed. Cir.

   2009).
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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 303 of 354 PageID #: 63105



   Dated: March 26, 2018                YOUNG CONAWAY STARGATT & TAYLOR LLP

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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 304 of 354 PageID #: 63106




                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 26, 2018, I caused true and

   correct copies of the foregoing document to be served upon the following counsel of record by e-

   mail:

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                                              Integra LifeSciences Sales LLC, Confluent Surgical
                                              Inc., and Incept LLC




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               EXHIBIT 14(a)
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Case 1:15-cv-00819-LPS Document 730-1 Filed 05/16/18 Page 306 of 354 PageID #: 63108




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               EXHIBIT 14(b)
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


    PLAINTIFFS’ RESPONSE TO HYPERBRANCH MEDICAL TECHNOLOGY, INC.’S
    MOTION IN LIMINE NO. 1 TO EXCLUDE EXPERT TESTIMONY INCONSISTENT
                  WITH THIS COURT’S CLAIM CONSTRUCTION


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                                                                                March 19, 2018
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            Defendant’s motion in limine No. 1 seeks to exclude any testimony from Plaintiffs’

   experts that are contrary to this Court’s constructions or that render the Court’s constructions

   indefinite. More specifically, HyperBranch motion addresses the following claim limitations: (i)

   “precursor”, (ii) “visualization agent”, (iii) “observable change,” and (iv) “predetermined

   thickness.” HyperBranch premises its motion on misplaced allegations that Plaintiffs’ experts

   have taken positions inconsistent with Court’s claim constructions.       HB-MIL#1, at 1.      As

   explained below, the evidence HyperBranch cites fails to establish any inconsistent position, and,

   thus, the Court should deny this motion in limine. See e.g. Leonard v. Stemtech Health Sciences,

   Inc., 981 F.Supp.2d 273, 276 (D. Del. 2013) (“The movant bears the burden of demonstrating

   that the evidence is inadmissable on any relevant ground, and the court may deny a motion in

   limine when it lacks the necessary specificity with respect to the evidence to be excluded.”)

   (citations omitted).

            Precursor: HyperBranch’s motion in limine does not identify which expert’s opinion

   regarding a “precursor” is inconsistent with the Court’s claim construction, or explain why.

   Judge Burke’s recent Report and Recommendation (“R&R”) evidences that no such

   inconsistency exists. D.I. 558 (public version). The R&R addressed evidence Plaintiffs’ experts

   relied on to demonstrate that the accused products “read on the three precursor limitation under

   the Court’s construction of ‘precursor’.” D.I. 558, at 9 (emphasis added). Importantly, Judge

   Burke found that “the Court construed the term ‘precursor’ with as much precision as it could,”

   and that the “parties are really fighting about fact issues relating to the application of that

   construction . . . .” D.I. 558, at 13 (emphasis added). Although HyperBranch filed objections to

   the R&R, the Court has not ruled on those objections, nor determined that any of Plaintiffs’

   experts’ opinions are inconsistent with its construction of “precursor.” As such, it would be




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   premature to exclude Plaintiffs’ experts’ testimony on the “precursor” limitation.1

             Visualization Agent: HyperBranch fails to identify any expert opinion that is

   inconsistent with the Court’s construction of “visualization agent.” The only alleged

   “inconsistent” argument/opinion is HyperBranch’s citation to Plaintiffs’ Opposition to Summary

   Judgment. HB-MIL#1, at 2 citing D.I. 443, at 20-21. In that Opposition, Plaintiffs’ wrote: “Dr.

   Mays unrebutted testing further demonstrates that the green dye causes a change in color and

   transparency of the Adherus hydrogels (with or without air bubbles) . . . .” D.I. 443, at 20

   (emphasis added). This makes clear that Plaintiffs’ rely on the green dye, and not “air bubbles

   alone,” as the “visualization agent,” which is consistent with the Court’s claim construction.

             At its core, HyperBranch motion raises a factual issue relating to the application of

   “visualization agent” as construed by the Court to the accused products: “Plaintiffs and their

   experts continue to ignore the fact that the air bubbles in HyperBranch’s accused products are

   responsible for obscuring optical clarity of the hydrogel.” HB-MIL#1, at 2 (emphasis added); id.

   (HyperBranch position is the “dye . . . does not obscure the optical clarity of the hydrogel”). This

   factual dispute does not demonstrate that Plaintiffs’ position is inconsistent with the construction

   of “visualization agent.”

             Observable Change. HyperBranch allegation that Plaintiffs seek to remove the

   correlation requirement in the “observable change” related limitations is misplaced. HB-MIL#1,

   at 2. To support its argument, HyperBranch cites solely to deposition testimony questioning Dr.

   Mays about statements in a particular IFU. See HB-MIL#1, at 3; D.I. 403, Ex. 56 at 158:5-

   160:5. This snippet of testimony does not consist of Dr. Mays comparing the accused products


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    HyperBranch argues that Plaintiffs’ claim interpretation (which is the Court’s construction)
   “renders that claim term indefinite.” HB-MIL#1, at 2. A motion in limine is not the proper
   vehicle to request that a claim term be found indefinite. See Carnegie Mellon Univ. v. Marvell
   Tech. Grp., Ltd., No. CIV.A. 09-290, 2012 WL 5451495, at *2 (W.D. Pa. Nov. 7, 2012) (“The
   purpose of a motion in limine is to decide the admissibility of evidence.”).
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   to the claims as construed by the Court. Indeed, nothing in this isolated snippet is, or suggests, an

   opinion that removes or ignores the correlation requirement from the Court’s construction of the

   “observable change” related limitations.

             Predetermined Thickness. HyperBranch again fails to point to any particular expert

   opinion that is allegedly inconsistent with the Court’s construction of the term “predetermined

   thickness.” HyperBranch’s failure to identify specific evidence to exclude justifies denying its

   motion to exclude. See Apotex, Inc. v. Cephalon, Inc., Civ. Act. No. 2:06-cv-2768, 2017 WL

   2362400, at *7 (E.D. Pa. May 31, 2017) (denying motion in limine because “without specific

   reference to the challenged evidence or an opportunity to review the purpose for which it is

   presented, [the court] cannot resolve Plaintiff’s objections.”). In addition, Magistrate Burke

   issued a Report and Recommendation (“R&R”) on March 13, 2018 recommending the denial of

   HyperBranch’s motion for summary judgment of non-infringement based on the predetermined

   thickness claims.     D.I. 555.   Judge Burke did not find Plaintiffs’ opinions or arguments

   inconsistent with the Court’s claim construction. If anything, the R&R criticized HyperBranch’s

   interpretation of the Court’s claim construction. Id. at 18 (“It sounds like HyperBranch is

   suggesting that, pursuant to the Court's claim construction, the hydrogel has to turn a specific,

   single shade of green once it has been deposited to between 1-2 mm on any patient, under any

   circumstances. But that reads too much into the construction.”)

             In summary, HyperBranch has failed to identify any argument or opinion Plaintiffs may

   provide at trial that is truly inconsistent with the Court’s construction of the foregoing claim

   limitations. Thus, the Court should deny HyperBranch’s motion in limine No. 1.




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   Dated: March 19, 2018                YOUNG CONAWAY STARGATT & TAYLOR LLP

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                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 19, 2018, I caused true and

   correct copies of the foregoing document to be served upon the following counsel of record by e-

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                                              Inc., and Incept LLC




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               EXHIBIT 14(c)
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               EXHIBIT 15(a)
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                                             /s/ Thomas C. Grimm
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               EXHIBIT 15(b)
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


    PLAINTIFFS’ RESPONSE TO HYPERBRANCH MEDICAL TECHNOLOGY, INC.’S
     MOTION IN LIMINE NO. 2 TO EXCLUDE EXPERT TESTIMONY OUTSIDE THE
                        SCOPE OF EXPERT REPORTS


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                                                                                March 19, 2018
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            Defendant’s motion in limine No. 2 seeks to exclude Plaintiffs’ experts (Dr. Jimmy Mays,

   Dr. Dennis Rivet, Dr. Mark Distefano, and Mr. John Jarosz) from offering testimony outside the

   scope of their Rule 26(a) expert report. Although Plaintiffs agree in principle with HyperBranch

   that the parties’ experts should be limited to the opinions disclosed in their reports,

   HyperBranch’s motion goes too far and seeks to limit testimony that Plaintiffs have properly

   disclosed. Thus, HyperBranch’s motion should be denied.

            First, HyperBranch’s request to “preclude Dr. Distefano as an infringement expert” is

   premature.      Dr. Distefano submitted an infringement expert report addressing the claim

   limitation “biodegradable groups of the hydrogel consists of the esters” in the ‘5705 patent. See

   HB-MIL#2, at 2. Although Judge Burke entered a Report and Recommendation recommending

   that the Court grant summary judgment of non-infringement as to the ‘5705 patent, Plaintiffs

   filed objections (D.I. 529) and the Court has yet to rule on those objections. Accordingly,

   HyperBranch’s motion to preclude Dr. Distefano’s infringement testimony is premature.

            Second, HyperBranch seeks to preclude Dr. Mays from providing testimony at trial

   “bolster[ing] his conclusions, on for example, the doctrine of equivalents.” HB-MIL#2, at 2.

   However, an expert witness may expound at trial upon opinions set forth in their expert report.

            Next, HyperBranch wrongly characterizes Dr. Rivet’s as “narrow opinions” limited to his

   “understand[ing] of HyperBranch’s IFUs and his own use of Plaintiffs’ DuraSeal.” HB-MIL#2,

   at 2.    Dr. Rivet submitted an expert report on infringement explaining how the “visually

   observable change indicating a predetermined thickness” is met. D.I. 444, Ex. 14, ¶¶ 4, 27-28,

   35-38. Additionally, Dr. Rivet submitted a rebuttal expert report on invalidity explaining why

   hydrogels containing barium sulfate are not “biocompatible” nor suitable to coat a patient’s

   tissue. D.I. 444, Ex. 9, ¶¶ 19-32. Thus, Dr. Rivet may testify on the full scope of the opinions




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   contained in his report, and not simply on “how he understands HyperBranch’s IFUs and his own

   use of Plaintiffs’ DuraSeal.” HB-MIL#2, at 2.

             For at least these reasons, HyperBranch’s motion in limine No. 2 should be denied.


   Dated: March 19, 2018                            YOUNG CONAWAY STARGATT & TAYLOR LLP

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                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 19, 2018, I caused true and

   correct copies of the foregoing document to be served upon the following counsel of record by e-

   mail:

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                                              Inc., and Incept LLC




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               EXHIBIT 15(c)
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               EXHIBIT 16(b)
                  CONFIDENTIAL
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   INTEGRA LIFESCIENCES CORP., INTEGRA
   LIFESCIENCES SALES LLC, CONFLUENT
   SURGICAL, INC., AND INCEPT LLC,

                 Plaintiffs,
                                                        C.A. No. 15-819-LPS-CJB
          v.
                                                        HIGHLY CONFIDENTIAL –
   HYPERBRANCH MEDICAL TECHNOLOGY,                      OUTSIDE COUNSEL EYES ONLY
   INC.,

                 Defendant.


    PLAINTIFFS’ RESPONSE TO HYPERBRANCH MEDICAL TECHNOLOGY, INC.’S
    MOTION IN LIMINE NO. 3 TO EXCLUDE FACT WITNESSES FROM PROVIDING
                              EXPERT OPINIONS


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                                                                                March 19, 2018
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            Defendant’s motion in limine No. 3 seeks to (i) exclude fact witnesses from offering

   expert opinions because the fact witnesses did not provide expert reports and (ii) exclude fact

   witnesses from testifying on legal issues. This motion should be denied for the reasons below.

            First, HyperBranch merely speculates that fact witnesses may provide expert opinions,

   but fails to identify any expert testimony—be it from depositions, declarations, etc.—anticipated

   from Thomas Harrison, Curtis Lennox, Steve Bennett, and Eva Tan. See HB-MIL#3, at 1. For

   this reason, the motion should be denied with respect to these fact witnesses. See e.g. Leonard v.

   Stemtech Health Sciences, Inc., 981 F.Supp.2d 273, 276 (D. Del. 2013) (“The movant bears the

   burden of demonstrating that the evidence is inadmissible on any relevant ground, and the court

   may deny a motion in limine when it lacks the necessary specificity with respect to the evidence

   to be excluded.”) (citations omitted).      Any issues with whether the aforementioned fact

   witnesses’ testimony crosses into the realm of expert testimony is best handled through

   objections at trial.

            Similarly, HyperBranch does not identify any specific testimony of Dr. Sawhney that

   consists of expert opinion as to “patentability” or “claim coverage.” See HB-MIL#3, at 1.

   Rather, HyperBranch speculates that he too may provide such testimony at trial based on a

   reference in Mr. Jarosz’s damages expert report to a conversation Mr. Jarosz had with

   Dr. Sawhney. Id. (“To the extent Dr. Sawhney seeks to provide opinion testimony . . . .”).

   Dr. Sawhney is a named inventor on the ‘034 patent, which resulted from his and his colleague’s

   work relating to the development of the DuraSeal invention. See D.I. 501-2, at 86 of 110, ¶ 1. Of

   course, Dr. Sawhney may testify as a fact witness about the DuraSeal invention, including how

   and when it was conceived and developed, how the DuraSeal invention relates to the patents-in-

   suit, and his belief as to how his invention differed from prior art hydrogels. All of this testimony

   is either factual in nature, or lay witness opinion that is “rationally based on the witness’s

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   perception.” See Fed. R. Evid. 701; Asplundh Mfg. Div. v. Benton Harbor Eng'g, 57 F.3d 1190,

   1201 (3d Cir. 1995) (Rule 701 “requires that a lay opinion witness have a reasonable basis

   grounded either in experience or specialized knowledge for arriving at the opinion that he or she

   expresses.”); Piersons v. Quality Archer Designs, Inc., 2009 WL 10680314, at *6-7 (N.D.N.Y.

   Feb. 2, 2009) (declining in part motion to strike inventor’s declaration and affidavit on the

   grounds that it was “riddled with expert opinion,” finding that the inventor “possess[ed] the

   requisite specialized knowledge to offer opinions concerning . . . prior art and the state of the

   industry at the time of his invention.”). The mere fact that the subject matter of the case involves

   patents does not transform Dr. Sawhney’s factual testimony or lay opinion into expert opinion.

             Second, HyperBranch improperly seeks to exclude Dr. Sawhney and Dr. Pathak from

   testifying about facts relating to the conception and reduction of the ‘034 patent relative to a

   document entitled “Evaluation of the SprayGelTM,” which is referred to as the “Dunn” document.

   D.I. 501-2, at 91 of 110, ¶ 2. As HyperBranch acknowledged, “conception and reduction to

   practice are questions of law which are based on subsidiary factual findings.” HB-MIL#3, at 1

   (emphasis added) citing Cooper v. Goldfarb, 154 F.3d 1321, 1327 (Fed. Cir. 1998).

   Dr. Sawhney and Dr. Pathak proposed testimony lays factual support for a determination of the

   dates of conception and reduction to practice. For example, Dr. Sawhney and Dr. Pathak will

   testify that:

                  •   Confluent commissioned a clinical evaluation of “SprayGel” by Dunn’s team;

                  •   They directed the clinical evaluation of “SprayGel” described in the Dunn

                      document;

                  •   They provided the “SprayGel” raw materials used by Dunn’s team in the clinical

                      evaluation;




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                  •   Dunn’s team worked under the direction and supervision of Dr. Sawhney and Dr.

                      Pathak;

                  •   The study described in the Dunn document was done on behalf of Confluent; and

                  •   Dunn’s team was not involved in the conception of the subject matter disclosed in

                      the Dunn document.

   D.I. 501-2, at 92 of 110, ¶ 4. Although their declaration refers to three dates relating to the Dunn

   document: (1) its publication date (February 2001), (2) its submission date (March 27, 2000),

   and (3) its acceptance date (September 20, 2000), these references are simply to the dates that

   frame the timing of Dr. Sawhney and Dr. Pathak’s work relative to the timing of the work

   referred to in the Dunn document. Their proposed testimony is thus neither expert testimony, nor

   an opinion on a legal issue.

             Because HyperBranch failed to identify any “expert” opinions that Plaintiffs’ fact

   witnesses are anticipated to proffer at trial, its motion in limine No. 3 should be denied.




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   Dated: March 19, 2018                YOUNG CONAWAY STARGATT & TAYLOR LLP

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                                   CERTIFICATE OF SERVICE

           I, Karen L. Pascale, Esquire, hereby certify that on March 19, 2018, I caused true and

   correct copies of the foregoing document to be served upon the following counsel of record by e-

   mail:

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                                              Inc., and Incept LLC




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               EXHIBIT 16(c)
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             3ODLQWLIIV¶ UHOLDQFH RQ Leonard LV PLVSODFHG ,Q Leonard WKH &RXUW GHQLHG D PRWLRQ in

   limine VHHNLQJ WR H[FOXGH EURDG FDWHJRULHV RI HYLGHQFH DQG DUJXPHQW DV LUUHOHYDQW Leonard v.

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